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 Counsel for Plaintiff

                       UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division
 __________________________________________
 In re                                          )      Chapter 11
                                                )
 TOYS “R” US, INC., et al.,1                    )      Case No. 17-34665 (KLP)
                                                )
                             Debtors.           )      (Jointly Administered)
 __________________________________________)
 TRU CREDITOR LITIGATION TRUST,                 )
                                                )
 Plaintiff,                                     )      Adv. Proceeding No. 20-03038-KLP
                                                )
 v.                                             )
                                                )
 DAVID A BRANDON, et al.,                       )
                                                )
 Defendants.                                    )
 __________________________________________)

                         THE TRUST’S OPPOSITION TO DEFENDANTS’
                           MOTION FOR SUMMARY JUDGEMENT




 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
 tax identification number, are set forth in the Order (I) Directing Joint Administration of Chapter
 11 Cases and (II) Granting Related Relief [Docket No. 78]. The location of Debtors’ service
 address is One Geoffrey Way, Wayne, NJ 07470.
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 I.      Introduction.

         Defendants directed Toys “R” Us to file a chapter 11 bankruptcy on September 18, 2017.

 They controlled the company for another six months and then announced that the Company was

 liquidating its U.S. business and selling off all remaining assets. This sudden liquidation

 surprised employees, vendors, and the Unsecured Creditors’ Committee. 2

         The result was nearly $800 million in unpaid administrative claims. 3 That number was

 shocking. It was “the largest administrative insolvency in the history of this country.” 4

         Administrative claimants include the employees and vendors who provide goods and

 services to a company after it files for bankruptcy protection. Because the bankruptcy code gives

 administrative claimants priority to be paid, the amount of unpaid administrative claims at the

 end of the case should be (and almost always is) zero. But the Toys “R” Us bankruptcy resulted

 in hundreds of millions of dollars in claims from administrative claimants, and no money to pay

 them.

         $800 million. Administrative losses this large cannot be explained by innocent mistake.

 They cannot be explained by reasonable decisions that just didn’t happen to work out. So how

 did it happen? That question is answered by the evidence compiled by the Trust in this case.

 The documents and testimony provide overwhelming evidence that those losses were the direct

 result of Defendants’ bad faith actions, knowing abdication of duties, fraudulent transfers, and

 fraudulent misrepresentations and concealments. The misconduct began before the petition date,

 and continued throughout the case.


 2
   Bk. Dkt. 4033 (UCC Statement in Support of Settlement Agreement) ¶9 (the UCC “was
     surprised and disappointed to learn of the Debtors’ plan for a wind-down”).
 3
   Bk. Dkt. 4030 (Ad Hoc Vendor Group’s Statement in Support of Debtor’s Motion re
     Settlement) at 3 (“approximate $800 million of administrative claims that were owed by the
     Debtors”).
 4
   Ex. 86 (Greenspan depo.) 133:9-17; Ex. 70 (Greenspan) ¶319.
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        Defendants’ motion for summary judgment fails in every respect. It fails to apply the

 correct standard of review, fails to apply the controlling legal principles, fails to address the

 Trust’s theories of wrongdoing, and fails to address the Trust’s evidence.

        A.        The Court has not approved Defendants’ conduct.

        Defendants repeatedly imply, or outright assert, that the Court “approved” their conduct,

 such as by approving the DIP financing. Defendants’ assertions and implications are absolutely

 false, as we demonstrate in Part III, Section A.3, below. The Court was never told the truth and

 by no means approved Defendants’ conduct.

        The first-day declarations from Defendant David Brandon and Defendant Michael Short

 represented to the Court that Toys “R” Us had secured over $3 billion in new financing, without

 milestones, giving it a 16-month runway to successfully reorganize in Chapter 11, with $1 billion

 to spend on capital improvements, to fund a turnaround plan. For example, Brandon testified,

 “of critical importance, the debtor-in-possession financing also provides the Company with

 hundreds of millions of dollars of new money that is available for immediate and direct

 investment in the Company’s stores and operations.” 5 Brandon testified: “Investment in Growth

 Begins Today” and “This turnaround begins today.” 6 Brandon testified: “the Company has

 developed a four-pillared business plan designed to improve the customer experience, operations

 and drive sales,” and that to “execute on all four of the strategic pillars, the Debtors have

 identified a comprehensive set of key initiatives,” which he spelled out in detail in his

 declaration. 7




 5
   Brandon declaration (Bk. Dkt. 20) at 6-7, ¶13.
 6
   Brandon declaration (Bk. Dkt. 20) at p. 30, ¶69.
 7
   Brandon declaration (Bk. Dkt. 20) ¶¶70-78.
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        All of these statements were—at best—highly misleading. The Court was not told the

 following facts:

        •    The Directors had made no assessment of the Company’s ability to comply with the
             financial covenants in the DIP financing, and had not even asked to receive such an
             assessment from management or the financial advisors.

        •    The DIP budget and forecast provided to the Court was based on a manipulated
             revenue projection that would be virtually impossible to achieve.

        •    Even using the unrealistic DIP budget, the Company’s projected liquidity was over
             $150 million below the amount that Alvarez & Marsal had concluded was necessary
             for the Company.

        •    Bandon and Short had concluded that the January revised budget covenant in the DIP
             financing “just isn’t going to work” and the $175 million liquidity covenant “doesn’t
             work.”

        •    The Company was not commencing the turnaround “today” or “immediately” as
             Brandon had testified. The Company did not have a turnaround plan, and had no
             prospects for coming up with one.

        •    The amount of money from the DIP financing budgeted for capital improvements for
             turnaround was only $125 million, a small fraction of what would be required by a
             transformative turnaround plan, and it was not available “immediately,” but would
             only be available if budget covenant 6.16 were satisfied by January 31, 2018, which
             was highly unlikely.

        To call these facts “material” is an understatement. These facts and the others detailed

 below explain how and why the Toys “R” Us bankruptcy resulted in $800 million in unpaid

 administrative claims, “the largest administrative insolvency in the history of this

 country.” Quite simply, it was the fault of these Defendants.

        B.      Defendants fail to apply the summary judgment standard.

        Every argument in Defendants’ motion for summary judgment is constructed on a

 foundation that (1) includes only evidence favoring the Defendants and that ignores evidence

 favoring the Trust, and (2) draws all inferences in favor of the Defendants and against the Trust.

 That has it backwards. A defendant’s summary judgment motion is required to credit all


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 evidence favoring the plaintiff, to ignore defendant’s conflicting evidence, and to draw all

 inferences in favor of the plaintiff and against defendant.

        The “fundamental principle … at the summary judgment stage” is that “reasonable

 inferences should be drawn in favor of the nonmoving party” and “a court must view the

 evidence in the light most favorable to the opposing party.” Tolan v. Cotton, 572 U.S. 650, 657,

 660 (2014) (internal quotes omitted); Jacobs v. N.C. Admin. Office of the Courts, 780 F.3d 562,

 570 (4th Cir. 2015) (“As in Tolan, the district court ‘neglected to adhere to the fundamental

 principle that at the summary judgment stage, reasonable inferences should be drawn in favor of

 the nonmoving party.’ 134 S. Ct. at 1868. Rather, the court incorrectly drew all inferences in

 favor of the [defendant], not [plaintiff]. We therefore reverse the district court's

 determination….”).

        C.      Defendants’ fail to apply the correct legal principles.

        Defendants consistently fail to address the governing legal principles found in controlling

 law. Here are two examples.

        Actionable misstatements example.

        Defendants assert that “statements cannot give rise to tort liability” if they were

 “forward-looking aspirational or promissory statements.” Mot. 39. That assertion is refuted by

 the controlling law.

        First, “it is well settled that an opinion may be actionable when it is made by a party who

 … possesses, or assumes to possess, superior knowledge or special information regarding the

 subject matter.” Jolley v. Chase Home Fin., LLC, 213 Cal. App. 4th 872, 892 (2013) (internal

 quotes omitted) (holding that statements by a party with superior knowledge that it “was ‘highly

 probable,’ and ‘likely,’ and ‘look[ed] good’—that a modification of the loan agreement would be

 approved” were actionable as fraud).
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        Second, a statement that is an opinion or prediction of future events or actions is

 actionable if it “impl[ies] facts which justify a belief in the truth of the opinion.” Cohen v. S & S

 Constr. Co., 151 Cal. App. 3d 941, 946 (1983) (internal quotes omitted). “A statement about the

 future may imply a representation concerning an existing or past fact.” Restatement (Second) of

 Torts § 525, comment e. Similarly, “a statement that is in the form of a prediction or promise as

 to the future course of events may justifiably be interpreted as a statement that the maker knows

 of nothing which will make the fulfillment of his prediction or promise impossible or

 improbable.” Restatement (Second) of Torts § 525, comment f; Harrison v. Westinghouse

 Savannah River Co., 176 F.3d 776, 792 (4th Cir. 1999) (“opinion … carries with it an implied

 assertion … that the speaker knows no facts which would preclude such an opinion” (internal

 quotes omitted)).

        Duty to disclose example.

        As another example, Defendants assert that “statements cannot give rise to tort liability

 because they were true when made.” Mot. 39. That assertion is wrong. A person has a duty to

 disclose “subsequently acquired information that he knows will make untrue or misleading a

 previous representation that when made was true or believed to be so.” Restatement (Second) of

 Torts § 551(c). A person who makes “a representation which when made was true or believed to

 be so” and then “remains silent after he has learned that it is untrue” is “legally in the same

 position as if he knew that his statement was false when made.” Restatement (Second) of Torts §

 551, comment h.

        The Restatement applies this principle in an illustration that is remarkably similar to the

 facts of the present case. In that example, the “president of a mercantile corporation makes a

 true statement of its financial position,” that he intends will be relied on by trade vendors.



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 Restatement (Second) of Torts § 551, Illustration 2. The president then learns that the

 “corporation’s financial position becomes seriously impaired” but does nothing to inform the

 vendors. Id. When later the “corporation receives goods on credit from” a trade vendor, the

 president “is subject to liability in deceit” for any losses suffered by the vendor. Id.

        D.      Defendants’ motion ignores and fails to address most of the Trust’s theories.

        Because Defendants are the moving party, Defendants “bear[] the burden of proving that

 judgment as a matter of law is appropriate. In order to meet that burden, the moving party must

 demonstrate that no genuine issues of material fact exist.” Leslie v. Frederique, Civil Action No.

 1:17cv1061 (TSE/JFA), 2020 U.S. Dist. LEXIS 158925, at *15 (E.D. Va. Aug. 31, 2020)

 (internal citation omitted).

        Defendants made no attempt to address all material theories for any of the Trust’s claims,

 and therefore failed to meet their initial burden of showing the absence of a genuine issue.

 Adickes v. S. H. Kress & Co., 398 U.S. 144, 160 (1970) (“where the evidentiary matter in support

 of the motion does not establish the absence of a genuine issue, summary judgment must be

 denied even if no opposing evidentiary matter is presented” (emphasis in original, internal quotes

 omitted); Ray Communs., Inc. v. Clear Channel Communs., Inc., 673 F.3d 294, 299-300 (4th Cir.

 2012) (“where the movant fails to fulfill its initial burden of providing admissible evidence of the

 material facts entitling it to summary judgment, summary judgment must be denied, even if no

 opposing evidentiary matter is presented, for the non-movant is not required to rebut an

 insufficient showing” (internal quotes omitted); Devan v. Zamoiski Se., Inc. (In re Merry-Go-

 Round Enters.), 272 B.R. 140, 144 (Bankr. D. Md. 2000) (“However, if the evidence provided by

 a movant is insufficient to establish the absence of a genuine issue of material fact, or to establish

 that the movant is entitled to judgment as a matter of law, summary judgment must be denied

 even if no opposing evidentiary matter is presented” (internal quotes omitted)).
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          For each of the Trust’s claims, the Trust has multiple theories of wrong doing and has

 identified multiple wrongful acts. Defendants’ have elected to address in their motion only a

 fraction of those theories. Accordingly, Defendants have not met their initial burden and cannot

 obtain summary judgment. Here are two examples of theories that Defendants failed to address.

          Minority shareholders:

          The Trust asserts a breach of fiduciary duty claim based on Defendants allowing

 payments of purported “advisory fees” to KKR, Bain, and Vornado, who were the majority

 shareholders. One of the Trust’s theories of liability is based on the presence of minority

 shareholders, because payments that are “in essence self-dealing” by majority shareholders, to

 “the exclusion of and detrimental” to “minority stockholders,” are presumed to violate fiduciary

 duties. Sinclair Oil Corp. v. Levien, 280 A.2d 717, 721 (Del. 1971). Defendants’ motion

 entirely ignores this theory. It fails even to mention the minority shareholders.

          Larian:

          One of the Trust’s theories of fraud arises from an email exchange on February 3, 2018,

 between Isaac Larian, who was the head of toymaker MGA, and Defendants Brandon and Barry.

 Larian emailed Brandon and Barry to ask about a rumor that Toys “R” Us was now “leaning

 towards a liquidation” with options that included shrinking to “a 200 store chain” or “liquidate

 the whole thing.” 8

          That rumor was true. Just five days earlier, Brandon had told the Directors that the

 Company did not have the funding “to emerge from chapter 11 and continue operating the




 8
     Ex. 167 (Larian Post); Ex. 147 (2'3'18 Brandon to Larian re Silver post [TRU-
       Trust0000272792]).
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 current business plan,” and that the two remaining “likely outcomes” were “shrink and rethink

 the business” and “total liquidation of the enterprise.” 9

        But Brandon and Barry did not tell Larian the truth. Brandon responded that the rumor

 was not “accurate information about decisions being made in the boardroom of TRU,” and that

 the Company was “working on the best plan for emergence.” 10

        Brandon certainly understood that he was engaged in deception. Brandon testified that he

 understood Larian was “concerned about the rumor” that “Toys ‘R’ Us was considering a

 liquidation,” and was seeking “to verify whether there was any credibility contained in this

 blog.” 11 And Brandon testified, “my response to him was coaching him that that was not an

 appropriate source of useful information for him and he should not take it as fact.” 12

        Defendants’ motion makes no mention of this episode.

        E.      Defendants’ motion ignores and fails to address most of the Trust’s evidence.

        It is understandable that Defendants would want to ignore the powerful evidence

 compiled by the Trust that proves Defendants’ wrong-doing. But by not even attempting to

 address that evidence, Defendants cannot obtain summary judgment. Here is an example.

        In support of the Trust’s claim for breach of fiduciary duty claim based on Defendants

 allowing payments to the majority shareholders, the Trust contends, as one theory, that Toys ‘R’

 Us was insolvent, which means the directors “owe[] a fiduciary duty” to “the company’s

 creditors to preserve assets.” Collins v. Throckmorton, 425 A.2d 146, 149 (Del. 1980).

        Defendants assert that their “expert conducted a detailed solvency analysis” and that “no

 other evidence in the record” supports a conclusion of insolvency. Mot. at 28. This assertion


 9
   Ex. 140 (1’28’18 minutes) at 2.
 10
    Ex. 147 (2’3’18 Brandon to Larian re Silver post [TRU-Trust0000272792]) at 2.
 11
    Ex. 88 (Brandon) 435:8-14, 436:9-17.
 12
    Ex. 88 (Brandon) 434:21-435:6
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 simply pretends that the contrary evidence does not exist. The Trust’s expert, Ron Greenspan,
                                                                 13
 demonstrated the flaws in the analysis of Defendants’ expert.        And Greenspan cited and

 quoted evidence demonstrating that Defendants’ themselves concluded that Toys “R” Us was

 insolvent. 14

        For example, in April 2015, when KKR, Bain, and Vornado were in discussions to hire

 Brandon as CEO, Brandon conducted a summary valuation of Toys ‘R’ Us and concluded that

                    .” 15 In response, a Bain representative remarked to two of the Defendant

 Directors, “

                                     .” 16 “The inability to realize any value above the debt is the

 definition of insolvency.” 17

        F.       Defendants do not seek partial summary judgment of part of a claim.

        Defendants have elected to take an all or nothing approach, seeking summary judgment

 on the entirety of each claim, and not requesting, in the alternative, partial summary judgment on

 particular identified theories within each claim.

        For each of the Trust’s claims, the Trust has multiple theories of wrong doing and

 identifies multiple wrongful acts. For each of the breach of fiduciary duty claims, the Trust

 asserts multiple breaches of duty, each of which is based on multiple wrongful acts. And for

 each of the fraud claims, the Trust asserts multiple theories of fraudulent and negligent




 13
    Ex. 70 (Greenspan) ¶¶395-401.
 14
    Ex. 70 (Greenspan) ¶¶399-401; Ex. 70 (Greenspan) ¶¶163-165.
 15
    Ex. 70 (Greenspan) ¶400; Ex. 13 (4’8’15 Saghir to Taylor Levin re Brandon
     [DEFS_0049061]).
 16
    Ex. 70 (Greenspan) ¶400; Ex. 13 (4’8’15 Saghir to Taylor Levin re Brandon
     [DEFS_0049061]) at 1.
 17
    Ex. 70 (Greenspan) ¶400.
                                                     9
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 concealment and misrepresentation, and for each theory identified multiple acts of concealment

 and misrepresentation.

        A party may move for summary judgment on a claim in its entirety or may move for

 partial summary judgment as to part of a claim. “A party may move for summary judgment,

 identifying each claim or defense—or the part of each claim or defense—on which summary

 judgment is sought.” Fed. R. Civ. P. 56(a).

        But to move for partial summary judgment, the party’s motion must expressly identify

 “the part of each claim … on which summary judgment is sought.” Id.; Elantech Devices Corp.

 v. Synaptics, No. C 06-01839 CRB, 2007 U.S. Dist. LEXIS 82017, at *28-29 (N.D. Cal. Oct. 26,

 2007) (denying motion for summary judgment because, while the court would have granted

 summary judgment as to certain products, the party “did not move for partial summary

 judgment; instead, its motion seeks judgment on all [products] without distinction”).

        Defendants have not moved for summary judgment on part of a claim, nor have they

 attempted to meet the requirement of “identifying … the part of each claim … on which

 summary judgment is sought.” Fed. R. Civ. P. 56(a). Defendants did not request that the Court

 grant partial summary judgment as to any of the theories asserted by the Trust within a claim.

 Defendants assert only: “None of these claims can survive summary judgment.” Mot. 1. And

 “Defendants thus request that this Court grant summary judgment and dismiss the Trust’s

 claims.” Mot. 102. Defendants have therefore moved for summary judgment on the entirety of

 each claim, but have not asked the Court, in the alternative, to grant partial summary judgment as

 to particular theories that form part of a claim.

        To grant summary judgment on the entirety of one of the Trust’s claims, the Court would

 have to assess each theory and wrongful act asserted, and find that the claim fails as to all such



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 theories and acts. By contrast, the Court can deny Defendants’ motion as to a claim by

 concluding that the Trust has evidence sufficient to create a genuine issue for at least one of the

 asserted wrongful acts and theories of wrongdoing. Vedula v. Azar, Civil Action No. TDC-18-

 0386, 2020 U.S. Dist. LEXIS 166284, at *49-50 (D. Md. Sep. 11, 2020) (holding that “there is

 sufficient evidence to create a genuine issue of material fact” on one theory supporting a claim

 and therefore the “Court need not address [plaintiff’s] alternative theory”).

           As the 2010 Advisory Committee Notes expressly clarified, when denying a motion for

 summary judgment, “[t]he statement on denying summary judgment need not address every

 available reason.” Accordingly, to deny this motion, the Court is not required to assess each of

 the theories and wrongs asserted. Alexander v. Azar, 396 F. Supp. 3d 242, 248 (D. Conn. 2019)

 ((“[The Court’s] role is not to provide the parties with a roadmap for trial. I explained why I

 found that there existed a triable issue of fact [and] decline to expound upon my reasoning

 further.”).

           Defendants’ motion should be denied as to all claims asserted by the Trust.

 II.       The Director Defendants are liable for breaches of fiduciary duties in approving the
           DIP financing and failing to implement an immediate wind-down.

           As of August 2017, Toys “R” Us met all of the criteria for a business that needed to wind

 down: it had been losing money for years, had a broken business model, had no plausible path

 for a turnaround, and sales and margins were in an accelerating spiral downward. But rather than

 directing an orderly liquidation of the Company, the Defendant Directors voted to pledge all of

 the Company’s remaining assets to DIP financing in support of a purported “Turnaround Plan”

 that would commence “immediately.” 18



 18
      Brandon declaration (Bk. Dkt. 20) at pp. 6-7, 30, 44, ¶¶13, 69, 103; Ex. 70 (Greenspan) ¶¶50-
       51.
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           Defendants failed, however, to assess whether the Company could comply with the

 financial covenants in the DIP financing, which was required to avoid a precipitous default and

 forced liquidation. Worse still, Defendants not only knew that the Company lacked sufficient

 capital and time to conduct a turnaround, they knew the purported “Turnaround Plan” did not

 exist. This was a “Hail Mary” with no plausible chance of succeeding. It wiped out the

 previously unencumbered assets, incurred over $500 million in costs for financing costs,

 restructuring professional fees, and operating losses, and resulted in $800 million in unpaid

 Administrative Claims. Defendants entirely abdicated their fiduciary duties.

           A.     The Defendants’ fiduciary duties.
                                19
           Under Delaware law        a claim for “breach of fiduciary duty has only two formal

 elements: (i) the existence of a fiduciary duty and (ii) a breach of that duty.” Basho Techs.

 Holdco B, Ltd. Liab. Co. v. Georgetown Basho Inv’rs, Ltd. Liab. Co., No. 11802-VCL, 2018 Del.

 Ch. LEXIS 222, at *55 (Ch. July 6, 2018). In addition, to recover damages plaintiff must show

 that “a sufficiently convincing causal linkage exists between the breach of duty” and the claimed

 losses. Id. at *57.

           The “plaintiff bears the initial burden of proving that the defendant breached her duty of

 loyalty or her duty of care, thereby rebutting one of the business judgment rule’s presumptions

 and triggering further review of the decision under the entire fairness test.” Id. at *56-*57.

 Having shown a breach of duty, the burden shifts to the defendant: “the defendant fiduciaries


 19
      Because this case was filed in and transferred from the Southern District of New York, New
       York’s choice-of-law rules apply. See Ferens v. John Deere Co., 494 U.S. 516, 519 (1990).
       Under New York’s choice-of-law rules, breach of fiduciary duty claims brought by a
       company against its directors and officers are governed by the substantive law of the state of
       incorporation. See, e.g., RAL Capital Ltd. v. CheckM8, Inc., 2017 N.Y. Misc. LEXIS 3593
       (Sup. Ct. N.Y. Cty. Sept. 21, 2017). Because the breach of fiduciary duty claims were
       assigned to the Trust by Delaware corporations (Toys “R” Us, Inc. and Toys “R” Us,
       Delaware, Inc.), the claims are governed by the substantive law of Delaware.
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 bear the burden of proof to show that they in fact acted in a manner that was entirely fair to their

 beneficiaries.” Id. at *57.

           Delaware law imposes three fundamental fiduciary duties: the duty of good faith, the duty

 of loyalty, and the duty of care. 20 Stone v. Ritter, 911 A.2d 362, 370 (Del. 2006) (“good faith

 may be described colloquially as part of a ‘triad’ of fiduciary duties that includes the duties of

 care and loyalty”).

           Duty of good faith. A breach of the duty of good faith may be shown in several distinct

 ways, including by subjective bad faith, by objectively unreasonable decision, or by knowing

 abdication. First, bad faith may be shown by evidence of “‘subjective bad faith,’ that is,

 fiduciary conduct motivated by an actual intent to do harm.” Brehm v. Eisner (In re Walt Disney

 Co. Derivative Litig.), 906 A.2d 27, 64 (Del. 2006).

           Second, bad faith may be shown by evidence that a decision is “so far beyond the bounds

 of reasonable judgment that it seems essentially inexplicable on any ground other than bad

 faith.” Parnes v. Bally Entm't Corp., 722 A.2d 1243, 1246 (Del. 1999) (internal quote omitted);

 Dent v. Ramtron Int'l Corp., No. 7950-VCP, 2014 Del. Ch. LEXIS 110, at *15 (Del. Ch. June 30,

 2014) (same); Crescent/Mach I Partners, L.P. v. Turner, 846 A.2d 963, 981 (Del. Ch. 2000)

 (same).

           Proving an unreasonable judgment does not require a plaintiff to establish “facts that rule

 out any possibility other than bad faith.” Kahn v. Stern, 183 A.3d 715, 715 (Del. 2018). It




 20
      Although Delaware cases customarily analyze the duty of good faith as a separate duty, the
       duty of good faith derives from, and is a component of, the duty of loyalty. A “director
       cannot act loyally towards the corporation unless she acts in good faith.” Stone v. Ritter, 911
       A.2d 362, 369-70 (Del. 2006). Therefore, “the fiduciary duty of loyalty is not limited to
       cases involving a … conflict of interest,” and it “also encompasses cases where the fiduciary
       fails to act in good faith.” Id.
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 requires only “facts that support a rational inference of bad faith.” Id. Bad faith may be shown

 by “facts supporting an inference that [the fiduciary] did not reasonably believe that the …

 transaction was in the best interests of” the company. Brinckerhoff v. Enbridge Energy Co., 159

 A.3d 242, 260 (Del. 2017), quoted with approval by Kahn v. Stern, 183 A.3d 715, 715 & n.5

 (Del. 2018). Establishing that a director “did not reasonably believe” a transaction was in the

 best interests of the company does not require proof of the director’s subject belief; instead “the

 use of the qualifier ‘reasonably’ imposes an objective standard of good faith.” Brinckerhoff, 159

 A.3d at 260.

         Third, a breach of the duty of good faith occurs “[w]here directors fail to act in the face

 of a known duty to act, thereby demonstrating a conscious disregard for their responsibilities.”

 Stone v. Ritter, 911 A.2d 362, 370 (Del. 2006); Brehm v. Eisner (In re Walt Disney Co.

 Derivative Litig.), 906 A.2d 27, 67 (Del. 2006) (breach of the duty of good faith if a director

 “intentionally fails to act in the face of a known duty to act, demonstrating a conscious disregard

 for his duties”).

         This is sometimes referred to as breach by “abdication of directorial duty.” Cede & Co.

 v. Technicolor, 634 A.2d 345, 363-64 (Del. 1993). This type of bad faith occurs if directors

 “adopt[ed] a ‘we don’t care about the risks’ attitude concerning a material corporate decision.”

 In re Walt Disney Co. Derivative Litig., 825 A.2d 275, 289 (Del. Ch. 2003), aff’d Brehm v.

 Eisner (In re Walt Disney Co. Derivative Litig.), 906 A.2d 27, 63 (Del. 2006) (holding that bad

 faith may be shown by evidence demonstrating a “conscious[] and intentional[] disregard[] [of]

 responsibilities, adopting a ‘we don't care about the risks’ attitude”).

         Bad faith by abdication is shown if the facts “imply that the defendant directors knew that

 they were making material decisions without adequate information and without adequate



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 deliberation, and that they simply did not care if the decisions caused the corporation and its

 stockholders to suffer injury or loss.” In re Walt Disney Co. Derivative Litig., 825 A.2d 275, 289

 (Del. Ch. 2003); Bridgeport Holdings Inc. Liquidating Tr. v. Boyer (In re Bridgeport Holdings,

 Inc.), 388 B.R. 548, 564 (Bankr. D. Del. 2008) (“t]he D&O Defendants breached their duty of

 loyalty and acted in bad faith by consciously disregarding, i.e., abdicating, their duties to the

 Company”); Boles v. Filipowski (in re Enivid, Inc.), 345 B.R. 426, 452 (Bankr. D. Mass. 2006)

 (directors and officers “breached their duty of good faith … by approaching the operation of [the

 company] with a level of indifference or egregiousness that amounted to bad faith”) (applying

 Delaware law); Bridgeport Holdings Inc. Liquidating Tr. v. Boyer (In re Bridgeport Holdings,

 Inc.), 388 B.R. 548, 564-65 (Bankr. D. Del. 2008) (fiduciaries are liable “if they fail to obtain

 information as a result of their ‘knowing abdication of their directorial duties’” (quoting

 Desimone v. Barrows, 924 A.2d 908, 933 (Del. Ch. 2007)).

        Duty of loyalty. A breach of the duty of loyalty exists if a director acts while under the

 influence of a conflict of interest and a director is “independent only when the director’s decision

 is based entirely on the corporate merits of the transaction and is not influenced by personal or

 extraneous considerations.” Cede & Co. v. Technicolor, 634 A.2d 345, 362 (Del. 1993).

        “A director is considered interested” in a corporate decision, and not independent, if the

 director “will receive a personal financial benefit from a transaction” or “where a corporate

 decision will have a materially detrimental impact on a director, but not on the corporation.”

 Rales v. Blasband, 634 A.2d 927, 936 (Del. 1993). “In such circumstances, a director cannot be

 expected to exercise his or her independent business judgment without being influenced by the

 adverse personal consequences resulting from the decision.” Rales v. Blasband, 634 A.2d 927,

 936 (Del. 1993).



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        The Delaware Supreme Court has “consistently defined the duty of loyalty of officers and

 directors” in “unyielding terms.” Cede & Co. v. Technicolor, 634 A.2d 345, 361 (Del. 1993). It

 “has established a rule that demands of a corporate officer or director, peremptorily and

 inexorably, the most scrupulous observance of his duty.” Id. (internal quotes omitted).

        Any potential for influence by outside interests is prohibited. “The rule that requires an

 undivided and unselfish loyalty to the corporation demands that there be no conflict between

 duty and self-interest.” Id. As a result, “there is no safe-harbor for divided loyalties in

 Delaware.” In re Walt Disney Co. Derivative Litig., 907 A.2d 693, 751 (Del. Ch. 2005). A

 director is “independent only when the director’s decision is based entirely on the corporate

 merits of the transaction and is not influenced by personal or extraneous considerations.” Cede

 & Co. v. Technicolor, 634 A.2d 345, 362 (Del. 1993). “By contrast, a director who receives a

 substantial benefit from supporting a transaction cannot be objectively viewed as disinterested or

 independent.” Id.

        Duty of care. “The fiduciary duty of due care requires that directors of a Delaware

 corporation both: (1) use that amount of care which ordinarily careful and prudent men would

 use in similar circumstances; and (2) consider all material information reasonably available.”

 Bridgeport Holdings Inc. Liquidating Tr. v. Boyer (In re Bridgeport Holdings, Inc.), 388 B.R.

 548, 568 (Bankr. D. Del. 2008) (internal quotes omitted). A breach of the duty of care occurs if

 a director’s actions or inactions amount to “gross negligence,” which is “conduct that constitutes

 reckless indifference or actions that are without the bounds of reason.” McPadden v. Sidhu, 964

 A.2d 1262, 1274 (Del. Ch. 2008).

        Defendant Directors breached each of these three fiduciary duties.

        B.      When evaluating whether to authorize DIP financing and attempting a
                turnaround strategy, the Directors knew and understood the requirements of

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                   their fiduciary duties.

        The Defendants were well aware of the requirements of their fiduciary duties. They had

 long experience as corporate directors and officer, including years of experience in evaluating
                                                                          21
 large-scale financing, and charting the course for large companies.           As Defendant Brandon
                                                                                                      22
 stated at the time, “this board obviously has significant understanding of its fiduciary duties.”

        Moreover, Kirkland and Ellis gave the Directors detailed presentations on the

 requirements of their fiduciary duties in early August 2017. 23

        As Defendants have admitted, Defendants’ fiduciary duties required them to consider and
                                                                     24
 assess “all reasonable alternatives” before coming to a decision.        They were required to

 “evaluate each alternative to determine which restructuring alternative will maximize the value

 of the Company.” 25 Defendants were expressly advised that they needed “to demonstrate that

 they carefully evaluated each restructuring alternative.” 26

        Defendants knew that while they were not required to eliminate business risk, “the risks

 that are undertaken must be reasonable, and the course of action must be reasonably

 achievable.” 27




 21
    Ex. 70 (Greenspan) ¶12; Ex. 65 (2017 TRU 10k) at p. 113-14, pdf 118-19.
 22
    Ex. 25 (8’3’17 Brandon talking points for BOD [TRU-Trust0000124186]) at 2, bullet 7.
 23
    Ex. 25 (8’3’17 Brandon talking points for BOD [TRU-Trust0000124186]) at 2, bullet 7
 (“K&E advises that it is important for the record that there be a comprehensive discussion on
 fiduciary duties”); Ex. 27 (8’9’17 Fiduciary Duty Presentation [DEFS_0064535]), attached to
 Ex. 28 (8’9’17 Kunath email [DEFS_0064533]); Ex. 23 (7'31'17 Contingency Prep Overview
 [DEFS_0123896]), attached to Ex. 31 (8’17’17 Khalil email [DEFS_0123842]); Ex. 83
 (Macnow depo.) 193:21-194:13; Ex. 82 (Goodman depo.) 15:10-13, 16:4-15.
 24
    Ex. 27 (8’9’17 Fiduciary Duty Presentation [DEFS_0064535]) at slide 10.
 25
    Ex. 23 (7'31'17 Contingency Prep Overview [DEFS_0123896]) at slide 20, bullet 3.
 26
    Ex. 27 (8’9’17 Fiduciary Duty Presentation [DEFS_0064535]) at slide 7.
 27
    Ex. 27 (8’9’17 Fiduciary Duty Presentation [DEFS_0064535]) at slide 8.
                                                  17
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        The Defendants were expressly advised that, when “an entity is potentially or arguably

 insolvent,” the Board should not “authorize a transaction that could be analogized to a ‘Hail

 Mary’ pass for the benefit of shareholders if creditor recoveries are threatened.” 28

        Defendants also knew their fiduciary duties required that, before deciding on a course of

 action, they were required to “inform themselves of all material information that was reasonably

 available” and “carefully consider that information.” 29

        The Defendants knew that, to comply with their fiduciary duties, they could rely on

 advice from others, including professional advisors, but could “not simply rubber stamp

 whatever advice they receive.” 30 They knew that “directors and officers should not be merely

 passive recipients of advice.” 31 They were required to examine the assumptions underlying the

 proposal, to independently consider its reasonableness. “Directors and officers should

 independently evaluate assumptions and information presented by advisors.” 32

        Defendants knew that to “comply with the duty of loyalty, a company’s directors must

 exercise disinterested and independent judgment.” 33 They knew “that in a situation where a

 decision would implicate an actual or potential conflict of interest, the board should delegate

 decision-making authority to disinterested directors or managers.” 34




 28
    Ex. 23 (7'31'17 Contingency Prep Overview [DEFS_0123896]) at slide 20, bullet 6.
 29
    Ex. 27 (8’9’17 Fiduciary Duty Presentation [DEFS_0064535]) at slide 10.
 30
    Ex. 70 (Greenspan) ¶277; Ex. 77 (Raether depo.) 319:23-320:1, 320:9-22; Ex. 80 (Silverstein)
 202:111-203:2 (“no, it’s not my job to rubber stamp anything,” “I don’t think it’s any board of
 directors’ job to rubber stamp anything”).
 31
    Ex. 27 (8’9’17 Fiduciary Duty Presentation [DEFS_0064535]) at slide 10.
 32
    Ex. 27 (8’9’17 Fiduciary Duty Presentation [DEFS_0064535]) at slide 10.
 33
    Ex. 27 (8’9’17 Fiduciary Duty Presentation [DEFS_0064535]) at slide 11.
 34
    Ex. 77 (Raether) 157:3-8; Ex. 27 (8’9’17 Fiduciary Duty Presentation [DEFS_0064535]) at
 slide 15.
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        In sum, they knew that the job of the Directors was to kick the tires, to make sure that

 management and the advisors had thoroughly and correctly evaluated the situation, and to come

 to their own independent judgment that the selected path would maximize value and avoid
                     35
 enhancing losses.

        The Director Defendants not only understood the general outlines of fiduciary duty law,

 they also knew and understood the information they would need and the assessment they would

 need to make when authorizing the Company to take on DIP financing and pursue a turnaround.

        “An important factor in deciding whether a company should take on DIP financing is to

 assess the risk of defaulting on the financial covenants.” 36 A default that requires “immediate

 repayment of the outstanding balance and termination of borrowing ability” will cause “a large

 and sudden reduction in the company’s liquidity.” 37 “Such a sudden event can trigger a cascade

 of negative consequences and force an unplanned liquidation of the company not allowing for

 the maximization of the value of the company’s assets.” 38

        For these reasons, the Director Defendants knew that their fiduciary duties required them

 to assess whether TRU could safely comply with financial covenants in the DIP financing, and to
                                                                39
 assess the likely harms and losses from an event of default.        For example, Defendant Raether

 testified that before the Directors could authorize the Company to take on DIP financing the

 Directors were required “to assess whether Toys ‘R’ Us, going forward, would be able to comply

 with the financial covenants in the DIP financing.” 40 He also testified that it was “important”



 35
    Ex. 70 (Greenspan) ¶277.
 36
    Ex. 70 (Greenspan) ¶52.
 37
    Ex. 70 (Greenspan) ¶52.
 38
    Ex. 70 (Greenspan) ¶52; Ex. 78 (Levin depo.) 283:10-24; Ex. 78 (Levin depo.) 285:2-11; Ex.
 80 (Silverstein depo.) 116:6-117:10, 118:18-119:1.
 39
    Ex. 70 (Greenspan) ¶¶54-57.
 40
    Ex. 77 (Raether depo.) 137:24-138:5.
                                                 19
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 and “part of your fiduciary duty” for the Director to “examine the DIP budget” and assess

 whether the Company would have “the ability to pay the money back.” 41

        “To assess whether TRU could safely comply with financial covenants in the DIP

 financing required comparing the requirements of each covenant with a forecast of the
                                                                 42
 company’s future performance over the life of the financing.”        “To understand the reliability

 of such a forecast, and to comply with a director’s fiduciary duty to independently evaluate

 assumptions and information presented by advisors, the Director would need to understand, and

 then evaluate the reliability of, the key assumptions underlying the forecast.” 43 This would

 include information on assumed sales growth/decline, assumed margin growth/decline, and
                                                                44
 projected overhead and other costs and capital expenditures.        In addition, because projections

 cannot “perfectly anticipate what will actually occur,” the covenant assessment also requires a

 “sensitivity analysis.” 45 This “sensitivity analysis would make use of a financial model (e.g., a
                                                                                        46
 spreadsheet) that allows varying the key inputs to determine the resulting effects.”        The

 analysis would “assess the downside case and determine the risks that events would go less well

 than forecast in the base case, resulting in worse financial performance and a potential default in
                   47
 the covenants.”

        Defendants do not dispute, and in fact have admitted, that their fiduciary duties required

 them to perform the assessment described above. 48



 41
    Ex. 77 (Raether depo.) 123:17-124:18.
 42
    Ex. 70 (Greenspan) ¶54.
 43
    Ex. 70 (Greenspan) ¶54.
 44
    Ex. 70 (Greenspan) ¶54.
 45
    Ex. 70 (Greenspan) ¶56.
 46
    Ex. 70 (Greenspan) ¶56.
 47
    Ex. 70 (Greenspan) ¶56.
 48
    See, e.g., Ex. 78 (Levin depo.) 15:10-16:21, 20:4-9, 20:23-21:11, 21:23-22:8, 133:25-135:1,
 135:7-16, 286:3-17, 286:22-287:15, 288:10-17, 288:25-291:4, 291:21-293:16, 294:12-295:9,
                                                 20
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        For example, Defendant Raether testified that it was “incumbent upon the directors … to

 understand the terms of the DIP financing and the company’s … operating forecast such that it

 could comply with the covenants that were present in that DIP financing.” 49

        Raether further testified that “[t]o understand whether Toys ‘R’ Us’s projections going

 forward were reasonable,” it would be “necessary” for a director “to have some understanding

 about the assumptions underlying the projections,” including “the relative increase or decrease in
                      50
 same-store-sales.”        In fact, he said “you wouldn’t waste time … on a forecast … looking at it

 or analyzing it if you didn’t have the assumptions that lay behind” the forecast. 51

        Raether also testified that, in “determining whether taking on DIP financing was

 reasonable,” a director would also need to examine a “sensitivity analysis,” meaning adjusting

 the key assumptions “to see how it impacts the projections.” 52 The sensitivity analysis provides

 information about a “range of outcomes,” including one or more less favorable outcomes that

 would allow an assessment of whether the Company would “be in compliance with the

 covenants that were in the DIP financing agreement.” 53




 295:25-297:9; Ex. 79 (Taylor depo.) 188:12-25, 190:15-25, 192:6-14, 193:3-9, 193:10-21,
 194:25-195:19, 196:18-197:5, 197:18-24, 198:18-199:14, 200:1-201:7, 207:20-208:7, 210:12-23,
 211:11-18, 213:11-16, 214:24-215:11, 215:13-19, 215:21-216:1, 216:5-11, 247:20-248:9; Ex. 80
 (Silverstein depo.) 163:13-164:8, 186:25-187:13, 188:13-20, 190:2-12, 190:17-191:9, 191:18-
 192:17; Ex. 83 (Macnow depo.) 65:5-16, 193:21-194:13, 195:13-196:12, 196:21-197:9, 203:3-
 204:7, 207:2-9; Ex. 82 (Goodman depo.) 15:10-13, 16:4-15, 16:21-25, 17:4-18:7, 22:2-23:21,
 24:6-13, 27:17-28:3, 28:20-29:2, 41:1-11, 43:6-12, 49:11-15, 50:2-10.
 49
    Ex. 77 (Raether) 124:19-125:12.
 50
    Ex. 77 (Raether) 125:25-126:11.
 51
    Ex. 77 (Raether) 181:22-182:11, 492:25-493:25.
 52
    Ex. 77 (Raether) 128:3-19.
 53
    Ex. 77 (Raether) 128:20-129:17, 496:14-497:1.
                                                    21
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        Raether testified that Directors must be presented with “a set of sensitivity analyses such

 that we can determine with a high degree of confidence that the company will be able to perform

 and meet its obligations,” and “if not, the directors should not approve … financing.” 54

        As another example, Defendant Taylor testified that if the Directors “authorized the

 company to take on DIP financing without assessing the ability of the company to comply with

 the financial covenants” then the Board “would not have” “complied with our fiduciary

 duties.” 55 Taylor testified that “to comply with your fiduciary duties” he was “required to

 investigate the assumptions underlying information provided” from advisors. 56 He testified that

 he would need to see assumptions on “sales” and “costs” and “a comprehensive discussion of the

 key elements of the income statement and balance sheet on a go-forward basis.” 57

        And Taylor testified that “part of a board’s duty is to contemplate a likely range of

 outcomes,” including “scenarios above and below the forecast,” and “an analysis of the

 downside risk of not being able to comply with the financial covenants.” 58

        C.      The Director Defendants abdicated their duty and entirely failed to assess the
                Company’s ability to comply with the financial covenants in the DIP
                financing.

        Although the Director Defendants knew they had a fiduciary duty to assess the risk of

 covenant compliance, they entirely abdicated that duty. This was not a “situation where the

 Directors attempted such an analysis, but did not do an adequate analysis,” amounting to mere




 54
    Ex. 77 (Raether) 136:12-137:18.
 55
    Ex. 79 (Taylor) 247:20-248:9.
 56
    Ex. 79 (Taylor) 211:11-18.
 57
    Ex. 79 (Taylor) 199:2-14.
 58
    Ex. 79 (Taylor) 200:1-22, 216:5-11.
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               59
 negligence.        “The record shows a complete absence of any effort by the Directors to assess the

 covenants, risks of default, and consequences of a default.” 60

        As discussed in greater detail below, the Board never even bothered to ask for (much less

 examine) a forecast with identified assumptions, a comparison of the forecast to the covenants,

 or a sensitivity analysis assessing a downside case. In fact, they voted to approve the DIP

 financing without even bothering to find out what covenants were required, and without even

 obtaining a conclusory representation from management or the advisors that the Company could

 reasonably comply with the covenants. Defendants’ conduct was a classic example of adopting a

 “we don’t care about the risks” attitude.

        Before voting to approve DIP financing, the seven non-management Defendant Directors

 (Raether, Taylor, Bekenstein, Levin, Silverstein, Macnow, Goodman) received two forecasts of

 the Company’s projected performance upon entering bankruptcy, neither of which could be used

 to assess covenant compliance. On August 17, 2017, Taylor, Levin, and Silverstein received a

 “Preliminary DIP Sizing Forecast” dated August 17, 2017. 61 This forecast was “preliminary”

 and “could not reliably have been used to assess the financial covenants” because it “was

 prepared several weeks before any DIP proposals had been received.” 62 None of the Defendants

 contend it was usable (or that it in fact was used). For example, Defendant Levin testified that

 the August 17 forecast was not sufficient “to reach a conclusion as to whether or not Toys ‘R’ Us




 59
    Ex. 70 (Greenspan) ¶84.
 60
    Ex. 70 (Greenspan) ¶84.
 61
    Ex. 32 (8’17’17 Lal to Finegan [REV01587062]) (“attached is a prelim DIP sizing that we
 used for discussion with Dave and Mike this AM”); Ex. 70 (Greenspan) ¶63.
 62
    Ex. 70 (Greenspan) ¶63.
                                                    23
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 is going to be able to comply with its financial covenants” and “I couldn’t use this model” “to

 make an assessment of whether Toys ‘R’ Us could comply.” 63

          Defendants have good reason for distancing themselves from this August 17 forecast: it

 demonstrated that the DIP loans were far too risky. To allow for variability, the Company

 needed a reasonable liquidity cushion (the advisors determined the liquidity cushion should be at

 least $200 million). 64 The August 17 forecast projected total liquidity would fall to $2 million.
 65
      A “projected margin of only $2 million for a multi-billion-dollar organization created a high

 risk of default,” and “[a]ny sensitivity analysis would have shown a default.” 66

          The only other forecast the non-management Director Defendants received was a
                                                                                                67
 “Summary DIP Budget and Forecast,” in an appendix to the September 13 board materials.

 This “summary” forecast included a forecast for “Adjusted EBITDA,” but “did not include a

 breakdown of projected sales, margin, or costs, nor did it include the underlying assumptions on

 which sales, margin, and costs were projected, or a justification for those assumptions.” 68

          None of the Defendants contends the limited information in the Summary DIP Budget

 and Forecast could be used (or was used) to assess projected covenant compliance. For example,

 Defendant Raether testified that “you would need more information than just this page to




 63
    Ex. 78 (Levin depo.) 309:12-310:12, 311:23-312:6; Ex. 78 (Levin depo.) 308:10-22.
 64
    Ex. 70 (Greenspan) ¶112; Ex. 37 (8'31'17 attach DIP sizing [TRU-Trust0000373909]) at 3
 (“maintains a minimum cushion of $200 million … through the forecast period. This cushion
 will allow for a day-to-day operating buffer, and intra-month liquidity troughs”); id. at 2
 (“maintain liquidity of at least $200 million through the period”); Ex. 42 (9’15’17 Lal 144 not
 sufficient [LZ-TRU0079112]) (“$144MM … does not provide sufficient cushion”).
 65
    Ex. 30 (8’17’17 attach to Levin Silverstein Sunrise_Draft DIP Sizing [DEFS_0123956]) at 3;
 Ex. 70 (Greenspan) ¶64.
 66
    Ex. 70 (Greenspan) ¶64.
 67
    Ex. 70 (Greenspan) ¶¶69-73; Ex. 41 (9’13’17 Brandon agenda plus attach [DEFS_0004126]).
 68
    Ex. 41 (9’13’17 Brandon agenda plus attach [DEFS_0004126]) at pdf p.15; Ex 70 (Greenspan)
 ¶71.
                                                  24
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 determine whether the operating cash flow at the top … is reasonable,” including information on

 sales, SG&A, working capital, same store sales assumptions, and a sensitivity analysis with a
                  69
 downside case.        Raether explained: “Without the assumptions, you’re just looking at a piece of

 paper with a bunch of numbers on it that don’t mean anything because you have to understand

 what the assumptions are, and you have to determine whether you think those assumptions are

 reasonable or not.” 70 Raether testified “you wouldn’t waste time … on a forecast … looking at
                                                                                        71
 it or analyzing it if you didn’t have the assumptions that lay behind” the forecast.

        In fact, the September 13 board materials “did not include any assessment or

 commentary” on the various financial covenants that had been proposed by lenders as of that

 date. 72 And the materials did not include any commentary on the likelihood of achieving the

 forecast, any alternative downside scenarios, any sensitivity analysis, or a financial model that
                                                                         73
 would have permitted a Director to perform an analysis of covenants.         For example, Levin

 testified “I wouldn’t have been able to do an assessment of whether Toys ‘R’ Us would be able

 to comply with the cash flow covenants under the DIP financing.” 74

        The Director Defendants also received materials for the board meetings held on

 September 15, 2017, and September 18, 2017 (the day of the vote). But those “materials did not

 include any analysis of the financial covenants or any information on a financial forecast.” 75




 69
    Ex. 77 (Raether) 186:9-20, 188:25-189:13, 190:6-20, 197:9-16.
 70
    Ex. 77 (Raether depo.) 181:22-182:11.
 71
    Ex. 77 (Raether depo.) 181:22-182:11; see Ex. 78 (Levin depo.) 319:8-22, 321:12-17, 325:16-
 326:1, 328:19-329:7.
 72
    Ex. 70 (Greenspan) ¶73; Ex. 41 (9’13’17 Brandon agenda plus attach [DEFS_0004126]) at pdf
 6, 9.
 73
    Ex. 41 (9’13’17 Brandon agenda plus attach [DEFS_0004126]); Ex. 70 (Greenspan) ¶72.
 74
    Ex. 78 (Levin depo.) 328:19-329:7.
 75
    Ex. 70 (Greenspan) ¶¶76, 78; Ex. 43 (9'15'17 to BOD re DIP and attach [DEFS_0004093]);
 Ex. 54 (9'18'17 Sussberg to board with financing [DEFS_0004108]).
                                                   25
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        Before casting their vote directing the Company to take on DIP financing, none of the

 Defendants prepared an analysis assessing covenant compliance nor did they review an analysis
                                                                                                   76
 of covenant compliance prepared by the Company’s management or its restructuring advisors.

 The materials provided to the Directors “did not include any alternative downside scenarios, any

 sensitivity analysis, or a financial model that would have permitted a director to perform an

 analysis of covenants.” 77

        In fact, on September 18, when the Directors approved the DIP financing and the

 Company filed its bankruptcy petition and first day motions, the three financial covenants for the
                                                                        78
 DIP Term loan were unknown (as discussed in greater detail below).          When the Board voted to

 authorize the financing, the lenders for the DIP Term loan had not yet even provided a proposal

 for the required financial covenants. 79 Consequently, it was not possible on September 18 for

 either management or the advisors to have prepared any analysis (much less an adequate

 sensitivity analysis) to assess covenant compliance for financial covenants.

        “The record shows a complete absence of any effort by the Directors to assess the

 covenants, risks of default, and consequences of a default.” 80 The “Board did not request … the

 terms of each financial covenant” or a “financial forecast that could be used to assess the risks of
                             81
 the financial covenants.”        The Company’s “advisors did not conduct (and were not asked by

 the Directors to conduct) an analysis of whether the Company could comply with the financial

 covenants and avoid a default-induced sudden liquidation.” 82 There is no record “suggesting



 76
    Ex. 70 (Greenspan) ¶¶85, 283.
 77
    Ex. 70 (Greenspan) ¶85.
 78
    Ex. 70 (Greenspan) ¶¶93-108.
 79
    Ex. 70 (Greenspan) ¶¶93-95, 97-99.
 80
    Ex. 70 (Greenspan) ¶84.
 81
    Ex. 70 (Greenspan) ¶85.
 82
    Ex. 70 (Greenspan) ¶283.
                                                   26
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 that any of the Directors requested or received an analysis of risks associated with the financial

 covenants in the DIP financing, or any of the information needed to determine whether such an

 analysis had been adequately performed by the advisors and management.” 83

        D.      Defendants’ deposition testimony confirms their breach of fiduciary duty.

        In their depositions, the Director Defendants “were not able to identify any materials they

 received or analyzed that provide sufficient information for them to assess the covenants, risks of
                                         84
 default, or consequences of default.”        Here are some examples.

        Bekenstein

        Defendant Bekenstein, the co-chair of Bain Capital, admitted that he failed to take any

 steps to satisfy his fiduciary duty to assess the Company’s ability to comply with financial

 covenants in the DIP financing.

         9      Q. In 2017, before Toys "R" Us filed for
        10   bankruptcy, did you conduct any assessment to
        11   determine whether Toys "R" Us would likely be
        12   able to comply with its financial covenants
        13   under the DIP financing?
        15      A. No.

 Ex. 81 (Bekenstein) 21:9-15.
                                                                               85
        Bekenstein admitted that he has no proof whatsoever on the subject:

         2    Q. Do you have any information you can
         3 provide the jury on your -- the subject of your
         4 analysis of the DIP budget and forecast?
         6    A. No, I cannot.

 Ex. 81 (Bekenstein) 66:2-6.

        Raether


 83
    Ex. 70 (Greenspan) ¶85.
 84
    Ex. 70 (Greenspan) ¶86.
 85
    Ex. 81 (Bekenstein depo.) 29:5-30:13, 31:1-24, 32:22-33:2, 49:17-50:1, 54:3-55:11, 56:23-
 57:4, 60:5-19, 61:6-12, 63:21-64:1, 64:15-18, 65:5-24, 66:2-6.
                                                    27
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        Defendant Raether was head of the portfolio management committee at KKR, having

 joined KKR in 1980. 86 Raether testified that he produced in discovery his complete files of

 board materials for the Company and that he had not destroyed or thrown away any such

 materials, or any of his own notes or analysis. 87 Raether testified that, in preparing for his

 deposition, he did not “see any documentation that would substantiate” that he had “obtained the

 necessary information” to assess the DIP financing. 88

        At his deposition, Raether was presented with each set of the materials he received for

 each of the board meetings, as well as his own handwritten notes from each of the meetings. In

 each case, Raether confirmed that he did not receive the information needed to make an

 assessment of the covenants: 89



        September 6 materials. 90

        September 13 materials. 91

        September 15 materials. 92

        September 18 materials. 93




 86
    Ex. 77 (Raether depo.) 13:8-10; Ex. 65 (2017 TRU 10K) at 113, pdf 118.
 87
    Ex. 77 (Raether) 159:7-14, 163:5-13, 431:9-12, 497:24-498:9.
 88
    Ex. 77 (Raether) 197:9-17.
 89
    Ex. 70 (Greenspan) ¶86.
 90
    Ex. 155 (9’6’17 Raether board materials [DEFS_0124536]); Ex. 77 (Raether) 76:17-78:6;
 392:17-21, 397:20-398:8, 499:24-500:5, 503:9-21, 504:13-25, 507:1-10.
 91
    Ex. 175 (9’13’17 Raether board materials [DEFS_0124585]); Ex. 77 (Raether) 507:11-18,
 514:2-515:13, 516:2-6, 519:23-520:19; Ex. 77 (Raether) 186:9-20, 188:25-189:13, 190:6-20,
 197:9-16.
 92
    Ex. 43 (9’15’17 to BOD re DIP and attach [DEFS_0004093]); Ex. 77 (Raether) 525:16-
 526:11.
 93
    Ex. 53 (9'18'17 Raether board materials [DEFS_0124607]); Ex. 77 (Raether) 527:11-15,
 531:5-11; 531:23-532:9.
                                                  28
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         For example, upon reviewing the collection of materials for the September 18, 2018,

 board meeting, Raether testified:

         5     Would you agree, sir, that in your
         6 September 18, 2017 materials, you were not
         7 provided the terms of the financial covenants for
         8 the DIP financing?
         10    A.      There -- they are not in the document
         11 that we just went through, no.

         23     Would you agree that in your
         24 September 18, 2017 board materials, you did not
         25 receive any information regarding a forecast for
         1 Toys "R" Us and whether it could comply with the
         2 financial covenants?
         3      A.     There is no forecast in the materials
         4 that we have just gone through.
         5      Q.     Would you agree, sir, that in your
         6 September 18th materials, you received no
         7 information constituting a sensitivity analysis
         8 for Toys "R" Us?
         9      A.     Not in this material, no.

 Ex. 77 (Raether) 531:5-11; 531:23-532:9.

         After reviewing at his deposition all of the board materials that Raether had maintained in

 his file, Raether testified as follows:

         23     Would you agree, sir, that in the
         24 board materials that were in your file, the board
         25 materials that we reviewed, that there was no
         Page 533
         1 identification of the terms of the financial
         2 covenants that were agreed to for the DIP lenders?
         3      A.      In the materials that we just
         4 reviewed, there were not.
         5      Q.      Would you agree that in the materials
         6 we reviewed there was no forecast for Toys "R" Us
         7 assessing how it -- whether it could comply with
         8 the financial covenants?
         9      A.      There was no forecast that would
         10 indicate whether we could comply.
         11     There was a forecast of cash flow, but
         12 it did not tie to the covenants that were

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        13 ultimately agreed to in those materials.
        14     Q.      Would you agree that there was no
        15 sensitivity analysis in those materials?
        16     A.      I would agree there was no sensitivity
        17 analyses in the materials we reviewed.


        Page 534
        24     We've looked at the materials for
        25 September 2008 -- for September 2017 that were in
        1 your files or that were presented to the board.
        2      In those materials, can you point the
        3 jury to any information that would have allowed
        4 you to adequately assess whether Toys "R" Us could
        5 comply with financial covenants of the proposed
        6 DIP financing?
        7      A.      Not in the materials that we reviewed.

 Ex. 77 (Raether) 532:33-533:17; 534:24-535:7.

        In addition, Defendant Raether testified that he could not recall that any of the advisors or

 management had determined that the Company had a sufficient liquidity cushion for the DIP

 financing:

        21     Before you voted on September 18th to
        22 approve the DIP financing, had any of the advisers
        23 or management of Toys "R" Us told you that they'd
        24 done an assessment of Toys "R" Us' forecast going
        25 forward and determined that there was a sufficient
        Page 552
        1 minimum liquidity for the financial covenants that
        2 were agreed to?
        3      A.     I don't recall that specifically, no.
        4      Q.     Did you ever see any information
        5 suggesting to you that Toys "R" Us had sufficient
        6 cushion for the financial covenants that were
        7 agreed to?
        8      A.     I don't recall seeing any specific
        9 information, no.
        10     Q.     Did you receive an assurance from
        11 anyone before you voted on September 18th that the
        12 forecast showed that Toys "R" Us had a sufficient
        13 cushion to comply with the financial covenants
        14 that were agreed to?

                                                 30
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        15      A.     I don't recall.

 Ex. 77 (Raether) 551:21-552:15).

        Silverstein

        Defendant Silverstein had been a senior executive of Vornado since 1998, serving as

 executive vice-president, head of capital markets, and co-head of acquisition. 94 Silverstein was

 asked whether she was “provided a sensitivity analysis, “provided a downside case analysis,”

 “told about the budget covenant,” “provided information about what the DIP term loan covenants

 were,” “provided any information about revenue growth assumptions” or “assumed sales

 projections, assumed profit margins, cost projections,” or did “anything to assess the other

 covenants,” and to all of these questions answered “I don’t recall.” 95 And she could not “point

 to any material” she received “that provided details that would allow you to analyze the

 reasonableness of the DIP budget.” 96

        Macnow

        Defendant Macnow was the “chief financial officer, and chief administrative officer” of
                                                                               97
 Vornado, and he was “in charge of all of the financial affairs of Vornado.”        He testified that he

 does not recall “any forecasting that was done to determine whether or not Toys ‘R’ Us could

 meet the financial covenants of the DIP financing.” 98 And Macnow failed even to request that

 management or the advisors provide a risk assessment:

        9   Q. Did you ask Toys "R" Us
        10 management or any of their advisors to do


 94
    Ex. 80 (Silverstein depo.) 6:25-7:16.
 95
    Ex. 80 (Silverstein) 182:1-7, 184:25-185:5, 232:10-19, 194:20-195:6, 227:16-19.
 96
    Ex. 80 (Silverstein) 226:2-7; see Ex. 80 (Silverstein depo.) 126:12-15, 150:21-151:22, 161:5-
 20, 181:16-182:7, 182:19-183:11, 184:15-185:5, 194:20-195:6, 199:10-23, 208:4-15, 208:20-24,
 211:24-212:9, 226:2-7, 232:25-233:13.
 97
    Ex. 83 (Macnow depo.) 7:19-8:11.
 98
    Ex. 83 (Macnow depo.) 65:17-21, 86:19-23.
                                                 31
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        11 a risk assessment on the DIP financing?
        13    A. I did not.

 Ex. 83 (Macnow depo.) 101:9-13, 101:15-103:8.

        Goodman
                                                          99
        Defendant Goodman was a “retired executive.”           Goodman was asked at his deposition

 to examine the materials provided to the Board, and he admitted that the materials did not

 identify the financial covenants for the DIP financing. 100

        12   Q. Is there any discussion of
        13 covenants in this document?
        14   A. No.

 Ex. 82 (Goodman depo.) 173:12-14.

        Goodman testified that he did not remember anything about what was said on the subject
                         101
 of the DIP financing.

        20    Q. In as much detail as you can
        21 recall, can you tell me what was said in
        22 the board meetings on the subject of
        23 whether Toys "R" Us should take on the
        24 3 billion dollars in debtor-in-possession
        25 financing?
        Page 86
         2    A. I don't remember the discussions.
         3    Q. Is there anything you can recall
         4 about those meetings?
         5    A. About the specific -- about a
        6 specific meeting? No.

 Ex. 82 (Goodman depo.) 85:20-86:6.

        Goodman testified that, as a director, he knew his fiduciary duties required that he

 “maintain thorough records” of his decision-making process, and document “the reasons for



 99
    Ex. 82 (Goodman depo.) 7:3-9.
 100
     Ex. 82 (Goodman depo.) 103:11-104:1, 158:20-159:16, 163:8-164:10.
 101
     Ex. 82 (Goodman depo.) 86:21-87:6.
                                                 32
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 making those decisions.” 102 Goodman testified, however, that he did not make any such record,

 beyond what is in the minutes of the board meetings, and that “[t]he only thing that’s in the
                                               103
 minutes is the words, ‘Discussion ensued.’”

        12      Q. So those minutes of the board
        13   meetings, that's the only written record
        14   that you're aware of, of what was said in
        15   those board meetings, is that right?
        16      A. It's the only written record,
        17   yes.
        18      Q. And sitting here today, you don't
        19   have a recollection of anything
        20   specifically that was said in any of those
        21   board meetings, is that right?
        22      A. That's correct.

 Ex. 82 (Goodman depo.) 87:12-22.

        Levin

        Defendant Levin had been with Bain for 28 years, including as a partner for 15 years. He

 testified: “I don’t recall doing my own independent analysis” “to assess whether Toys ‘R’ Us

 would be able to comply with its financial covenants.” 104 He testified that he reviewed “the

 document I got on August 17,” and “that would be what I recall I did.” Id. As discussed above,

 the August 17 document was an early forecast projecting insufficient liquidity. And Levin

 testified that the August 17 forecast was not sufficient “to reach a conclusion as to whether or not

 Toys ‘R’ Us is going to be able to comply with its financial covenants” and “I couldn’t use this

 model” “to make an assessment of whether Toys ‘R’ Us could comply.” 105

        Taylor



 102
     Ex. 82 (Goodman depo.) 41:1-11, 45:16-46:7, 50:2-10.
 103
     Ex. 82 (Goodman depo.) 87:3-6, 178:5-179:5. see Ex. 82 (Goodman depo.), 103:11-104:1,
 104:7-105:16, 108:3-10.
 104
     Ex. 78 (Levin) 325:5-15.
 105
     Ex. 78 (Levin depo.) 309:12-310:12, 311:23-312:6; Ex. 78 (Levin depo.) 308:10-22.
                                                     33
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        Defendant Taylor was a partner, investor, and senior executive at KKR. He testified that

 he did not perform any financial analysis “myself as an individual” on “the subject of whether

 Toys ‘R’ Us should take on DIP financing,” nor did he “ask anyone at KKR to perform any

 financial analysis.” 106 He reviewed only “the analysis that our advisers provided or the
                      107
 company provided.”

        But Taylor admitted that the information in the materials provided to the Board did not

 contain “an assessment of the ability of Toys ‘R’ Us to comply with its financial covenants” and

 would not have been “sufficient for a board member to make an assessment.” 108

        20      Q. In this presentation that we just looked
        21   at, was there anywhere in writing an analysis by any
        22   of the financial advisers or management about the
        23   likelihood that Toys "R" Us could comply with its
        24   financial covenants?
         1         THE WITNESS: I don't see in writing a
         2   discussion of that topic.

 Ex. 79 (Taylor) 242:20-243:2.

        Taylor further testified that he does not recall receiving any such analysis from the

 advisors or management.

        Page 201
        20     Q. Did you ever receive any written materials
        21 that provided an analysis from the advisers
        22 regarding the ability to comply with the financial
        23 covenants for the DIP financing?
        24     A. I don't recall.

        Page 202
        11       Did you ever have any discussions with
        12 anyone from Toys "R" Us management or a Toys "R" Us
        13 employee concerning the DIP financing before the
        14 board voted to take on the DIP financing?


 106
     Ex. 79 (Taylor) 187:2-15.
 107
     Id.
 108
     Ex. 79 (Taylor) 236:5-23.
                                                 34
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        15   A. I don't have a specific conversation that
        16 comes to mind or recall. It doesn't mean it didn't
        17 happen, but I don't recall it.

 Ex. 79 (Taylor depo.) 201:20-24, 202:11-17.

        Taylor also testified that he does not recall getting any of the key information he would

 need to make an assessment of whether the Company would comply with the financial

 covenants:

        20        Q. If you, Nate Taylor, were going to
        21     undertake to make an assessment of whether
        22     Toys "R" Us could comply with the financial
        23     covenants under the DIP financing that it was
        24     expecting to enter, one of the things you would need
        25     are the terms of the covenants; right?
         1       A. Correct.
         2       Q. Another thing you would need would be the
         3    forecast; right?
        4        A. Correct.
        5        Q. You would also need to know some of the key
        6     assumptions underlying the forecast; right?
        7        A. Correct.

        22    Were you provided the terms of the
        23 financial covenant so that you could do your own
        24 analysis of whether they were reasonable or whether
        25 they were risky?
        1     A. I don't recall.

        4      Q. Were you provided the forecast for
        5 Toys "R" Us together with the key assumptions so
        6 that you could do your own analysis?
        8      THE WITNESS: I don't recall.

        21       Q. Were you provided with any scenarios?
        23       THE WITNESS: I don't recall.

 Ex. 79 (Taylor depo.) 207:20-208:7, 208:22-209:1, 209:4-8, 209:21-23. 109



 109
    see Ex. 79 (Taylor depo.) 225:8-14, 201:25-202:8, 202:11-17, 206:5-12, 209:21-23, 245:4-24,
 217:5-9, 217:10-13, 217:14-19, 231:6-17, 237:1-9, 242:20-243:2, 248:18-249:6, 221:14-18,
 223:5-19, 251:17-25, 252:2-16, 252:17-253:2, 256:22-257:3, 257:4-11, 257:13-16, 257:17-258:1,
                                                  35
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         E.       Brandon and Short knew that the Company could not comply with the
                  financial covenants.

         The conduct of Brandon and Short was even worse than the other Defendant Directors:

 Brandon and Short had access to the Company’s internal forecast and knew that the Company

 could not comply with the financial covenants.

         To begin, Short knew that the forecast used to prepare the DIP budget was being

 manipulated and was based on sales projections that were far above trend. As of September

 2017, the Company had a well-established trend of declining revenues and margins. For

 example, the Company “had experienced U.S. same store sales declines of 2.2% in the second

 half of 2016, which worsened to 6.5% in the first half of 2017,” and margin rates that were down

 over 2 percentage points. 110 Using a same store sales rate consistent with the existing trend

 would result in forecasting a $290 million liquidity shortfall, even with the maximum available
                  111
 DIP financing.

         The first DIP financing forecast prepared (dated August 17, 2017) was purportedly

 “based on the latest thinking” from management, and projected sales declines of only -0.6% for

 2018 (much better than the existing trend). 112 But even these unrealistic assumptions resulted in

 forecasting insufficient liquidity. 113

         But rather than acknowledging that the DIP financing path would not work, Short went

 back to the drawing board and produced new projections that dramatically inflated the projected


 259:2-10, 263:7-14, 269:12-270:4, 274:2-11, 277:10-18, 279:13-24, 281:21-282:2, 282:12-24,
 282:25-283:6, 210:12-15, 210:16-23, 211:11-18.
 110
     Ex. 70 (Greenspan) ¶¶82, 120; Ex. 9 (2'28'17 2016 Financial Update [DEFS_0125708]) at 3;
 Ex. 16 (6’20’17 June BOD Financial Update [TRU-Trust0000373950]) at 5; Ex. 5 (2’7’18
 weekly board update [DEFS_0125623]) at 3.
 111
     Ex. 70 (Greenspan) ¶¶131-132.
 112
     Ex. 70 (Greenspan) ¶118; Ex. 30 (8'17'17 attach to Levin Silverstein Sunrise Draft DIP Sizing
 [DEFS_0123956]) at 4.
 113
     Ex. 70 (Greenspan) ¶¶63-64, 118.
                                                  36
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 revenues and margins. This resulted in a DIP forecast projecting sales growth for 2018 of a

 positive 4.0%. 114 The revised forecast stated that “[t]he Company has recently updated its

 forecast based on its Turnaround Plan,” and that this sale growth was “[b]ased on management’s
                         115
 Turnaround Scenario.”         Short admitted that he knew that “the actual same-store sales growth

 for the first half of 2017 had been minus 6.5 percent.” 116 And he admitted that he knew that this

 revised forecast was “based on an assumption that same-store sales do better” than “the

 trend.” 117

         But Brandon and Short also knew (as demonstrated in detail below), that there was no

 “Turnaround Plan,” that it was “highly unlikely the Company could come up with a viable

 turnaround plan,” and that, “if developed, such a plan would take years to implement and

 produce meaningful results.” 118 Consequently, there “was nothing presented … to substantiate

 that results …. would deviate from the exiting sales trends,” which projected lower sales, not

 greater sales. 119 Accordingly, Brandon and Short knew that the projections used for the forecast

 could not reasonably be achieved.

         Worse still, Brandon and Short knew that even the manipulated revenue forecast

 projected that the Company could not comply with financial covenants for the DIP Term loan.

 Commencing on the evening of September 18, 2018 (after the Board vote to approve the DIP




 114
     Ex. 44 (9’15’18 attach to Finnegan [TRU-Trust0000377785]) at 4, attached to Ex. 45
 (9’15’18 Finnegan DIP budget cleansed [TRU-Trust0000377782]); Ex. 87 (Short depo.) 505:2-7.
 115
     Ex. 44 (9’15’18 attach to Finnegan [TRU-Trust0000377785]) at 4, attached to Ex. 45
 (9’15’18 Finnegan DIP budget cleansed [TRU-Trust0000377782]).
 116
     Ex. 87 (Short depo.) 503:24-504:2.
 117
     Ex. 87 (Short depo.) 504:3-10.
 118
     Ex. 70 (Greenspan) ¶118.
 119
     Ex. 70 (Greenspan) ¶118.
                                                  37
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 financing), Brandon and Short participated in negotiations for two new financial covenants, a
                                                                           120
 $175 million liquidity covenant, and a January revised budget covenant.

        The $175 million liquidity covenant “would be $175 million on top of the $125 million

 excess availability covenant in the ABL/FILO DIP loan.” 121 Even using the far-too-optimistic

 revenue forecast based on a purported Turnaround Plan, the new $175 million liquidity covenant
                                                                                           122
 resulted in “a cushion of less than $50 million” which “created grave risk of default.”         Short

 knew that the advisors “had determined that a $200 million liquidity cushion” was required. 123

 With a $50 million liquidity cushion, “a small bump in the road of projected better operations

 would erase that cushion and cause a default in the liquidity covenant.” 124 Therefore, “any

 downside case analysis, would have demonstrated that the $175 million minimum liquidity

 covenant could not be satisfied.” 125

        A Lazard employee wrote an email stating that he had explained to Mike Short “last

 night” that the $175 million covenant “basically left him with $50m liquidity cushion in trough

 month,” “which gives them angst.” 126 After the effect of the $175 million liquidity covenant




 120
     Ex. 70 (Greenspan) ¶¶97-108; Ex. 48 (9’18’17 2244 pm [LZ-TRU0092221]); Ex. 47 (9’18’17
 2228 pm Dobleman [TRU-Trust0000138093]); Ex. 49 (9’18’17 2319 pm Dobleman [TRU-
 Trust0000072139]); Ex. 46 (9’18’17 11PM draft [TRU-Trust0000138218]) at 67; Ex. 48
 (9’18’17 2244 pm [LZ-TRU0092221]) at 4; Ex. 50 (9’18’17 2427 am Short re covenants [TRU-
 Trust0000336078]); Ex. 56 (9’20’17 0612 am Kilkenney [TRU-Trust0000075262]); Ex. 57
 (9’20’17 0652 am [TRU-Trust0000075725]).
 121
     Ex. 70 (Greenspan) ¶103; Ex. 56 (9’20’17 0612 am Kilkenney [TRU-Trust0000075262]).
 122
     Ex. 70 (Greenspan) ¶111.
 123
     Ex. 70 (Greenspan) ¶112; Ex. 37 (8’31’17 attach DIP sizing [TRU-Trust0000373909]) at 3;
 Ex. 42 (9’15’17 Lal 144 not sufficient [LZ-TRU0079112]).
 124
     Ex. 70 (Greenspan) ¶111.
 125
     Ex. 70 (Greenspan) ¶133.
 126
     Ex. 70 (Greenspan) ¶115; Ex. 59 (9’21’17 Kurtz re negotiations [LZ-TRU0086423]) at 1.
                                                 38
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 was explained to Short, he wrote an email on the morning of September 20, 2017, to “Agree”
                                         127
 that the new covenant “doesn’t work.”

         The January revised budget covenant (covenant 6.16), was even harsher than the $175

 million liquidity covenant. It required the Company to present a reforecast in January 2018

 based on actual results through the holiday season demonstrating that the Company would

 achieve “liquidity not less than that contemplated by the existing Budget” (i.e., the DIP

 budget). 128 As Josh Sussberg of Kirkland & Ellis testified, the language of 6.16 was “



                                                         .” 129

        “The effect of this covenant was zero cushion from achieving the DIP budget,” and that

 virtually assured a default in January 2018. 130 Normally “a retailer would not trigger a default

 on customary minimum liquidity covenants in January, when they are typically flush with cash

 after the holidays.” But covenant 6.16 was structured so that it would trigger a default in January

 based on projections of future liquidity. 131 “Given the inherent uncertainties of any retail

 operation in bankruptcy, and especially a DIP budget projecting the reversal of adverse sales and

 margin trends, … to have a covenant which had zero cushion” meant that a “default on the DIP

 loan was likely if not inevitable.” 132 “In fact, the Budget covenant was structured so that any

 downside case necessarily would require a reforecast and likely covenant breach.” 133




 127
     Ex. 70 (Greenspan) ¶104; Ex. 57 (9’20’17 0652 am [TRU-Trust0000075725]).
 128
     Notice of Filing of NA DIP (Bk. Dkt. 158) at pdf 505.
 129
     Ex. 84 (Sussberg) 97:14-25; id. at 96:11-16, 99:22-100:15.
 130
     Ex. 70 (Greenspan) ¶136.
 131
     Ex. 70 (Greenspan) ¶136.
 132
     Ex. 70 (Greenspan) ¶136.
 133
     Ex. 70 (Greenspan) ¶137.
                                                  39
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            When the January revised budget covenant was first presented on the evening of

 September 18, Dave Brandon and Mike Short discussed it with Josh Sussberg (from Kirkland).

 Sussberg then wrote: “Just spoke to Dave and Mike” and “[t]his just isn’t going to work.” 134

           Because the $175 million liquidity covenant and January revised budget covenant were

 unacceptably onerous, the Company management and advisors attempted at the last minute to

 find an alternative Term DIP loan lender that would not require these covenants. 135 They

 reached out on September 20 to the lead ABL/FILO DIP lender, JP Morgan, to see if it would be

 willing to step up and provide the $450 million Term DIP Loan as well as the ABL/FILO

 loan. 136 JP Morgan initially appeared willing to do so, with a Company employee reporting on

 the evening of September 20: “All systems go on their end.” 137

           But within a few hours, after JP Morgan assessed the loan documentation and the
                                                                                 138
 collateral package that was offered, they declined to make the DIP Term loan.         When JP

 Morgan was unable to do so, the Company had to accept a Term DIP loan that included both the

 January revised budget covenant (6.16) and the $175 million minimum liquidity covenant
           139
 (7.18).         Short signed the DIP Term loan September 22, 2017. 140

           Just like the other Director Defendants, Brandon and Short never prepared, or received

 from advisors, any downside case analysis, much less a downside analysis demonstrating that the

 Company would be able to satisfy the financial covenants. Worse yet, Brandon and Short knew



 134
     Ex. 48 (9’18’17 2244 pm [LZ-TRU0092221]) at 4.
 135
     Ex. 70 (Greenspan) ¶116.
 136
     Ex. 70 (Greenspan) ¶105; Ex. 58 (9’21’17 Bhandari re negotiations [TRU-Trust0000041548])
 at 4-5; Ex. 59 (9’21’17 Kurtz re negotiations [LZ- TRU0086423]) at 7-8.
 137
     Ex. 58 (9’21’17 Bhandari re negotiations [TRU-Trust0000041548]) at 4-5; Ex. 59 (9’21’17
 Kurtz re negotiations [LZ- TRU0086423]) at 7-8; Ex. 70 (Greenspan) ¶105.
 138
     Ex. 70 (Greenspan) ¶¶106-107.
 139
     Ex. 70 (Greenspan) ¶108; Notice of Filing of NA DIP (Bk. Dkt. 158) at 505, 522.
 140
     Notice of Filing of NA DIP (Bk. Dkt. 158).
                                                   40
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 that the revenue forecast could not be achieved because it was based on a purported “Turnaround

 Plan” that did not exist. And they knew that even that unrealistic forecast did not project a

 sufficient liquidity cushion for the $175 million minimum liquidity covenant or the January
                                                                                            141
 budget covenant. Accordingly, they knew the Company was virtually certain to default.

        It “was virtually inevitable that TRU would default on its covenants,” and “[t]here was

 nothing about the default and the performance that wasn’t in plain sight at the time this was

 done.” 142

        F.      The Director Defendants abdicated their duty and entirely failed to assess the
                risks of the turnaround strategy or to consider the alternative of an
                immediate wind-down.

        As Defendants admit, their fiduciary duties required them to consider and assess all

 reasonable alternatives before settling on the plan to max out DIP financing and attempt a

 turnaround.

        For “any retail business experiencing such deteriorating performance and losses that it

 needed to consider filing bankruptcy in 2017, the option of an orderly wind-down of the business

 should have been evaluated.” 143 After all, in the ten years preceding September 2017, only 16%

 of large retail bankruptcies resulted in successful reorganizations. 144

        Moreover, the Directors knew that the circumstances facing Toys “R” Us were far worse

 than the average retail bankruptcy, which statistically only had a 1 in 6 chance of successful

 reorganization. As demonstrated below, Defendants knew that the Company “was losing money,

 had declining sales, was based on a failed business model, and had not identified a business




 141
     Ex. 86 (Greenspan depo.) 131:24-133:22.
 142
     Ex. 86 (Greenspan depo.) 131:24-133:22.
 143
     Ex. 70 (Greenspan) ¶141.
 144
     Ex. 70 (Greenspan) ¶141.
                                                  41
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 model that would turn around the business.” 145 As demonstrated in detail below, the Directors

 had known for more than a year that the Company “met all of the criteria” for a business that

 should be shut down. 146

        But even as the Company’s situation became more acute in 2017, “the Board never once

 considered the option of winding down the U.S. business.” 147 None of the correspondence or

 board minutes for the entire period contain any contemplation or consideration of a wind-down

 or liquidation of the U.S. business. 148

        The Defendants contemplated the future of Toys “R” Us and the options for bankruptcy

 for more than three months (from June 20, 2017, through September 18, 2017), including at nine

 meetings of the Board of Directors. Throughout, the Defendants never once considered the

 option of liquidating the U.S. business, or asked for any analysis of such a liquidation. 149

        Defendants do not dispute that the Directors gave no consideration to any restructuring

 alternative other taking on DIP financing. For example, Defendant Raether testified:

         1    Q. Did management or the advisors
         2 consider the alternative of a structured
         3 wind-down of the company in Chapter 11, rather
         4 than taking on DIP financing?
         5    A. Not that I recall.


 145
     Ex. 70 (Greenspan) ¶142.
 146
     Ex. 70 (Greenspan) ¶142.
 147
     Ex. 70 (Greenspan) ¶143.
 148
     Ex. 70 (Greenspan) ¶¶140-156.
 149
     Ex. 16 (6’20’17 June BOD Financial Update [TRU-Trust0000373950]); Ex. 21 (7’26’17
 Brandon Sprayregen [TRU-Trust0000060190]) (“We are off to the races…. Understand the gig
 and that we just want to do this once!”); Ex. 18 (7’27’17 Brandon Sussberg [TRU-
 Trust0000060195]) (“The mission is important! Thanks in advance for all you are going to do to
 help us get through it successfully.”); Ex. 22 (7’29’17 Brandon Boggs [TRU-
 Trust0000021126]); Ex. 25 (8’3’17 Brandon talking points [TRU-Trust0000124186]); Ex. 26
 (8’9’17 BOD minutes [TRU-Trust0000374087]); Ex. 29 (8’12’17 BOD minutes [TRU-
 Trust0000029163]); Ex. 36 (8’30’17 BOD minutes [DEFS_0053984]) at 3; Ex. 39 (9’6’17
 agenda BOD [TRU-Trust0000126713]); Ex. 40 (9’13’17 board minutes [TRU-
 Trust0000165899]); Ex. 52 (9’18’17 BOD minutes [DEFS_0023490]).
                                                  42
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 Ex. 77 (Raether) 114:1-5.

        10         Did you consider whether there would
        11   be advantages to Toys "R" Us if it was to start
        12   an immediate structured wind-down rather than
        13   taking on the $3 billion in DIP financing?
        14      A. I have no recollection of any
        15   discussion of that kind.

 Ex. 77 (Raether) 116:10-15.

        For example, Defendant Macnow testified:

        11    Q. At the time that the DIP
        12 financing was being considered, did the
        13 Toys "R" Us board consider liquidating
        14 Toys "R" Us instead?
        15    A. No.

 Ex. 83 (Macnow depo.) 36:11-15, 38:12-20.

        For example, Defendant Taylor testified:

        14    Q. Did the Toys "R" Us board of directors
        15 consider any alternative other than taking on DIP
        16 financing when discussing what to do if the company
        17 went into bankruptcy?
        18    A. I don't recall.

 Ex. 79 (Taylor) 221:14-18.

        This was not a situation where the Directors conducted a cost-benefit analysis assessing

 the option of commencing a wind-down versus attempting a turnaround and then merely used

 poor judgment. The Directors entirely abandoned and abdicated their fiduciary duties. They

 made no effort whatsoever to consider the wind-down alternative.

        At no point did any of the Defendants “ask for an assessment of a winddown or sale of

 the domestic business or a comparison of the likely values preserved for creditors under a wind-




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 down scenario, versus the DIP financing ‘Hail Mary’ they were considering.” 150 In fact, the

 Defendants did not receive an assessment of either (i) the likely results and sensitivity analysis

 for a wind-down scenario, or (ii) the likely results and sensitivity analysis for maxing out the DIP

 financing and attempting a turnaround. 151 They “conducted no such comparison.” 152

        As Defendant Macnow testified:

        11   Q. Was there a liquidation analysis
        12 done for Toys "R" Us prior to its Chapter
        13 11 filing?
        14   A. Not that I recall.

         6   Q. Prior to approving the Chapter
         7 11 filing in the DIP financing, did the
         8 board of directors request a liquidation
         9 analysis be made?
        10    A. Not that I'm aware of.

 Ex. 83 (Macnow depo.) 183:11-14, 184:6-10.

        Their actions reflected a “we don’t care about the risks attitude.” In re Walt Disney Co.

 Derivative Litig., 825 A.2d 275, 289 (Del. Ch. 2003), aff’d Brehm v. Eisner (In re Walt Disney

 Co. Derivative Litig.), 906 A.2d 27, 63 (Del. 2006) (holding that bad faith may be shown by

 evidence demonstrating a “conscious[] and intentional[] disregard[] [of] responsibilities,

 adopting a ‘we don't care about the risks’ attitude”).

        G.      Defendants knew that attempting a turnaround was an implausible “Hail
                Mary.”

        The Director Defendants “had ample warning that the Company’s U.S. business met all

 the criteria for a business that needed to be shut down: it was losing money, had declining sales,

 was based on a failed business model, had no viable turnaround plan, had no reasonable prospect


 150
     Ex. 70 (Greenspan) ¶157.
 151
     Ex. 70 (Greenspan) ¶157; Ex. 79 (Taylor) 225:8-14; Ex. 83 (Macnow depo.) 53:25-54:3,
 183:11-14, 183:25-184:18.
 152
     Ex. 70 (Greenspan) ¶157.
                                                  44
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 of developing a viable turnaround plan, and had insufficient capital or time to implement a
                     153
 turnaround plan.”         Because there was no question that the U.S. business needed to be

 shuttered, the Directors should have ordered wind-down planning to commence no later than

 August 2017, thereby enabling a liquidation of U.S. stores to take advantage of the Holiday

 season, allowing a less-rushed sales process for disposing of international subsidiaries, and

 avoiding more than $500 million dollars in losses for the Company. But Defendants failed even

 to order planning for a liquidation until mid-February when covenant defaults forced a

 liquidation commencing in March 2018.

        This was not merely poor judgment. Defendants took the path that advantaged their

 personal interests to the detriment of the Company. Defendants in fact knew that the turnaround

 strategy was highly improbable, and that delaying liquidation would generate large losses. But

 those losses would be borne by the Company’s creditors, not by the three controlling

 shareholders. And the only way for those shareholders to have a chance at generating value was

 by attempting a Hail Mary turnaround. Defendants entirely abdicated and abandoned their

 fiduciary duty to consider reasonable alternatives, acted in bad faith, and breached their duty of

 loyalty.

        “If an existing business is losing money and trending downward, it does not make sense

 to continue in business unless the business can be turned around.” 154 Under those

 circumstances, “continuing operations that lose money does not preserve value; it does the

 opposite by destroying value.” 155 In that case, “the best alternative is to commence an orderly




 153
     Ex. 70 (Greenspan) ¶158.
 154
     Ex. 70 (Greenspan) ¶159.
 155
     Ex. 70 (Greenspan) ¶159.
                                                   45
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 winddown or sale, i.e., a winddown performed in a manner that will maximize the value of the
                                                           156
 assets that can be distributed to the stakeholders.”

        Moreover, as shown below, all of these criteria were present, and the Defendants knew it.

                1.        The Directors knew that the Company was losing money, and that its
                          sales, market share, and margins were trending down.

        As of the summer of 2017, the Directors were well aware that the Company’s domestic

 operation was losing money, that the long-term trends were lower market share, sales, and profit

 margins, and that the downward trend was even worse in the first half of 2017. 157

        Defendants received regular financial updates and each of them personally signed the
                               158
 annual financial reports.           As Defendants knew, for many years the Company had been
                         159
 recording net losses.

        And 2017 was no different. The Company lost money in the first half of 2017 and was

 projected to continue losing money while in bankruptcy. 160 In fact, for FY 2017, the Company

 lost an additional $437,515,000 from operations (i.e. without even including the large bill for
                               161
 restructuring expenses).



 156
     Ex. 70 (Greenspan) ¶159.
 157
     Ex. 70 (Greenspan) ¶160; Ex. 78 (Levin depo.) 126:22-127:7; Ex. 96 (Levin depo. notes re
 2017 situation) (as of June 2007, “information that the board knew about Toys ‘R’ Us’s
 situation” as of “June ’17” included “market share lower,” “sales lower,” “gross profit margins
 lower,” and “company losing money”); Ex. 77 (Raether depo.) 48:22-24, 565:24-566:6, 566:12-
 15.
 158
     Ex. 65 (Form 10-K 2017) at 151; Ex. 69 (Form 10-K 2016); Ex. 68 (Form 10-K 2015); Ex. 67
 (Form 10-K 2014); Ex. 66 (Form 10K 2013); Ex. 9 (2’28’17 2016 Financial Update
 [DEFS_0125708]); Ex. 15 (6’20’17 BOD minutes [DEFS_0053970]); Ex. 17 (6’20’17 Raether
 board materials [DEFS_0126153]); Ex. 74 (Q2 2017 – internal analytics [DEFS_0002784]).
 159
     Ex. 70 (Greenspan) ¶166; Ex. 65 (Form 10-K 2017) at pdf 28. As of the beginning of 2017,
 the net losses for Toys “R” Us Delaware (the entity running the U.S. operation) totaled “more
 than $4 billion.” Ex. 70 (Greenspan) ¶162; Ex. 6 (2’2’18 Goulding projections
 [DEFS_0003098]) at pdf 6-7.
 160
     Ex. 70 (Greenspan) ¶¶166-167; Ex. 77 (Raether depo.) 577:24-578:1-9.
 161
     Ex. 70 (Greenspan) ¶¶166-167.
                                                      46
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        Defendants knew that, for years, “the Company’s U.S. market share had declined for both

 toys and baby products. 162 That trend continued in 2017, and at the June 20, 2017, meeting of

 the Board of Directors, Barry told the Directors that “Amazon has overtaken TRU,” which now
                                                              163
 put the Company behind Walmart, Target, and Amazon.

        As Brandon put it, because of “consumer demand” shifting “toward online marketplaces

 and competition from one-stop retailers such as Walmart and Target, the Company’s revenue has

 trended downwards over the past five years.” 164 For years “domestic same store sales had

 declined,” and the profits earned on each sale had also declined as the domestic gross margin rate

 continued to shrink. 165

        Defendants knew that the downward trends were even worse in the first half of 2017. For
                                                        166
 Q1 2017, domestic same store sales were down 6.2%.            And margin rates were down an

 additional 1.70 percentage points. 167 In fact, every sub-category was down, including toys,

 baby, brick & mortar, and dotcom. 168 “This showed vividly not only the problems with the

 traditional brick and mortar stores, but also the failure of TRU’s online strategy,” because “the

 online sales of its competitors were increasing whereas TRU’s were declining.” 169




 162
     Ex. 70 (Greenspan) ¶168; Ex. 9 (2’28’17 2016 Financial Update [DEFS_0125708]) at 4; Ex.
 77 (Raether depo.) 330:20-25, 331:14-332:7.
 163
     Ex. 15 (6’20’17 BOD minutes [DEFS_0053970]) at 2.
 164
     Brandon declaration (Bk. Dkt. 20) at 37, ¶86.
 165
     Ex. 70 (Greenspan) ¶169; Ex. 65 (Form 10-K 2017) at pdf 33.
 166
     Ex. 70 (Greenspan) ¶170; Ex. 16 (6’20’17 June BOD Financial Update [TRU-
 Trust0000373950]) at 5; Ex. 17 (6’20’17 Raether Board materials [DEFS_0126153]) at pdf 26.
 167
     Ex. 70 (Greenspan) ¶171; Ex. 17 (6’20’17 Raether board materials [DEFS_0126153]) at pdf
 30; id. at pdf 26.
 168
     Ex. 16 (6’20’17 June BOD Financial Update [TRU-Trust0000373950]) at 6.
 169
     Ex. 70 (Greenspan) ¶1270.
                                                 47
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        And Defendants knew that the downward trend further accelerated in Q2 2017. 170

 Domestic same store sales were down 6.8%, and the domestic gross margin rate was down 3.10

 percentage points. 171

                2.        The Directors knew that the Company’s outdated business model
                          could not compete.

        The Defendants knew full well that the root cause of the Company’s poor performance

 was that it was operating “an outdated business model that could not succeed against the

 competition.” 172

        The Toys “R” Us business model “succeeds or fails based on the holiday season, when a

 disproportionate share of toys is sold.” 173 But Defendants knew that the Company faced

 competition that assured it could not succeed during the holiday season.

        “During the Holiday season, mass merchandisers such as Walmart and Target” would

 “use aggressive pricing policies and enlarged toy-selling areas … to increase sales and build

 traffic for other store departments.” 174 Toys “R” Us “could not follow the same strategy and cut

 toy prices to near cost because it did not have those large number of other departments that

 would benefit from store traffic.” 175

        Defendants knew that Toys “R” Us also faced increasing competition from Amazon and

 other on-line retailers. 176 As with Walmart and Target, price-cutting on toys by Amazon during


 170
     Ex. 70 (Greenspan) ¶173.
 171
     Ex. 70 (Greenspan) ¶173; Ex. 74 (Q2 2017 – internal analytics [DEFS_0002784]) at pdf 40;
 Ex. 77 (Raether depo.) 201:21-202:6, 203:2-18, 567:3-8, 568:2-8, 568:13-569:8, 569:23-570:9,
 570;18-23.
 172
     Ex. 70 (Greenspan) ¶174.
 173
     Ex. 70 (Greenspan) ¶175; Brandon declaration (Bk. Dkt. 20) at 6 (“The Company’s overall
 annual financial performance is driven by sales during this period.”).
 174
     Ex. 70 (Greenspan) ¶178; Ex. 65 (Form 10-K 2017) at 11, pdf 15, ¶4; Ex. 65 (Form 10-K
 2017) at 7, pdf 10, ¶2; Ex. 77 (Raether depo.) 564:4-11, 564:18-565:3.
 175
     Ex. 70 (Greenspan) ¶180; Ex. 80 (Silverstein) 277:17-278:7.
 176
     Ex. 70 (Greenspan) ¶181; Ex. 80 (Silverstein) 280:21-281:6.
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 the holiday season would drive traffic to its many other departments. 177 Toys “R” Us could not

 compete successfully against Amazon’s combination of broad selection, low prices, well-honed

 e-commerce platform, and next-day delivery (free for Prime members). Id.

        Competition from Walmart, Target, and Amazon had not only been “devastating Toys

 “R” Us for years,” the Defendants knew that this competition “was increasing every year, and

 was more intense in 2017 than the year before.” 178 Defendant Levin testified that as of June

 2017, “the board knew” that “Amazon, Walmart, Target” were “serious competitors,” and that

 the “competition was intensifying.” 179 Defendant Macnow testified that the Company was

 “undergoing disruption” and facing “severe competition” from Amazon, Walmart, and Target
                          180
 that was “increasing.”

        As the Directors learned at the June 20, 2017, meeting of the Board, “Amazon was

 engaged in real-time dynamic pricing, with an automated system that would monitor market

 prices and instantly implement price-cuts in real time.” 181 In addition, “Walmart, the largest toy

 retailer, had acquired an e-commerce platform, … that allowed it to also compete with dynamic

 pricing.” 182 Barry explained to the Directors that “the resulting effects are … lower traffic

 levels, sales and margins,” for Toys “R” Us. 183




 177
     Ex. 70 (Greenspan) ¶182.
 178
     Ex. 70 (Greenspan) ¶¶184, 187.
 179
     Ex. 70 (Greenspan) ¶160; Ex. 78 (Levin depo.) 126:22-127:7; Ex. 96 (Levin depo. notes re
 2017 situation).
 180
     Ex. 83 (Macnow depo.) 28:8-18, 29:13-19.
 181
     Ex. 70 (Greenspan) ¶184; Ex. 15 (6’20’17 BOD minutes [DEFS_0053970]) at point 4.
 182
     Id.
 183
     Ex. 15 (6’20’17 BOD minutes [DEFS_0053970]) at point 4; Ex. 77 (Raether depo.) 203:2-18,
 204:9-23; Ex. 80 (Silverstein depo.) 276:10-277:1; Ex. 83 (Macnow depo.) 96:21-97:15, 98:6-
 99:1.
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         At the June 20, 2017, board meeting, the Directors were expressly told that because of
                                                                      184
 “fierce competition” “customer spending is down across all tiers.”         They were presented with

 the results of a consumer survey demonstrating that consumers were “switching to the

 convenience and pricing” of “Amazon, Target, and Walmart.” 185 And the Board was told that

 the Company faced “unrelenting competition from big box retailers (who use toys as loss-

 leaders) and Amazon (who doesn’t always have a current profit motive),” but the Company

 “cannot engage in price wars and remain profitable.” 186

         In addition to the structural problems with the Toys “R” Us business model, the

 Company’s infrastructure was itself substandard. 187 At the June 20, 2017, board meeting, the

 Directors were reminded that “the current stores are old, dated, and stuck in the 1990’s and in

 need of significant transformation.” 188 The Company’s e-commerce platform was also out of

 date. As Brandon stated in an email to board members in June of 2017, “We are years behind

 everyone else who is a large player in e- commerce and digital marketing right now.” 189

 Moreover, “there was nothing presented to the Board to indicate that these adverse competitive

 pressures would abate, and the upcoming holiday season would not be as bad or worse than the

 prior year.” 190

         The Directors do not dispute that they were well aware of all of these facts. Director

 Levin admitted that as of June 2017 “the board knew” that the “stores were old, stuck in the

 1990’s”, the Company was “years behind in e-commerce,” “Amazon, Walmart, Target,” were



 184
     Ex. 70 (Greenspan) ¶185; Ex. 17 (6’20’17 Raether board materials [DEFS_0126153]) at 12.
 185
     Ex. 70 (Greenspan) ¶185; Ex. 17 (6’20’17 Raether board materials [DEFS_0126153]) at 17.
 186
     Ex. 70 (Greenspan) ¶185; Ex. 51 (9’18’17 attach Brandon chapt. 11 [DEFS_0027298]) at 5.
 187
     Ex. 70 (Greenspan) ¶189.
 188
     Ex. 15 (6’20’17 BOD minutes [DEFS_0053970]) at point 5.
 189
     Ex. 14 (6’7’17 Brandon to Levin [DEFS_0005889]) at ¶8; Ex. 80 (Silverstein) 288:2-19.
 190
     Ex. 70 (Greenspan) ¶188.
                                                 50
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 “serious competitors,” and the “competition was intensifying.” 191 As Brandon put it, the

 business model of Amazon, Walmart, and Target was “impossible to compete with for a

 company such as Toys ‘R’ Us.” 192

                3.      The Directors knew that the Company did not have a viable
                        turnaround plan and could not come up with one.

        Because the Company was operating a fundamentally flawed business model, to survive

 it would need a turnaround plan that included “a transformational change in its business

 model.” 193 Defendants knew that a turnaround required a turnaround plan along with sufficient

 capital and time. 194 For example, Defendant Silverstein testified:

        18        Q. And for Toys "R" Us to turn around and
        19    start improving its -- it's going to need what
        20    we could call a turnaround plan. Right?
        21        A. I think it needed more than -- I think
        22    it needed capital and a turnaround plan.
        23        Q. Well, it would need a turnaround plan,
        24    the capital to fund the turnaround plan, and it
        25    would need time to implement the turnaround
         1   plan. Right?
         2       A. Generally, I -- that's correct, yes.

 Ex. 80 (Silverstein) 284:18-285:2.

        But when Toys “R” Us filed for bankruptcy, Defendants knew that the Company “had

 not yet developed a turnaround plan” and in fact did not even intend to attempt to develop such a




 191
     Ex. 78 (Levin depo.) 126:22-127:7; Ex. 96 (Levin depo. notes re 2017 situation); Ex. 78
 (Levin depo.) 113:2-13, 114:1-6, 114:19-115:21, 116:3-8, 117:21-118:10, 121:9-122:12, 123:23-
 124:19, 136:11-137:1, 142:13-143:9; see, e.g., Ex. 83 (Macnow depo.) 28:8-18, 29:13-19; 96:21-
 97:15, 98:6-99:1; Ex. 80 (Silverstein depo.) 276:10-277:1, 288:2-19; Ex. 77 (Raether depo.)
 203:2-18, 204:9-23; Ex. 81 (Bekenstein depo.) 149:19-150:5, 154:12-155:2, 156:1-17, 158:1-6,
 159:12-16.
 192
     Ex. 70 (Greenspan) ¶188; Brandon declaration (Bk. Dkt. 20) at 24, ¶54.
 193
     Ex. 70 (Greenspan) ¶¶192- 193 (quoting Ex. 33 (Cornershop Advisers presentation, August
 22, 2014 [DEFS_0126325])).
 194
     Ex. 77 (Raether depo.) 359:10-121.
                                                 51
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 plan until January 2018, after the Holiday season.” 195 Defendants restructuring expert, Mr.

 Kost, acknowledged that the Company had not yet formulated “a business plan that would

 provide the foundation for a Plan of Reorganization and successful emergence from chapter 11,”

 and that the plan was to focus “attention on formulating a business plan” “[f]ollowing a

 successful holiday season.” 196

        Kost testified:

         4       Q. Based on your view of the record,
         5   were the defendants aware that as of
         6   September 2018 Toys R Us did not possess a
         7   turnaround plan that would allow it to emerge
         8   from bankruptcy?
         9       A. I -- I think from the record it's
        10    pretty clear that there was not a specific
        11    business plan or plan of reorganization
        12    developed at the time they filed. It was more
        13    of a free fall bankruptcy.

 Ex. 91 (Kost depo) 146:4-13. 197

        For example, Defendant Raether testified:

        17      Q. I understand there were discussions.
        18   I want to know if you were actually presented
        19   with here's our proposed plan, something in
        20   writing?
        21      A. I don't believe there was ever a
        22   finalized plan.
        23      Q. How about a draft plan in writing;
        24   did you ever get that?
        25      A. I don't recall.

 Ex. 77 (Raether depo.) 473:17-25. 198



 195
     Ex. 70 (Greenspan) ¶¶210. Ex. 64 (12'21'17 Transcript - Q3 2017 Earnings Call [TRU-
 Trust0000323034]) at 4, ¶4 (“our business planning process … will be initiated in earnest in
 January”).
 196
     Ex. 72 (Kost) ¶36; Ex. 91 (Kost depo) 139:6-140:7.
 197
     See id. 163:16-21, 210:10-12, 211:8-16, 213:21-214:11.
 198
     Ex. 77 (Raether depo.) 368:5-13, 377:6-10; see Ex. 80 (Silverstein) 293:1-5.
                                                 52
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        And Defendant Bekenstein testified:

        24       Q. In September of 2017 as Toys "R" Us
        25    prepared to enter Chapter 11 bankruptcy, did
         1   Toys "R" Us management present the board of
         2   directors with a specific plan for turning
         3   Toys "R" Us around?
         5      A. I don't recall specifically in 2017
         6   whether they presented a specific plan at that
         7   time.

        19    Q. So after Toys "R" Us enters
        20 bankruptcy, September 2017, did the management
        21 ever present the board with a specific
        22 turnaround plan?
        23    A. I don't recall.

        12      Q. Do you have any evidence that
        13   Toys "R" Us did have a plan?
        14      A. You haven't presented me a document,
        15   and all I have in front of me is this computer
        16   screen and 29 exhibits, so I don't think it was
        17   in one of those 29 exhibits.
        18      Q. Well, I don't want you to limit
        19   yourself to those 29 exhibits. Think back
        20   using your memory, any particular approach you
        21   want to take, but I want to know if you can
        22   identify any evidence that Toys "R" Us had a
        23   plan of reorganization.
         1      A. I don't recall specifically.

 Ex. 81 (Bekenstein) 177:24-178:7, 178:19-23, 198:12-199:1.

        In fact, at the January 10, 2018, meeting of the Board of Directors, Brandon presented an

 update stating that even at that point—four months after entering bankruptcy—a key element of

 their “go forward plan” was coming up with a plan: “Create a Model and Pricing Strategy that

 allows [the Company] to Be Price Competitive.” 199




 199
    Ex. 70 (Greenspan) ¶¶213, 216-17; Ex. 3 (1’10’18 BOD minutes [TRU-Trust0000374746]) at
 2; Ex. 2 (1’9’18 Business Update [REV00328049]) at slide 15.
                                                53
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        The Defendants also knew it was highly improbable that the Company could ever come

 up with a viable turnaround plan. The flawed business model “was not a new problem for the

 Company that had never been tackled.” 200 The Defendants knew that Company had been

 “under heavy assault from Amazon, Walmart, Target” and others “for at least five years, going

 back to the 2012 Holiday season.” 201

        In those five years, management, including new management in 2015 under David

 Brandon, had attempted solutions, including “an extensive cost-cutting program spanning 2015

 and 2016,” “modifications to its inventory management processes,” a “Store of the Future”

 experiment “to test innovative concepts,” “an increased focus on beacon brands, which include

 Star Wars, Lego, Barbie, Nerf,” a “new brand campaign architecture, which focuses on Brand

 Equity, Product Authority and Value,” “various in-store activations,” and “an increased focus on

 feature shops and driving trends at the front of the stores with feature shops.” 202

        None of those initiatives addressed the fundamental problem of the Company’s broken

 business model, and none of them stemmed the margin erosion and loss of market share to

 Amazon, Walmart, and Target. 203 In addition, the Company “had hired highly regarded




 200
     Ex. 70 (Greenspan) ¶222.
 201
     Ex. 70 (Greenspan) ¶¶222-224; Ex. 66 (Form 10-K 2013) at 4-5, 9; pdf 8-9; 12; Ex. 67 (Form
 10-K 2014) at 9, 12-13, pdf 21, 25-26; Ex. 68 (Form 10-K 2015) at 5, 10, pdf 9, 14; Ex. 69
 (Form 10-K 2016) at 10, pdf 14; Form 10-K 2016 at 6, 11, pdf 13, 19; Ex. 63 (11’30’15 Brandon
 report to Board [DEFS_0124903]) at 2 (“I am sure this is all a theme you have heard before: a
 major big-box retailer is using toys as a ‘loss leader’ to drive traffic, Amazon and on-line
 business continues to steal traffic from bricks and mortar, our stores are bigger than they need to
 be…even on Black Friday”); id. at 3 (“The negative trend of traffic/sales in the bricks and mortar
 stores continues”).
 202
     Ex. 70 (Greenspan) ¶195; Brandon declaration (Bk. Dkt. 20) at 23-24, ¶53; Ex. 10 (3'16'15
 KKR PMC discussion [DEFS_0126308]) at 2; Ex. 61 (10’14’15 BOD minutes
 [DEFS_0125435]) at 3, point 5, ¶5; Ex. 60 (9’28’16 BOD minutes [DEFS_0125682]) at 3-4.
 203
     Ex. 70 (Greenspan) ¶224; Ex. 80 (Silverstein) 290:6-11.
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 consultants, including AlixPartners,” but none of them could come up with a solution. 204 The

 Company’s Directors had long and broad business experience, and yet “none of them came

 forward with a solution, or even a plan for finding a solution.” 205

         In addition, the remedies available in bankruptcy “could not be expected to solve the

 problem with the Company’s business model.” 206 For example, because the Company owned or

 had ground leases on over 60% of its real estate, the Company had no ability to renegotiate lease

 rates for the majority of its stores. 207 For the rest of the leases, most were already near market

 rates, which meant that rejecting and renegotiating leases would result in insignificant

 savings. 208

         Likewise, reducing the number of stores was not the answer. The Company had already

 closed 71 of its most unprofitable stores. 209 When the Company modeled the business with a

 smaller number of stores, whether 250, 400, or 650 stores, the models showed that a “smaller

 operation would continue to lose money.” 210 For example, the “forecast for 632 stores” was an

 EBITDA loss of $300.8 million, and the forecast for operating 411 stores was a loss of $329.8

 million. 211

         In addition to not having a turnaround plan, the Defendants also knew that the Company

 had “insufficient capital and time to conduct a turnaround.” 212 The U.S. business was a large



 204
     Ex. 70 (Greenspan) ¶224.
 205
     Ex. 70 (Greenspan) ¶224.
 206
     Ex. 70 (Greenspan) ¶197.
 207
     Ex. 70 (Greenspan) ¶¶198-201.
 208
     Ex. 70 (Greenspan) ¶¶198-203.
 209
     Ex. 70 (Greenspan) ¶205.
 210
     Ex. 70 (Greenspan) ¶¶206-08.
 211
     Ex. 70 (Greenspan) ¶¶207-09; Ex. 8 (2’14’18 BOD update [TRU-Trust0000362575]); Ex. 7
 (2’4’18 BOD minutes [TRU-Trust0000363548]) at 3, point 3; Ex. 4 (2’4’18 Raether board notes
 [DEFS_0124477]) at 3.
 212
     Ex. 70 (Greenspan) ¶¶226-229.
                                                  55
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 enterprise that Brandon estimated would require over $1 billion and at least four years to
                           213
 implement a turnaround.         But the Company had neither the time nor the capital. If the

 Company were to come up with a transformational turnaround plan and start implementing it in

 January 2018 (or even in September 2017), this “left insufficient time for such a plan to affect

 the Company’s course during the bankruptcy proceeding.” 214 As for capital, even with all of the

 DIP borrowing, the DIP budget only allocated $125 million toward store remodels and other

 efforts to improve performance. 215 And the Company had no remaining assets to pledge to raise

 additional capital and was not projected to generate excess cash from operations. 216

        In sum, as the Directors considered the future of the Company in the summer of 2017,

 they knew the following: it had a money-losing business model; it had no turnaround plan; it had

 tried for years to come up with a solution to the broken business model but had failed; conditions

 were getting worse, not better; and the Company lacked the capital for a transformational

 turnaround and was now out of time. Therefore, Defendants knew that “it was implausible that

 the company would come up with a viable turnaround plan” and “highly improbable that such a

 plan would emerge in time.” 217 It had such “a low probability of success” that it was “akin to a

 ‘Hail Mary’ pass at the end of a football game.” 218 This “had been apparent, quite frankly, for

 some period of time, but certainly it was apparent by the time you got into summer and late

 summer of 2017.” 219




 213
     Ex. 70 (Greenspan) ¶227-28; Brandon Decl. (Bk. Dkt. 20) at 31-34, ¶¶72-78.
 214
     Ex. 70 (Greenspan) ¶227.
 215
     Ex. 70 (Greenspan) ¶228; Ex. 38 (9’3’17 Goulding for DIP discussion [TRU-
 Trust0000027886]) at pdf 8, note E.
 216
     Ex. 70 (Greenspan) ¶¶113, 229; Ex. 85 (Kurtz depo.) 108:11-109:15, 111:7-22.
 217
     Ex. 70 (Greenspan) ¶¶225, 229; Ex. 86 (Greenspan depo.) 148:11-150:8.
 218
     Ex. 70 (Greenspan) ¶27.
 219
     Ex. 86 (Greenspan depo.) 124:5-20.
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        Given the facts known to Defendants, there was no objectively plausible reason to keep

 going and not liquidate. As Defendant Bekenstein testified:

        24       Q. Well, we've got a business that we've
        25    identified on this sheet that is losing money,
         1   sales are trending downward, there's no
         2   reasonable path to turn the business around.
         3   Can you tell the jury why it would still make
         4   sense for this company to keep going rather
         5   than liquidate?
         8       A. It really depends on the situation.
         9   Maybe there are situations where it still makes
        10    sense to operate.

        11       Q. Can you give the jury one example of
        12   that?
        15       A. Again, there's so many possibilities
        16   out there in the world that I'm not -- that's
        17   it. I'm not able to tell you the specifics,
        18   but sure, there's got to be reasons why it
        19   might make sense.

        20     Q. Because there are so many
        21 possibilities out there, surely you can
        22 identify one for the jury, can't you?
        24     A. Yeah, I don't -- I could try to be
        25 creative but I'm just guessing and so I
        1 don't -- I'm not -- I can't at this moment come
         2 up with why that's the case. But I'm sure
         3 there are.

        11       Q. Mr. Bekenstein, if we've got a
        12   business that's losing money, sales are
        13   trending downward, there's no reasonable path
        14   to turn the business around, can you identify
        15   for us any situation where it would make sense
        16   to keep going and not liquidate the business?
        19       A. Again, as I said, I can’t right this
        20   moment come up with that situation for you.

        21   Q. Your answer was "I can't right this
        22 moment come up with that situation"; right?
        23   A. I don't recall if those are the exact
        24 words I used, but it sounds close.
        25   Q. And I've asked you that question in

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         1 various ways several different times; right?
         3    A. I think so.
         4    Q. If you come up with that situation
         5 any time today, would you let me know?
         6    A. Yes.

 Ex. 81 (Bekenstein) 76:24-78:3, 78:11-20, 78:31-79:6.

        H.      The Director Defendants’ breaches of duty were exacerbated by conflicts of
                interest.

        Each of the Defendant Directors had conflicting personal interests in deciding whether

 the Company should commence an immediate wind-down or, instead, max out DIP financing to

 continue operating and gamble on a turnaround.

                1.      The six Sponsor Directors had conflicts of interest.

        “A plaintiff may establish that a director lacks independence by alleging with

 particularity that the director is sufficiently loyal to, beholden to, or otherwise influenced by

 an interested party to undermine the director's ability to judge the matter on its merits.” In re

 Oracle Corp. Derivative Litig., No. 2017-0337-SG, 2018 Del. Ch. LEXIS 92, at *47 (Ch. Mar.

 19, 2018) (internal quotes omitted). Each of the six Sponsor Directors had a personal interest in,

 and was beholden to, the Sponsor company that appointed them to the Board.

        “Bekenstein and Levin were appointed to the Board as a consequence of their respective

 relationships with Bain.” 220 Bekenstein was a Managing Director and Co-Chairman of Bain

 Capital, having joined Bain at its inception in 1984. 221 Levin was a Senior Advisor of Bain in

 the private equity business, having been a Managing Director of Bain from 2000. 222




 220
     Ex. 65 (2017 TRU 10-K) at 114, pdf 119.
 221
     Ex. 70 (Greenspan) ¶23; Ex. 65 (2017 TRU 10k) at 113, pdf 118.
 222
     Ex. 70 (Greenspan) ¶23; Ex. 65 (2017 TRU 10k) at 113, pdf 118.
                                                   58
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        “Raether and Taylor were appointed to the Board as a consequence of their respective

 relationships with KKR.” 223 Raether was head of the portfolio management committee at KKR,

 having joined KKR in 1980. 224 Raether’s corner office at KKR was located near the office of
                                    225
 Henry Kravis, a founder of KKR.          Taylor was an investor and partner in KKR and had been
                      226
 at KKR since 2005.

        Silverstein and Macnow “were appointed to the Board as a consequence of their

 respective relationships with Vornado.” 227 Macnow had served as Executive Vice President-

 Finance and Chief Administrative Officer of Vornado since 2013, had been the CFO of Vornado

 for over 20 years, and had joined Vornado in 1985. 228 Silverstein had been a senior executive of

 Vornado since 1998, serving as executive vice-president, head of capital markets, and co-head of
                                                                                       229
 acquisition, and reported directly to Steve Roth, the founder and CEO of Vornado.

 Silverstein was paid by Vornado “to sit on the board of Toys ‘R’Us on behalf of Vornado.”

        Each of the Sponsor Directors not only had a personal interest in advancing the equity

 interests of their respective Sponsor, they also had a personal financial interest in the outcome as
                                                                                          230
 a result of their beneficial ownership or indirect ownership in shares of Toys “R” Us.         For

 example, Bekenstein was “a partner in Bain Capital Partners” which had invested in Toys “R”

 Us, and as result, Bekenstein “would hope that the equity value would increase” so that the
                                                                        231
 “personal investment that [Bekenstein] made would grow in value.”            As another example,



 223
     Ex. 65 (2017 TRU 10-K) at 114, pdf 119.
 224
     Ex. 77 (Raether depo.) 13:8-10; Ex. 65 (2017 TRU 10K) at 113, pdf 118.
 225
     Ex. 77 (Raether depo.) 14:4-5, 17:2-10.
 226
     Ex. 65 (2017 TRU 10K) at 113, pdf 118; Ex. 79 (Taylor) 4:16-17, 7:5-11.
 227
     Ex. 65 (2017 TRU 10-K) at 114, pdf 119.
 228
     Ex. 65 (2017 TRU 10K) at 113, pdf 118.
 229
     Ex. 80 (Silverstein depo.) 6:25:7-16.
 230
     Ex. 65 (2017 10-k) at pp. 140-41, pdf 145-46.
 231
     Ex. 81 (Bekenstein) 10:6-24; 12:25-13:20.
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 Silverstein owned stock and stock options in Vornado valued at between
         232


        Each of the Sponsor Directors signed the 2017 10k, which expressly admitted that the
                                                                                                  233
 Sponsors had control of the Company “through their ownership of 98%” of the voting shares.

 And they further admitted that “the Sponsors may have an interest in pursuing … financings or

 other transactions that, in their judgment, could enhance their equity investments, even though

 such transactions might involve risks to [Toys ‘R’ Us] as a company.” 234

        It was precisely this conflict of interest that the Sponsor Directors faced in deciding

 between commencing an immediate wind-down versus taking on DIP financing and attempting a

 turnaround. A wind-down meant that the Sponsors’ equity interests would have no value,

 “because an orderly sale of assets … would not realize value that would exceed the

 liabilities.” 235 In fact, the Sponsor Directors knew, and acknowledged at the time, that the

 Company was insolvent and their equity interests had no value. 236

        “The only possibility for realizing substantial equity value was a restructuring that

 produced a viable operating enterprise with a value above liabilities.” 237 As demonstrated



 232
     Ex. 80 (Silverstein depo.) 13:16-14:25; Ex. 80 (Silverstein depo.) 9:19-11:22.
 233
     Ex. 65 (2017 TRU 10-k) at p. 20, pdf 24.
 234
     Ex. 65 (2017 TRU 10-k) at 20, pdf 24.
 235
     Ex. 70 (Greenspan) ¶27.
 236
     Ex. 79 (Taylor) 170:10-21 (testifying that KKR’s internal valuation of “KKR’s investment in
 Toys ‘R’ Us” as of September 2017 showed that “our equity had no value”); Ex. 79 (Taylor)
 167:2-24 (testifying that KKR calculated that Toys “R” Us had debt of $4.7 billion but an
 enterprise value of $3.4 billion to $3.7 billion); Ex. 79 (Taylor depo.) 169:4-18 (“the total value
 of Toys ‘R’ Us is less than the debt”); Ex. 78 (Levin depo.) 239:6-25, 240:13-241:3 (“the equity
 investment in Toys ‘R’ Us has a value of zero”); Ex. 70 (Greenspan) ¶¶163-165; 399-401; Ex. 75
 (Vornado 2013 annual report) at 10 n.7, 57; Ex. 76 (Vornado 2014 annual report) at 36; Ex. 62
 (11’4’14 Vornado write down [DEFS_0111323]); Ex. 13 (4’8’15 Saghir to Taylor Levin re
 Brandon [DEFS_0049061]) at 2; Ex. 1 (1’4’16 Taylor Raether equity calculation
 [DEFS_0125987]).
 237
     Ex. 70 (Greenspan) ¶27.
                                                 60
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 above, “such a turnaround had a low probability of success and was akin to a ‘Hail Mary’ pass at

 the end of a football game.” 238 But that Hail Mary was the only potential path to equity value

 for the Sponsors. As Defendant Silverstein testified:

            5       Q. If the company had a very successful
            6   Christmas selling season, was able to reinvent
            7   itself and emerge from bankruptcy with -- as a
            8   very profitable company, it might have resulted
            9   in value for the equity holders. Right?
           10       A. It might have, yes.
           11       Q. Was that your hope at that time?
           12       A. I -- hope is -- hope always springs
           13    eternal.

 Ex. 80 (Silverstein) 120:5-13.

           Therefore, commencing an immediate wind-down of the Company would have been

 detrimental to the Sponsors by eliminating any prospect of obtaining value from their equity

 interests. And maxing out DIP financing and attempting a turnaround had the potential (however

 remote) to create value for the equity, and it had no cost or risk for the Sponsors.

           By contrast, the Company would bear the hundreds of millions of dollars in fees and

 operating losses for pursuing the DIP financing and turnaround strategy, and the Company would

 bear 100% of the risk that it breached a financial covenant and suffered a precipitous unplanned

 liquidation.

           But “a planned and orderly liquidation” would have allowed the Company to take

 advantage of the holiday season and “liquidate inventories when demand was at a peak,” while

 “supplementing inventory of hot toys as appropriate to capture additional margins.” 239




 238
       Ex. 70 (Greenspan) ¶27.
 239
       Ex. 70 (Greenspan) ¶330; id. ¶244.
                                                   61
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 “Additionally, the Company would have had more time to sell real estate assets, and to market
                                                                              240
 the international businesses,” thereby improving recoveries for creditors.

        And most importantly, the Company would have avoided hundreds of millions of dollars

 in losses including excess professional fees, DIP financing fees, and operating losses. Even

 Defendants’ own economic expert agrees that commencing an immediate wind-down would

 have saved at least $400 million. 241 Those losses were borne entirely by the Company with zero

 contribution from the Sponsors.

        The Sponsor Directors had an additional personal interest served by commencing a

 turnaround strategy when entering bankruptcy. “By maintaining control of the Board and the

 company through the Chapter 11 process, and using the Debtor’s exclusive right to file a Chapter

 11 Plan, these interested directors could seek to obtain releases from liability for themselves and

 for Bain, KKR, and Vornado in any such Chapter 11 Plan.” 242 “This would shield the private

 equity companies from potentially needing to repay the hundreds of millions of dollars in

 sponsor fees and other payments they received while they owned TRU, as well as being

 responsible for other claims.” 243

                2.      Brandon and Short had conflicts of interest.

        Both Brandon had Short had a direct financial interest “in the outcome of deciding

 whether the Company” should stay in business and attempt the turnaround, or instead “should

 commence a wind-down of U.S. operations.” 244 Brandon and Short could continue to receive

 their salaries for as long as the Company continued in operation; an earlier liquidation of the



 240
     Ex. 70 (Greenspan) ¶330.
 241
     Ex. 91 (Kost depo) 438:1-8.
 242
     Ex. 70 (Greenspan) ¶28.
 243
     Ex. 70 (Greenspan) ¶28.
 244
     Ex. 70 (Greenspan) ¶¶19, 21.
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                                                                 245
 Company would have eliminated their jobs and their salaries.          In addition, by pursing a

 turnaround strategy, both Brandon and Short could receive a pre-bankruptcy bonus, while “a

 strategy of winding down the U.S. business would not have allowed” either to receive such a

 bonus. 246 For Brandon, this meant receiving a $3,750,000 annual salary and a bonus of

 $2,812,500. 247 For Short, this meant a salary of $700,000 and a bonus of $600,000. 248

         Brandon also had a conflict of interest because he was not independent of Bain and had a

 personal interest in serving the interests of Bain. Bain had been handing Brandon lucrative and
                                                                                        249
 prestigious corporate positions for Bain-controlled companies for almost 20 years.           When

 Bain acquired Domino’s they brought Brandon in to become the CEO in 1999. 250 And Bain

 appointed Brandon to the board of Burger King in 2003 to serve as the Bain sponsor-appointed
             251
 director.         Throughout his tenure at Toys “R” Us, Brandon was simultaneously paid as the

 Chairman of Domino’s. 252 And even while serving as CEO of Toys “R” Us, Brandon continued

 to do important business favors for Bain, for example, assisting Bain in its efforts to acquire the

 Jimmy John’s fast-food restaurant company. 253 As Brandon put it, “I’ve done this for you guys

 100 times!” 254 After Brandon’s successful intervention, Defendant Bekenstein wrote to

 Brandon: “Thanks so much Dave!!!! … THANKS!!!!” 255




 245
     Id.
 246
     Ex. 70 (Greenspan) ¶¶19, 21.
 247
     Ex. 70 (Greenspan) ¶19.
 248
     Ex. 70 (Greenspan) ¶21.
 249
     Ex. 70 (Greenspan) ¶¶30-31.
 250
     Ex. 70 (Greenspan) ¶30.
 251
     Id.
 252
     Ex. 70 (Greenspan) ¶30-31.
 253
     Ex. 70 (Greenspan) ¶¶32-34; Ex. 19 (7’12’16 Brandon Bekenstein [TRU-Trust0000322854]).
 254
     Id.
 255
     Ex. 70 (Greenspan) ¶¶33-34; Ex. 20 (7’20’16 Brandon Bekenstein [TRU-Trust0000322857]).
                                                   63
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        In addition, Brandon had a conflict of interest based on enhancing his personal pride and

 avoiding personal shame. “Bad faith can be the result of any emotion that may cause a director

 to intentionally place his own interests, preferences or appetites before the welfare of the

 corporation, including . . . shame or pride.” In re Answers Corp. S'holder Litig., 2012 Del. Ch.

 LEXIS 162, at *3-4 (Ch. July 19, 2012) (cleaned up); In re Walt Disney Co. Derivative Litig.,

 907 A.2d 693, 754-56 (Del. Ch. 2005) (same), aff’d 906 A.2d 27 (Del. 2006). When Brandon

 was considering whether to take on the role of CEO of Toys “R” Us, his “big issue” was

 “making sure he can convince himself he can make this a win.” 256 Before Toy “R” Us, Brandon

 had “done two very successful transformations in his business career (and made a lot money in
                                         257
 both), so this will be his capstone.”         As Brandon stated, “I did not move to NYC and take this

 on to ‘preside over a funeral.’” 258 Therefore, Brandon had a conflicting “personal interest in not

 being at the helm of an important company when it went under.” 259

                3.      Defendant Directors failed to eliminate the conflicts by assigning the
                        decision to independent directors.

        The Defendant Directors were not only well aware of the conflicts of interest, they were

 also aware of their obligation to eliminate the conflicts by recusing themselves and placing the

 decision in the hands of independent directors who did not have conflicts. As described above,

 Defendants knew “that in a situation where a decision would implicate an actual or potential

 conflict of interest, the board should delegate decision-making authority to disinterested directors

 or managers.” 260 Defendants failed to do so.



 256
     Ex. 12 (4’4’15 Levin to Silverstein [DEFS_0080838]).
 257
     Ex. 12 (4’4’15 Levin to Silverstein [DEFS_0080838]).
 258
     Ex. 35 (8’25’15 Brandon Levin Taylor [TRU-Trust0000322852]).
 259
     Ex. 70 (Greenspan) ¶20.
 260
     Ex. 77 (Raether) 157:3-8; Ex. 27 (8’9’17 Fiduciary Duty Presentation [DEFS_0064535]) at
 slide 15.
                                                      64
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         Throughout the summer of 2017, the Board had one additional director, Defendant

 Goodman, on the board of Toys “R” Us, Inc., and no other directors on the board of Toys “R” Us

 Delaware. The Directors did not delegate decision-making authority to Goodman and, instead,

 the full board retained and exercised decision-making authority to authorize DIP financing and

 the chapter 11 strategy. 261 Moreover, as discussed in detail above, just like his fellow board

 members, Goodman did not undertake the task of assessing the DIP financing, a wind-down

 strategy, or a turnaround strategy.

         The Defendants appointed two additional directors to Toys Delaware on August 23, and

 two additional directors to Toys Inc. on September 13, a few days before the September 18,

 2017, vote approving the DIP financing. 262 But those last-minute appointments did not nothing

 to eliminate the conflicts. 263

         Independent directors can “guard against conflicts of interest” if they are either

 “delegated the power to make certain decisions or empowered by the board to investigate




 261
     Ex. 52 (9'18'17 BOD minutes [DEFS_0023490]).
 262
     Ex. 34 (8'23'17 BOD minutes [TRU-Trust0000333026]); Ex. 40 (9'13'17 board minutes
 [TRU-Trust0000165899]).
 263
     Many purportedly independent directors are so-called “Super-Repeaters”—they have close
 connections to private-equity sponsors and law firms that represent private-equity sponsors, and
 they serve on multiple boards for companies going into bankruptcy. Ex 71 (Jared A. Ellias,
 Ehud Kamar, & Kobi Katiel, The Rise of Bankruptcy Directors (June 14, 2011)). These
 purportedly independent directors have a “structural bias because they are part of a small
 community of repeat private-equity sponsors and law firms.” Id. at 1. In bankruptcy cases
 where a Super-Repeater director is added to the board, “unsecured creditors recover on average
 21% less,” as compared to cases that do not include a Super-Repeater. Id. at 1.
 All four of the purportedly “independent” directors added to the Toys “R” Us boards were
 suggested by Kirkland, and three of the four—Alan Miller, Alan Carr, and Neal Goldman—
 appear on the list of “Super Repeaters.” Id. at 49. As discussed in text, the purportedly
 “independent” directors did not get an opportunity to exercise decision-making, because the
 decision on whether to take on DIP financing and forego an immediate liquidation was never
 delegated to the newly added directors.
                                                  65
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 potential conflicts and exclude certain directors from decision-making processes.” 264 But the

 Defendants did not delegate decision-making authority to Goodman and, instead, the full board

 retained and exercised decision-making authority to authorize DIP financing and the chapter 11
             265
 strategy.         The Boards of Directors “never delegated” to the independent directors “decision-

 making authority on approving the strategy of taking on DIP financing and delaying

 liquidation.” 266

         Furthermore, the independent directors “could not properly investigate the conflicts of the

 sponsor directors with respect to the DIP financing because they were only given the authority to

 investigate conflicts in the same board meeting where the DIP financing strategy was
               267
 approved.”          At the September 18, 2017, board meeting, the Boards passed a resolution giving

 the independent directors “the authority to investigate and determine… whether any matter

 arising in or related to the Chapter 11 cases constitutes a Conflict Matter.” 268 None of the

 independent directors “asked that the decision to take on DIP financing and delay liquidation be

 designated a conflict matter,” or requested that they control the decisions. 269 And the Director

 Defendants never recused themselves from decision-making and each of them personally
                                                                                270
 participated in the board meeting and the vote to authorized DIP financing.

         Furthermore, the independent directors themselves abdicated their fiduciary duties; if

 anything, the abdication of duty by the independent directors was worse than that by the

 Defendant Directors. The independent directors “were given the same type of limited



 264
     Ex. 70 (Greenspan) ¶39.
 265
     Ex. 52 (9'18'17 BOD minutes [DEFS_0023490]).
 266
     Ex. 70 (Greenspan) ¶40.
 267
     Ex. 70 (Greenspan) ¶40.
 268
     Ex. 53 (9’18’17 Raether board materials [DEFS_0124607]) at 20.
 269
     Ex. 70 (Greenspan) ¶40.
 270
     Ex. 52 (9'18'17 BOD minutes [DEFS_0023490]).
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 information as the rest of the Board when making the decision to approve the DIP financing.” 271

 This information did not provide a basis for assessing compliance with the financial

 covenants. 272 In fact, the independent directors were given a summary forecast dated August 26,

 2017, that “showed that the Company would default on any liquidity covenant, because the

 Company would have negative liquidity by September of 2018.” 273

        I.       The facts establish Defendants’ breaches of the fiduciary duties of good faith,
                 loyalty, and due care.

        When the Delaware law of fiduciary duties—as recited in controlling cases from the

 Delaware Supreme Court—is applied to the facts set forth above, it establishes that the Director

 Defendants breached each of their fiduciary duties, including the duties of good faith, loyalty,

 and due care.

                 1.     Breach of the duty of good faith.

        As discussed above, a breach of the duty of good faith occurs “[w]here directors fail to

 act in the face of a known duty to act, thereby demonstrating a conscious disregard for their

 responsibilities.” Stone v. Ritter, 911 A.2d 362, 370 (Del. 2006). As shown above, the Trust has

 powerful evidence that the Defendant Directors knew of their duty to act, but failed to act.

 Moreover, those facts are not only supported by admissible evidence, they are admitted by

 Defendants.

        The Directors were well aware of their fiduciary duties both in general and specifically as

 it applied to deciding the future of a company facing insolvency or restructuring. It is undisputed

 that Kirkland expressly explained to the Directors their duties. Moreover, all of the Directors



 271
     Ex. 70 (Greenspan) ¶42.
 272
     Ex. 70 (Greenspan) ¶¶42-47.
 273
     Ex. 70 (Greenspan) ¶¶45-47; Ex. 24 (8’26’17 Preliminary DIP Sizing Forecast [TRU-
 Trust0000063629]) at 9.
                                                 67
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 were sophisticated corporate executives, with years of experience in charting a corporation’s

 future and assessing corporate debt obligations. And all of the Directors were well aware of their

 obligation to assess whether the Company could reasonably be expected to comply with the

 financial covenants in the DIP financing.

           As Raether testified, for a Toys “R” Us director, it was an “important” “part of your

 fiduciary duty” to assess whether the Company would have “the ability to pay the money back,”

 and it was “incumbent upon the directors … to understand the terms of the DIP financing and the

 company’s … operating forecast such that it could comply with the covenants that were present

 in that DIP financing.” 274 Raether testified that directors must be presented with “a set of

 sensitivity analyses such that we can determine with a high degree of confidence that the

 company will be able to perform and meet its obligations,” and “if not, the directors should not

 approve … financing.” 275

           But the Directors entirely abdicated their duty to make that assessment. As shown above,

 the Directors did not assess the ability to comply with the covenants. They didn’t even receive,

 much less analyze, a sensitivity analysis or downside case projection. They didn’t even receive,

 much less analyze, the key assumptions underlying the forecast. In fact, they approved the

 financing without even knowing the terms of the financial covenants, and never received any

 analysis of the Company’s ability to comply with those covenants.

           These facts demonstrate “that the defendant directors knew that they were making

 material decisions without adequate information and without adequate deliberation,” and




 274
       Ex. 77 (Raether) 123:17-125:12; Ex. 77 (Raether) 137:24-138:5.
 275
       Ex. 77 (Raether) 136:12-137:18.
                                                   68
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 therefore violated their duty of good faith. In re Walt Disney Co. Derivative Litig., 825 A.2d

 275, 289 (Del. Ch. 2003).

        The evidence also demonstrates that the Directors knew that it would violate their

 fiduciary duties “to authorize a transaction that could be analogized to a ‘Hail Mary’ pass for the

 benefit of shareholders if creditor recoveries are threatened.” 276 And they also knew that, in

 deciding whether to proceed with an attempted turnaround, their fiduciary duties required them

 to assess all reasonable alternatives, and to gather all information reasonably available before

 making a decision. But Defendants entirely abdicated that duty. Defendants did nothing to

 assess the alternative of conducting an immediate wind-down. They did not ask the advisors and

 management to assess the value that would be generated by an immediate wind-down. And they

 did nothing to assess the “Hail Mary” turnaround strategy. They did not receive, or even ask for,

 any assessment of the probability that the turnaround could be achieved, or the costs to the

 Company if the strategy were to fail.

        This evidence establishes that the Directors “adopt[ed] a ‘we don’t care about the risks’

 attitude concerning a material corporate decision” and thereby breached their fiduciary duties. In

 re Walt Disney Co. Derivative Litig., 825 A.2d 275, 289 (Del. Ch. 2003), aff’d Brehm v. Eisner

 (In re Walt Disney Co. Derivative Litig.), 906 A.2d 27, 63 (Del. 2006) (holding that bad faith

 may be shown by evidence demonstrating a “conscious[] and intentional[] disregard[] [of]

 responsibilities, adopting a ‘we don't care about the risks’ attitude”).

        In addition, as shown above, the Trust has powerful evidence “supporting an inference

 that [Defendants] did not reasonably believe that the … transaction was in the best interests of”




 276
    Ex. 23 (7'31'17 Contingency Prep Overview [DEFS_0123896]) at slide 20, bullet 6; Ex. 70
 (Greenspan) ¶13.
                                                   69
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 the Company. Brinckerhoff v. Enbridge Energy Co., 159 A.3d 242, 260 (Del. 2017), quoted with

 approval by Kahn v. Stern, 183 A.3d 715, 715 & n.5 (Del. 2018). Moreover, those facts are not

 only supported by admissible evidence, they are admitted by Defendants.

        All of the Director Defendants knew that U.S. business of the Company met all the

 criteria for a business that needed an immediate wind-down. They all knew that it had been

 losing money for years, that sales, margins, and market share were declining, that the pace of the

 money losses and the decline in sales, margins, and market share was accelerating, that their

 business model could not compete with Amazon, Walmart, and Target, that competition was

 intensifying, that they had not been able to come up with a viable turnaround plan and had no

 plausible path for coming up with a plan, and that they lacked the time and capital to implement

 a turnaround. They also knew that having the Company max out its DIP financing and continue

 in operation would cost hundreds of millions of dollars in additional operating losses and

 restructuring costs.

        In addition, Brandon and Short knew that the financial covenants in the DIP Term loan

 were too dangerous and would result in a default. Brandon and Short knew the forecast was

 based on unrealistic sales projections, they knew that even with those projections the Company

 had an insufficient liquidity cushion, and both had concluded that the covenants were too

 dangerous. Short agreed that the $175 million liquidity covenant “doesn’t work,” and both

 agreed that the January budget covenant “just isn’t going to work.” 277

        Applying an “objective standard of good faith,” these facts support an “an inference that

 [the Defendants] did not reasonably believe that” maxing out DIP financing and attempting a




 277
    Ex. 70 (Greenspan) ¶¶100, 104; Ex. 57 (9’20’17 0652 am [TRU-Trust0000075725]); Ex. 48
 (9’18’17 2244 pm [LZ-TRU0092221]) at 4.
                                                 70
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 turnaround “was in the best interests of” the Company, and therefore they breached their

 fiduciary duty of good faith. Brinckerhoff v. Enbridge Energy Co., 159 A.3d 242, 260 (Del.

 2017).

                  2.      Breach of the duty of loyalty.

           “A director is considered interested” in a corporate decision, and not independent, if the

 director “will receive a personal financial benefit from a transaction” or “where a corporate

 decision will have a materially detrimental impact on a director, but not on the corporation.”

 Rales v. Blasband, 634 A.2d 927, 936 (Del. 1993).

           As demonstrated above, the value of the equity interests of the Sponsors would be zero if

 the Company commenced an immediate wind-down, and the equity could have value only if a

 successful turnaround occurred. Therefore, commencing an immediate wind-down of the

 Company would have been detrimental to the Sponsors by eliminating any prospect of obtaining

 value from their equity interests. But maxing out DIP financing and attempting a turnaround had

 the potential to create value for the equity. As demonstrated above, “such a turnaround had a
                                                                                                   278
 low probability of success and was akin to a ‘Hail Mary’ pass at the end of a football game.”

 But that Hail Mary was the only potential path to equity value for the Sponsors. And most

 importantly for the Sponsors, attempting a turnaround had zero cost or risk for the Sponsors.

           By contrast, the Company would bear the hundreds of millions of dollars in fees and

 operating losses for pursuing the DIP financing and turnaround strategy, and the Company would

 bear 100% of the risk that it breached a financial covenant and suffered a precipitous unplanned

 liquidation.




 278
       Ex. 70 (Greenspan) ¶27.
                                                   71
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         This was the very circumstance that the Directors acknowledge was a conflict of interest:

 “the Sponsors may have an interest in pursuing … financings or other transactions that, in their

 judgment, could enhance their equity investments, even though such transactions might involve
                                         279
 risks to [Toys ‘R’ Us] as a company.”         “Common sense dictates that, in light of these

 consequences, the [Sponsor-appointed Directors] have a disqualifying financial interest that

 disables them from impartially considering” whether to authorize the Company to commence an

 immediate wind-down. Rales v. Blasband, 634 A.2d 927, 936 (Del. 1993).

         In addition, as demonstrated above, the Sponsor Directors had another interest not shared

 with the Company. “By maintaining control of the Board and the company through the Chapter

 11 process, and using the Debtor’s exclusive right to file a Chapter 11 Plan, these interested

 directors could seek to obtain releases from liability for themselves and for Bain, KKR, and

 Vornado in any such Chapter 11 Plan.” 280 “This would shield the private equity companies

 from potentially needing to repay the hundreds of millions of dollars in sponsor fees and other

 payments they received while they owned TRU, as well as being responsible for other

 claims.” 281

         Brandon and Short each had conflicts of interest because they would financially benefit if

 the Company continued operations rather than commencing an immediate wind-down.

 “Delaware law also recognizes that management’s prospect of future employment can give rise

 to a disabling conflict.” In re Mindbody, Inc., 2020 Del. Ch. LEXIS 307, at *36 (Ch. Oct. 2,

 2020); In re Xura, Inc. Stockholder Litig., 2018 Del. Ch. LEXIS 563, at *31 (Ch. Dec. 10, 2018)

 (“Continued employment in itself is a material interest.”).



 279
     Ex. 65 (2017 TRU 10-k) at 20, pdf 24.
 280
     Ex. 70 (Greenspan) ¶28.
 281
     Ex. 70 (Greenspan) ¶28.
                                                    72
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        Moreover, Brandon and Short were not disinterested from any decisions affecting the

 Sponsors because each of the Sponsors “certainly has the ability to affect [the officer/director’s]

 employment and compensation.” Beam ex rel. Martha Stewart Living Omnimedia, Inc. v.

 Stewart, 833 A.2d 961, 977-78 (Del. Ch. 2003) (holding that an officer/director had a conflict

 because she “has a material interest in her own continued employment,” and further holding that

 she was not disinterested in decisions affecting the 94% shareholder because the shareholder

 “certainly has the ability to affect [the officer/director’s] employment and compensation”), aff’d

 845 A.2d 1040 (Del. 2004); Rales v. Blasband, 634 A.2d 927, 937 (Del. 1993) (“Because of their

 alleged substantial financial interest in maintaining their employment positions, there is a

 reasonable doubt that these two directors are able to consider impartially an action that is

 contrary to the interests of the Rales brothers.”).

        By demonstrating that each of these Directors had a personal interest in the outcome of

 the decision that was not shared by the Company, the Trust has met its burden on a claim for

 breach of the duty of loyalty. The Delaware Supreme Court has “consistently defined the duty of

 loyalty of officers and directors” in “unyielding terms.” Cede & Co. v. Technicolor, 634 A.2d

 345, 361 (Del. 1993). Any potential for influence by outside interests is prohibited and “there is

 no safe-harbor for divided loyalties in Delaware.” In re Walt Disney Co. Derivative Litig., 907

 A.2d 693, 751 (Del. Ch. 2005). A director is “independent only when the director’s decision is

 based entirely on the corporate merits of the transaction and is not influenced by personal or

 extraneous considerations.” Cede & Co. v. Technicolor, 634 A.2d 345, 362 (Del. 1993).

        Having met the Trust’s burden of proving conflicting interests by a majority of the Board,

 the burden shifts to the Defendants to demonstrate that the decision was entirely fair to the

 Company. “Absent approval of the transaction by a disinterested director majority, the burden of



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 proof falls upon the defendants to establish that the transaction was entirely fair to the

 shareholders.” Chaffin v. GNI Grp., Inc., Civil Action No. 16211-NC, 1999 Del. Ch. LEXIS

 182, at *16 (Ch. Sep. 3, 1999). “When faced with such divided loyalties, directors have the

 burden of establishing the entire fairness of the transaction.” Mills Acquisition Co. v.

 MacMillan, Inc., 559 A.2d 1261, 1280 (Del. 1989).

                3.      Breach of the duty of care.

        A breach of the duty of care occurs if a director actions or inactions amount to “gross

 negligence,” which is “conduct that constitutes reckless indifference or actions that are without

 the bounds of reason.” McPadden v. Sidhu, 964 A.2d 1262, 1274 (Del. Ch. 2008).

        The evidence establishing Defendants’ breach of the duty of good faith also establishes

 “conduct that constitutes reckless indifference.” Accordingly, each of the Defendant Directors

 breached their duties of care.

                4.      Defendants cannot establish that their actions meet the entire fairness
                        standard.

        Because the Trust has made out a prima facie case that Defendants breached their

 fiduciary duties, the burden shifts to the Defendants to meet the “entire fairness” test, i.e. to

 establish that their actions were entirely fair to the corporation.

        Under Delaware law, directors start with the protection of the business judgement rule,

 which creates a presumption that “in making a business decision the directors of a corporation

 acted on an informed basis, in good faith, and in the honest belief that the action taken was in the

 best interests of the company.” Brehm v. Eisner (In re Walt Disney Co. Derivative Litig.), 906

 A.2d 27, 52 (Del. 2006) (internal quotes omitted). Plaintiff can overcome that presumption by

 showing that a director breached any of the three fundamental fiduciary duties. “Those




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 presumptions can be rebutted if the plaintiff shows that the directors breached their fiduciary

 duty of care or of loyalty or acted in bad faith.” Brehm, 906 A.2d at 52.

        Once “the plaintiff shows that the directors breached their fiduciary duty of care or of

 loyalty or acted in bad faith,” “the burden then shifts to the director defendants to demonstrate

 that the challenged act or transaction was entirely fair to the corporation.” Brehm, 906 A.2d at

 52 (emphasis added). “A breach of either the duty of loyalty or the duty of care rebuts the

 presumption that the directors have acted in the best interests of the shareholders, and requires

 the directors to prove that the transaction was entirely fair.” Cede & Co. v. Technicolor, 634

 A.2d 345, 371 (Del. 1993); Basho Techs. Holdco B, Ltd. Liab. Co. v. Georgetown Basho Inv’rs,

 Ltd. Liab. Co., No. 11802-VCL, 2018 Del. Ch. LEXIS 222, at *5 (Ch. July 6, 2018) (holding that

 the defendant directors “bore the burden of proving that the Series G financing was entirely

 fair”); Mills Acquisition Co. v. MacMillan, Inc., 559 A.2d 1261, 1280 (Del. 1989) (“[w]hen faced

 with such divided loyalties, directors have the burden of establishing the entire fairness of the

 transaction”); Cinerama, Inc. v. Technicolor, 663 A.2d 1134, 1137 (Del. Ch. 1994) (if the

 plaintiff “establishes director negligence … he or she has established a prima facie case of

 liability,” and then “the burden shifts to the director defendants to show that the transaction was

 ‘entirely fair’ to the shareholders or the corporation”), aff’d 663 A.2d 1156 (Del. 1995).

        Under the entire fairness standard “the defendants must establish … that

 the transaction was the product of both fair dealing and fair price.” Basho Techs. Holdco B, Ltd.

 Liab. Co. v. Georgetown Basho Inv’rs, Ltd. Liab. Co., No. 11802-VCL, 2018 Del. Ch. LEXIS

 222, at *80-81 (Ch. July 6, 2018) (internal quotes omitted). The “fair dealing” aspect concerns

 the process by which the transaction was approved. Id. at *82. The “fair price” aspect concerns

 the economic value. Id. A “fair price” means “obtaining the highest value reasonably available



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 to the shareholders under all the circumstances.” Mills Acquisition Co. v. MacMillan, Inc., 559

 A.2d 1261, 1280 (Del. 1989).

           In their motion for summary judgment, Defendants make no attempt to meet their burden

 of proving entire fairness. “Where the movant fails to fulfill its initial burden of providing

 admissible evidence of the material facts entitling it to summary judgment, summary

 judgment must be denied, even if no opposing evidentiary matter is presented, for the non-

 movant is not required to rebut an insufficient showing.” Ray Communs., Inc. v. Clear Channel

 Communs., Inc., 673 F.3d 294, 299-300 (4th Cir. 2012).

           Moreover, Defendants could not possibly establish that maxing out DIP financing rather

 than conducting an orderly wind-down was entirely fair to the Company. As for “fair dealing,”

 the Trust has powerful evidence (described above) that Defendants did not undertake an

 adequate process for approving DIP financing or considering an immediate wind-down; in fact,

 they entirely abdicated their duties. And as for “fair price,” the evidence is undisputed that the

 course of action adopted by the Directors caused at least $400 million in losses that would have
                  282
 been avoided.

           Defendants “did not demonstrate fairness as to process or price,” and therefore cannot

 prove entire fairness. Basho, 2018 Del. Ch. LEXIS 222, at *92 (Ch. July 6, 2018).

           J.     Defendants’ breaches caused harm to the Company.

           The “Defendants authorizing the Company to take on the maximal amount of DIP

 financing, in particular the DIP Term Loan, and to delay liquidation planning until mid-February

 2018, resulting in a sudden liquidation, was a substantial factor in, and the proximate cause of,

 harms and losses to the Company.” 283


 282
       Ex. 91 (Kost depo) 438:1-8; Ex. 70 (Greenspan) ¶¶319-328.
 283
       Ex. 70 (Greenspan) ¶319.
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        Defendants’ restructuring and damages expert, Robert Kost, agreed with the Trust’s

 experts that the Company had over $400 million in “losses that could have been avoided as a

 result of an earlier wind down.” 284 He testified:

         1      Q. So there's 350 million in critical vendor
         2   payments, $47 million in interest, bonuses that
         3   would have been avoided, operating losses of up
         4   to $180 million would have been avoided;
         5   altogether that's certainly going to exceed
         6   $400 million, right?
         7      A. The total of that would be probably
         8   higher than 400 million, yes.

 Ex. 91 (Kost depo) 438:1-8.

        The harms and losses caused to the Company include at least five categories.

                 1.     Extended operating losses.

        “Delaying the liquidation of the U.S. business extended the operations, which were losing

 money. The path followed by the Defendants resulted in a liquidation announcement in mid-

 March 2018, followed by liquidation sales proceeding in the following months. If the Company,

 instead, had announced a wind-down of the U.S. business in conjunction with the holiday season,

 this would have reduced the period of operations by at least three months.” 285 “For example, an

 announcement on December 15 would have moved the timeline up 3 months and avoided three

 months of operating losses…. An earlier announcement, for example at the time of the filing,

 would have shaved off an additional two months.” 286 This “would have avoided $48 to $85

 million per month in operating losses.” 287




 284
     Ex. 91 (Kost depo.) 437: 8-14.
 285
     Ex. 70 (Greenspan report) ¶320.
 286
     Ex. 70 (Greenspan) ¶322.
 287
     Ex. 70 (Greenspan) ¶322.
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                2.      Increased professional fees.

        “In addition, extending operations and the bankruptcy increased the professional fees,

 including the fees of advisors for the debtors, as well as the UCC and other parties whose fees

 were paid out of the Debtor’s estate.” 288 Even an announcement of a wind-down on December

 15 “would have cut out three months of professional fees that were devoted to such activities

 such as negotiations with lenders for covenant relief and emergence planning.” 289 This would

 have avoided “more than $20 million in professional fees.” 290

                3.      Excess financing costs.

        “If the Company would have followed a path of an orderly wind down of U.S. operations,

 it would not have taken on the Term DIP loan. DIP financing for U.S. operations during the

 wind-down may have been needed, but such financing could have been provided by a scaled

 down version of the ABL/FILO DIP facility.… As a result, the $450 million Term DIP loan

 would not have been needed.” 291

        “The Company had to pay substantial amounts for the Term DIP loan including financing

 fees to the lender, interest payments, fees for the lender’s professionals and the Company’s

 professionals to negotiate and document the loans. Those costs and losses would have been
                                                  292
 avoided by not taking on the Term DIP loan.”           These losses “include more than $47 million

 in interest payments.” 293




 288
     Ex. 70 (Greenspan) ¶321.
 289
     Ex. 70 (Greenspan) ¶322.
 290
     Id.
 291
     Ex. 70 (Greenspan) ¶323.
 292
     Ex. 70 (Greenspan) ¶324.
 293
     Id.
                                                   78
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                4.      Adequate protection payments.

         “To obtain the Term DIP loan, the Company had to agree to adequate protection

 payments for the B2, B3, and B4 lenders. Those payments would have been avoided by not

 taking on that loan.” 294 Those payment are estimated “to be at least $32 million.” 295

                5.      Extraordinary expenses.

         “If the Company had embarked on a path of an orderly wind-down, it would not have
                                                   296
 made sense to pay the large retention bonuses.”         Likewise, the “critical/foreign vendor

 payments for pre-petition goods and services … would have been avoided if the Company

 pursued an orderly wind-down.” 297 These extraordinary expenses that would have been avoided

 total almost $400 million. 298

 III.    Defendants’ arguments concerning Defendants’ unlawful approval of the DIP
         financing and turnaround fail for multiple reasons.

         We address and rebut each of Defendants’ contentions concerning the breach of fiduciary

 duty claims based on approving DIP financing and failing to commence an immediate wind-

 down.

         A.     The law of the case doctrine does not protect Defendants’ unlawful conduct.

         Defendants assert “the Trust’s breach of fiduciary duty claim relating to TRU’s decision

 to obtain DIP financing … is barred by the law of the case doctrine.” Mot. 1. Defendants point

 out that the Court entered an order in October 2017 finding that a DIP loan was “necessary and

 vital to the preservation and maintenance of the going concern values of the DIP Loan Parties,”

 and that the terms “reflect the DIP Loan Parties’ exercise of prudent business judgment


 294
     Ex. 70 (Greenspan) ¶325.
 295
     Id.
 296
     Ex. 70 (Greenspan) ¶328.
 297
     Ex. 70 (Greenspan) ¶327, id. ¶¶252-53.
 298
     Ex. 70 (Greenspan) ¶¶327-28.
                                                   79
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 consistent with their fiduciary duties.” Mot. 6 (quoting ECF No. 711 ¶¶ 5(b), (d)). Defendants

 assert that the Court’s order “constitutes law of the case in this adversary proceeding and cannot

 be disturbed.” Mot. 6. Defendants assert that because the final DIP order stated that it was

 “binding upon … the Debtors and their respective successors and assigns,” and “was never

 challenged on any appeal,” it follows that the “Final DIP Order is binding on the Trust by its

 own terms,” and will “prevent the Trust from litigating its findings now.” Mot. 7. Defendants’

 argument fails at four different levels.

                1.      Defendants’ “by its own terms” premise fails.

        Defendants cite no authority—not a single case—to support their argument that the DIP

 approval order “by its own terms” suffices to “prevent the Trust from litigating its findings.”

 Mot. 7. And Defendants cannot cite such a case, because a party is not precluded from litigating

 in a later proceeding issues that were addressed in an earlier order unless a preclusion doctrine

 applies (e.g. res judicata or law of the case). LVNV Funding, LLC v. Harling, 852 F.3d 367, 371

 (4th Cir. 2017) (“In bankruptcy, we look to res judicata principles developed in our own case law

 to determine whether an earlier federal judgment, including the judgment of a bankruptcy court,

 bars a claim asserted in a later action.” (internal quotes and cites omitted)). As a matter of law,

 the DIP approval order cannot “by its own terms” preclude litigation of an issue in a subsequent

 proceeding.

                2.      The Court’s plan confirmation orders bar application of preclusion
                        doctrines to claims against the Defendants.

        The availability of preclusion is controlled by the Court’s plan confirmation order, which

 declared that no preclusion doctrine shall apply to claims against the Defendants.

        As between the DIP approval order and the Court’s plan confirmation order, the latter

 governs. The DIP approval order was an interlocutory order, not an appealable final order. “A


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 final order ends litigation and leaves nothing for the court to do but execute the judgment. An

 interlocutory order decides some intervening matter that requires other action to enable the court

 to adjudicate the cause on the merits.” Cody v. Micale, Civil Action No. 7:19-MC-4, 2019 U.S.

 Dist. LEXIS 98333, at *5 (W.D. Va. June 10, 2019) (internal cites and quotes omitted); Ayers v.

 United States DOD, 819 F. App’x 180, 181 (4th Cir. 2020) (“For an otherwise interlocutory

 bankruptcy court order to be reviewable on appeal, it must finally resolve an adversary

 proceeding, controversy, or entire bankruptcy proceeding on the merits and leave nothing for the

 court to do but execute its judgment.”).

           “An interlocutory order is subject to reconsideration at any time prior to the entry of a

 final judgment.” Am. Canoe Ass’n v. Murphy Farms, Inc., 326 F.3d 505, 515 (4th Cir. 2003)

 (quoting Fayetteville Investors v. Commercial Builders, Inc., 936 F.2d 1462, 1469 (4th Cir.

 1991)). By contrast, “only plan confirmation—or case dismissal—alters the status quo and fixes

 the rights and obligations of the parties.” Bullard v. Blue Hills Bank, 575 U.S. 496, 502 (2015).

 Therefore, this Court’s “plan confirmation order is a ‘final determination’ as to those matters it

 actually addresses.” LVNV Funding, LLC v. Harling, 852 F.3d 367, 371 (4th Cir. 2017).

           The Court entered two parallel plan confirmation orders, one for Toys Delaware and one

 for Toys Inc. 299 In both plan confirmation orders, the Court expressly ordered that all claims

 against the Defendants were preserved, that the Trust had the authority to prosecute those claims

 without further order from the Court, and that no doctrine of preclusion applied to these claims.




 299
       The Court entered an order on November 21, 2018 [Docket No. 5476] confirming the Fourth
       Amended Chapter 11 Plan of Toys Delaware (the “Delaware Plan”) [Docket No. 5602], and
       an order on December 17, 2018 [Docket No. 5979] confirming the Third Amended Chapter
       11 Plan of Toys, Inc. (the “Toys Inc. Plan”) [Docket No. 5940].
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        The Court’s confirmation order expressly preserved the claims assigned to the Trust and

 asserted against the Defendants. The Court’s order and the plan defined the term “D&O Party”

 to mean “all current and former directors, officers, or managers (including Sponsor-affiliated

 directors, officers, and managers) of the” debtors. 300 And if defined “D&O Claims” to mean

 “all claims or Causes of Action” held by the debtors or their creditors “against any D&O

 Party.” 301 The Court ordered that “all claims or Causes of Action against such parties are

 preserved … and vested in the Non-Released Claims Trust.” 302

        The Court further ordered, “For the avoidance of doubt, the claims preserved under the

 Delaware–Geoffrey Plan and assigned to the Non-Released Claims Trust include, without

 limitation, all Non-Released Claims including D&O Claims,” and the Trust “shall have the right

 to prosecute” such claims without further “action, order, or approval of the Bankruptcy

 Court.” 303

        Even more significant, the Court’s confirmation order included an express provision

 stating “No preclusion doctrine …. shall apply.”

        No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,
        issue preclusion, claim preclusion, estoppel (judicial, equitable or otherwise), or
        laches, shall apply to such Causes of Action upon, after, or as a consequence of
        the Confirmation or Consummation. 304




 300
     Dkt. 5602 at 7.
 301
     Id.
 302
     Dkt 5476 (order confirming 4th Amend Chap 11 plan) at 19 (emphasis added).
 303
     Dkt. 5746 at 25, ¶49 (emphasis added).
 304
     Dkt. 5979 at p. 25, ¶50; Dkt. 5476 at ¶48 (expressly approving “Article IV.K.” in the Plan,
 which governs “Preservation of Rights of Action”); Dkt. 5602 at 33 (“No preclusion doctrine”
 provision in the plan).
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        The Toys Inc. Plan and the Court’s order confirming that plan contained similar
                                                                 305
 provisions as the Toys Delaware plan and confirmation order.

        The Court had good reason for barring the application of preclusion doctrines for claims

 against the Defendants. It would waste resources and unduly burden the Trust if the Trust had to

 litigate preclusion issues arising from facts and circumstances that were known to and under the

 control of Defendants and hidden or obscured from other stakeholders. And it would obviously

 be unjust to employ estoppel to protect the positions and statements taken by the Toys “R” Us

 corporations when they were controlled by Defendants, even if the Trust is asserting claims as

 the successor to those corporations.

        And in fact the Court’s confirmation order expressly declared that it “shall be … deemed

 binding upon … all Entities that are parties to or are subject to the settlements, compromises,

 [and] releases … described in the [Plan],” which means it is binding upon each of the

 Defendants. 306 The Court further ordered that each of the provisions in the plan governing “the

 treatment of Claims” “is an integral, integrated, and inextricably linked part of the Settlement

 Agreement.” 307 Accordingly, the “no preclusion doctrine” provision cannot be disregarded or

 voided without undoing the entire Settlement Agreement.

        The Court’s confirmation orders expressly declared that no preclusion doctrine shall

 apply to the claims asserted by the Trust against the Defendants. Those orders eliminated any




 305
     Docket No. 5979 (confirmation order) at p. 25, ¶50; Docket No. 5940 (Toys Inc. Plan) at 35
 (“No preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue
 preclusion, claim preclusion, estoppel (judicial, equitable or otherwise), or laches, shall apply to
 such Causes of Action upon, after, or as a consequence of the Confirmation or Consummation.”).
 306
     Dkt. 5746 ¶141.
 307
     Dkt. 5746 ¶34.
                                                 83
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 potential preclusive effect from law of the case based on the earlier, interlocutory order

 approving the DIP financing.

                3.      Law of the case does not apply because new evidence is available that
                        was not presented to the Court.

        The law of the case doctrine cannot apply because critical evidence was not before the

 Court when it approved the DIP financing. “[T]his Court’s articulation of the law-of-the-case

 doctrine … acknowledges that different facts will lead to a different legal analysis to which the

 doctrine cannot apply.” Graves v. Lioi, 930 F.3d 307, 318 (4th Cir. 2019) (“when a court is

 presented with a different record at a new stage of the case, the law-of-the-case doctrine will no

 longer constrain the court's review”).

        Accordingly, in the face of “substantially different evidence,” the “law of the case

 doctrine” does not apply. Smith v. North Carolina, 528 F.2d 807, 810 (4th Cir. 1975); Chase v.

 Dep't of Pub. Safety & Corr. Servs., Civil Action No. ELH-18-2182, 2020 U.S. Dist. LEXIS

 68944, at *34 (D. Md. Apr. 20, 2020) (“because different facts will lead to a different legal

 analysis, the doctrine does not apply where the factual milieu has expanded since the court’s

 initial ruling” (internal quotations and citations omitted)); Am. Canoe Ass’n v. Murphy Farms,

 Inc., 326 F.3d 505, 516 (4th Cir. 2003) (applying law of the case was “an abuse of discretion”

 when party “presented evidence … that had not previously been considered”); Sejman v.

 Warner-Lambert Co., 845 F.2d 66, 69 (4th Cir. 1988) (law of the case does not apply if “a

 subsequent trial produces substantially different evidence”).

        For example, the Fourth Circuit in Smith held that the law of the case doctrine only

 precludes a contrary finding based on “identical evidence,” and “in this case there was new

 evidence” and that “defeats the operation of the law of the case.” Smith v. North Carolina, 528

 F.2d 807, 810 (4th Cir. 1975). And in American Canoe, the Fourth Circuit held that “the district


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 court abused its discretion” in precluding a party’s argument based on law of the case because

 the party “presented evidence going to the … issue that had not been previously considered by

 the district court.” Am. Canoe Ass’n v. Murphy Farms, Inc., 326 F.3d 505, 516 (4th Cir. 2003).

        The Court was provided declarations from Defendant Brandon and Defendant Short. But

 in these declarations, and in the motion papers and arguments that relied on these declarations,

 the Court, “was given false information and misleading information, was not told important

 facts, and was given inadequate information about certain facts regarding both the proposed DIP

 financing and the Company’s prospects for a turnaround.” 308

                        a.      False and misleading information about the DIP financing
                                negotiations and terms.

        The testimony from Brandon and Short provided to the Court at the first day hearing

 painted the picture that the Company had firm commitments for all of the DIP loans, with all

 material terms finalized favorably for the Company. 309 For example, Defendant Short submitted

 a declaration stating that the Debtors had “firm commitments for approximately $3,125 million

 of combined postpetition financings.” 310 And the Court was told that DIP financing had been

 negotiated with multiple competing lenders with a “spirited competition” for the DIP Term loan

 that allowed the Company “to improve the terms relative to the initial proposal.” 311

        The motion papers filed on September 19, 2017, purported to provide “a summary of the
                                                                                        312
 material terms” for the DIP financing facilities, including the financial covenants.         Defendant

 Short testified that “the facts set forth in each First Day Motion are true and correct.” 313 The


 308
     Ex. 70 (Greenspan) ¶285.
 309
     Ex. 70 (Greenspan) ¶286.
 310
     Short decl. (Bk. Dkt. 30) at ¶126.
 311
     Ex. 70 (Greenspan) ¶286; Sept. 19, 2017, hearing (Dkt 192) at 72, 76-77; Brandon declaration
 (Bk. Dkt. 20) at 42, ¶99.
 312
     Bk. Dkt. 29 at 8, 19, 29; Ex. 70 (Greenspan) ¶289.
 313
     Dkt. 30 at ¶7.
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 only item highlighted at the hearing as still under negotiation was contract language governing

 the filing of liens on leaseholds. 314

         This portrait of the negotiations and the resulting terms was highly misleading, for the

 reasons described in greater detail above and reiterated in summary form as follows: The Court

 was not told that material financial covenants had not yet been finalized and that the negotiations

 were not trending in favor of the Company. The Court was not told that the DIP Term lenders

 had just added, the night before the First Day hearing, a new requirement for a $175 million

 minimum liquidity covenant, and were insisting on a January revised budget covenant that would

 require the Company to assess liquidity in light of the Holiday results and demonstrate that it

 could still meet the liquidity levels in the original DIP budget. The summary of material terms

 given to the Court made no mention of the January revised budget covenant, it made no mention

 of the $175 million minimum liquidity covenant, and it failed even to disclose that the amount of

 the required cash flow variance had not been agreed upon. 315

         Moreover, the summary of material terms stated “Milestones: None,” 316 but failed to

 disclose “that covenant 6.16 required the borrowers to complete a specific act by a specified

 date”—i.e. demonstrate budget compliance by January 31, 2018. And it failed to disclose that

 the DIP Term loan lenders “insisted on including the Revised Budget Covenant 6.16 in lieu of

 the deleted milestones.” 317

         Defendant Short, however, was “one of the chief people … involved in negotiating” the
                                                                                      318
 covenants and “had ultimate responsibility for deciding what covenants to accept.”         Short



 314
     Ex. 70 (Greenspan) ¶287; Sept. 19, 2017, hearing (Dkt 192) at 147-49.
 315
     Bk. Dkt. 29 at 8, 19, 29; Ex. 70 (Greenspan) ¶289.
 316
     Bk. Dkt. 29 at 28.
 317
     Ex. 70 (Greenspan) ¶¶262, 289; Ex. 11 (3’2’18 Geier re 6.16 [TRU-Trust0000302970]).
 318
     Ex. 87 (Short depo.) 205:14-17, 227:15-23.
                                                 86
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 knew about the new $175 million minimum liquidity covenant and specifically described it in an

 email on the evening of September 18, 2017, as a “new ask,” i.e. a new covenant from the DIP
                 319
 Term lenders.         Short also knew on the evening of September 18, that “the budget covenant

 that was ultimately agreed to” was proposed by the lenders as a covenant “tied to missing the

 DIP budget.” 320

        The Court was provided none of this information at the hearing on September 19, 2017.

                          b.      False and misleading information about the DIP budget
                                  projections.

        The Court was provided a financial projection (DIP budget). 321 The Court was told that

 this financial projection was reliable, and that the Company could comfortably satisfy the

 financial covenants with no concerns for liquidity. 322 Defendant Short declared that “the Budget

 and projections provide an accurate reflection of the funding requirements for the North

 American and international operations over the identified period and are reasonable and
                                          323
 appropriate under the circumstances.”          Short also declared that the DIP financing “will ensure

 that the Debtors have the necessary liquidity to continue to operate without material

 disruption.” 324 And Brandon declared the “DIP Facilities … will provide them with sufficient

 liquidity to stabilize operations, implement their holiday business plan, and negotiate a

 consensual plan of reorganization with their lenders.” 325




 319
     Ex. 87 (Short depo.) 243:4-18 (“she mentions the B lenders would like a liquidity covenant”
 and “your response to her, ‘Is this a new ask?’”).
 320
     Ex. 87 (Short depo.) 244:21-245:7.
 321
     Dkt. 29 at 145.
 322
     Ex. 70 (Greenspan) ¶290; Dkt. 29 at 145.
 323
     Short decl. (Bk. Dkt. 30) at ¶129.
 324
     Short decl. (Bk. Dkt. 30) at ¶130.
 325
     Brandon declaration (Bk. Dkt. 20) at p. 42, ¶99.
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        Once again, critical facts were not disclosed to the Court regarding the financial

 projections and the Company’s projected liquidity. The Court was provided a DIP budget and

 forecast but was not provided the same store sales and profit margin assumptions used for the

 forecast, and was not told that “those assumptions were above trend, and, therefore, high risk and

 unrealistic.” 326 As described in greater detail above, none of the Company’s advisors had

 offered the opinion that the Company was likely to be able to comply with the January revised

 budget covenant or the $175 million minimum liquidity covenant. In fact, the Company and its

 advisors had concluded that the Company needed a liquidity cushion of $200 million, and that

 the $175 million minimum liquidity covenant would result in a cushion of less than $50 million,

 even using the unrealistic DIP budget projection. 327 The Court was not told that Bandon and

 Short and the Company’s advisors had concluded that the January revised budget covenant “just

 isn’t going to work.” 328 And the Court was not told that Short concluded that the $175 million

 liquidity covenant “doesn’t work.” 329 The Court was not told that Defendants Brandon and

 Short had concluded that the January revised budget covenant and the $175 million minimum

 liquidity covenant were too risky and, as a result, that they were seeking to find a new lender as

 of the first-day hearing date, or that they had sought to find a new lender, but could not do so, as

 of the final hearing date.

                        c.      False and misleading information about the Directors’
                                assessment of the DIP financing.

        The Court was told that the Directors were “very highly sophisticated financial people”

 who were “restructuring professionals in their prior lives and understand the process very



 326
     Ex. 70 (Greenspan) ¶292.
 327
     Ex. 70 (Greenspan) ¶291.
 328
     Ex. 70 (Greenspan) ¶100; Ex. 48 (9’18’17 2244 pm [LZ-TRU0092221]) at 4.
 329
     Ex. 70 (Greenspan) ¶104; Ex. 57 (9’20’17 0652 am [TRU-Trust0000075725]).
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 well.” 330 That part was true. But the Court was also told that “the board is fully informed as to

 all of the aspects, terms, and conditions of this DIP financing,” that the Directors were “very

 involved,” and were kept “very closely advised and updated” on the DIP financing, and provided

 “a lot of feedback and direction.” 331 None of that was true.

        The Court was not told that the Directors had not been kept closely advised, did not even

 know the terms of the financial covenants, did not receive any analysis of the Company’s ability

 to comply with the covenants, did not seek out any of the needed information or advice to assess

 the covenants, and did not provide any material feedback and direction apart from rubber-

 stamping the result. 332

                        d.      False and misleading information about the turnaround plan.

        The Court was told that the Company had a turnaround plan, that it was implementing the

 plan immediately, and that the DIP financing provided the funding needed for that turnaround. 333

 Brandon in his first-day declaration stated: “In addition, and of critical importance, the debtor-in-

 possession financing also provides the Company with hundreds of millions of dollars of new

 money that is available for immediate and direct investment in the Company’s stores and

 operations.” 334

        Brandon further stated in his declaration that the DIP financing includes “significant

 capital to immediately invest in operations” and “the DIP Financing … includes approximately

 $1.0 billion of new money commitments that will allow the Debtors to make significant

 operational investments and drive in-store sales.” 335


 330
     Sept. 19, 2017, hearing (Dkt 192) at 85-86.
 331
     Id.
 332
     Ex. 70 (Greenspan) ¶295.
 333
     Ex. 70 (Greenspan) ¶¶304-09.
 334
     Brandon declaration (Bk. Dkt. 20) at 6-7, ¶13.
 335
     Brandon declaration (Bk. Dkt. 20) at ¶¶69, 103.
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         Brandon declared: “Investment in Growth Begins Today” and “This turnaround begins

 today.” 336 Brandon stated that “the Company has developed a four-pillared business plan

 designed to improve the customer experience, operations and drive sales,” and that to “execute

 on all four of the strategic pillars, the Debtors have identified a comprehensive set of key

 initiatives,” which he spelled out in detail in his declaration. 337

         In reliance on Brandon’s declaration, the Court was told at the first day hearing: “we’re

 going to reinvest in operations, and that's going to begin today.” 338 And at the final hearing on

 October 25, 2017, the Court was told that the Company was “in the process of implementing all

 … four pillars to the company’s go-forward plan” using the “significant amount of new money,

 massive liquidity, available to implement the business plan that we talked about.” 339

         All of these statements about the Company’s purported “turnaround plan” were highly

 misleading. As discussed in detail above, the Company did not have a turnaround plan, and had

 no prospects for coming up with a viable turnaround plan. The Company was not commencing

 the turnaround “today” or “immediately” and was not using the DIP financing for “immediate

 and direct investment in the Company’s stores and operations,” as Brandon had testified. As

 explained above, the plan was to get through the Holiday season and then in January attempt to
                        340
 come up with a plan.         The Court was not told that the amount of money from the DIP

 financing budgeted for capital improvements for turnaround was only $125 million, a small
                                                                            341
 fraction of what would be required by a transformative turnaround plan.          And the Court was




 336
     Brandon declaration (Bk. Dkt. 20) at p. 30, ¶69.
 337
     Brandon declaration (Bk. Dkt. 20) ¶¶70-78.
 338
     Sept. 19, 2017, hearing (Dkt 192) at 33.
 339
     Oct. 25, 2017, hearing trans. (Bk. Dkt. 749) at 14-15.
 340
     Ex. 70 (Greenspan) ¶311.
 341
     Ex. 70 (Greenspan) ¶311.
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 not told that this $125 million in capital was not available “immediately,” but instead was

 budgeted to be available commencing after February 2, 2018, and that this capital would only be

 available if budget covenant 6.16 were satisfied, which was highly unlikely. 342

                       e.      False and misleading information reiterated at the final
                               hearing.

        For the final hearing on October 25, 2017, the Court was not provided sufficient

 disclosures or updated information on any of the above facts. 343 Instead, the Court was asked to

 “incorporate the record from the first-day hearing … for purposes of the evidentiary record,”

 which included the declarations of Brandon and Short. 344

        The text of the financial covenants was included in a 708-page filing on the bankruptcy

 docket on September 22, 2018. 345 But the new January revised budget covenant and the $175

 million minimum liquidity covenant were not brought to the attention of the Court. In the

 Debtors’ Omnibus Reply brief filed on October 24, 2017, the Court was advised of certain

 changes to the proposed final order, such as a resolution of the dispute concerning liens on leases
                                                        346
 (which had been discussed at the First Day hearing).

        But the brief did not advise the Court of the financial covenants that were added to the

 Term DIP loan after the first day hearing. 347 The only change in terms for the Term DIP loan

 identified for the Court was that the B-2 and B-3 debt holders “negotiated for a slightly enhanced

 adequate-protection payment.” 348




 342
     Ex. 70 (Greenspan) ¶311.
 343
     Ex. 70 (Greenspan) ¶296.
 344
     Oct. 25, 2017, hearing trans. (Bk. Dkt. 749) at 19.
 345
     Notice of Filing of NA DIP (Bk. Dkt. 158).
 346
     Debtors’ Corrected Omnibus Reply (Bk. Dkt. 688) at 4.
 347
     Id.
 348
     Oct. 25, 2017, hearing trans. (Bk. Dkt. 749) at 20.
                                                 91
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        Moreover, if someone had gone through the 700 pages of loan documentation in docket

 158 and read the language of the January revised budget covenant and the $175 million

 minimum liquidity covenant, “they likely would not have appreciated their significance without

 knowing the background and drafting history that was known to Brandon and Short.” 349

        In the original credit agreement filed with the Court on September 19, 2017, the liquidity

 covenant (section 7.18) tracked a similar covenant in the ABL Credit Agreement, and it appeared

 that it “did not impose any additional limitations on liquidity beyond the $125 million block in

 the ABL agreement.” 350 But when section 7.18 was finally negotiated and agreed to on

 September 22, 2017, it actually imposed an additional requirement to maintain liquidity of $175

 million in excess of the $125 million. 351 But that effect was not immediately obvious from

 reading the language of the covenant (and, in fact, it even deceived Defendant Short when he

 first encountered the proposal). 352

        Even more troubling was the January revised budget covenant, section 6.16, which

 certainly required additional information to appreciate its significance. “For someone who was

 not aware of the history of negotiations for covenant 6.16, its wording was deceptively

 innocuous.” 353 The required action was merely to “propose revisions to the budget” and it

 contained phrases “that suggested leeway.” 354

        But the Court (and other stakeholders such as the UCC) were not told that the lenders for

 the DIP Term loan (the “B4 lenders”) had “insisted on 6.16 to serve as a substitute for specific



 349
     Ex. 70 (Greenspan) ¶¶298-303.
 350
     Bk. Dkt. 29 at pdf 479; Ex. 70 (Greenspan) ¶299.
 351
     Ex. 70 (Greenspan) ¶299; Notice of Filing Final NA DIP Agreements (Bk. Dkt. 158) at 673.
 352
     Ex. 70 (Greenspan) ¶300; Ex. 59 (9’21’17 Kurtz re covenant negotiations [LZ-TRU0086423])
 at 1.
 353
     Ex. 70 (Greenspan) ¶301.
 354
     Ex. 70 (Greenspan) ¶301; Notice of Filing Final NA DIP Agreements (Bk. Dkt. 158) at 656.
                                                  92
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 milestones to give them a chance to pull the plug if the Company’s Holiday sales did not perform

 as forecast.” 355 “This budget covenant was required by the B4 lenders after case-related

 milestones were eliminated from the DIP agreements. The B4 lenders demanded this covenant to

 have visibility into holiday results in the face of potential investment of their DIP funds into go-

 forward business initiatives.” 356

        Moreover, covenant 6.16 allowed the Company to meet the revised budget requirement

 through “reductions … to SG&A, capital expenditures and/or other cash outlays.” 357 But only

 insiders with access to the Company’s internal financial information knew that the Company did

 not have cost-cutting or capital reductions “as an available tool to offset large revenue

 shortfalls.” 358 The Court (and the UCC) were not told that if the Company did not achieve the

 holiday sales levels set forth in the (unrealistic and far too optimistic) DIP budget, significant

 budget cuts would not be available to bring the budget back in line to achieve the liquidity levels

 required by covenant 6.16. 359 For Brandon and Short, the default on the covenant was “virtually
                                                                                                      360
 inevitable” and “[t]here was nothing about the default … that wasn’t in plain sight” for them.

 But that information was not shared with the Court or the UCC.

        Defendant Short had actively participated in the negotiations that led to 6.16, and he was
                                               361
 well aware of its requirements and dangers.         But the Court and the UCC were not told about

 the history or purpose of covenant 6.16 and received no explanation of its significance.




 355
     Ex. 70 (Greenspan) ¶302.
 356
     Ex. 11 (3’2’18 Geier re 6.16 [TRU-Trust0000302970]).
 357
     Notice of Filing Final NA DIP Agreements (Bk. Dkt. 158) at 656.
 358
     Ex. 70 (Greenspan) ¶¶126-129.
 359
     Ex. 70 (Greenspan) ¶303.
 360
     Ex. 86 (Greenspan depo.) 131:11-13, 131:24-133:22.
 361
     Ex. 87 (Short depo.) 205:14-17, 227:15-23; Ex. 70 (Greenspan) ¶303; Ex. 55 (9’19’17 1737
 pm Bhandari [TRU-Trust0000074218]) at point 4 (covenant 6.16 was being negotiated in a
                                                     93
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        Defendant Short admitted that he knew that the DIP Term Loan covenants had been

 negotiated “after the court hearing on the 19th” but that he did not “ask anyone to notify the

 court that a new covenant had been negotiated and added to the … term DIP loan.” 362

        Moreover, at the October 24, 2015 hearing the Court was again not told the facts

 described above:

        •   The Directors had not performed their fiduciary duties, and had made no assessment of

            the Company’s ability to comply with the financial covenants, and had not even asked

            to receive such an assessment from management or the financial advisors.


        •   That DIP budget and forecast provided to the Court was based on a manipulated

            revenue projection that would be virtually impossible to achieve.


        •   Even using the unrealistic DIP budget, projected liquidity (taking into account the new

            $175 million liquidity covenant) that was more than $150 million less than the amount

            that Alvarez & Marsal concluded was necessary.


        •   Bandon and Short had concluded that the January revised budget covenant “just isn’t

            going to work” and the $175 million liquidity covenant “doesn’t work.”


        •   The Company did not have a turnaround plan, and had no prospects for coming up with

            a viable turnaround plan, and the Company was not commencing the turnaround

            “today” or “immediately” as Brandon had testified.




 “conversation between Mike and Randy at Marathon”); Ex. 84 (Sussberg) 96:11-16, 97:6-25,
 99:22-100:15, 102:8-103:10.
 362
     Ex. 87 (Short depo.) 256:9-257:2.
                                                 94
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        •   The amount of money from the DIP financing budgeted for capital improvements for

            turnaround was only $125 million, a small fraction of what would be required by a

            transformative turnaround plan, and that the amount was not available “immediately,”

            but would only be available if budget covenant 6.16 were satisfied by January 31, 2018,

            which was highly unlikely.


        To call these facts “material” is an understatement. These facts explain how and why the

 Toys “R” Us bankruptcy resulted in $800 million in unpaid administrative claims, “the largest

 administrative insolvency in the history of this country.” 363

        Therefore, “in this case there was new evidence” and that “defeats the operation of the

 law of the case.” Smith v. North Carolina, 528 F.2d 807, 810 (4th Cir. 1975).

                4.      The Court’s order approving DIP financing did not address the issues
                        asserted against Defendants.

        Finally, the Defendants’ law of the case argument also fails because the Court’s order

 approving DIP financing did not actually address the issues asserted in the claims against the

 Defendants. Furthermore, the Court found only that the DIP Loans were needed to permit “the

 orderly continuation of the operation of their businesses,” and maintenance of the Debtors as a

 “going concern.” 364 The Court did not consider, and did not issue a ruling on, whether greater

 value would be preserved by an immediate wind-down rather than by maintaining the Company

 as a going concern and attempting a highly speculative turnaround. Similarly, the Court’s order

 stated only that the “DIP Loan Parties,” i.e. the corporate entities, exercised prudent business




 363
     Ex. 86 (Greenspan depo.) 133:9-17; Ex. 70 (Greenspan) ¶319; Ad Hoc Vendor Group’s
 Statement in Support of Debtor’s Motion re Settlement (Bk. Dkt. 4030) at 3 (“approximate $800
 million of administrative claims that were owed by the Debtors”).
 364
     Bk. Dkt. 711 at 18, ¶5(b).
                                                  95
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 judgment. 365 The Court received no evidence on, and did not consider, what the individual

 directors had done or not done in approving the DIP financing, and therefore the Court did not

 issue specific rulings on, whether the Director Defendants complied with their fiduciary duties.

           B.     Judicial estoppel does not protect Defendants’ unlawful conduct.

           Defendants assert that the “Trust is estopped from alleging that the DIP financing was a

 breach of Defendants’ fiduciary duty,” because “the Trust’s counsel and the UCC argued in

 favor of the DIP financing.” Mot. at 7-8. This argument fails for multiple reasons.

                  1.      The Trust is not a successor to the UCC and Mattel and is not bound
                          by their prior statements.

           The statements and positions taken by the UCC and Mattel cannot create an estoppel

 because the Trust is not their successor.

           The Defendants assert the estoppel defense against breach of fiduciary duty claims

 assigned to the Trust from Toys Delaware and Toys Inc. These claims assert that Defendants, in

 their capacities as officers and directors of the two Toys “R” Us corporations, breached their

 fiduciary duties to the corporations. In asserting those claims, the Trust is the successor to the

 corporations and stands in the shoes of the corporations.

           Statements made by the UCC or counsel for Mattel could not possibly estop these two

 corporations—Toys Delaware and Toys Inc.—from bringing claims for breaches of fiduciary

 duty. And because the Trust is the successor in interest to the corporations, such statements

 equally cannot estop the Trust. By contrast, in the Geruschat case cited by Defendants, the

 plaintiffs were unsecured creditors of the debtor who, after plan confirmation, sought to continue

 to assert their own claims in their capacity as creditors. Geruschat v. Ernst & Young, LLP (In re

 Earned Capital Corp.), 331 B.R. 208, 224 (Bankr. W.D. Pa. 2005).


 365
       Bk. Dkt. 711 at 19, ¶5(d).
                                                   96
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        Likewise, the Ryan case cited by Defendants does not imply, much less hold, that a party

 may be estopped based on statements of a creditor’s committee. Ryan, Inc. v. Circuit City

 Stores, Inc., 2010 U.S. Dist. LEXIS 120627, at *13-14 (E.D. Va. Nov. 15, 2010). In fact, the

 case has nothing whatsoever to do with estoppel (the case does not even mention estoppel or any

 other preclusion doctrine). The language quoted by Defendants is simply a court identifying the

 support of the committee of unsecured creditors as one reason for approving the debtor’s

 rejection of an executory contract.

         The Trust is not a successor to the UCC for any purpose and therefore is not responsible

 for, or bound by, any statements or positions taken by the UCC. The Trust is a successor to

 Mattel only as to Mattel’s fraud and other tort claims against the Defendants; not as to any

 breach of fiduciary duty claims. Therefore, for purposes of the Trust’s breach of fiduciary duty

 claims, the Trust is not a successor to either the UCC or Mattel. No estoppel can apply.

        Defendants assert that estoppel of the Trust for breach of fiduciary duty may stem from

 statements made by the UCC because the Trust “is pursuing claims on behalf of the UCC’s

 constituency.” Mot. 7. That assertion is false. Four of the 37 fraud claims asserted by the Trust

 were assigned from members of the UCC, but not the breach of fiduciary duty claims against

 which Defendants assert the estoppel defense. In asserting the breach of fiduciary duty claims,

 the Trust is not a successor to any of the UCC members, and therefore cannot possibly be

 estopped in asserting the fiduciary duty claims.

        Finally, Defendants assert that the “Trust’s counsel” argued in favor of the DIP financing.

 Mot. at 7. That is false. When Mr. Eckstein appeared before the Court in October 2017, he was

 not speaking on behalf of the Trust. Mr. Eckstein was counsel for the UCC.




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                 2.      The Court’s confirmation order bars application of preclusion
                         doctrines, including estoppel.

          As discussed above, the Court’s confirmation orders require that “No preclusion doctrine,

 including the doctrines of … estoppel (judicial, equitable, or otherwise) … shall apply to such

 Causes of Action” (i.e. to claims asserted against the former directors and officers of Toys “R”
        366
 Us).

          The Court had good reason for doing so. It would waste resources and unduly burden the

 Trust if it had to litigate preclusion issues arising from facts and circumstances that were known

 to and under the control of Defendants and hidden or obscured from the other stakeholders. And

 it would obviously be unjust to employ estoppel to protect the positions and statements taken by

 the Toys “R” Us corporations when they were controlled by Defendants, even if the Trust is

 asserting claims as the successor to those corporations.

          As the Court ruled in the confirmation order, the “no preclusion doctrine” provision was

 an “integral, integrated, and inextricably linked part of the Settlement Agreement” and, therefore,
                          367
 cannot be disregarded.         Moreover, as the Court ruled, it was binding on the Defendants

 because they are “subject to the settlements, compromises, [and] releases … described in the

 [Plan].” 368

                 3.      The Trust has not engaged in bad faith or an attempt to intentionally
                         mislead the court.

          One of the three elements that “must be satisfied before judicial estoppel will be applied”

 is that “the party against whom judicial estoppel is to be applied must have intentionally misled

 the court to gain unfair advantage.” Zinkand v. Brown, 478 F.3d 634, 638 (4th Cir. 2007).


 366
     Dkt. 5746 (Delaware order) ¶48; Dkt. 5602 (Delaware plan) at 33; Dkt. 5979 (Toys Inc.
 order); Dkt. 5940 (Toys Inc. plan) at 35.
 367
     Dkt 5746 ¶34.
 368
     Dkt. 5746 ¶141.
                                                    98
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 Defendants entirely ignore this element, and they cannot prove that the Trust (“the party against

 whom judicial estoppel is to be applied”) “intentionally misled the court to gain unfair

 advantage.” Id.

        This element is not optional. It is a “longstanding principle that judicial estoppel applies

 only when the party who is alleged to be estopped intentionally misled the court to gain unfair

 advantage.” Martineau v. Wier, 934 F.3d 385, 393 (4th Cir. 2019) (internal quotes omitted)

 (reversing district court’s grant of summary judgment erroneously premised on judicial

 estoppel). “The determinative factor in the application of judicial estoppel is whether the party

 who is alleged to be estopped intentionally misled the court to gain unfair advantage.” John S.

 Clark Co. v. Faggert & Frieden, P.C., 65 F.3d 26, 29 (4th Cir. 1995) (internal quotes omitted).

        As the Fourth Circuit held in Zinkand, “Without bad faith, there can be no judicial

 estoppel.” Id. (holding that “the district court made a clear error of law and consequently abused

 its discretion” by applying judicial estoppel in the absence of bad faith); Minnieland Private Day

 Sch., Inc. v. Applied Underwriters Captive Risk Assurance Co., 867 F.3d 449, 458 (4th Cir.

 2017) (holding that “the district court committed legal error in applying judicial estoppel and,

 therefore, abused its discretion”).

        Moreover, showing the required level of intent and bad faith is a high bar. “Courts must

 proceed with caution” and “intent to mislead” must be “clear.” John S. Clark, 65 F.3d at 29

 (reversing district court because “it is not clear that Clark had the intent to mislead which is

 required to invoke judicial estoppel”). For example, in the only Fourth Circuit case cited by

 Defendants, the estopped party was (a) “explicitly” misleading one court by hiding a prior

 settlement agreement so that the party could appeal the claim that the agreement settled, “while




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 at the same time” (b) relying on the same settlement agreement in an enforcement proceeding

 before another court. Guinness PLC v. Ward, 955 F.2d 875, 899-900 (4th Cir. 1992).

           Defendants do not assert, much less attempt to prove, bad faith or an attempt to

 intentionally mislead a court. This is fatal to Defendants’ argument because “judicial estoppel is

 an affirmative defense.” Thomas v. FTS USA, LLC, No. 3:13cv825, 2016 U.S. Dist. LEXIS

 82679, at *44 n.7 (E.D. Va. June 24, 2016). Because it is an affirmative defense, Defendants

 bear the burden of proof.

           “Where, as here, the movant seeks summary judgment on an affirmative defense, it must

 conclusively establish all essential elements of that defense.” Ray Communs., Inc. v. Clear

 Channel Communs., Inc., 673 F.3d 294, 299-300 (4th Cir. 2012). And “where the movant fails

 to fulfill its initial burden of providing admissible evidence of the material facts entitling it

 to summary judgment, summary judgment must be denied, even if no opposing evidentiary

 matter is presented, for the non-movant is not required to rebut an insufficient showing.” Id.

           Because Defendants do not mention a bad faith intentional attempt to mislead—much

 less offer undisputed evidence proving it—Defendants’ defense fails as a matter of law.

           Ironically, Defendants’ assertion of judicial estoppel is itself made in bad faith. In

 opposing the motion to dismiss, the Trust called Defendants’ attention to the controlling Fourth

 Circuit law setting forth the elements of judicial estoppel. 369 And the Trust pointed out to

 Defendants that judicial estoppel was an affirmative defense for which Defendants bore the
                    370
 burden of proof.          It is therefore inexplicable that Defendants would proceed with a motion for

 summary judgment that entirely ignores the requirement that Defendants prove bad faith.




 369
       Dkt. #6 at 13-14.
 370
       Id. at 15.
                                                    100
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        In fact, the undisputed evidence demonstrates that the Trust has not engaged in a bad

 faith attempt to intentionally mislead the Court. Defendants do not assert that the Trust has no

 basis for asserting breaches of fiduciary duties by the Defendants in this case. Nor could they.

 The Trust’s allegations are well supported by overwhelming evidence, including documentary

 evidence and admissions from the Defendants themselves.

        Nor do Defendants assert that the statements made by the UCC and counsel for Mattel in

 October 2017 were made in bad faith or were designed to intentionally mislead the Court. There

 is no evidence suggesting that, when the UCC and Mattel supported the DIP financing in

 October 2017, they did not believe their positions and were attempting to mislead the Court.

        This is not a circumstance where the Trust is attempting to mislead the Court in this case,

 or where the UCC and Mattel were attempting to do so in 2017. There is no credible evidence of

 bad faith.

                4.      Because the Trust’s position is based on facts not known to the UCC
                        or Mattel, judicial estoppel cannot apply.

        Estoppel does not bar a party from asserting inconsistent positions if the later position is

 based on facts not known to it when it asserted the earlier position.

        Because the “vice which judicial estoppel prevents is the cold manipulation of the courts”

 “[i]t is inappropriate, therefore, to apply the doctrine when a party’s prior position was based on

 inadvertence or mistake.” John S. Clark Co. v. Faggert & Frieden, P.C., 65 F.3d 26, 29 (4th Cir.

 1995), quoted with approval by New Hampshire v. Maine, 532 U.S. 742, 753 (2001).

 “Jurisdictions recognizing judicial estoppel also refuse to apply the doctrine when the prior

 position was taken because of a good faith mistake rather than as part of a scheme to mislead the

 court. An unintentional error is not penalized by precluding subsequent assertion of the truth.

 Because the rule looks toward cold manipulation and not unthinking or confused blunder, it has


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 never been applied where plaintiff's assertions were based on fraud, inadvertence, or mistake.”

 Konstantinidis v. Chen, 626 F.2d 933, 939 (D.C. Cir. 1980) (internal quotes omitted), cited with

 approval by approval by New Hampshire v. Maine, 532 U.S. 742, 753 (2001).

           The UCC and Mattel were not aware of, and had no way of knowing, the many facts that

 have come to light as the result of the Trust’s investigation. In September and October 2017, the

 UCC and Mattel were subjected to the same misinformation, false statements, and concealed

 information that the Court received at that time (as discussed in detail above). The UCC and

 Mattel “received misleading information,” were “not told important facts,” and were “given

 inadequate information” regarding both the proposed DIP financing and the Company’s

 prospects for a turnaround. 371

           The Trust’s position in this case is based on all of the evidence and facts that were known

 only to Defendants in the fall of 2017.

                  5.      Defendants do not assert, and could not assert, collateral estoppel.

           Defendants style this defense as “estoppel,” and frame their argument in terms consistent

 with the doctrine of judicial estoppel, which is what the Defendants also asserted in their motion

 to dismiss, and pleaded in their answer. Defendants do not assert “collateral estoppel,” which

 would fail for even more reasons than judicial estoppel.

           1.     Collateral estoppel is an affirmative defense and must be pleaded in an answer for

 it to be preserved. Fed. R. Civ. P. Rule 8 (“a party must affirmatively state any avoidance or

 affirmative defense, including … estoppel … res judicata”). Defendants failed to plead the
                                               372
 affirmative defense of collateral estoppel.




 371
       Ex. 70 (Greenspan) ¶312.
 372
       Dkt. 149 at 136-37.
                                                     102
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        2.      Because it is an affirmative defense, on summary judgment Defendants have the

 burden of setting forth each element and proffering undisputed evidence establishing each

 element. Ray Communs., Inc. v. Clear Channel Communs., Inc., 673 F.3d 294, 299-300 (4th Cir.

 2012). Defendants failed to do so.

        3.      The defense of collateral estoppel requires proof that “the issue sought to be

 precluded is identical to one previously litigated.” Collins v. Pond Creek Mining Co., 468 F.3d

 213, 217 (4th Cir. 2006) (internal quotes omitted). Defendants cannot show that “the identical

 issue was previously adjudicated.”

        4.      The defense of collateral estoppel requires proof that “the party against

 whom collateral estoppel is asserted had a full and fair opportunity to litigate the issue in the

 previous forum.” Collins, 468 F.3d at 217. Defendants cannot prove that element. “It is not

 possible … to have had a full and fair opportunity to litigate when the most essential facts were

 excluded.” Geruschat v. Ernst & Young, LLP (In re Earned Capital Corp.), 331 B.R. 208, 227

 (Bankr. W.D. Pa. 2005).

        C.      The exculpatory provision does not protect the Defendants against any of the
                Trust’s claims.

        Defendants assert the Defendant Directors “are immunized from the Trust’s claim that

 they breached their duty of care in approving the DIP financing in their capacity as company

 directors pursuant to the exculpatory clause” in the Company’s certificate of incorporation. Mot.

 10-11. This contention fails at four levels.

        First, “the shield from liability provided by a certificate of incorporation provision

 adopted pursuant to 8 Del. C. § 102(b)(7) is in the nature of an affirmative defense.” Emerald

 Partners v. Berlin, 726 A.2d 1215, 1223 (Del. 1999). Defendants were required to plead all

 asserted affirmative defenses in their answer. Fed. R. Civ. P. 8(c) (“a party must affirmatively


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 state any avoidance or affirmative defense”). Defendants failed, however, to plead the defense
                   373
 of exculpation.

           Moreover, because exculpation is an affirmative defense, Defendants “bear the burden of

 establishing each of its elements.” Emerald Partners v. Berlin, 726 A.2d 1215, 1223-24 (Del.

 1999). Defendants failed to set forth admissible evidence establishing each of its elements as an

 undisputed fact and, therefore, cannot prevail on summary judgment. “Where, as here, the

 movant seeks summary judgment on an affirmative defense, it must conclusively establish all

 essential elements of that defense.” Ray Communs., Inc. v. Clear Channel Communs., Inc., 673

 F.3d 294, 299-300 (4th Cir. 2012). And “where the movant fails to fulfill its initial burden of

 providing admissible evidence of the material facts entitling it to summary judgment, summary

 judgment must be denied, even if no opposing evidentiary matter is presented, for the non-

 movant is not required to rebut an insufficient showing.” Id.

           Second, when the defense is available, an exculpatory provision can apply only to a claim

 for breach of the duty of care. 8 Del. C. § 102(b)(7). An exculpatory provision has no effect on

 claims for breach of the fiduciary duty of loyalty or breach of the fiduciary duty of good faith. 8

 Del. C. § 102(b)(7) (“such provision shall not eliminate or limit the liability of a director: For

 any breach of the directors’ duty of loyalty [or] … for acts or omissions not in good faith”); Leal

 v. Meeks (In re Cornerstone Therapeutics, Inc.), 115 A.3d 1173, 1179-80 (Del. 2015) (holding

 that exculpation is not effective if “the director harbored self-interest adverse to the stockholders'

 interests, acted to advance the self-interest of an interested party from whom they could not be

 presumed to act independently, or acted in bad faith”). The exculpatory provision, therefore,




 373
       Dkt. 149 at 136-38.
                                                  104
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 does not protect Defendants against the Trust’s claims for breach of the fiduciary duty of loyalty

 and breach of the fiduciary duty of good faith.

        Third, if a director’s conduct is a breach of the duty of loyalty or the duty of good faith in

 addition to breaching the duty of care, then the exculpatory provision will not suffice, and a

 breach of the duty of care may also be asserted against the directors. Malpiede v. Townson, 780

 A.2d 1075, 1095 (Del. 2001) (“a Section 102(b)(7) charter provision bars a claim that is found to

 state only a due care violation”); Miller v. Greystone Bus. Credit II, L.L.C. (In re USA

 Detergents, Inc.), 418 B.R. 533, 545 (Bankr. D. Del. 2009) (“Because, as explained in further

 detail below, the Trustee alleges facts sufficient to sustain a cause of action for breach of the

 duties of loyalty and good faith, the Director Defendants cannot invoke the exculpation clause

 and the Court will not dismiss the claims for breach of the duty of due care.”); Bridgeport

 Holdings Inc. Liquidating Tr. v. Boyer (In re Bridgeport Holdings, Inc.), 388 B.R. 548, 568

 (Bankr. D. Del. 2008) (“In this case, the Trust has alleged facts supporting a breach of the duty

 of loyalty as well as a lack of good faith, in addition to a breach of the duty care. Since these

 questions of the D&O Defendants' loyalty or lack of good faith trigger entire fairness review, an

 exculpatory provision simply cannot justify a dismissal of the duty of care claims.”). Because

 the facts establish that Defendants breached their duties of loyalty and good faith, the

 exculpatory provision does not protect them from liability for breaching their duty of care.

        Fourth, the protection of the exculpatory provision applies only to a “director of the

 corporation.” Mot. 10. The provision therefore cannot shield the actions of Brandon and Short

 in their capacities as officers of the Company. In re Mindbody, Inc., 2020 Del. Ch. LEXIS 307,

 at *71 (Ch. Oct. 2, 2020) (“an officer … is not exculpated by the Company’s 102(b)(7)




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 provision” (internal quotes omitted)); McPadden v. Sidhu, 964 A.2d 1262, 1275 (Del. Ch. 2008)

 (“an officer does not benefit from the protections of a Section 102(b)(7) exculpatory provision”).

        D.      The business judgment rule does not protect Defendants’ conduct.

        Defendants contend that “the business judgment rule prevents the Trust from challenging

 … the Board’s decision to obtain DIP financing.” Mot. 11. This contention fails for four

 reasons.

        The business judgment rule “may only be invoked by directors who are found to be not

 only ‘disinterested’ directors, but directors who have both adequately informed themselves

 before voting on the business transaction at hand and acted with the requisite care.” Cede & Co.

 v. Technicolor, 634 A.2d 345, 367 (Del. 1993) (emphasis in original). Therefore, “proving that

 the defendant breached her duty of loyalty or her duty of care” will be sufficient for “rebutting

 one of the business judgment rule’s presumptions.” Basho Techs. Holdco B, Ltd. Liab. Co. v.

 Georgetown Basho Inv’rs, Ltd. Liab. Co., No. 11802-VCL, 2018 Del. Ch. LEXIS 222, at *55

 (Ch. July 6, 2018).

        Moreover, the duty of good faith is a component of the duty of loyalty, because a

 “director cannot act loyally towards the corporation unless she acts in good faith.” Stone v.

 Ritter, 911 A.2d 362, 369-70 (Del. 2006). Therefore, demonstrating a breach of the duty of good

 faith also removes the protection of the business judgment rule. Brehm v. Eisner (In re Walt

 Disney Co. Derivative Litig.), 906 A.2d 27, 52 (Del. 2006) (“Those presumptions can be rebutted

 if the plaintiff shows that the directors breached their fiduciary duty of care or of loyalty or acted

 in bad faith. If that is shown, the burden then shifts to the director defendants to demonstrate that

 the challenged act or transaction was entirely fair to the corporation and its shareholders.”). In

 particular, the business judgement rule cannot be invoked against a claim for abdication of

 directorial duties. Aronson v. Lewis, 473 A.2d 805, 813 (Del. 1984).
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        Defendants’ contentions fail on all counts.

                1.      The business judgment rule does not apply because Defendants failed
                        to inform themselves of all material information that was reasonably
                        available to them.

        Directors and officers “have a duty to inform themselves, prior to making a business

 decision, of all material information reasonably available to them.” Cede & Co. v. Technicolor,

 634 A.2d 345, 371 (Del. 1993). “[T]he failure of the members of the board to adequately inform

 themselves represented a breach of the duty of care, which of itself was sufficient to rebut the

 presumption of the business judgment rule.” Cede & Co. v. Technicolor, 634 A.2d 345, 371

 (Del. 1993).

        As described above, Defendants failed to inform themselves of critical information before

 voting to approve the DIP financing and the turnaround strategy. This information included:

    •   The terms of the key financial covenants for the DIP financing;

    •   A projection or financial model that could be used to assess available liquidity of the

        Company;

    •   The key assumptions underlying a financial model, including sales, margins, operating

        costs, and capital expenditures;

    •   A sensitivity analysis showing the results of reasonable downside cases;

    •   An analysis from advisors or management of the Company’s ability to comply with all

        financial covenants for the DIP financing;

    •   An assessment of whether the Company could plausibly come up with a viable turnaround

        plan;

    •   An estimate of the capital required for a turnaround and assessment of whether the DIP

        financing provided the Company with sufficient liquidity to attempt a turnaround;


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       •   An assessment of the timing of a turnaround and the timing of expected benefits from a

           turnaround;

       •   An analysis of the likely “costs and losses that would occur “from a forced liquidation

           resulting from a covenant default;”

       •   An analysis of the additional operating losses, costs, and expenses that the Company would

           incur by the liquidation of the U.S. business. 374

           This information was reasonably available and, in fact is what is always done in similar
                   375
 circumstances.          And, as discussed above, Defendants knew that this was the information they

 should be gathering before arriving at a decision. Yet Defendants failed even to ask for this

 information.

           In an analogous case, directors approved a leveraged buyout transaction but “failed to

 review cash projections indicating that the debtor would be left with insufficient capital after the

 LBO.” Bridgeport Holdings Inc. Liquidating Tr. v. Boyer (In re Bridgeport Holdings, Inc.), 388

 B.R. 548, 569 (Bankr. D. Del. 2008). As a consequence, “the directors did not fulfill their duty

 to inform themselves, prior to making that business decision, of all material information

 reasonably available to them.” Id. (internal quotes omitted).

           Because Defendants failed to inform themselves of all material information reasonably

 available to them, the business judgment rule does not protect them.

                  2.        The business judgment rule does not apply because Defendants failed
                            to act with requisite care.

           For the business judgment rule to apply, directors and officers “must then act with

 requisite care in the discharge of their duties.” Cede & Co. v. Technicolor, 634 A.2d 345, 367



 374
       See, e.g. Ex. 70 (Greenspan) ¶¶157, 272-276; 279
 375
       Ex. 70 (Greenspan) ¶¶54-57, 141-42, 157, 159.
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 (Del. 1993). As detailed above, Defendants engaged in gross negligence and failed to exercise

 due care in approving the DIP financing, authorizing an attempted turnaround, and failing to

 consider (and then direct) an immediate wind-down. As a result, the business judgment rule

 does not apply.

                3.      The business judgment rule does not apply because Defendants
                        abdicated their duties.

        In addition, the business judgement rule cannot be invoked against a claim for abdication

 of directorial duties. “[T]he business judgment rule … has no role where directors have …

 abdicated their functions.” Aronson v. Lewis, 473 A.2d 805, 813 (Del. 1984); Bridgeport

 Holdings Inc. Liquidating Tr. v. Boyer (In re Bridgeport Holdings, Inc.), 388 B.R. 548, 569

 (Bankr. D. Del. 2008) (“where a loss results from director inaction, the protections of the

 business judgment rule do not apply”); In re Walt Disney Co. Derivative Litig., 907 A.2d 693,

 748 n.418 (Del. Ch. 2005) (“the business judgment rule does not apply to director inaction”).

        As detailed above, the facts demonstrate that Defendants entirely abdicated their duty to

 assess the Company’s ability to comply with financial covenants in the DIP financing. This

 evidence establishes that the Directors “adopt[ed] a ‘we don’t care about the risks’ attitude

 concerning a material corporate decision” and thereby breached their fiduciary duties. In re Walt

 Disney Co. Derivative Litig., 825 A.2d 275, 289 (Del. Ch. 2003), aff’d Brehm v. Eisner (In re

 Walt Disney Co. Derivative Litig.), 906 A.2d 27, 63 (Del. 2006) (holding that bad faith may be

 shown by evidence demonstrating a “conscious[] and intentional[] disregard[] [of]

 responsibilities, adopting a ‘we don't care about the risks’ attitude”).

        In addition, the facts detailed above demonstrate that Defendants knew that the U.S.

 business met all the criteria for a business that needed an immediate wind-down, knew that

 having the Company max out its DIP financing and continue in operation would cost hundreds of


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 millions of dollars in additional operating losses and restructuring costs. They knew that their

 fiduciary duties required them to assess all reasonable alternatives, and to gather all information

 reasonably available before making a decision. But Defendants entirely abdicated that duty and

 failed to act.

         Because the evidence demonstrates that Defendants abdicated their functions, the

 business judgment rule cannot protect them.

                  4.     The business judgment rule does not apply because Defendants were
                         not disinterested directors.

         The business judgment rule “may only be invoked by directors who are found to be …

 ‘disinterested directors,’” and does not protect directors from a claim of breach of the duty of

 loyalty. Cede & Co. v. Technicolor, 634 A.2d 345, 367 (Del. 1993). As demonstrated above,

 Defendants Brandon, Short, and each of the six Sponsor-appointed Directors had conflicts of

 interest and were not entirely disinterested in the decision whether to commence an immediate

 wind-down or to instead max-out DIP financing and attempt a turnaround. They ignored their

 conflicts of interest, failed to delegate the decision to disinterested directors or officers, and,

 instead, controlled the decision. The business judgment rule, therefore, cannot protect their

 breaches of fiduciary duty.

         E.       Defendants’ arguments regarding their breaches of the duty of loyalty fail.

                  1.     Defendants ignore the facts and evidence.

         Defendants acknowledge that the “Trust alleges in its Complaint that the Sponsor-

 affiliated Directors authorized the Chapter 11 as a ‘longshot’ and ‘gamble’ to protect their

 equity,” Mot. 12, but Defendants do not address the Trust’s evidence supporting that theory.

 Instead, Defendants assert that a court “rejected this same type of argument,” implying that the

 court held that a protecting-the-equity theory failed as a matter of law. Mot. 12 (citing Radnor


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 Holdings Corp. v. Tennenbaum Capital Ptnrs, 353 B.R. 820, 844 (Bankr. D. Del. 2006)).

 Nothing could be further from the truth. The court in Radnor allowed the protecting-the-equity

 theory alleged in the complaint to proceed to trial, and then “conducted eight full days of trial” to

 decide whether the theory was supported by the evidence and facts. 353 B.R. at 827. The

 Radnor court found for the defendants, but the evidence in Radnor differed from the evidence

 here in every material way.

        Two key premises of this theory are: (i) when the defendants directed the company to

 take on more debt, the company was insolvent and the defendants must therefore attempt a

 turnaround for the equity to have value, and (ii) the defendants did not actually have a plausible

 business plan for turning the company around. While the plaintiff in Radnor could not prove

 either premise, the Trust has powerful evidence on both.

        The plaintiff in Radnor alleged a “loan to own” scheme conducted by an investment firm

 (Tennenbaum aka TCP) who appointed one of the accused directors, and who was allegedly

 conspiring with another accused director. Radnor, 353 B.R. at 827 at 830, ¶15. The other

 accused director was Mr. Kennedy, the majority shareholder and CEO. Id. at 830, ¶15.

        The court in Radnor found that all of the evidence demonstrated that the company was

 solvent when the challenged loans were made. Id. at 823-33, ¶¶32-33. And the court made a

 factual finding that Tennenbaum could not have believed the corporation was “insolvent at the

 time,” because it also “made a $25 million equity investment” in the corporation. Id. at 830 ¶15.

 By contrast, the Trust has powerful evidence, including admissions in Defendants’ own

 documents, that when the Sponsor-appointed Directors authorized Toys “R” Us to take on DIP

 financing they knew their equity had no value. And, of course, the Sponsors declined to make

 any further equity investments in Toys “R” Us.



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        In addition, the court in Radnor found that the director appointed by the investment firm

 (Tennenbaum) did not “vote in his self interest” because he “abstained from the vote” for the

 first challenged transaction and “resigned from the board” before the second transaction. Id. at

 844-45, ¶¶27-28. By contrast, in the present case the Sponsor-appointed Directors participated

 fully in the vote to approve the DIP financing.

        As for the other accused director in Radnor (Mr. Kennedy, the CEO) the court found that

 he had “(i) agreed not to receive bonus compensation for calendar 2006; (ii) made a $1 million

 preferred stock investment in the Company; and (iii) personally guaranteed $10 million of the

 Tranche C Loans.” Id. at 833, ¶39. “It would be irrational to believe that Mr. Kennedy would

 have done this if he believed that Radnor was insolvent or was headed for a bankruptcy filing.”

 Id. By contrast, in the present case CEO Brandon did not forego compensation, contribute cash

 or personal guarantees to Toys “R” Us. Instead, Brandon orchestrated the payment of executive

 bonuses three days before the bankruptcy filing, including $2,812,500 for himself.

        Moreover, in Radnor, the court found that the funding was used for “new product

 initiatives that were already in place” and the “Company had already executed agreements

 regarding new products, like its polypropylene cup line, at the time.” Id. at 830, ¶16. By

 contrast, the Defendants in the present case were pretending they had a “Turnaround Plan” that

 begins immediately, when in fact they knew there was no plan.

        Finally, in Radnor there was no evidence of bad faith abdication of directorial duties,

 such as exists in the present case. The court in Radnor found there was a “good faith basis for

 the Radnor board to have continued with its business plan” and the board made “good faith

 decisions” to aid the company “in carrying out its business plan.” Id. at 844, ¶24. For example,

 the court found that “the Company’s projections were well thought out ‘bottoms up’ projections



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 and that each assumption was supportable.” Id. at 828, ¶9. And their analysis “considered a

 ‘downside’ scenario’ … should the Company not perform as expected.” Id. at 829, ¶10. By

 contrast, in the present case the Directors did not see, or ask for, any projections with supportable

 assumptions or modeling of downside scenarios, and entirely abdicated their directorial duties.

                2.      Because creditors had priority in bankruptcy, the interests of the
                        Sponsors conflicted with those of the creditors.

        Defendants contend “the Chapter 11 filing was the exact opposite of a ‘Hail Mary’

 because as a matter of law a formal restructuring inures to the best interests of the company’s

 creditors and estate at the expense of the equity holders … because the absolute priority rule of

 the Bankruptcy Code ensures that all creditors must first be paid in full following a Chapter 11

 filing and that a debtor’s shareholders are the last in line to be repaid.” Mot. 12-13.

        Defendants’ argument has the logic upside down: the priority of creditors over equity is

 precisely why the Sponsors’ interests conflicted with those of the creditors. The Directors knew

 that the Company’s liabilities exceeded assets, which meant an immediate wind-down and

 orderly liquidation of the U.S. business would provide value only to creditors, and the Sponsors

 would receive nothing. The Sponsors had a chance to receive value only through a Hail Mary

 attempt at a turnaround.

        But the Directors also knew that the Sponsors would not contribute a single dime to fund

 that Hail Mary attempt, which would be paid for entirely by the creditors. And those costs were

 neither trivial, nor were they a mere possibility. In voting to max out DIP financing and continue

 operations, the Defendants knew that the Company would incur costs that were “certain and




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                        376
 they’re monstrous.”          They included hundreds of millions of dollars in professional fees,

 interest and finance fees, and operating losses. Id. None of it paid for by the Sponsors.

                  3.      Under controlling Delaware law, Defendant Brandon’s substantial
                          financial interest in continued employed constituted a conflict of
                          interest.

           Defendants’ assert that Brandon did not have a conflict because Delaware law holds that

 “an executive’s ongoing receipt of salary does not constitute sufficient self-interest to obviate the

 protection of the business judgment rule.” Mot. 13-14. This argument fails on the facts and the

 law.

           On the facts, Brandon’s self-interest was not limited to his ongoing salary. He also

 received a bonus of $2,812,500 as a result of the decision to attempt a turnaround, which he
                                                                               377
 would not have received if the Company had commenced a wind-down.

           Moreover, an executive’s ongoing salary is a sufficient self-interest to create a conflict.

 The Delaware Supreme Court, which is the controlling authority, held that a “substantial

 financial interest in maintaining their employment positions” is a sufficient personal interest to

 render corporate directors conflicted. Rales v. Blasband, 634 A.2d 927, 937 (Del. 1993). In

 Rales, the Court considered whether director Sherman, who was also the CEO, was “capable of

 acting independently” of the “Rales brothers”—two other directors with a personal interest in the

 challenged merger transaction. Rales v. Blasband, 634 A.2d 927, 937 (Del. 1993). The Court

 held that a conflict of interest exists “where a corporate decision will have a materially

 detrimental impact on a director.” Id. at 936. The CEO Sherman’s only alleged conflicting

 personal interest was that his “salary is approximately $1 million per year.” Id. The Court held

 that this interest was sufficient because “Sherman’s continued employment and substantial


 376
       Ex. 86 (Greenspan depo.) 152:23-153:17.
 377
       Ex. 70 (Greenspan) ¶19.
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 remuneration” was dependent on the Rales brothers. Id. The Court held that Sherman cannot

 “be expected to act independently considering his substantial financial stake in maintaining his

 current offices.” Id.

        The Court then considered another director, Ehrlich, who was president of a different

 company owned by the Rales brothers with “annual compensation of approximately $300,000.”

 Id. The Court held that Ehrlich could not “act independently since it can be inferred that he is

 beholden to the Rales Brothers in light of his employment.” Id.

        The Court concluded: “Because of their alleged substantial financial interest in

 maintaining their employment positions, there is a reasonable doubt that these two directors are

 able to consider impartially an action that is contrary to the interests of the Rales brothers.”

 Rales v. Blasband, 634 A.2d 927, 937 (Del. 1993).

        Accordingly, under Delaware law, “[c]ontinued employment in itself is a material

 interest.” Xura, Inc. Stockholder Litig., 2018 Del. Ch. LEXIS 563, at *31 (Ch. Dec. 10, 2018);

 In re Mindbody, Inc., 2020 Del. Ch. LEXIS 307, at *36 (Ch. Oct. 2, 2020) (“Delaware law also

 recognizes that management’s prospect of future employment can give rise to a disabling

 conflict.”); In re Beam ex rel. Martha Stewart Living Omnimedia, Inc. v. Stewart, 833 A.2d 961,

 977-78 (Del. Ch. 2003) (holding that an officer/director had a conflict because she “has a

 material interest in her own continued employment”), aff’d 845 A.2d 1040 (Del. 2004).

        Defendants cite Grobow, but that case held only that “the allegation that all GM’s

 directors are paid for their services” was not a sufficient personal interest. Grobow v. Perot, 539

 A.2d 180, 188 (Del. 1988). But this is not a case involving payments for directorial services

 (which are typically relatively small). Brandon had a personal interest in continued employment,

 which paid him a base salary of $3,750,000 per year.



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        A disabling conflict of interest exists whenever “a corporate decision will have a

 materially detrimental impact on a director.” Rales v. Blasband, 634 A.2d 927, 937 (Del. 1993).

 Because the decision to wind down and liquidate the U.S. business would terminate Brandon’s

 large salary, it had a material detrimental impact on Brandon, and therefore, under controlling

 Delaware law, created a conflict of interest.

                4.      Defendant Short was both a member of the Board and an officer, and
                        he actively participated in the decision-making.

        Defendants’ only argument concerning Defendant Short is that he “was not even a

 member of the TRU Board” and did not influence the Board’s vote. Mot. 13. Defendants are

 wrong. The breach of fiduciary duty claims asserted by the Trust are those of both Toys

 Delaware (which operated the U.S. business), and Toys Inc., (which was the holding company
                                                       378
 that owned 100% of the shares of Toys Delaware).

        The claims of Toys Delaware are particularly relevant because Toys Delaware was the

 borrower on the DIP Term loan. 379

        As Defendant Short himself testified, Short was a member of the Board of Directors of

 Toys Delaware.

        11    Q. You were a member of the board of directors
        12 of Toys "R" Us Delaware, Inc.; right?
        13    A. Delaware, correct.

 Ex. 87 (Short depo.) 278:11-13.

        The board meeting authorizing the DIP financing and the bankruptcy filing was a joint

 meeting of both boards, and Short was expressly identified as participating in the meeting as a



 378
     Dkt. 146 (2nd Amended Complaint) ¶23; Ex. 27 (8'9'17 fiduciary duty presentation [TRU-
 Trust0000060755]) at 3.
 379
     Dkt. 158 at 440 (the party to the credit agreement is “TOYS R’ US-DELAWARE, INC., a
 Delaware corporation, as debtor and debtor-in-possession (the ‘Borrower’”)).
                                                 116
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                                    380
 board member of Toys Delaware.           The minutes do not identify that any director abstained

 from the vote and, instead, state that the “motion passed unanimously.” 381

        Moreover, Short is also liable for conduct in his capacity as CFO of the Company. As

 detailed above, Short was personally responsible for negotiating the financial covenants. As

 Short testified, he was “the person that had ultimate responsibility for deciding what covenants to

 accept.” 382 Moreover, Short filed one of the two misleading declarations with the Court that

 were used to obtain approval of the DIP financing.

        F.      Defendants’ arguments regarding their breaches of the duty of good faith
                and the duty of care fail.

                1.      The presence of advisors does not shield Defendants’ wrongful
                        conduct.

        Defendants assert that the Board “retained outside expert legal and financial advisors,”

 who “briefed” the Board “concerning the different solutions” the advisors “were pursuing with

 TRU management to solve TRU’s liquidity issues.” Mot. 15. Defendants assert that “the Board

 met at least six times, and was presented with materials prepared by TRU’s advisors” that were

 “intended to update and inform the Board on the Chapter 11 process and the status of the DIP

 financing facilities.” Mot. 15-16. Defendants conclude that the “involvement” of these advisors

 “preclude a finding of bad faith.” Mot. 16. This contention fails at four levels.

        First, retaining professional advisors in connection with a decision does not satisfy a

 director’s fiduciary duties; in fact it triggers a duty to become adequately informed, to conduct an

 independent analysis, and to investigate the assumptions underlying any advice from an advisor.

 As demonstrated above, Defendants knew that their fiduciary duties required that “directors and



 380
     Ex. 52 (9'18'17 BOD minutes [DEFS_0023490]) at 1.
 381
     Id. at 3.
 382
     Ex. 87 (Short depo.) 227:15-23.
                                                  117
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 officers should not be merely passive recipients of advice,” and instead they must “independently

 evaluate assumptions and information presented by advisors.” 383

         “[T]he job of a director or senior corporate officer is not simply to rubber stamp whatever

 advice they receive.” 384 The advice a director receives “may be incorrect, because it is based on

 inadequate information, erroneous reasoning, or biased analysis.” 385 For that reason, one of a

 director’s primary roles is to serve as the final backstop to ensure that important decisions have

 been adequately vetted. Directors “must independently assess whether the advice is based on

 adequate information, is well-reasoned, and is not biased.” 386

         As discussed in greater detail above, “there is no record of Defendants performing any

 independent assessment or diligence on key issues.” 387 These key issues included: the

 Company’s ability to comply with the financial covenants in the DIP financing, the projected

 costs and losses from a forced liquidation resulting from a covenant default, whether the DIP

 financing provided sufficient liquidity to attempt a turnaround, whether the Company had a

 viable turnaround plan or was likely to come upon such a plan in time, the likely results of

 proceeding with an orderly liquidation of the U.S. business rather than taking on the Term DIP

 loan.

         Second, Defendants assert that they were “briefed” and “presented with materials” from

 advisors, but Defendants fail to acknowledge that those briefings and materials contained none of

 the key information Defendants needed to comply with their fiduciary duties. As discussed in




 383
     Ex. 70 (Greenspan) ¶277; Ex. 27 (8’9’17 Fiduciary Duty Presentation [DEFS_0064535]) at
 slide 10.
 384
     Ex. 70 (Greenspan) ¶277.
 385
     Ex. 70 (Greenspan) ¶277.
 386
     Ex. 70 (Greenspan) ¶277.
 387
     Ex. 70 (Greenspan) ¶278.
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 greater detail above, the materials “did not contain any opinion from the advisors that the

 Company was likely to be able to comply with the financial covenants in the DIP financing and

 avoid a default-induced sudden liquidation; that given the requirements of the financial

 covenants, the DIP financing provided the Company with sufficient liquidity; or that the

 Company could come up with a viable turnaround plan and had sufficient capital and time to

 complete a turnaround,” and the materials “did not provide sufficient information for the

 Directors to assess the financial covenants or the viability of the DIP financing,” including the

 terms of the covenants, a financial forecast with key assumptions identified, and a sensitivity
                                                 388
 analysis showing reasonable downside cases.

           Third, Defendants completely ignore the facts (compiled above) establishing Defendants’

 bad faith and abdication of duty, including that Defendants knew what their fiduciary duties

 required them to do, they knew what information they needed to obtain and knew that they did

 not have that information, they knew what assessments they needed to perform and knew that

 they did not perform them. The presence of advisors does not erase or mitigate any of these

 facts.

           Defendants likewise ignore the facts (compiled above) establishing that Brandon, Short,

 and each of the Sponsor Directors had personal financial interests that were advantaged by

 maxing out DIP financing and attempting a Hail Mary turnaround. In fact, as presented in

 greater detail above, “the advisors did not conduct (and were not asked by the Directors to

 conduct) an analysis of whether the Company could comply with the financial covenants and

 avoid a default-induced sudden liquidation, whether the Company could come up with a viable




 388
       Ex. 70 (Greenspan) ¶240.
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 turnaround plan, or whether the Company had sufficient capital and time to complete a

 turnaround.” 389

           This case, therefore, is nothing like the HH Liquidation case cited by Defendants. In that

 case, there was no “evidence that Caple acted in bad faith,” “no evidence that he breached his

 fiduciary duty of loyalty,” and instead the “evidence showed that Caple did not intentionally

 abandon any of his duties to” the corporation. In re HH Liquidation, LLC, 590 B.R. 211, 279

 (Bankr. D. Del. 2018). On each of these points, the exact opposite is true for the Director

 Defendants here.

           Fourth, a director or officer may not rely on expert advice if he is already aware of

 contrary facts or if contrary information “that was material and reasonably available was so

 obvious that the board’s failure to consider it was grossly negligent regardless of the expert’s

 advice or lack of advice.” Brehm v. Eisner, 746 A.2d 244, 262 (Del. 2000). As set forth in detail

 above, Defendants knew key facts that made it obvious that attempting a turnaround had only a

 miniscule chance of success, including that Defendants knew: the history of the Company’s

 losses; the downward trending market share, sales and margins; the effects of competition from

 Amazon, Walmart, and Target; the failed efforts of the Company over the last several years to

 achieve profitability and find a business model that would allow it to compete successfully; and

 that the Company lacked a business plan to compete with Amazon, Walmart, and Target. In

 addition, as detailed above, Defendant Short knew that the Company did not have a sufficient

 liquidity cushion even using the proposed DIP budget and also knew that budget was unreliable

 because it was based on unrealistic assumptions for sale growth and margins. 390




 389
       Ex. 70 (Greenspan) ¶283.
 390
       E.g., Ex. 70 (Greenspan) ¶280.
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                2.     Defendants’ failed contention that the Board reviewed alternatives.

        Defendants assert that that the Directors did “consider alternatives to the DIP financing”

 because they first looked for “solutions that would allow TRU to avoid formal restructuring and

 bankruptcy” such as a sale-leaseback transaction to raise some additional funds. Mot. 15.

        This contention attacks a straw position and completely ignores the wrong-doing that

 Defendants are charged with. Defendants are not accused of failing to consider alternative ways

 of raising some interim financing, such as by considering a sale-leaseback transaction, before

 filing bankruptcy. Instead, having failed in that endeavor, Defendants are accused of authorizing

 DIP financing while failing to assess whether the Company could avoid a covenant default

 leading to a sudden and unplanned liquidation, and failing to consider the alternative of an

 immediate wind-down. (In fact, Defendants failed even to ask the advisors or management to

 provide an analysis examining a wind-down strategy.) Pointing out that Defendants examined a

 potential sale-leaseback transaction does nothing to address Defendants’ wrongdoing.

                3.     Defendants’ failed Monday morning quarterbacking contention.

        Defendants assert that the “Trust relies on TRU’s ultimate liquidation as proof that TRU

 should have conducted a structured wind-down instead of filing for Chapter 11 and pursuing a

 going concern reorganization.” Mot. 16. That is false. The Trust relies on evidence (much of it

 undisputed and established by Defendants’ own testimony) that Defendants knew in September

 2017 that the conditions establishing a need to shut down the business existed. Defendants knew

 the Company was losing large sums of money; that sales, margins, and market share were

 spiraling downward; that the Company did not have a turnaround plan and no plausible path to

 find a turnaround plan, and did not have the capital or time required for a turnaround. That is not

 Monday morning quarterbacking. Those facts were known months before the game started. An



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 even more apt analogy is that Defendants approved a Hail Mary pass attempt with no time on the

 clock, and without a quarterback who could throw the football.

                4.         Defendants’ failed contention that everyone supported the DIP
                           financing.

        Defendants assert that “the Trust cannot prove that Defendants’ decision to authorize DIP

 financing was so ‘egregious on its face’ to overcome the protection of the business judgment

 rule,” because (i) “the UCC itself supported this decision,” (ii) “TRU’s outside financial advisor

 … submitted an affidavit to this Court in favor of the DIP financing,” (iii) “TRU’s legal advisors

 also argued emphatically to this Court in support of the DIP financing,” and (iv) “no party – be it

 potential investors, the secured lenders, the UCC, nor any trade vendors – suggested

 contemporaneously that the company should have” commenced an immediate wind-down. Mot.

 16-18. Each branch of this argument fails as well as the entire tree.

        First, Defendants’ contention that the UCC supported Defendants’ decision-making is

 simply false. As described above, the UCC had been provided “misleading information, was not

 told important facts, and was given inadequate information about certain facts regarding both the

 proposed DIP financing and the Company’s prospects for a turnaround.” 391 Moreover, the UCC

 never endorsed the Directors’ decision-making. The DIP loans were negotiated and received

 preliminary court approval “before the UCC was even formed.” 392 “The UCC cannot turn back

 the clock … and cannot cause the Debtors’ Board to properly plan and consider alternatives
                    393
 months earlier.”         The UCC could only “make the best of a terrible situation perpetrated by”

 the Defendants. 394 By the time of the hearing for final approval on October 24, 2017, “it was



 391
     Ex. 70 (Greenspan) ¶312.
 392
     Ex. 70 (Greenspan) ¶314.
 393
     Ex. 70 (Greenspan) ¶314.
 394
     Id.
                                                   122
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 clearly too late to completely change course for the case and for the first time begin planning and

 properly purchase (and avoid purchases) for an organized liquidation sale coincident with the

 holiday selling season.” 395 The UCC’s “actions should never be interpreted as endorsing what

 the Debtors did pre-petition or that any of the choices made by the Debtors were appropriate

 when made, particularly when key facts were concealed from members of the UCC.” 396

        Second, Defendants’ assertion that “TRU’s outside financial advisor … submitted an

 affidavit to this Court in favor of the DIP financing,” is highly misleading. Mot. 17. In fact, no

 affidavit in favor of the DIP financing was submitted from the Company’s outside financial

 advisory firm, which was Alvarez & Marsal. The affidavit cited by Defendants is the one that

 was submitted by David Kurtz from Lazard, who served as the Company’s investment banker. 397

        Defendants fail to mention that Kurtz did not submit an affidavit to the Court stating

 Lazard had determined that the budget projections were reliable or that the Company could

 comply with the financial covenants. Instead, the Kurtz affidavit declared: “Based on

 discussions with management, I understand that the Debtors believe that the Budgets and their

 projections … are reasonable and appropriate.” 398 And the Kurtz affidavit did not assert that

 maxing out DIP financing was a value-maximizing strategy for the Company, or was a better

 alternative than commencing an immediate wind-down. Kurtz merely opined that the DIP

 financings were “the best presently available postpetition financing option.” 399

        And Defendants fail to mention that Lazard did no analysis and made no assessment of

 the Company’s ability to comply with the financial covenants, the reliability of the DIP budget



 395
     Ex. 70 (Greenspan) ¶314.
 396
     Ex. 70 (Greenspan) ¶314.
 397
     Dkt. No. 33.
 398
     Dkt. 33 ¶16.
 399
     Dkt. 33 ¶2.
                                                 123
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 forecast presented to the Court, the prospects for a successful turnaround, or whether an
                                                                        400
 immediate wind-down would produce greater value for stakeholders.

        It was not mere oversight that no affidavit of support was submitted to the Court by

 Alvarez & Marsal, who was the Company’s financial advisor. Alvarez & Marsal had not

 performed an assessment of the Company’s ability to comply with the financial covenants. 401 In

 addition, to prepare a DIP forecast and budget, the “key underlying assumptions … were

 provided to A&M by management, including CFO Michael Short.” 402 This included a sales

 growth assumption that had been “recently updated” by “management” to project sales that were
                                                                                                 403
 far above the trend, based on a purported “Turnaround Plan,” which was in fact non-existent.

        The only affidavits endorsing the reliability of the budget projections, the sufficiency of

 the liquidity from the DIP financing, or the existence of a turnaround plan were from Defendants

 Brandon and Short. 404

        Third, that “TRU’s legal advisors … argued emphatically … in support of the DIP

 financing,” Mot. 17, has no relevance. Lawyers are advocates. Defendants fail to mention that




 400
     See, e.g., Ex. 70 (Greenspan) ¶93; Ex. 85 (Kurtz depo.) 122:14-124:2.
 401
     Ex. 70 (Greenspan) ¶93; Ex. 85 (Kurtz depo.) 122:14-124:2.
 402
     Ex. 70 (Greenspan) ¶282.
 403
     Ex. 70 (Greenspan) ¶¶118-119; Ex. 44 (9’15’18 attach to Finnegan [TRU-Trust0000377785])
 at 3, 4.
 404
     Short decl. (Bk. Dkt. 30) at ¶130 (the DIP financing “will ensure that the Debtors have the
 necessary liquidity to continue to operate without material disruption”); id. ¶129 (“the Budget
 and projections provide an accurate reflection of the funding requirements for the North
 American and international operations over the identified period and are reasonable and
 appropriate under the circumstances”); Brandon declaration (Bk. Dkt. 20) at ¶99 (the “DIP
 Facilities … will provide them with sufficient liquidity”); id. ¶69 (“Investment in Growth Begins
 Today” and “This turnaround begins today.”); ¶¶70-78 (“the Company has developed a four-
 pillared business plan” with “a comprehensive set of key initiatives”); id. ¶13 (“of critical
 importance, the debtor-in-possession financing also provides the Company with hundreds of
 millions of dollars of new money that is available for immediate and direct investment in the
 Company’s stores and operations”).
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 these lawyers did not themselves testify as to any facts and, instead, relied upon the false and

 misleading affidavits of Brandon and Short.

        Fourth, because the key affidavits came from Brandon and Short, all stakeholders—

 including the Court, the UCC, the secured lenders, and the trade vendors—necessarily made their

 assessments based in part on information that came from the sworn affidavits of Brandon and

 Short touting the reliability of the summary DIP budget and forecast, the sufficiency of the DIP

 financing to provide liquidity through the process, and the strength of the Turnaround Plan.

        In addition, all of these stakeholders could justifiably have the expectation that the

 Company’s very experienced and knowledgeable panel of directors had performed their

 fiduciary duties, had obtained all material information reasonably available, had carefully

 examined the underlying assumptions, had examined a reasonable downside case and determined

 that the Company would comply with its financial covenants under the DIP financing, and had

 determined that the Company had a viable turnaround plan as well as adequate capital and time

 to conduct a turnaround. None of this was true.

        Finally, this entire argument by Defendants fails for an even more fundamental reason. It

 does not matter if someone else thought that maxing out DIP financing and attempting a

 turnaround was a good idea. Defendants, as the Directors of the Company, had an independent

 duty and obligation to assess that course of action before authorizing it. A company’s directors

 provide the final backstop against foolish decisions arrived at without analysis or influenced by

 personal bias. Management and advisors may have a personal financial stake in the DIP

 financing strategy (advisors benefit from large fees; management benefits from bonuses and

 continued employment with large salaries and perks). For example, Lazard’s fees were




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 contingent on how much the Company borrowed and Lazard would “get a greater fee for
                                                  405
 arranging a greater amount of DIP financing.”

          For that reason, the job of directors is not to rubber stamp proposals from management

 and advisors. The Directors must check the assumptions, ask questions to identify problems

 overlooked, request that alternatives be considered, and otherwise kick the tires before saying

 yes.

        As demonstrated above, Defendants utterly abdicated their duties.

                5.      Delaware law did impose a duty on Defendants to liquidate the
                        Company.

        Defendants assert that Delaware law “imposed no duty on the Board to liquidate TRU.”

 Mot. 17. That is false.

        As shown above, Defendants admit that Delaware law imposes a fiduciary duty upon

 directors to assess all reasonable alternatives, gather all material information that is reasonably

 available before making a decision, and then choose the path that maximizes stakeholder value.

 And when a company is losing money, sales and margins are spiraling downward, and there is no

 viable option to turn the company around, then the value-maximizing path that is required by

 Delaware law is to shut the company down.

        That is why, when a retail company is facing bankruptcy, more than half the time the

 company’s directors determine that ending operations is the value maximizing path, and the

 percentage is even higher for companies with more than $50 million in liabilities. 406

        Defendants quote a Delaware case stating that “Delaware law imposes no absolute

 obligation on the board of a company that is unable to pay its bills to cease operations and to


 405
     Ex. 79 (Taylor) 147:5-9, 148:4-7; Ex. 73 (Lazard Summary of Agreed Terms
 [DEFS_0053419]).
 406
     Ex. 70 (Greenspan) ¶141.
                                                  126
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 liquidate.” Trenwick Am. Litig. Tr. v. Ernst & Young, L.L.P., 906 A.2d 168, 204-05 (Del. Ch.

 2006) Of course there is no “absolute obligation,” because in some cases (a minority of retail

 bankruptcies) the value maximizing path is to attempt a turnaround. What Defendants do not,

 and cannot, quote is any Delaware case holding that directors are always justified in attempting a

 turnaround. As Trenwick itself holds, directors are justified in taking on additional debt and

 pursuing a turnaround only if they have arrived at the decision “acting with due diligence and

 good faith.” Id. And if not, the directors are subject to “causes of action for breach of fiduciary

 duty.” Id.

 IV.    Defendants breached their fiduciary duties in approving the executive bonus plan.

        In approving extraordinary retention bonuses days before bankruptcy, Defendants

 breached their fiduciary duties in multiple ways.

        The fiduciary duties of directors and officers require that they comply with the law and

 do not engage in illegal acts. They must not authorize the company to take any action in

 violation of the law. In approving a retention bonus plan for top executives just four days before

 filing for bankruptcy, the Director Defendants knowingly violated the law.

        The Defendants knew that the bankruptcy laws required creditor oversight and court

 approval of executive bonuses, and altogether prohibited paying retention bonuses to “insider”

 executives (unless they met criteria that did not apply to any of the Company’s executives). Any

 plan to pay retention bonuses could not include Defendant Brandon (CEO), Defendant Short

 (CFO), or other top officers such as Defendant Barry (Chief Merchant) and Tim Grace (the head

 of HR and Chief Talent Officer). But Defendants approved a plan four days before bankruptcy

 that paid each of these executives, and others, millions in retention bonuses. Because

 Defendants knew these bonuses would not be permitted in bankruptcy, and knew that the cash


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 paid for executives would otherwise be paid to creditors, Defendants knowingly evaded the

 bankruptcy restrictions and knowingly hindered and defrauded the creditors, thereby engaging in

 a fraudulent transfer. In doing so, they violated the law and their duty of loyalty.

        Further, the fiduciary duties of directors and officers require that they avoid conflicts of

 interest. They must not participate in decisions in which they have a personal interest, and they

 must prohibit other directors and officers with a personal interest from participating in decision-

 making. Determining whether, how much, and when to pay extraordinary bonuses to executives

 cannot be controlled by the executives themselves. It must be delegated to directors with no

 personal interest in decision-making on bonuses.

        The Director Defendants allowed Brandon, who had an obvious conflict of interest

 because he stood to gain millions from the bonus plan, to develop a bonus program and control

 its implementation from start to finish. Brandon made each of the key decisions in the bonus

 plan—who would receive a bonus, how much the bonus would be, and when it would be paid—

 and orchestrated the presentation of that plan to the other directors. Brandon breached his

 fiduciary duty of loyalty by controlling a plan that would pay him millions. And by entirely

 failing to police Brandon or his influence, the other directors abdicated their responsibilities in

 violation of their duty of good faith.

        In addition, directors have a fiduciary duty to inform themselves of all reasonably

 available material information before making executive compensation decisions, and to consider

 reasonable alternatives. For executive compensation decisions, the key information that is

 always available and that must be obtained is a comparison of compensation received by

 executives in comparable positions.




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        The Director Defendants knowingly failed to obtain this information. The compensation

 committee failed to obtain comparable compensation analysis for 109 of 114 executives. And

 the full board failed to obtain any analysis of comparable compensation for any executive.

 Moreover, none of the Defendants considered any alternatives to the plan that was created and

 controlled by Brandon. This knowing abdication of the Defendants’ responsibilities constitutes a

 violation of the duty of good faith.

        A.      Defendants knew that their fiduciary duties required them to preclude a
                director with a conflict of interest from making the decisions, to assess all
                reasonable alternatives, and to obtain all material information reasonably
                available.

        As discussed above in greater detail, a “director is considered interested” in a corporate

 decision, and not independent, if the director “will receive a personal financial benefit from a

 transaction” or “where a corporate decision will have a materially detrimental impact on a

 director.” Rales v. Blasband, 634 A.2d 927, 936 (Del. 1993).

        The Delaware Supreme Court has “consistently defined the duty of loyalty of officers and

 directors” in “unyielding terms.” Cede & Co. v. Technicolor, 634 A.2d 345, 361 (Del. 1993). It

 “has established a rule that demands of a corporate officer or director, peremptorily and

 inexorably, the most scrupulous observance of his duty.” Id. (internal quotes omitted).

 Any potential for influence by personal interests is prohibited. “The rule that requires an

 undivided and unselfish loyalty to the corporation demands that there be no conflict between

 duty and self-interest.” Id. A director is “independent only when the director’s decision is based

 entirely on the corporate merits of the transaction and is not influenced by personal or extraneous

 considerations.” Cede & Co. v. Technicolor, 634 A.2d 345, 362 (Del. 1993).

        Directors violate their duty of loyalty to a company when they allow an interested

 director to control and dominate a transaction. When “[a] board's own lack of oversight in


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 structuring and directing [a transaction] afforded management the opportunity to indulge in the

 misconduct which occurred,” the directors on the board have breached their duty of loyalty. Mills

 Acquisition Co. v. MacMillan, Inc., 559 A.2d 1261, 1279 (Del. 1989). A “board’s virtual

 abandonment of its oversight functions in the face of [a director’s] patent self-interest [is] a

 breach of its fundamental duties of loyalty and care.” Id. at 1284, n.32.

         Moreover, as demonstrated in detail above, Defendants knew what their fiduciary duties

 required. As Defendants have admitted, Defendants knew “that in a situation where a decision

 would implicate an actual or potential conflict of interest, the board should delegate decision-
                                                             407
 making authority to disinterested directors or managers.”

        In addition, Defendants would breach their duty of good faith “[w]here directors fail to

 act in the face of a known duty to act, thereby demonstrating a conscious disregard for their
                                                                      408
 responsibilities.” Stone v. Ritter, 911 A.2d 362, 370 (Del. 2006).         For example, they would

 breach their duty of good faith if “the defendant directors knew that they were making material

 decisions without adequate information and without adequate deliberation.” In re Walt Disney

 Co. Derivative Litig., 825 A.2d 275, 289 (Del. Ch. 2003).

        And they would also breach that duty by authorizing a decision “so far beyond the

 bounds of reasonable judgment that it seems essentially inexplicable on any ground other than

 bad faith.” Parnes v. Bally Entm't Corp., 722 A.2d 1243, 1246 (Del. 1999) (internal quote

 omitted). This may be shown by “facts supporting an inference that [the fiduciary] did not

 reasonably believe that the … transaction was in the best interests of” the company.




 407
     Ex. 77 (Raether) 157:3-8; Ex. 27 (8’9’17 Fiduciary Duty Presentation [DEFS_0064535]) at
 slide 15.
 408
     Ex. 77 (Raether depo.) 156:11-18.
                                                  130
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 Brinckerhoff v. Enbridge Energy Co., 159 A.3d 242, 260 (Del. 2017), quoted with approval by

 Kahn v. Stern, 183 A.3d 715, 715 & n.5 (Del. 2018).

        And finally, Defendants also had a fiduciary duty of care, which is breached by director

 actions or inactions that amount to “gross negligence,” which is “conduct that constitutes

 reckless indifference or actions that are without the bounds of reason.” McPadden v. Sidhu, 964

 A.2d 1262, 1274 (Del. Ch. 2008).

        As Defendants have admitted, these fiduciary duties required them to consider and assess
                                                              409
 “all reasonable alternatives” before coming to a decision.         And the Directors were expressly

 advised that there were multiple “design options for compensation programs during
                                                 410
 restructuring” that needed to be considered.

        Defendants were also expressly advised that the bankruptcy act placed limitations on

 bonuses to executives and prohibited paying retentions bonuses to top executives, unless certain

 narrow conditions applied. They knew that “compensation payable to ‘insiders’ (senior

 management) is subject to stringent bankruptcy rules and much greater scrutiny.” 411

        The Defendants knew that, to comply with their fiduciary duties, they could rely on

 advice from others, including professional advisors, but could not simply rubber stamp whatever

 advice they receive. 412 They knew that “directors and officers should not be merely passive
                          413
 recipients of advice.”         They were required to examine the assumptions underlying a proposal,




 409
     Ex. 27 (8’9’17 Fiduciary Duty Presentation [DEFS_0064535]) at slide 10; Ex. 77 (Raether
 depo.) 154:24-155:6.
 410
     Ex. 23 (7’31’17 Contingency Prep Overview [DEFS_0123896]) at slide 58.
 411
     Ex. 23 (7’31’17 Contingency Prep Overview [DEFS_0123896]) at slide 57.
 412
     Ex. 77 (Raether depo.) 319:23-320:1, 320:9-22.
 413
     Ex. 27 (8’9’17 Fiduciary Duty Presentation [DEFS_0064535]) at slide 10; Ex. 77 (Raether
 depo.) 155:17-156:1.
                                                    131
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 and to independently consider its reasonableness. “Directors and officers should independently

 evaluate assumptions and information presented by advisors.” 414

        Defendants also knew their fiduciary duties required that, before deciding on a course of

 action, they were required to “inform themselves of all material information that was reasonably

 available” and “carefully consider that information.” 415 In particular, they knew that in

 authorizing a bonus plan, “amounts of compensation must be reasonable compared to reasonable

 peer group.” 416 They knew, therefore, that key material information they needed was
                                                             417
 information about what comparable executives were paid.

        Defendants, therefore, certainly knew what their fiduciary duties required. But they

 entirely abdicated those duties in authorizing the executive bonus plan.

        B.      While Brandon had a glaring conflict of interest in personally benefiting
                from an executive bonus plan, it was Brandon who controlled the bonus
                plan’s development and made each of the key decisions—who would receive
                a bonus, how much the bonus payments would be, and when the bonus would
                be paid.

        Defendant Brandon had an obvious and glaring conflict of interest in decisions regarding

 whether to implement an executive bonus plan and the design of that plan. Because of this

 conflict, Defendants knew that their fiduciary duties required that bonus plan decision-making

 should not be controlled by, or significantly influenced by, Brandon. Instead, that decision

 making must be delegated to independent directors who obtained all material information

 reasonably available—in particular information on compensation paid to comparable

 executives—and who assessed all reasonable alternatives, and who then exercised reasoned


 414
     Ex. 27 (8’9’17 Fiduciary Duty Presentation [DEFS_0064535]) at slide 10.
 415
     Ex. 27 (8’9’17 Fiduciary Duty Presentation [DEFS_0064535]) at slide 10; Ex. 77 (Raether
 depo.) 155:9-12.
 416
     Ex. 23 (7'31'17 Contingency Prep Overview [DEFS_0123896]) at slide 59.
 417
     Ex. 79 (Taylor depo.) 75:10-76:13, 78:7-14; Ex. 78 (Levin depo.) 38:7-21, 39:10-15; Ex. 82
 (Goodman depo.) 317:19-318:1.
                                                132
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 judgment in selecting a bonus plan design in the best interests of the Company. But the evidence

 demonstrates that nothing like that happened here.

        On July 15, 2017, Brandon sent an email to Tim Grace, Toys “R” Us’ Global Chief

 Talent Officer, reminding Grace that he was “dealing with a reality,” which is that Grace had

 “put us all in a room and explained” that for Company executives, “particularly in leadership

 roles,” both salaries and annual bonus percentages “were over indexed to market,” and that this

 “was costing [Toys ‘R’ Us] millions of dollars in out-of-market, excess compensation.” 418

 Brandon said that because “[o]utside stats and comparisons are not going to help us,” he and

 Grace would “have to be creative and design something that works for us.” 419

        Brandon and Grace continued to discuss the bonus plan via email and also in many face-

 to-face meetings. 420 In fact, Brandon’s office was only “12 steps away from” Grace’s office.   421


        After these initial discussions between Brandon and Grace, on July 24, 2017, Brandon

 contacted Bryan Marsal to retain Alvarez & Marsal as a restructuring advisor. Even though

 AlixPartners, another advisory firm, had previously been retained by Toys “R” Us, Brandon

 wanted to work with Alvarez & Marsal because of his pre-existing “relationship and my
                                               422
 preference to work with you and your firm.”         Brandon personally recommended Alvarez &

 Marsal as the advisors for Toys “R” Us to the Board. 423

        Brandon had Alvarez & Marsal present to him an overview of compensation for a

 company considering restructuring, including the recommended steps for implementing a bonus




 418
     Ex. 99 (7’15’17 Brandon to Grace [TRU-Trust0000011727]).
 419
     Id.
 420
     Ex. 88 (Brandon depo.) 27:22-28:6.
 421
     Ex. 88 (Brandon depo.) 28:7-29:1.
 422
     Ex. 100 (7’24’17 Brandon to Marsal [TRU-Trust0000123945]).
 423
     Ex. 88 (Brandon depo.) 67:15-22.
                                                 133
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 plan, and a range of options for bonus plans. 424 This presentation went only to Brandon, and

 Brandon did not provide it to Tim Grace, to any of the three directors on the compensation

 committee, or to the full board of directors. 425

        The options identified by Alvarez & Marsal included keeping current compensation

 programs intact, combining annual and long-term incentive programs, increasing base salaries,

 developing programs that comply with bankruptcy requirements after bankruptcy filing,

 deferring compensation decisions until post-bankruptcy so that new owners can set

 compensation arrangements, and paying pre-bankruptcy filing retention bonuses. 426

        For the option of pre-filing retention bonuses, Alvarez & Marsal highlighted several

 downsides, including “[l]iquidity issues,” that the payment “[m]ay be challenged as a preferential

 transfer/fraudulent conveyance,” and that there were “[n]o incentive/performance conditions”

 associated with such a bonus. 427 Alvarez further advised that “other alternative compensation

 arrangements” including “keep current compensation programs intact” and “increase base

 salaries” should be considered instead of retention payments. 428

        The presentation sent by Alvarez & Marsal also included Alvarez’s advice on the

 appropriate process for developing and implementing a bonus. Alvarez recommended that

 approving incentive or retention plans should proceed in a seven step process including these

 four steps: “[n]egotiation with Stakeholders and U.S. Trustee,” “[f]ile motion to request court



 424
     Ex. 109 (8’3’17 Goulding to Brandon Compensation Deck [TRU-Trust0000124121]).
 425
     Ex. 78 (Levin depo.) 181:21-182:3; Ex. 79 (Taylor depo.) 46:12-19, 139:21-140:5; Ex. 77
 (Raether depo.) 245:5-11; Ex. 92 (Grace depo.) 39:19-23, 40:6-12; Ex. 133 (9’6’17 Summary
 Compensation Proposal [DEFS_0004337]). As a result, only Brandon received this information
 and advice from Alvarez.
 426
     Ex. 108 (8’3’17 A&M Overview of Compensation Alternatives [TRU-Trust0000124123]) at
 10.
 427
     Id. at 14.
 428
     Id. at 8.
                                                     134
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 approval,” “[w]ork to resolve objections by Stakeholders, Creditors Committee, equity

 representatives and/or U.S. Trustee,” and a “[h]earing (including expert witness testimony, if

 necessary) to approve plans.” 429 Alvarez recommended that each of these steps occur before

 “Program implementation.” 430 Brandon did not follow Alvarez’s advice and Brandon failed to

 direct that any of these four steps take place before paying the executive bonuses.

          After Brandon received the information and advice from Alvarez & Marsal, he did not

 then ask Alvarez & Marsal to design the bonus plan that they thought, in their professional

 judgment, was appropriate. Instead, Brandon directed Tim Grace to assist him in drafting an

 executive bonus plan that would pay the leadership team (including Brandon and Grace) large

 bonuses before the Company filed for bankruptcy. On August 14, 2017, Grace sent a “draft of

 the proposed plans” to Brandon “as discussed.” 431 That draft was not developed by Alvarez &

 Marsal. 432
                                                                                               433
          The plan identified certain executives as “insiders,” including Brandon and Grace.

 The plan called for paying a bonus to “insiders” in the amount of 75% of each insider’s base
                                                                           434
 salary, and paying that bonus before the Company filed for bankruptcy.          This would result in

 paying Brandon a $2,812,500 bonus. The plan called for paying smaller bonuses to other
                                                                               435
 executives, also calculated as a percentage of the executive’s base salary.




 429
       Ex. 108 (8’3’17 A&M Overview of Compensation Alternatives [TRU-Trust0000124123]) at
 27.
 430
     Id.
 431
     Ex. 111 (8’14’17 Grace to Brandon [TRU-Trust0000012584]).
 432
     Ex. 92 (Grace depo.) 42:13-22.
 433
     Ex. 110 (8’14’17 Bonus Presentation [TRU-Trust0000012585]) at 3.
 434
     Id.
 435
     Id. at 4.
                                                 135
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        The draft proposal prepared by Grace at Brandon’s direction did not include any analysis

 of alternative programs such as paying no bonus or paying bonuses to insiders in installments

 over the course of the bankruptcy period. Brandon never instructed Grace to look at
                                                                                          436
                      than paying lump sum retention bonuses shortly before bankruptcy.

        The plan was not accompanied by any analysis comparing the compensation of the

 insiders to compensation paid to comparable executives at peer group companies. The plan did

 not contain any explanation why a lump sum 75% bonus was the appropriate amount for any

 insider, much less for all of them. The plan was not accompanied by any analysis comparing the

 compensation of the Company’s executives to compensation paid to comparable executives at

 peer group companies. And the plan did not contain any discussion of the email that Brandon

 had sent to Grace just a month before, declaring that the “reality” was that Company executives,

 “particularly in leadership roles,” had both salaries and annual bonus percentages “over indexed

 to market,” and that this “was costing [Toys ‘R’ Us] millions of dollars in out-of-market, excess

 compensation.” 437

        The draft of the plan was sent to Brandon by Grace at 12:47 PM PDT on August 14,

 2017. 438 Later that evening, at 7:06 PM PDT, Grace provided the draft to Alvarez & Marsal via

 email, noting that “I’ve done additional work on the KERP and KEIP plans. Attached for your

 review is the most updated deck.” 439 Before this date, Alvarez & Marsal had not provided any
                                              440
 draft of a bonus plan to Brandon or Grace.




 436
     Ex. 92 (Grace depo.) 43:21-44:2.
 437
     Ex. 99 (7’15’17 Brandon to Grace [TRU-Trust0000011727]).
 438
     Ex. 111 (8’14’17 Grace to Brandon [TRU-Trust0000012584]).
 439
     Ex. 103 (8’14’17 Grace to Cumberland and attach [TRU-Trust0000376712]).
 440
     Ex. 88 (Brandon depo.) 72:15-17, Ex. 92 (Grace depo.) 70:1-14.
                                                    136
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        Brandon himself confirmed that he had the authority to direct and control Alvarez &

 Marsal in their development of the bonus plan. 441 And he exercised this control after the initial

 plan was sent by continuing to make changes to the plan. Brandon and Grace continued to

 update the plan by adding some additional executives, and modifying the bonus amount for

 certain non-insiders. 442 Up through August 21, 2017, Brandon and Grace sent a total of five

 drafts of the bonus plan to A&M with updates. 443

        At that point, A&M provided a draft presentation that included a plan for paying

 executives retention bonuses that was an exact duplicate of what they had received from
            444
 Brandon.         It called for paying the top executives bonuses in the amount of 75% of their

 annual salary, to be paid immediately, and paying other executives lesser bonuses, also
                                       445
 calculated as percentage of salary.

        Alvarez’s final internal emails before circulating the draft compensation plan show
                                                                     446
 deference to Brandon and Grace in the decision-making process.            For example, when

 considering whether it was appropriate for the treasurer to receive a 50% bonus and some SVPs

 to receive 75%, Jeffery Stegenga of A&M remarked: “That’s a Dave [Brandon] question.” 447

 As another example, Stegenga asked, “[f]or the call with Dave, whenever it gets scheduled, I



 441
     Ex. 88 (Brandon depo.), 553:10-17.
 442
     Ex. 88 (Brandon depo.) 61:1-12; Ex. 92 (Grace depo.) 79:10-80:2.
 443
     Ex. 92 (Grace depo.); Ex. 101 (8’9’17 Grace to Cumberland [TRU-Trust0000376665]); Ex.
 102 (8’10’17 Grace to Cumberland [TRU-Trust0000376670]); Ex. 103 (8’14’17 Grace to
 Cumberland and attach [TRU-Trust0000376712]); Ex. 104 (8’18’17 Grace to Hoeinghaus [TRU-
 Trust0000376898]); Ex. 119 (8'21'17 Grace re Revised Spreadsheet [TRU-Trust0000376901]).
 444
     Ex. 117 (8’21’17 Cumberland to Grace Brandon [TRU-Trust0000125151]); Ex. 120 (8’21’17
 Restructuring Compensation Proposal [TRU-Trust0000125152]).
 445
     Id. at 7.
 446
     See Ex. 112 (8’19’17 Hoeinghaus to Stegenga [AM-TORU-0000397]) (“Tim [Grace] is still
 discussing internally whether they want to add the additional potential insiders … to the pre-paid
 retention bonus program.”).
 447
     Ex. 113 (8’20’17 Stegenga to Cumberland [AM-TORU-0000475]).
                                                   137
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 guess the question I would ask of this group is why not raise all the options so he has the ability

 to understand where he could take it?” 448 Brian Cumberland responded that “[w]e previously

 went through all the alternatives with Dave and others. We provided a slide deck with the

 alternatives. With that information, they landed on the proposed construct.” 449

        Brandon continued to exercise control after receiving the draft presentation deck from

 Alvarez & Marsal by continuing to add or subtract executives, or move executives from one

 bonus tier to another. On August 21, 2017, Grace and Brandon had a discussion regarding the
                                                                                450
 bonus plan and proposed changes and submitted those changes to Alvarez.               When Brandon

 and Grace noticed that some of their desired changes had not made it into the next draft of the

 deck prepared by Alvarez, Grace informed Brandon that he would “make sure the deck is

 updated.” 451 And when Grace reached out to Alvarez, he emphasized that “[i]t doesn’t look like

 the changes Dave and I made today made it to the deck.” 452
                                                                                      453
        Other changes came from Brandon and Grace over the next few days.                   On August 23,

 Grace directed Alvarez that “we [Grace and Brandon] would like to add” Brandon’s executive
                                    454
 assistant to the bonus program.          In response to these directions from Brandon and Grace,

 Alvarez incorporated each of the requested changes. For example, Alvarez added Brandon’s

 assistant to the bonus plan. 455




 448
     Ex. 121 (8’21’17 Stegenga to Geier [AM-TORU-0000497]).
 449
     Ex. 105 (8’21’17 Cumberland to Stegenga [AM-TORU-0000505]).
 450
     Ex. 92 (Grace depo.) 76:4-77:3.
 451
     Ex. 115 (8'21'17 0740pm Comp deck [TRU-Trust0000376991]).
 452
     Ex. 118 (8'21'17 0655pm Comp deck [TRU-Trust0000376987]).
 453
     Ex. 116 (8'21'17 0511am Comp deck [TRU-Trust0000376999]), Ex. 114 (8'21'17 attach to
 0511am Comp deck).
 454
     Ex. 122 (8'23'17 Grace to Hoeinghaus [TRU-Trust0000377089]).
 455
     Ex. 123 (8'25'17 Hoeinghaus to Grace [TRU-Trust0000377276]).
                                                     138
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        All of this direction from Brandon and Grace was given to Alvarez & Marsal before

 Alvarez & Marsal had any contact with the directors who were on the compensation committee.

 Before the compensation committee had ever heard anything about the proposal, the key

 elements of the compensation plan—who would receive a bonus, how much they would receive,

 and when the bonuses would be paid—had already been determined by Brandon and Grace. The

 compensation committee would never see any of the alternatives that Alvarez provided to

 Brandon, and it would not see any of the pros and cons to choosing pre-petition retention

 bonuses over other compensation options. It would only be presented with the plan developed

 by Brandon.

        C.      When the compensation committee was presented with the plan Brandon
                had developed, it failed to guard against conflicts of interest, consider all
                reasonable alternatives, or consider critical material information.

        Toys “R” Us had a compensation committee to address matters of executive

 compensation. In August 2017, the compensation committee consisted of Defendants Taylor,
                        456
 Levin, and Goodman.          Goodman was added on August 23. 457 The Directors’ fiduciary duties

 applied to their work on the compensation committee. 458 As discussed above, those duties

 included guarding against conflicts of interest, considering all reasonable alternatives, and

 considering all reasonably available material information before making a decision. The

 compensation committee Directors breached those fiduciary duties.




 456
     Ex. 78 (Levin depo.) 147:18-148:6.
 457
     Ex. 34 (8’23’17 BOD minutes [TRU-Trust0000333026]) at 1.
 458
     Ex. 82 (Goodman depo.) 237:22-25.
                                                 139
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                1.      The compensation committee Directors abdicated their duties to
                        preclude Brandon from controlling the development of the bonus
                        plan.

        The compensation committee allowed Brandon to orchestrate every part of the

 compensation committee’s process of approving the executive bonus plan.

        The compensation committee had no involvement in the creation of the bonus plan. It
                                                                              459
 had not been involved in developing the lump sum payment for retention.            It had not had
                                                                        460
 communications with Alvarez and Marsal about developing the plan.            The compensation

 committee had not directed anyone to prepare the proposed compensation plan. 461 They had not

 seen the bonus plan before Brandon had it presented to them.

        Brandon controlled each part of the presentation of the bonus plan to the compensation

 committee. On Saturday, August 26, 2017, Brandon set up a conference call for Brandon, Grace,

 and the advisors to take place before the compensation committee meeting “to just coordinate the

 comp committee meeting plan.” 462 And later that same day, Brandon set up the compensation

 committee meeting and circulated the invitation to the compensation committee phone meeting

 to take place at 5:00 p.m. on August 28, 2017. 463 Brandon circulated to the compensation

 committee the agenda for the meeting and the materials that would be presented at the

 compensation committee meeting. 464 The only proposed plan attached to that email was

 Brandon’s executive bonus plan as described in the presentation deck prepared by Alvarez &

 Marsal. 465 Brandon did not attach the initial set of potential compensation alternatives that had



 459
     Ex. 92 (Grace depo.) 96:20-97:1.
 460
     Ex. 78 (Levin depo.) 148:23-149:5.
 461
     Ex. 92 (Grace depo.) 97:2-4.
 462
     Ex. 125 (8’26’17 Brandon to Cumberland [TRU-Trust0000125877]) at 2.
 463
     Ex. 124 (8’26’17 Brandon Compensation Committee Invite [DEFS_0006174]).
 464
     Ex. 126 (8’27’17 Brandon to Compensation Committee [DEFS_0006360]).
 465
     Id.
                                                140
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 been provided by Alvarez & Marsal. Brandon did not indicate to the compensation committee

 that he was the person who had selected one of multiple alternatives initially proposed by

 Alvarez & Marsal.

         Both Brandon and Grace were in attendance at the compensation committee meeting on

 August 28, 2017. Brandon was not part of the compensation committee. 466 But Taylor, the

 head of the compensation committee, testified that he considered Brandon to be a member of the

 compensation committee due to his participation in compensation committee meetings. 467

 Brandon participated in the meeting and the discussion about the plan and did not recuse

 himself. 468

         Each of the four Defendants at that meeting purport to have no recollection about what

 was discussed. Brandon does not “recall the meeting itself” or anything that happened at that

 meeting. 469 Taylor, the head of the compensation committee, claims to have no recollection of
                470                                                                             471
 the meeting.         Goodman similarly claims to have no recollection of what was discussed.

 And Levin does not have any memory beyond a general recollection that the compensation

 committee “did ask questions.” 472

         After that first compensation committee meeting, Brandon continued to orchestrate the

 compensation committee’s receipt of information. Grace sent an email to A&M on August 31,

 2017, stating that he “spoke with Dave this morning” and that “we should only discuss what has




 466
     Ex. 78 (Levin depo.) 148:7-10.
 467
     Ex. 79 (Taylor depo.) 29:17-30:18.
 468
     Ex. 127 (8’29’17 Compensation Committee Minutes [DEFS_0006291]).
 469
     Ex. 88 (Brandon depo.) 150:21-151:11.
 470
     Ex. 79 (Taylor depo.) 31:14-23.
 471
     Ex. 82 (Goodman depo.) 272:16-22.
 472
     Ex. 78 (Levin depo.) 149:23-150:17.
                                                  141
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 changed in the deck and any follow up items from the Comp. Committee call.” 473 After

 Brandon and Grace spoke with Alvarez later that same day, Alvarez “made the discussed

 changes in the attached full report.” 474

           The compensation committee Directors utterly failed to guard against Brandon’s control

 of, and substantial influence over, a bonus program in which Brandon had a glaringly obvious

 personal interest.

           Defendant Taylor, while the nominal “chairman” of the compensation committee,

 allowed Brandon to direct the committee, including:

       •   scheduling meetings of the committee,

       •   setting the agenda for committee,

       •   overseeing and approving materials provided to the committee,

       •   conferring with the advisers in advance of the committee meeting to script what takes place

           in the meeting,

       •   directing the activities of Alvarez & Marsal,

       •   permitting Brandon’s attendance and participating on the committee meetings.


           But Taylor took no action to ensure that the bonus plan process was free from Brandon’s

 direction and control. In fact, Taylor actually knew that Brandon had developed the bonus plan
                                                                                                 475
 and that Brandon had made each of the decisions about each of the key elements of the plan.

 Those decisions included who would receive a bonus, when the bonuses should be paid, and how

 much each person should receive. 476 Taylor did nothing to intervene.


 473
     Ex. 128 (8'31'17 Grace re Today's call [TRU-Trust0000377407]).
 474
     Ex. 129 (8’31’17 Hoeinghaus re Revised Comp Decks [TRU-Trust0000377450]).
 475
     Ex. 77 (Raether depo.) 225:25-224:15.
 476
     Ex. 77 (Raether depo.) 227:22-228:1, 228:2-7, 229:19-25.
                                                   142
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        The other two committee members, Levin and Goodman did not investigate how the plan
                                                                               477
 to pay retention bonuses to top executives including Brandon was developed.         They did not

 make any attempt to ensure that Brandon was not involved in preparing the retention bonus plan

 that would result in him personally receiving a bonus prior to bankruptcy. 478 Levin and

 Goodman made no inquiry at all into Brandon’s influence on the bonus plan, even though

 Brandon had an obvious direct financial interest in the plan. 479 Goodman was not even

 “interested in knowing who came up with the plan.” 480 And Levin made no attempt to ensure

 that “Dave Brandon had no influence on the bonus plan.” 481

        Moreover, the compensation committee never made any effort to discuss the plan with an

 advisor outside of Brandon’s presence. All communications between the compensation
                                                                 482
 committee and Alvarez & Marsal occurred with Brandon there.           The compensation committee

 Directors never reached out to Alvarez & Marsal separately. And the compensation committee

 did not retain any additional advisor to independently evaluate the bonus plan to determine
                                           483
 whether it was reasonable or necessary.

                2.     The compensation committee Directors abdicated their responsibility
                       to evaluate reasonable alternatives and inform themselves of all
                       material information reasonably available to them.

        The compensation committee Directors failed to evaluate reasonable alternatives to the

 plan presented by Brandon. And for the plan that was presented, the compensation committee

 knowingly disregarded material information.



 477
     Ex. 78 (Levin depo.) 225:1-9.
 478
     Ex. 78 (Levin depo.) 177:7-19, 233:2-14.
 479
     Ex. 78 (Levin depo.) 225:1-9; Ex. 82 (Goodman depo.) 268:8-17.
 480
     Ex. 82 (Goodman depo.) 267:21-23.
 481
     Ex. 78 (Levin depo.) 233:2-10.
 482
     Ex. 78 (Levin depo.) 186:18-25.
 483
     Ex. 78 (Levin depo.) 229:9-13.
                                                 143
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        First, as Defendants have admitted, their fiduciary duties required them to consider and
                                                                     484
 assess “all reasonable alternatives” before coming to a decision.         And the Directors were

 expressly advised that there were multiple “design options for compensation programs during
                                                485
 restructuring” that they needed to consider.

        But the Directors on the compensation committee failed to consider any alternatives to

 the bonus plan developed by Brandon. The compensation committee Directors did not evaluate

 alternative compensation options other than the one proposed by Brandon, such as paying no
                                                                                 486
 bonus or spreading bonus payments out over the course of the bankruptcy.              The compensation

 committee did not even ask A&M about different types of compensation programs that could be
               487
 considered.         The committee did not ask whether retention bonuses were necessary to retain

 executives or inquire into the likelihood that executives would consider leaving. 488 The
                                                                                         489
 compensation committee did not evaluate what bonus amounts were appropriate.                  Instead, the

 only plan that the Directors ever considered “whether to go ahead with” was the one proposed by
            490
 Brandon.

        Second, the compensation committee Directors entirely failed to consider critical material

 information in evaluating the bonus plan. Defendants knew that in authorizing a bonus plan,

 “amounts of compensation must be reasonable compared to reasonable peer group.” 491 To be

 able to compare the compensation of each executive, the Directors needed information about




 484
     Ex. 27 (8’9’17 Fiduciary Duty Presentation [DEFS_0064535]) at slide 10.
 485
     Ex. 23 (7’31’17 Contingency Prep Overview [DEFS_0123896]) at slide 58.
 486
     Ex. 82 (Goodman depo.) 296:15-297:12.
 487
     Ex. 78 (Levin depo.) 185:10-18, 224:10-25.
 488
     Ex. 82 (Goodman depo.) 298:20-299:10.
 489
     Ex. 82 (Goodman depo.) 279:15-25.
 490
     Ex. 82 (Goodman depo.) 269:21-270:19.
 491
     Ex. 23 (7'31'17 Contingency Prep Overview [DEFS_0123896]) at slide 59.
                                                      144
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 each executive’s current compensation (including base salary, bonus, and incentive amounts). 492

 The Directors would need to consider what an individual executive’s “pay is currently and what

 it had been historically,” and use that information along with “marketplace comparables” to

 “make an assessment of pay relative to retention or flight risk.” 493 As Defendant Goodman

 admitted, “you want to know the market data for a comparable position.” 494

        The Directors knew that information comparing the compensation of Company

 executives to comparable executives was “reasonably available,” in fact, that it was readily

 available. The compensation committee Directors had just two months earlier, on June 20, 2017,

 performed an analysis of executive compensation for 7 of the top 8 executives (everyone but
             495
 Brandon).         For these 7 executives, the committee had received data comparing each

 executive’s base salary, target bonus, total cash compensation, and long-term option grants to the
                                                                                                 496
 market, including identifying where each component of compensation fell for each executive.

 And the committee knew that the Company had access to “Market Data Sources” from three data

 base providers: “Korn Ferry Hay Group, Equilar and Hewitt.” 497

        But the Directors did not receive, ask for, or consider any such information when

 considering whether to approve the executive bonus plan in September 2017. The Directors did
                                                                                         498
 not assess the likelihood of executives leaving the Company absent retention bonuses.         They

 did not engage in “individual assessments” of executives and their compensation relative to




 492
     Ex. 79 (Taylor depo.) 75:10-15.
 493
     Ex. 78 (Levin depo.) 38:7-21.
 494
     Ex. 82 (Goodman depo.) 317:19-318:1.
 495
     Ex. 98 (6'20'17 Comp committee [DEFS_0126153]) at pdf 8.
 496
     Id.
 497
     Id.
 498
     Ex. 82 (Goodman depo.) 299:1-10.
                                                  145
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 comparable executives at other firms. 499 Indeed, for 109 of the 114 executives included in the

 bonus plan, the compensation committee received no information whatsoever about the

 compensation of comparable executives at other companies. 500 The compensation committee

 Directors never asked Alvarez & Marsal to provide that information. 501

        For those five executives that Alvarez & Marsal did provide comparable compensation

 information, the information did not justify paying a bonus. The analysis of Brandon’s

 compensation revealed that Brandon’s compensation was already excessive. Brandon’s base

 salary was already more than double the base salary of the 90th percentile of comparable

 executives, and Brandon’s base salary alone was between the 75th and 90th percentile of the total

 cash compensation of comparable executives. 502

        The other four executives were not actually compared to comparable executives at other

 firms. For example, Barry, the Chief Merchandising Officer, was matched to the “3rd highest

 paid” position at other companies. 503 This resulted in comparing Barry to CFOs, presidents, and

 even a CEO. 504 Similarly, Toys “R” Us’ Global Chief Technology Officer was matched with

 the “4th highest paid” position at other companies. 505 That resulted in comparisons with

 presidents, CEOs, CFOs, and chairmen at other companies. It did not result in a comparison

 with any other chief technology officers, or any positions that even seemed to approximate that




 499
     Ex. 82 (Goodman depo.) 306:24-307:8.
 500
     Ex. 120 (8’21’17 Restructuring Compensation Proposal [TRU-Trust0000125152]).
 501
     Ex. 79 (Taylor depo.) 128:19-24.
 502
     Ex. 120 (8’21’17 Restructuring Compensation Proposal [TRU-Trust0000125152]) at 28; Ex.
 82 (Goodman depo.) 255:5-21, 259:2-11.
 503
     Ex. 120 (8’21’17 Restructuring Compensation Proposal [TRU-Trust0000125152] at 30.
 504
     Id.
 505
     Id. at 31.
                                                146
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         506
 role.         These comparisons were not the “like-for-like comparisons” that Taylor testified were

 necessary to appropriately assess executive compensation. 507

           Third, the compensation committee had actual knowledge of material facts demonstrating

 that the bonuses could not be justified and were therefore not in the best interest of the Company.

 The analysis that the compensation committee had received just two months earlier (and that did

 perform a like-for-like comparison to executives in comparable positions) showed that the

 executives’ “total cash compensation” for 2017 exceeded the median compensation at other

 companies, and for most of the executives was above the 70th percentile.     508
                                                                                    This was consistent

 with the discussion between Brandon and Grace on July 15, 2017, that “Outside stats and

 comparisons are not going to help us.” 509

           When the compensation committee received the initial bonus proposal that contained

 comparable information for Brandon, that information demonstrated that Brandon’s

 compensation without the bonus was already excessive. But rather than suggest that Brandon be

 excluded from the program, the compensation committee directed Alvarez & Marsal to find

 alternative comparables for Brandon. 510

           None of the compensation committee members remember why they needed to request

 different CEO comparables after receiving the first set from Alvarez & Marsal. 511 One plausible

 inference is that the reason that the compensation committee asked for the updated list of

 comparables was so that Brandon’s compensation would look better. None of the compensation




 506
     Id.
 507
     Ex. 79 (Taylor depo.) 78:1-14.
 508
     Ex. 98 (6'20'17 Comp committee [DEFS_0126153]); Ex. 78 (Levin depo.) 58:16-59:23.
 509
     Ex. 99 (7’15’17 Brandon to Grace [TRU-Trust0000011727]).
 510
     Ex. 82 (Goodman depo.) 276:14-277:3.
 511
     Ex. 78 (Levin depo.) 270:24-271:11.
                                                    147
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 committee Directors identified any other reason why they would ask for a different set of

 comparables for the CEO position. In fact, none of the compensation committee Directors have

 any recollection of the discussions that took place about the executive bonus. 512

        In response to the compensation committee’s request, Alvarez “expanded the scope of

 potential peers to include retail companies that fall within 33% to 300% of the Company based

 on assets, revenue and employee count.” 513 This updated set of companies raised the average

 compensation level for CEOs that Brandon was compared against. 514

        But even with this upwardly skewed data set, Brandon’s compensation was still

 excessive. Brandon’s base salary continued to be over two million dollars higher than the 90th

 percentile of comparable CEOs. 515 And Brandon’s total cash compensation continued to be

 almost two and a half million dollars higher than the 90th percentile of comparable CEO total

 cash compensation. 516 After receiving that updated information about comparables, the

 compensation committee Directors again failed to remove Brandon from the bonus plan or to

 make any changes.

        In sum, the compensation committee Directors failed entirely to comply with their

 fiduciary duties. They allowed Brandon to develop the bonus plan and control the compensation

 committee’s consideration of that bonus plan. And they failed to obtain material information (in

 fact critical information), that they knew was reasonably available. And they were aware of facts




 512
     Ex. 79 (Taylor depo.) 97:10-16; Ex. 82 (Goodman depo.) 303:6-21; Ex. 78 (Levin depo.)
 149:23-150:17.
 513
     Ex. 131 (9’3’17 Summary Restructuring Compensation Proposal [DEFS_0006217]) at 9.
 514
     Ex. 136 (9’3’17 Restructuring Compensation Proposal [DEFS_0006228]) at 21.
 515
     Id. at 27; Ex 82 (Goodman depo.) 277:4-9.
 516
     Ex. 136 (9’3’17 Restructuring Compensation Proposal [DEFS_0006228]) at 27; Ex. 82
 (Goodman depo.) 277:10-15.
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 demonstrating that such large bonuses were not in the best interest of the Company because the

 top executives, in particular Brandon, were already overpaid.

        D.       When the full board was presented with the plan Brandon had developed, it
                 failed to guard against conflicts of interest, consider all reasonable
                 alternatives, or consider critical material information.

        Each of the Directors on the full board had the same duties as the Directors on the

 compensation committee. 517 They had to ensure that they fulfilled their duty to inform

 themselves of all reasonably available material information. 518 And the Directors on the Board

 knew that their duty was not just “to rubber stamp any proposals that were sent to [them] from
                 519
 management.”           But that is exactly what the Directors did when they received the bonus plan

 from Brandon.

                 1.          The full board abdicated their duties to preclude Brandon from
                             controlling the development of the bonus plan.

        The Board knew that Brandon had an obvious conflict of interest, because he would be

 receiving several million dollars if the bonus plan were approved. And they also knew that

 Brandon set the agenda for the board meeting at which compensation was discussed, put

 compensation approval on the agenda for that meeting, participated in the meeting, and voted to
                       520
 approve the plan.

        But, just like the compensation committee, the full board did nothing to preclude

 Brandon from controlling the bonus plan. They did not require Brandon to leave the meeting

 during the discussion. 521 They did not require Brandon to recuse himself from the vote. 522



 517
     See e.g., Ex. 77 (Raether depo.) 218:1-5.
 518
     Ex. 77 (Raether depo.) 155:9-12.
 519
     Ex. 77 (Raether depo.) 320:9-22.
 520
     Ex. 88 (Brandon depo.) 175:4-17; Ex. 40 (9’13’17 board minutes [TRU-Trust0000165899]).
 521
     Ex. 40 (9’13’17 board minutes [TRU-Trust0000165899]) at 3.
 522
     Id.; Ex. 77 (Raether depo.) 242:5-13.
                                                   149
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 They did not ask Alvarez & Marsal to discuss the origin of the plan and who had made the

 decisions in the plan. In fact, there is no record that the Board made any effort to determine how

 the bonus plan was developed and the level of Brandon’s influence on the plan. 523 Instead, they

 were wholly unconcerned about Brandon’s interest in the plan and his involvement in creating

 it. 524

                  2.      The Board knowingly failed to obtain critical information they knew
                          was available and knowingly failed to analyze alternatives.

           As discussed above, the Directors knew that their fiduciary duties required them to

 consider all reasonable alternatives and they knew that multiple design options were available.

 But the full board considered only a single alternative, the plan that had been designed by

 Brandon that would pay executives large bonuses within a few days.

           And as discussed above, the Directors knew they needed to inform themselves of all

 material information that was reasonably available, and knew that this included a comparison to

 the compensation of comparable executives. But, just like the compensation committee, the full

 board failed even to request such information. 525

           In fact, Brandon directed Alvarez and Marsal to “simply circulate an executive summary

 of the plan” to the full board. 526 The summary did not include the chart with CEO comparables

 showing Brandon’s excessive compensation relative to other CEOs. 527




 523
     Ex. 40 (9’13’17 board minutes [TRU-Trust0000165899]) at 3; Ex. 83 (Macnow depo.)
 141:10-142:9.
 524
     See, e.g., Ex. 82 (Goodman depo.) 267:21-268:17; Ex. 83 (Macnow depo.) 128:15-130:7,
 130:12-131:6; Ex. 77 (Raether depo.) 231:14-24.
 525
     Ex. 83 (Macnow depo.) 141:10-15; Ex. 77 (Raether depo.) 245:5-11.
 526
     Ex. 132 (9'5'17 1006pm only summary [TRU-Trust0000126680]).
 527
     Ex. 88 (Brandon depo.) 172:16-173:4; Ex. 133 (9’6’17 Summary Compensation Proposal
 [DEFS_0004337]).
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        As a result, the Board received the skimpiest of information. The presentation that the

 Board received did not include any analysis of why a bonus of 75% was considered to be

 appropriate for each of the Tier 1 executives, an analysis of cash compensation for comparable
                                                                                        528
 executives, or any alternative compensation structures for the Board to consider.            Indeed, the

 Board never received the analysis and underlying assumptions that were used in developing the

 bonus plan. 529

        The Board did not reach out to Alvarez & Marsal separately to discuss the compensation

 proposal or obtain additional information. 530 The board members did not ask about how the

 numbers for executive bonuses in the Alvarez & Marsal bonus proposal had been developed, or
                                                                    531
 whether any analysis of comparable executives had been done.             There is no indication that the

 board discussed the timing of payments or whether Brandon should be included at the 75%
                532
 bonus level.         And there is no indication that members of the board asked for any information

 comparing the compensation of Toys “R” Us executives to other executives. 533 Moreover, there

 is no indication that any member of the board did any analysis apart from reading the materials

 presented to the board at Brandon’s direction. 534




 528
     Ex. 133 (9’6’17 Summary Compensation Proposal [DEFS_0004337]).
 529
     Ex. 77 (Raether depo.) 245:5-11.
 530
     See, e.g., Ex. 83 (Macnow depo.) 134:18-135:6, 136:22-137:2; Ex. 79 (Taylor depo.) 128:19-
 24; Ex. 77 (Raether depo.) 245:5-11, 247:4-9.
 531
     Ex. 83 (Macnow depo.) 136:3-13.
 532
     Ex. 77 (Raether depo.) 242:25-243:8.
 533
     Ex. 77 (Raether depo.) 247:4-9; Ex. 83 (Macnow depo.) 136:3-13.
 534
     Ex. 83 (Macnow depo.) 137:10-14.
                                                   151
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        Finally, there is no record of the board’s reasoning or decision-making other than these

 two words in the minutes: “discussion ensued.” 535 None of the Defendants could recall anything

 about the discussions that took place. 536

        The Directors on the board made the decision to approve the bonus plan knowing that

 they failed to do anything to ensure that the process was not controlled by Brandon, knowing that

 they failed to consider reasonable alternative approaches, and knowing that did not have critical

 information necessary for evaluating executive compensation.

        E.      The Directors breached their fiduciary duties by knowingly authorizing an
                illegal fraudulent transfer that was designed to evade creditors.

        Directors breach their fiduciary duty of loyalty (and its subsidiary duty of good faith)

 when they direct the corporation to engage in conduct that they know is unlawful. Hampshire

 Grp., Ltd. v. Kuttner, No. 3607-VCS, 2010 Del. Ch. LEXIS 144, at *89 (Ch. July 12, 2010) (by

 “consciously causing” company to violate the law, director “breached his duty of loyalty”);

 Guttman v. Jen-Hsun Huang, 823 A.2d 492, 506 n.34 (Del. Ch. 2003) (“one cannot act loyally as

 a corporate director by causing the corporation to violate the positive laws it is obliged to obey”).

 “For fiduciaries of Delaware corporations, there is no room to flout the law.” In re Massey

 Energy Co. Derivative & Class Action Litig., No. 5430-VCS, 2011 Del. Ch. LEXIS 83, at *78

 (Ch. May 31, 2011).




 535
     See, e.g., Ex. 82 (Goodman depo.) 302:20-304:6, Ex. 81 (Bekenstein depo.) 277:21-280:6, Ex
 83 (Macnow depo.) 139:17-140:6; Ex. 82 (Goodman depo.) 88:20-89:1.
 536
     See Ex. 79 (Taylor depo.) 104:5-9 (“I don’t have a specific recollection”); Ex. 83 (Macnow
 depo.) 140:3-6 (No recall of discussion); Ex. 82 (Goodman depo.) 303:6-21 (“I don’t recall”);
 Ex. 77 (Raether depo.) 242:25-243:8 (“[N]o recollection” of discussions); Ex. 81 (Bekenstein
 depo.) 277:12-280:6 (answering “I don’t recall” to every question about the executive bonus
 program).
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        But flouting the law is exactly what Defendants did in approving the executive bonuses.

 Defendants knowingly approved a fraudulent transfer of millions of dollars in extraordinary

 bonuses to insiders, thereby violating their fiduciary duties.

        A fraudulent transfer is a violation of both civil and criminal law. Fraudulent transfer in

 contemplation of a chapter 11 bankruptcy is a crime under federal law that subjects individuals

 to criminal penalties. 18 U.S.C. § 152(7). When an individual “as an … officer of any …

 corporation, in contemplation of a case under title 11 by … any other person or corporation, or

 with intent to defeat the provisions of title 11, knowingly and fraudulently transfers or conceals

 any of his property or the property of such … corporation,” that individual “shall be fined under

 this title, imprisoned not more than 5 years, or both. 18 U.S.C. § 152(7). The statute “attempts

 to cover all the possible methods by which a bankrupt or any other person may attempt to

 defeat the Bankruptcy Act through an effort to keep assets from being equitably distributed

 among creditors.” Stegeman v. United States, 425 F.2d 984, 986 (9th Cir. 1970) (citing Collier

 on Bankruptcy (14th ed. 1968)) (emphasis in original)).

        Fraudulent transfers prohibited by section 152(7) include any transfer “with intent to

 defeat the provisions of title 11,” including transfer made before filing a bankruptcy petition. 18

 U.S.C. § 152(7). “[A]lthough the transfer or concealment prohibited by § 152(7) must relate to a

 bankruptcy case—i.e., it must be intended to defeat the provisions of the Bankruptcy Code—the

 statute reaches beyond the bankruptcy estate itself.” United States v. Colon Ledee, 772 F.3d 21,

 34 (1st Cir. 2014); see United States v. West, 22 F.3d 586, 590 (5th Cir. 1994) (“the government

 may prosecute individuals under 18 U.S.C. § 152 for transfers of property occurring more than

 one year prior to the filing of a petition in bankruptcy if such transfers are made knowingly,




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 fraudulently, and in contemplation of a case under title 11 or with intent to defeat the provisions
                                                                                                      537
 of title 11”). In addition, 18 states and U.S. territories also criminalize a fraudulent transfer.

        A fraudulent transfer claim under section 548 of the bankruptcy code has two elements

 (1) “any transfer (including any transfer to or for the benefit of an insider under an employment

 contract) of an interest of the debtor in property,” and (2) “with actual intent to hinder, delay, or

 defraud any entity to which the debtor was or became … indebted”). 11 U.S.C. § 548. The

 elements of a fraudulent transfer claim under the under the Uniform Fraudulent Transfer Act

 (such as enacted by Delaware) has the same two elements (1) “a transfer made or obligation

 incurred,” and (2) “with actual intent to hinder, delay, or defraud any creditor of the debtor.” 6

 Del. C. § 1304.



        The federal criminal statute adds one additional element, that the transfer was made “in

 contemplation of a case under title 11 … or with intent to defeat the provisions of title 11.” 8

 U.S.C. § 152(7).

        The evidence proves each of these elements for the Director Defendants.

                1.      There was a “transfer” by paying bonuses to executives.

        Payments made to officers or employees of a company constitute “transfers or

 obligations” for the purposes of a fraudulent transfer claim. See JPMorgan Chase Bank, N.A. v.

 Ballard, 213 A.3d 1211, 1245 (Del. Ch. 2019). The executive bonus plan was a “transfer or

 obligation” because it was a payment to Toys “R” Us executives. It resulted in Toys “R” Us




 537
    See Jay Adkisson, US Jurisdictions That Criminalize Fraudulent Transfers, Forbes (2015)
 https://www.forbes.com/sites/jayadkisson/2015/11/22/u-s-jurisdictions-that-criminalize-
 fraudulent-transfers/?sh=1f4a71097943.
                                                  154
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 transferring at least $16,279,738 to Toys “R” Us executives, including $2,812,500 to Brandon,
                                              538
 $600,000 to Short, and $450,000 to Barry.

                 2.      Defendants authorized the transfer with actual intent to hinder and
                         defraud creditors.

         The required scienter for a fraudulent transfer is “actual intent to hinder, delay, or defraud

 any creditor of the debtor.” 6 Del. C. § 1304. Any one of the three intents (hinder, defraud, or

 delay) is sufficient: “the Court need only find that … the Debtors made relevant transfers with

 the intent to hinder, the intent to delay, or the intent to defraud.” Sher v. JPMorgan Chase

 Funding (In re Thornburg Mortg., Inc.), 610 B.R. 807, 827 (Bankr. D. Md. 2019) (emphasis

 added). The presence of actual intent “may be inferred from the actions of debtor and may be

 proven by circumstantial evidence.” In re Smoot, 265 B.R. 128, 142 (Bankr. E.D. Va. 1999).

         The Directors authorized a transfer of funds from Toys “R” Us to Brandon and other

 insiders knowing that the Company was on the eve of filing bankruptcy, and knowing that such a

 transfer was prohibited by bankruptcy law and intending to place those funds beyond the reach

 of creditors. They intended to hinder the ability of the creditors to provide input, and to

 eliminate the ability of the bankruptcy court to perform its oversight role.

         The Directors voted to authorize the executive bonus plan on September 13, 2017. 539

 When the Directors gave that authorization, they knew that the bonuses were extraordinary and

 not part of the regular executive compensation package. For example, Brandon had an

 employment contract that extended through July 1, 2020, and, under his contract Brandon had no

 right to this additional bonus. 540




 538
     Ex. 135 (Mills) ¶32.
 539
     Ex. 40 (9’13’17 board minutes [TRU-Trust0000165900]).
 540
     Ex. 176 (Brandon Employment Agree [TRU-Trust0000096961]).
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        Each of the Defendants also knew on September 13 that the Company was preparing a

 bankruptcy filing, that it would “file as soon as the Company has obtained DIP financing,” and

 that it was on track “to file for chapter 11 early next week.” 541

        And the Directors had been advised that when the Company became insolvent, “the
                                                                                             542
 company’s creditors become the primary beneficiaries” of the Directors’ fiduciary duties.

 The Directors were advised that their fiduciary duties required them to “evaluate their decisions

 through the prism of maximizing the value of the enterprise for the benefit of all
                  543
 stakeholders.”

        The Directors also knew that, with the bankruptcy filing, the Company’s actions would

 be under the oversight of creditors and the bankruptcy court, and this included executive

 compensation decisions. The Directors were specifically advised by Kirkland that “[u]pon filing

 for relief under chapter 11,” the “compensation payable to ‘insiders’ (senior management) is
                                                                      544
 subject to stringent bankruptcy rules and much greater scrutiny.”

        The Directors therefore knew that, waiting a few days until the bankruptcy filing would

 have given the creditors (and the Court) the ability to weigh-in on whether paying large bonuses

 to executives would maximize the enterprise value of the cash-strapped company. And if

 bonuses were warranted, the stakeholders could evaluate what sort of bonus plan would be best,

 how much the bonuses should be, who should participate, and when bonuses should be paid.

        But the Directors did not wait, because the Directors also knew that retention bonuses for

 Brandon and the other top executives would not be approved in bankruptcy. They had been



 541
     Ex. 40 (9’13’17 board minutes [TRU-Trust0000165900]).
 542
     Ex. 27 (8’9’17 Fiduciary Duty Presentation [DEFS_0064535].
 543
     Id. at 24.
 544
     Ex. 106 (8’27’17 attach to Brandon Kirkland presentation [DEFS_0006370]) at 7; Ex. 23
 (7’31’17 Contingency Prep Overview [DEFS_123896]) at 57.
                                                  156
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 advised by Kirkland that to pay retention bonuses to an “insider,” that insider would need to have

 “a bona fide job offer at the same or greater level of compensation.” 545 Kirkland explained that

 insiders “include: Directors; Officers; Persons in control; and Affiliates.” 546 Kirkland advised

 that “the title of Vice President or higher creates a rebuttable presumption that the relevant

 employee is an ‘insider.’” 547

        When the board received the retention bonus plan, it was obvious that the plan included

 multiple insiders. It included Brandon and Short, who were directors. And it included 19
                                                                                         548
 executives with titles of Senior Vice President, Executive Vice President, or higher.         Based on

 the advice the Directors had been given, the Directors knew that this plan was not allowed by

 bankruptcy laws—it contained no showing that any insider had any job offer, much less one with

 comparable compensation. As a result, Brandon made sure the bonus plan was on the agenda

 and was approved so that the executive bonuses could be transferred out of the Company’s bank

 account before the bankruptcy filing. In fact, Grace started payroll processing for the bonuses

 even before the board meeting. 549

        The only plausible reason for the timing of paying the bonuses just before filing

 bankruptcy is the need to evade the limitations on bonuses to insiders, and to evade the scrutiny

 of creditors on the executive bonuses. Defendants certainly knew the obvious fact that a cash

 bonus paid to an executive comes out of the cash that otherwise would be paid to creditors. They

 knew, therefore, that transferring the cash to executives before filing bankruptcy would hinder

 the ability of creditors to be paid for their debts. No advisor had offered the opinion that paying



 545
     Ex. 106 (8’27’17 attach to Brandon Kirkland presentation [DEFS_0006370]) at 9.
 546
     Ex. 106 (8’27’17 attach to Brandon Kirkland presentation [DEFS_0006370]) at 9.
 547
     Id. at 10.
 548
     Ex. 134 (9’13’17 Alvarez Board Presentation [DEFS_0004160]) at slide 5.
 549
     Ex. 130 (9’12’17 Grace final files to AM Files [TRU-Trust0000374006]).
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 retention bonuses on the eve of bankruptcy would be lawful. In fact, Alvarez & Marsal had

 specifically warned Brandon that such a program could be “challenged as a preferential

 transfer/fraudulent conveyance.” 550

          By paying the bonuses before bankruptcy, Defendants knew that the “bonuses were

 placed outside the advance scrutiny of the creditors and the bankruptcy court.” Official Emp't-

 Related Issues Comm. of Enron Corp. v. Arnold (In re Enron Corp.), Nos. 01-16034-AJG, 03-

 3522, 03-3721, 2005 Bankr. LEXIS 3261, at *109 (Bankr. S.D. Tex. Dec. 9, 2005).

           Defendants’ actual intent to hinder and defraud creditors is strengthened by considering

 other factors that courts traditionally consider when evaluating the presence of actual intent.

 Those factors include whether “the transfer or obligation was to an insider,” whether “the debtor

 was insolvent or became insolvent shortly after the transfer was made,” and “whether the transfer

 occurred shortly before or shortly after a substantial debt was incurred.” 6 Del. C. § 1304(b).

 “The confluence of several of these factors” generally “support[s] a conclusion that one acted

 with the actual intent to defraud.” Kibler v. Wooters, No. 1351-VCN, 2007 Del. Ch. LEXIS 83,

 at *17 (Ch. June 6, 2007); see Fringer v. Kersey Homes, Inc., No. 9780-VCG, 2018 Del. Ch.

 LEXIS 203, at *23 (Ch. June 25, 2018). As discussed above, the transfer was made to insiders.

 It was made just four days before Toys “R” Us filed for bankruptcy and admitted its insolvency.

 And it was made shortly after the Company had incurred substantial debts to vendors for

 merchandise and just four days before the Company incurred large debts by entering the DIP

 financing agreements. Each of these factors further demonstrates actual intent to defraud

 creditors.




 550
       Ex. 108 (8’3’17 A&M Overview of Compensation Alternatives [TRU-Trust0000124123]) at
 14.
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                 3.     Defendants made the transfer in contemplation of a case under title 11
                        and with intent to defeat the provisions of title 11.

        Defendants authorized the transfer of payments to executives “in contemplation of a case

 under title 11 … or with intent to defeat the provisions of title 11.” 8 U.S.C. § 152(7).

        As demonstrated above Defendants authorized the bonuses to executives in direct

 contemplation of the Company filing a bankruptcy petition. Therefore, the transfer was “in

 contemplation of a case under title 11.” In addition, as demonstrated above, Defendants knew of

 the restrictions on paying bonuses to top executives found in the bankruptcy laws and the only

 plausible reason for the timing of paying the bonuses just before filing bankruptcy was the need

 to evade the limitations on bonuses to insiders, and to evade the scrutiny of creditors on the

 executive bonuses. Therefore, the transfers were also made “with intent to defeat the provisions

 of” the bankruptcy code.

                                               *         *     *

        By directing the Company to engage in a fraudulent transfer days before the bankruptcy

 filing, Defendants knowingly directed the Company to violate the law. And that knowing

 violation of the law was a breach of their duty of loyalty: “it is utterly inconsistent with one's

 duty of fidelity to the corporation to consciously cause the corporation to act unlawfully.”

 Desimone v. Barrows, 924 A.2d 908, 934 (Del. Ch. 2007).

        F.       The Directors breached their fiduciary duties of loyalty, good faith, and care.

                 1.     The Directors breached their duty of loyalty.

        Directors breach their duty of loyalty by violating or causing a corporation to violate the

 law. Hampshire Grp., Ltd. v. Kuttner, No. 3607-VCS, 2010 Del. Ch. LEXIS 144, at *89 (Ch.

 July 12, 2010) (by “consciously causing” company to violate the law, director “breached his duty

 of loyalty”).


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        Further, “the duty of loyalty mandates that the best interest of the corporation and its

 shareholders takes precedence over any interest possessed by a director, officer or controlling

 shareholder and not shared by the stockholders generally.” Cede & Co. v. Technicolor, 634 A.2d

 345, 361 (Del. 1993).

        A “classic example[] of director self-interest” exists when “a director receiv[es] a

 personal benefit from a transaction.” Cede, 634 A.2d at 362. Even a single director’s breach of

 the duty of loyalty can be found “to have infected the board’s decision.” Id. at 364. To establish

 a breach of the duty of loyalty, a plaintiff does not have to establish conflicting interests “as to a

 majority of the board,” but can instead establish “that one conflicted fiduciary failed to provide

 material information to the board or that the board failed to sufficiently oversee the conflicted

 fiduciary.” In re Mindbody, Inc., 2020 Del. Ch. LEXIS 307, at *34 (Ch. Oct. 2, 2020).

        In cases that “involve[] directors or officers paying themselves bonuses, the court is

 particularly cognizant to the need for careful scrutiny.” Valeant Pharm. Int'l v. Jerney, 921 A.2d

 732, 745-746 (Del. Ch. 2007) (finding that a transaction did not have fair process when “[t]he

 entire process from the initial idea of awarding bonuses to the final reallocation of the bonus pool

 was dominated by [an interested director]”).

        Defendants breached their duty of loyalty in multiple ways.

                         a.     Directors breached their duty of loyalty by authorizing an
                                illegal fraudulent transfer.

        As discussed in more detail above, Defendants knew that paying the executive bonus

 payments before bankruptcy would avoid court scrutiny and make the bonus payment

 unavailable to creditors. But Defendants chose to approve that bonus program anyway, in

 knowing violation of the law and their fiduciary duty of loyalty.




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                        b.      Brandon breached his duty of loyalty because he was an
                                interested director.

        “[A] director who receives a substantial benefit from supporting a transaction cannot be

 objectively viewed as disinterested or independent.” Cede & Co. v. Technicolor, 634 A.2d 345,

 362 (Del. 1993); Rales v. Blasband, 634 A.2d 927, 936 (Del. 1993) (“A director is considered

 interested where he or she will receive a personal financial benefit from a transaction that is not

 equally shared by the stockholders.”)

        Brandon’s self-dealing is a breach of his duty of loyalty—he controlled a process that

 resulted in his receiving an additional $2,812,500 in compensation and he voted to approve his

 own bonus.

                        c.      Director Defendants breached their duty of loyalty by allowing
                                Brandon—an interested director—to control the bonus
                                process.

        The Delaware Supreme Court “has established a rule that demands of a corporate officer

 or director, peremptorily and inexorably, the most scrupulous observance of his duty” of loyalty.

 Cede & Co. v. Technicolor, 634 A.2d 345, 361 (Del. 1993) (internal quotes omitted). Any

 potential for influence by personal interests is strictly prohibited. “The rule that requires an

 undivided and unselfish loyalty to the corporation demands that there be no conflict between

 duty and self-interest.” Id. A director is “independent only when the director’s decision is based

 entirely on the corporate merits of the transaction and is not influenced by personal or extraneous

 considerations.” Id. at 362.

        Directors violate their duty of loyalty to a company when they allow an interested

 director to control and dominate a transaction. When “[a] board’s own lack of oversight in

 structuring and directing [a transaction] afforded management the opportunity to indulge in the

 misconduct which occurred,” the Directors on the board have breached their duty of loyalty.


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 Mills Acquisition Co. v. MacMillan, Inc., 559 A.2d 1261, 1279 (Del. 1989). A “board’s virtual

 abandonment of its oversight functions in the face of [a director’s] patent self-interest [is] a

 breach of its fundamental duties of loyalty and care.” Id. at 1284, n.32.

        The Directors allowed an interested director to control the process of developing the

 bonus plan. They knew Brandon stood to receive a multimillion-dollar cash bonus and therefore

 had a “direct personal interest in the executive bonus plan.” 551 Brandon was thus not a

 disinterested or independent director. 552 Defendants therefore had an absolute duty to assure

 that any proposed bonus plan had not been corrupted by Brandon’s personal interest, because

 “there is no safe-harbor for divided loyalties in Delaware.” In re Walt Disney Co. Derivative

 Litig., 907 A.2d 693, 751 (Del. Ch. 2005).

        And yet the Directors utterly failed to take any action to preclude Brandon from

 controlling the development of the bonus plan. Moreover, Defendants didn’t care; they were not

 “interested in knowing who came up with the plan.” 553 This “abandonment of [the board’s]

 oversight functions in the face of [a director’s] patent self-interest was a breach of its

 fundamental duties of loyalty and care.” Mills Acquisition, 559 A.2d at 1284, n.32.

                2.      The Directors breached their duty of good faith

        Directors breach their duty of good faith when they engage in an “abdication of

 directorial duty.” Cede & Co. v. Technicolor, 634 A.2d 345, 363-64 (Del. 1993). A breach of

 the duty of good faith occurs “[w]here directors fail to act in the face of a known duty to act,

 thereby demonstrating a conscious disregard for their responsibilities.” Stone v. Ritter, 911 A.2d

 362, 370 (Del. 2006). This type of bad faith by abdication exists if the facts “imply that the


 551
     Ex. 88 (Brandon depo.), 127:8-12.
 552
     See Ex. 88 (Brandon depo.) 128:15-21 (“If I paid myself a bonus, yes, that would be a conflict
 of interest”).
 553
     Ex. 82 (Goodman depo.) 267:21-23.
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 defendant directors knew that they were making material decisions without adequate information

 and without adequate deliberation.” In re Walt Disney Co. Derivative Litig., 825 A.2d 275, 289

 (Del. Ch. 2003); Bridgeport Holdings Inc. Liquidating Tr. v. Boyer (In re Bridgeport Holdings,

 Inc.), 388 B.R. 548, 564 (Bankr. D. Del. 2008); Brehm v. Eisner (In re Walt Disney Co.

 Derivative Litig.), 906 A.2d 27, 66 (Del. 2006) (“[A] conscious disregard for one's

 responsibilities … is properly treated as a non-exculpable, non-indemnifiable violation of the

 fiduciary duty to act in good faith.”)

         In addition, bad faith may be shown by evidence that a decision is “so far beyond the

 bounds of reasonable judgment that it seems essentially inexplicable on any ground other than

 bad faith.” Dent v. Ramtron Int'l Corp., No. 7950-VCP, 2014 Del. Ch. LEXIS 110, at *15 (Del.

 Ch. June 30, 2014); Parnes v. Bally Entm't Corp., 722 A.2d 1243, 1246 (Del. 1999);

 Crescent/Mach I Partners, L.P. v. Turner, 846 A.2d 963, 981 (Del. Ch. 2000) (same). This does

 not require a plaintiff to establish “facts that rule out any possibility other than bad faith, rather

 than just pleading facts that support a rational inference of bad faith.” Kahn v. Stern, 183 A.3d

 715, 715 (Del. 2018). It suffices to establish “facts supporting an inference that [the fiduciary]

 did not reasonably believe that the … transaction was in the best interests of” the company.

 Brinckerhoff v. Enbridge Energy Co., 159 A.3d 242, 260 (Del. 2017), quoted with approval by

 Kahn v. Stern, 183 A.3d 715, 715 & n.5 (Del. 2018). This does not require inquiring into the

 director’s subjective beliefs; instead “the use of the qualifier ‘reasonably’ imposes an objective

 standard of good faith.” Brinckerhoff, 159 A.3d at 260.

         Defendants violated their duty of good faith under each of these theories.




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                       a.     The Directors abdicated their duties by failing to obtain an
                              analysis of comparable compensation or alternative
                              compensation plans.

        As demonstrated above, the Directors knew that they were voting to approve the retention

 bonuses without having adequate material information. Material information is information that

 is “relevant” and “important” to what the decision-maker is trying to accomplish. Sutherland v.

 Sutherland, No. 2399-VCN, 2010 Del. Ch. LEXIS 88, at *44 (Ch. May 3, 2010). As shown

 above, the Defendants knew that they needed to obtain information comparing compensation for

 comparable executives, and knew that information was readily available.

        But the full board never received that information. The executive summary that Brandon

 directed be provided to the board included no comparison of compensation of executives at other

 companies. No director saw an analysis of comparable compensation for 109 out of the 114

 executives that were included in the bonus plan. And only the compensation committee

 Directors and Brandon saw comparable compensation data for the remaining five executives. As

 discussed above, those data were flawed and did not support paying a bonus.

        Without comparables or a rationale supporting a 75% bonus payment, board members

 had no way to evaluate whether the bonus payments were appropriate, reasonable, or in the best

 interests of the Company. And they had no way to evaluate whether a pre-petition retention

 bonus was the appropriate means to pay bonuses because no other alternatives were provided or

 considered.

        The Directors never asked for, received, or considered any of this material information.

 Instead, they made their decision to approve the bonus plan knowing only that executives would

 receive a bonus, the amount they would receive, and when they would receive it.

        These facts “imply that the defendant directors knew that they were making material

 decisions without adequate information and without adequate deliberation,” which suffices to
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 establish a breach of the duty of good faith. In re Walt Disney Co. Derivative Litig., 825 A.2d

 275, 289 (Del. Ch. 2003).

                        b.      The Directors abdicated their duty to ensure that the process
                                of developing the bonus was not controlled by an interested
                                director

        A breach of the duty of good faith occurs “[w]here directors fail to act in the face of a

 known duty to act.” Stone v. Ritter, 911 A.2d 362, 370 (Del. 2006). As demonstrated above,

 Defendants knew they had a duty to ensure that conflicts of interest were avoided by delegating

 decision-making to disinterested directors. The board utterly failed to do so. “The board was

 torpid, if not supine, in its efforts to establish a truly independent auction, free of [the CEO and

 Chairman's] interference and access to confidential data. By placing the entire process in [his]

 hands . . . through his own chosen financial advisors, with little or no board oversight, the board

 materially contributed to the unprincipled conduct of those upon whom it looked with a blind

 eye.” Mills Acquisition Co. v. MacMillan, Inc., 559 A.2d 1261, 1280 (Del. 1989), quoted with

 approval by Kahn v. Stern, 183 A.3d 715, 715 (Del. 2018).

        The Board failed in the first instance to delegate the process of developing bonuses to

 disinterested directors. No evidence suggests that the board directed that a bonus plan be

 prepared by independent directors or advisors. The first time that the full board saw a bonus plan

 was when they received the executive summary of the plan that Brandon had developed.

        Three of the board members (Brandon, Taylor, Raether) knew that this bonus plan had

 been developed by Brandon, who was conflicted. And that conflict should have been readily

 apparent to the rest of the board: Brandon was voting to approve a compensation plan that would

 result in him receiving a more than $2.8 million bonus. But none of the directors did anything to

 ensure that the process by which the bonuses had been developed was free of Brandon’s

 influence. As discussed above, no director asked about Brandon’s involvement in creating the
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 bonus plan. Neither Taylor nor Raether volunteered to the rest of the board that Brandon had in

 fact controlled each of the key decisions in the process. And the board raised no objection to

 Brandon voting on the plan. This deliberate “indifference” to Brandon’s involvement was a

 breach of the duty of good faith.

          Because the facts demonstrate that the “directors fail[ed] to act in the face of a known

 duty to act,” they breached their duties of good faith. Stone v. Ritter, 911 A.2d 362, 370 (Del.

 2006).

                         c.      Brandon and the compensation committee Directors made a
                                 decision that they knew was beyond the bounds of reason and
                                 not in the best interests of the Company.

          Before developing the bonus plan, Brandon already knew that his and other executives’

 compensation was excessive. As discussed above, Brandon was aware that existing salaries and

 annual bonus percentages were already above market. Rather than acknowledge that

 comparisons to market compensation showed that Toys “R” Us executives would not need

 additional compensation, Brandon wrote to Grace and indicated that he wanted to side-step those

 comparisons and design something that works for us.” 554 But Brandon knew that he “was

 already motivated to do well for the company” without receiving a retention bonus. 555

 Brandon’s decision to put through a bonus plan that paid executives, including himself, large

 cash bonuses days before the Company filed bankruptcy thus was objectively not in the best

 interests of the company and leads to a “rational inference of bad faith.” Kahn v. Stern, 183 A.3d

 715, 715 (Del. 2018).

          For similar reasons, the compensation committee directors’ decision to approve the bonus

 plan was beyond the bounds of reason. As demonstrated above, the compensation committee


 554
       Ex. 99 (7’15’17 Brandon to Grace [TRU-Trust0000011727]).
 555
       Ex. 88 (Brandon depo.) 182:24-183:4.
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 had received and reviewed a comparability analysis in June 2017 that showed that Toys “R” Us

 executives were already paid above market. The compensation committee knew that outside

 metrics demonstrated that Toys “R” Us executives did not need a bonus. When Alvarez &

 Marsal attempted to justify Brandon’s plan by putting together comparables, the compensation

 committee directors (Taylor, Levin, Goodman) saw that the comparability analysis showed that

 Brandon’s compensation was excessive. The reaction of the compensation committee directors

 was not to delete this bonus. Instead, they tasked Alvarez & Marsal with finding a different set

 of comparable CEOs so that Brandon’s bonus payment would not appear so excessive. When

 the revised set of comparables failed to justify Brandon’s bonus, the compensation committee

 approved the bonus plan anyway (and did not provide those comparables to the full board).

        This decision by the compensation committee directors was objectively not in the best

 interests of the Company. The data that the compensation committee received indicated that the

 compensation of Brandon and other top executives was substantially higher than market. There

 was no risk that Brandon would leave to go to another company on the basis that he would be

 better compensated there. The circumstances surrounding the directors’ decision strongly

 supports “an inference that [the directors] did not reasonably believe that the … transaction was

 in the best interests of” Toys “R” Us. Brinckerhoff v. Enbridge Energy Co., 159 A.3d 242, 260

 (Del. 2017). Accordingly, they breached their duty of good faith.

                3.     The directors breached their duty of care.

        The duty of care is breached if the actions or inactions of a director amount to “gross

 negligence,” or “conduct that constitutes reckless indifference.” McPadden v. Sidhu, 964 A.2d

 1262, 1274 (Del. Ch. 2008).

        As demonstrated above, the Defendants breached their duty of good faith. The same

 evidence establishing that breach also demonstrates that Defendants’ conduct “constitutes
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 reckless indifference.” Thus, each of the Defendants breached their duty of care in approving the

 executive bonuses.

        G.      Defendants cannot meet their burden of proving the bonus payments were
                entirely fair.

        “A breach of either the duty of loyalty or the duty of care rebuts the presumption that the

 directors have acted in the best interests of the shareholders, and requires the directors to prove

 that the transaction was entirely fair.” Cede & Co. v. Technicolor, 634 A.2d 345, 371 (Del.

 1993). Moreover, the duty of good faith is a component of the duty of loyalty, because a

 “director cannot act loyally towards the corporation unless she acts in good faith.” Stone v.

 Ritter, 911 A.2d 362, 369-70 (Del. 2006). Therefore, demonstrating a breach of the duty of good

 faith also removes the protection of the business judgment rule. Brehm v. Eisner (In re Walt

 Disney Co. Derivative Litig.), 906 A.2d 27, 52 (Del. 2006) (“Those presumptions can be rebutted

 if the plaintiff shows that the directors breached their fiduciary duty of care or of loyalty or acted

 in bad faith. If that is shown, the burden then shifts to the director defendants to demonstrate that

 the challenged act or transaction was entirely fair to the corporation and its shareholders.”).

        To meet the entire fairness standard, “the defendants must establish … that the

 transaction was the product of both fair dealing and fair price.” Basho Techs. Holdco B, Ltd.

 Liab. Co. v. Georgetown Basho Inv’rs, Ltd. Liab. Co., No. 11802-VCL, 2018 Del. Ch. LEXIS

 222, at *80-81 (Ch. July 6, 2018) (internal quotes omitted). “Fair dealing” involves

 consideration of the process by which the transaction was approved. Id. at *82. “Fair price”

 involves assessing whether the directors “obtain[ed] the highest value reasonable available to the

 shareholders under all the circumstances.” Mills Acquisition Co. v. MacMillan, Inc., 559 A.2d

 1261, 1280 (Del. 1989).




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           Defendants make no attempt to meet their burden of proving entire fairness in their

 motion. Further, they could not do so. The Trust has presented evidence that the process was

 not fair, because Brandon controlled the development of the bonus and the other directors

 abdicated their duties in evaluating the bonus plan. As for fair price, Defendants cannot

 demonstrate that the retention bonuses were fair, because the evidence demonstrates that the

 Company’s top executives had compensation above market even without the additional bonus.

           Thus, Defendants “demonstrate fairness as to process or price,” and therefore cannot

 prove entire fairness. Basho, 2018 Del. Ch. LEXIS 222, at *92 (Ch. July 6, 2018).

           H.     Defendants’ breaches of fiduciary duty caused losses to Toys “R” Us.

           By failing to comply with their fiduciary duties in authorizing the executive bonus plan,

 the Defendant Directors harmed Toys “R” Us by causing Toys “R” Us to pay unnecessary and

 excessive retention bonuses. This reduced Toys “R” Us’ liquidity and meant it did not have that

 money available to pay for other obligations.

           As a result of Defendants’ breaches of their fiduciary duties, Toys “R” Us executives

 received $16,279,738 in bonus payments. 556

 V.        Defendants’ arguments concerning Defendants’ unlawful approval of the executive
           bonuses fail for multiple reasons.

           A.     Estoppel does not apply to the Trust’s claims.

           Defendants contend that “the Trust is estopped from litigating the retention payments”

 because “the UCC addressed the pre-petition retention payments during the Chapter 11

 bankruptcy proceeding.” Mot. at 18-19. This contention fails for multiple reasons.




 556
       Ex. 135 (Mills) ¶32.
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        First, as demonstrated above, the Trust is not a successor to the UCC for any purpose and

 thus is not bound by the UCC’s statements or positions. Defendants’ claim that the UCC made

 statements about the bonus payments “on behalf of the same constituency” that the Trust now

 represents is patently false. Mot. at 19. The Trust is bringing fiduciary duty claims on behalf of

 Toys “R” Us Inc. and Toys “R” Us Delaware. Neither of these entities were constituents of the

 UCC, and they are not bound by any of the UCC’s positions or statements.

        Second, the UCC never agreed that it would “address the retention payments through a

 compromise rather than litigation” as Defendants assert. Mot. at 19. The hearing statement

 quoted by Defendants contains no assertion that the UCC is releasing any right to challenge

 those payments at a later date. Indeed, the UCC’s statement supporting the debtor’s motion to

 approve settlement filed in 2018 highlighted that the lack of releases—including for claims

 involving “the payment of retention bonuses to senior executives on the eve of bankruptcy”—

 was of “critical importance to the Committee.” 557

        Third, the Court’s confirmation order expressly prohibits the application of preclusion
                                                                                         558
 doctrines, including estoppel, to claims asserted against the directors and officers.         That

 confirmation order is binding on Defendants and disposes of their estoppel argument.

        In fact, in the UCC’s brief supporting the Settlement Agreement that was integral to the

 confirmed plan, the UCC expressly stated that the potential claims against the Defendants

 included “claims for breach of fiduciary duty arising out of … the payment of retention bonuses

 to senior management on the eve of bankruptcy.” 559 The UCC told the Court that it was of




 557
     Dkt. 4033 para. 20.
 558
     Dkt. 5746 (Delaware order) ¶48; Dkt. 5602 (Delaware plan) at 33; Dkt. 5979 (Toys Inc.
 order); Dkt. 5940 (Toys Inc. plan) at 35.
 559
     Dkt. 4033 at ¶20.
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 “critical importance to the Committee” that “the Settlement Agreement also expressly preserves,

 and does not release, claims against the Debtors’ current and former directors, officers, and

 managers.” 560 Defendants never express any disagreement with this statement. And, on that

 basis, the Court approved the Settlement Agreement and the plans of confirmation.

           Fourth, as discussed above, Defendants have the burden of proof on a defense of estoppel

 and they utterly fail to mention—much less provide undisputable evidence proving—the

 required elements of judicial estoppel. Defendants make no attempt to prove the element of “bad

 faith.” And Defendants could not possibly prove bad faith by either the UCC or the Trust.

           Fifth, because the “vice which judicial estoppel prevents is the cold manipulation of the

 courts” “[i]t is inappropriate, therefore, to apply the doctrine when a party’s prior position was

 based on inadvertence or mistake.” John S. Clark Co. v. Faggert & Frieden, P.C., 65 F.3d 26,

 29 (4th Cir. 1995), quoted with approval by New Hampshire v. Maine, 532 U.S. 742, 753 (2001).

 And here, the Trust’s claims against the directors for breach of fiduciary duties relating to the

 approval of the bonus plan is based on uncovering new facts that the UCC did not know in

 December 2017.

           At the time that the UCC and its counsel were informed of the bonus payments, the UCC

 did not have knowledge about the process for developing and approving those bonuses. The

 UCC would justifiably expect that the board would comply with their fiduciary duties in creating

 the bonus: delegating the entire process to an independent compensation committee, evaluating

 material information, and guarding against conflicts of interest. The UCC did not know that this

 process had not been followed. The UCC did not have access to the emails between Brandon




 560
       Dkt. 4033 at ¶20 (emphasis in original).
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 and Grace, the communication between Brandon and Alvarez, the compensation committee

 discussion materials, or the board minutes.

        When the Trust discovered those facts during its investigation after Toys “R” Us’

 liquidation, it brought claims against the directors for breaching their fiduciary duties in

 approving the executive bonus plan. These claims are based on the uncovering of new facts and

 thus are not estopped by any prior position adopted by the UCC.

        B.      Defendants’ conduct is not protected by the business judgment rule

        Defendants’ assertion that the decision to approve pre-petition bonuses is “protected by

 the business judgment rule” fails for multiple reasons. Mot. at 19.

        As discussed above, the business judgment rule “may only be invoked by directors who

 are found to be not only ‘disinterested’ directors, but directors who have both adequately

 informed themselves before voting on the business transaction at hand and acted with the

 requisite care.” Cede & Co. v. Technicolor, 634 A.2d 345, 367 (Del. 1993) (emphasis in

 original). Therefore, “proving that the defendant breached her duty of loyalty or her duty of

 care” will be sufficient for “rebutting one of the business judgment rule’s presumptions.” Basho

 Techs. Holdco B, Ltd. Liab. Co. v. Georgetown Basho Inv’rs, Ltd. Liab. Co., No. 11802-VCL,

 2018 Del. Ch. LEXIS 222, at *56 (Ch. July 6, 2018). Moreover, the duty of good faith is a

 component of the duty of loyalty, because a “director cannot act loyally towards the corporation

 unless she acts in good faith.” Stone v. Ritter, 911 A.2d 362, 369-70 (Del. 2006). Therefore,

 demonstrating a breach of the duty of good faith also removes the protection of the business

 judgment rule. Rich ex rel. Fuqi Int'l, Inc. v. Yu Kwai Chong, 66 A.3d 963, 977 (Del. Ch. 2013)

 (“The business judgment rule, however, provides no protection in cases of bad-faith conduct”).

 In particular, the business judgement rule cannot be invoked against a claim for abdication of

 directorial duties. Aronson v. Lewis, 473 A.2d 805, 813 (Del. 1984).
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                1.      The business judgment rule does not apply because Defendants did
                        not act with the requisite care or adequately inform themselves.

        As shown above, the conduct of the director Defendants constitutes a breach of their duty

 of care, which is sufficient, without more, to eliminate the protection of the business judgement

 rule. Cede & Co. v. Technicolor, 634 A.2d 345, 371 (Del. 1993) (“This Court has consistently

 held that the breach of the duty of care, without any requirement of injury, is sufficient to rebut

 the business judgment rule.)

        And a failure by directors “to adequately inform themselves” is by itself “sufficient to

 rebut the presumption of the business judgment rule.” Cede & Co. v. Technicolor, 634 A.2d 345,

 371 (Del. 1993).

        As shown above, the director Defendants failed to adequately inform themselves before

 voting to approve the retention bonuses. The reasonably available material information that

 Defendants failed to obtain included:

    •   Brandon’s role in creating and controlling the bonus plan;

    •   An appropriate analysis of comparable compensation for executives at other companies;

    •   An analysis of the alternative options for implementing compensation plans;

    •   Advantages and disadvantages of different compensation plans;

    •   The likelihood that executives would leave the company;

    •   Any rationale for paying bonuses equal to 75% of the annual salary rather than a lower

        amount.


        That information was reasonably available to the Defendants. Any Defendant could have

 asked about Brandon’s role in developing the plan. Any Defendant could have asked Alvarez &

 Marsal to present an analysis of alternative compensation options. But no Defendant did so.


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        Taylor and Raether knew about Brandon’s control of the bonus plan, and the

 compensation committee had some information about comparables for 5 of the 114 executives.

 But those directors did not act with the requisite care to discharge their duties. As discussed in

 detail above, neither Taylor nor Raether took any action to curtail Brandon’s influence. And the

 compensation committee entirely disregarded that the comparable compensation information

 demonstrated that the top executives had compensation that exceeded the market and did not

 warrant a bonus.

                2.      The business judgment rule does not apply because Defendants
                        breached their duties of good faith and loyalty.

        As discussed above, the business judgment rule does not apply if Defendants breached

 their fiduciary duties. Brehm v. Eisner (in re Walt Disney Co. Derivative Litig.), 906 A.2d 27, 52

 (Del. 2006) (business judgment rule inapplicable where directors breached their fiduciary duty

 “of loyalty or acted in bad faith”). In particular, “the business judgment rule … has no role

 where directors have either abdicated their functions, or absent a conscious decision, failed to

 act.” Aronson v. Lewis, 473 A.2d 805, 813 (Del. 1984).

        As demonstrated above, Defendants abdicated their fiduciary duties in two ways: (1) by

 allowing Brandon, an interested director, to control the bonus plan, and (2) by failing to fulfill

 their duty to obtain material information. Because the directors abdicated their duties, the

 business judgment rule does not apply.

        Further, the business judgment rule does not apply because Defendants breached their

 duty of loyalty by approving an illegal fraudulent transfer. This breach of the duty of loyalty is

 another basis for holding the business judgment rule inapplicable.




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        C.      Defendants’ specific arguments concerning the business judgment rule are
                contrary to the law and the facts.

                1.     The business judgment rule does not automatically shield all executive
                       compensation decisions.

        Defendants’ assertion that the business judgment rule “[a]pplies with [p]articular [f]orce”

 to decisions by a board of directors about executive compensation is false. Mot. at 19.

 Defendants’ cited cases stand only for the proposition that when the business judgment rule has

 been successfully invoked and not rebutted, it should protect the amount of compensation that is

 approved by the directors. In fact, Delaware courts recognize that, in cases that “involv[e]

 directors or officers paying themselves bonuses, the court is particularly cognizant to the need

 for careful scrutiny.” Valeant Pharm. Int'l v. Jerney, 921 A.2d 732, 745-746 (Del. Ch. 2007).

        The White and Brehm cases cited by Defendants hold only that claims that a bonus was

 excessive, without more, should fail. See White v. Panic, 793 A.2d 356, 369 (Del. Ch. 2000)

 (“Plaintiff alleges nothing beyond the amount of the bonus paid”); Brehm v. Eisner, 746 A.2d

 244, 263 (Del. 2000) (holding that a claim that a bonus payment was unreasonable purely

 because of the amount of the payment was protected by the business judgment rule).

        But the Trust’s claim here is not merely one of excessive compensation. Rather, the

 Trust has demonstrated that the process for developing the bonus was directed by Brandon, that

 Brandon had a conflict of interest, that the other Directors knew of Brandon’s conflict and

 knowingly failed to preclude him from corrupting the process, that the Directors knowingly

 failed to inform themselves of all material information reasonably available, and that the

 directors breached their duties of good faith in approving the executive bonus plan. Thus,

 Defendants’ cited cases that deal with claims solely about excessive compensation are

 inapposite.



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        Defendants’ reliance on In re Agfeed USA, LLC, 558 B.R. 116, 128 (Bankr. D. Del.

 2016), is similarly misplaced. The claim at issue in In re AgFeed USA, LLC was brought under

 Nevada law. Id. The plaintiff failed “to allege who approved the Employment Agreement,”

 which meant it was impossible to “rebut the business judgment rule.” Id. Further, the complaint

 did not allege that any of the directors had an interest in the transaction at issue. It was in this

 context that the court stated that the plaintiff had failed to make any showing that the board “was

 not independent … or lacked good faith.” Id.

        The Trust here has shown both. The Trust has evidence demonstrating the entire board

 breached its duty of good faith by abdicating their known duties, and that they board allowed the

 plan to be controlled by a director with a personal financial interest in the bonus plan. This is a

 sufficient basis for a breach of loyalty claim. The Trust can thus rebut the business judgment

 rule, and can do so on the basis of each of the three theories discussed above.

                2.      Defendants’ arguments on the fiduciary duties of due care and good
                        faith fail.

        Defendants make three arguments. We rebut each in turn.

                        a.      Defendants’ “employee attrition” argument fails.

        Defendants assert that the Board authorized the retention payments “to retain key

 personnel due to demonstrated employee attrition.” Mot. at 20. To support this claim,

 Defendants assert that Grace “was concerned that additional employees might leave the

 company.” Mot. at 20. These facts do nothing to address or justify the Defendants’ breaches of

 fiduciary duty. As discussed above, if the board had concerns about retention, that could have

 provided a reason to task an independent committee with developing a plan, and approving that

 plan after consideration of all reasonably available material information. And they could have

 presented that plan to the bankruptcy court for creditor input and court review. But neither the


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 board nor the compensation committee ever instructed anyone to prepare a retention plan, and

 allowed Brandon, who had an obvious conflict of interest, to make all of the key decisions in

 designing the plan. And the Directors never made any effort to obtain key comparability

 information that they knew was needed to assess executive compensation. Instead, the Directors

 received and rubber-stamped a plan created by Brandon.

                        b.     Defendants’ argument based on the participation of advisors
                               fails.

        Defendants claim that the “robust process whereby A&M and Kirkland worked alongside

 TRU management” means that the Trust “cannot establish that TRU’s Board was recklessly

 uninformed or acted outside the bounds of reason.” Mot. at 20-22. And Defendants assert that

 their presented facts are “sufficient to withstand any challenge to the duty of care.” Mot. at 22.

 This argument fails for several reasons.

        First, the mere presence of a special committee and advisors does not establish that no

 fiduciary duties were breached. Directors “must do more than establish a perfunctory special

 committee of outside directors” to obtain the protection of the business judgment rule. Kahn v.

 Tremont Corp., 694 A.2d 422, 429 (Del. 1997). For an independent committee and advisors to

 provide any protections, “the committee must function in a manner” that complies with all

 fiduciary duties. Kahn v. Tremont Corp., 694 A.2d 422, 429 (Del. 1997). Evaluating the

 actions of a special committee and its advisors “contemplate[s] a look back at the substance, and

 efficacy, of the special committee's negotiations, rather than just a look at the composition and

 mandate of the special committee.” Ams. Mining Corp. v. Theriault, 51 A.3d 1213, 1240-41

 (Del. 2012) (affirming trial court’s determination that a transaction was not fair even with

 Special Committee and advisors involved). And directors must still fulfill their fiduciary duties




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 to “not simply rubber stamp whatever advice they receive,” and instead must “independently

 evaluate assumptions and information presented by advisors.” 561

           Defendants omit numerous facts that demonstrate that the bonus plan process was not an

 innocent collaboration between the advisors and management appropriately overseen by an

 independent committee, but rather one controlled by a CEO with a glaring conflict of interest.

 And those facts further show that the compensation committee and the board abdicated their

 fiduciary duties to consider the information that they were presented. For example, Defendants

 list of facts fails to mention the following:

       •   Brandon wanted to work with Alvarez & Marsal because of his close relationship with

           Bryan Marsal, and personally recommended that A&M be retained;


       •   Brandon (not Alvarez & Marsal) selected the approach of pre-petition retention payments

           and he discarded the other options presented by Alvarez & Marsal;


       •   Brandon (not A&M) made all of the key decisions, including who would receive a bonus,

           how much they would be paid, and when they would receive the bonus;


       •   Alvarez & Marsal identified multiple downsides to choosing the option of paying pre-

           petition retention bonuses, including liquidity issues, that there were “[n]o

           incentive/performance conditions” and “potential public relations issues post-filing.” 562


       •   Alvarez & Marsal recommended evaluating alternatives to the pre-petition bonus plan. 563



 561
     Ex. 77 (Raether depo.) 319:23-320:1, 320:9-22; Ex. 27 (8’9’17 Fiduciary Duty Presentation
 [DEFS_0064535]) at slide 10.
 562
     Ex. 108 (8’3’17 A&M Overview of Compensation Alternatives [TRU-Trust0000124123]) at
 14.
 563
     Id. at 7.
                                                   178
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       •   Alvarez & Marsal warned that the payments could be challenged as a “fraudulent
                                                             564
           conveyance” during the bankruptcy proceedings.


       •   Alvarez & Marsal advised that a seven step process be followed to provide oversight when

           installing any bonus plan, including “negotiation with Stakeholders and U.S. Trustee,”

           filing a “motion to request court approval” and “work[ing] to resolve objections by

           Stakeholders.” 565


       •   The compensation committee never received, nor considered, nor implemented this advice

           from A&M. It did not evaluate downsides, consider alternatives, or follow the prescribed

           process;


       •   Neither the board nor the compensation committee had any interactions with A&M outside

           the presence of Brandon;


       •   The compensation committee never considered comparables—key material information—

           for 109 of 114 executives that would participate in the bonus plan;


       •   Brandon orchestrated the participation of the compensation committee in the process,

           including calling the meetings, setting the agenda, supervising what materials the

           committee received, conferring with the advisors to script what happened at the meetings,

           participating in the meetings, controlling the follow up to those meetings, and then

           determining what information should be passed from the comp committee to the full board.




 564
       Id.
 565
       Id. at Slide 27.
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    •   The full board never received nor asked for any comparables, did not evaluate alternatives,

        did not ask for the rationale behind the bonus, and failed to follow the process

        recommended by A&M for approving bonuses.


        These facts demonstrate that neither the compensation committee nor the board fulfilled

 their fiduciary duties in working with advisors. The compensation committee failed to obtain all

 material information from, and follow the advice given by, the advisors. And the full board

 similarly knowingly failed to consider reasonably available material information and

 independently assess the bonus plan. Those breaches of fiduciary duty are not excused by the

 presence of Kirkland and Alvarez.

        Second, Defendants’ cases are inapposite. Mills Acquisition makes clear that when a

 board is “deceived by those who will gain” from a transaction, any protections from reliance on

 advisors “vanish.” Mills Acquisition Co. v. Macmillan, Inc., 559 A.2d 1261, 1283-84 (Del.

 1989). And here, the board was deceived by Brandon, who did not inform the full board of his

 development and control of the plan, or of his excessive compensation. In re Books-A-Million

 dealt with an established special committee that “considered alternative transaction structures,”

 instructed its advisor to “prepare detailed financial analyses,” and “sought additional

 information” beyond what was provided by the advisor. In re Books-A-Million, Inc.

 Stockholders Litig., 2016 Del. Ch. LEXIS 154, at *61-63 (Del. Ch. Oct. 10, 2016). By contrast,

 the compensation committee considered no alternatives to the plan presented by Brandon,

 knowingly failed to obtain comparable compensation information for the vast majority of

 executives, and did not seek additional information beyond what was provided.

        Defendants’ two other cases do not apply Delaware law and deal with inapplicable

 statutory principles. See Seidman v. Clifton Sav. Bank, No. A-4033-07T2, 2009 N.J. Super.


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 Unpub. LEXIS 2267, at *23-24 (Super. Ct. App. Div. Aug. 19, 2009) (discussing interpretation

 of fiduciary duties by New Jersey courts); In re Munford, Inc., 98 F.3d 604, 610-611 (11th Cir.

 1996) (analyzing business judgment rule as applied to Georgia statutory duty of directors to act

 “with the care of an ordinary prudent person”). Moreover, the facts in these cases do not

 resemble the current case. See Seidman, 2009 N.J. Super. Unpub. LEXIS 2267, at *28-30 (no

 breach when board members “reviewed substantial data” on comparables and approved

 compensation without any influence by interested employee); In re Munford, Inc., 98 F.3d at

 611-612 (no breach where board members gathered all material information and relied on third-

 party assurances before approving a merger).

        Third, Defendants’ argument, and the corresponding cases, only deal with the duty of

 care. See Mot. at 22 (involvement of advisors “is sufficient to withstand any challenge to the

 duty of care.”) Defendants make no attempt to, and cannot, demonstrate that the involvement of

 advisors absolves directors of breaches of the duties of loyalty or good faith. And, as discussed

 above, Defendants breached those fiduciary duties in multiple ways, including by approving a

 fraudulent transfer in violation of their fiduciary duty of loyalty, and abdicating their

 responsibility to obtain all material information in violation of their duty of good faith.

                        c.      Defendants’ arguments on the duty of good faith fail.

        Defendants further claim that the Trust’s allegations do “not establish that the directors

 intentionally disregarded their duties” or that their decision is “inexplicable on any ground other

 than bad faith.” Mot. at 23. Defendants misconstrue the relevant facts and fail to address the

 theories establishing their breaches of the duty of good faith.

        Defendants characterize the Trust’s allegations as “certain executives should have been

 excluded from receiving a retention bonus,” that “Brandon’s $2 million retention bonus was

 higher than it should have been,” and that “the peer group that A&M and management used was
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 flawed.” Mot. at 23. These facts are relevant, but they are not the sum total of facts giving rise

 to the breach of the duty of good faith.

        Each of the directors knowingly failed to fulfill their fiduciary duty to guard against

 conflicts of interest by allowing Brandon to dominate the plan. The compensation committee

 directors knowingly failed to obtain comparables for each executive. The compensation

 committee knowingly disregarded Brandon’s exorbitant compensation and Brandon’s influence

 on the plan. The Board Directors knowingly failed to obtain key material information before

 voting to approve the plan. And the Board ultimately approved the plan knowing that it was an

 illegal fraudulent transfer that would harm creditors. As discussed above, each of these facts

 demonstrates a breach of the duties of loyalty and good faith, and Defendants ignore all of them.

                3.      Defendants’ “lack of self-dealing” arguments fail.

        Defendants make three arguments that there was no self-dealing. We rebut each in turn.

                        a.      Defendant’ “majority of the board” argument fails.

        Defendants assert that because “the majority of disinterested board members approve[d]”

 the bonus plan, Brandon’s participation “in developing the compensation plan” is excused. Mot.

 at 24. This argument fails.

        The Delaware Supreme Court expressly held that there is not “an invariable requirement

 that a plaintiff plead facts suggesting that a majority of the board committed a non-exculpated

 breach of its fiduciary duties.” Kahn v. Stern, 183 A.3d 715, 715 (Del. 2018). The Court stated

 that two such circumstances are (i) “cases where impartial board members did not oversee

 conflicted members sufficiently” and (ii) cases “premised on independent board members not

 receiving critical information from conflicted fiduciaries.” Kahn, 183 A.3d at 715 n.4. Both

 circumstances are present here.



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        First, as discussed above, the Board had no, much less sufficient, oversight of Brandon in

 his development and control of the bonus plan. The Board failed to make any attempt to oversee

 Brandon, much less curtail his domination of the process.

        Second, a board can only ratify decisions when it is aware of the key facts pertaining to

 those decisions—“[t]he Board, like shareholders, cannot approve (and ratify) what it did not

 know.” In re Xura, Inc. Stockholder Litig., 2018 Del. Ch. LEXIS 563, at *32-33 (Ch. Dec. 10,

 2018). And a majority of the Board here was entirely unaware of key facts. Brandon did not

 inform the Board about his role in designing the plan or about the comparable compensation

 figures that showed that his compensation was already excessive. Of the ten board members

 who participated in voting to approve the bonus plan, only three knew that Brandon had made

 the key decisions (Brandon, Raether, Taylor), and only four knew that the analysis of

 compensation for comparable CEOs showed that Brandon’s compensation was excessive

 (Brandon, Taylor, Levin, Goodman). A majority of the Board thus did not have the information

 it needed to appropriately ratify the bonus payments, and thus that vote cannot excuse Brandon’s

 breaches of fiduciary duty. Furthermore, Brandon told none of the directors that A&M had

 warned him that the pre-petition retention bonuses could be challenged as a fraudulent transfer,

 that A&M had suggested considering alternatives to pre-petition retention payments, and that

 A&M had recommended that a seven-step process be followed in deciding to approve any bonus.

        Defendants’ cited cases confirm that an executive’s involvement in a compensation

 decision can undercut the business judgment rule. For example, in Sama, the court reasoned that

 “an officer will breach his fiduciary duty of loyalty by accepting compensation that is clearly

 improper or by wrongfully influencing a compensation decision.” Sama v. Mullaney (In re

 Wonderwork, Inc.), 611 B.R. 169, 202 (Bankr. S.D.N.Y. 2020). In that case, the central fact that



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 led the court to conclude that the officer did not breach his duty of good faith and thus did not

 wrongfully influence the compensation decision was that “[the advisor] solicited [the

 executive’s] input and not the other way around.” Id. The executive “was participating in the

 process at [the advisor’s] request with the knowledge of the independent Board.” Id. at 203.

        By contrast, as discussed above, the exact opposite is true here. Brandon, not A&M,

 developed the bonus plan. Brandon, not A&M, made all decisions, including selecting the type

 of plan, determining which executives should be included, determining how much each should

 receive, and determining the timing for when bonus payments should be made. A&M did not

 solicit input from Brandon; instead, Brandon solicited input from A&M. After the basic plan

 was developed, A&M did not direct Bandon on what changes should be made to the list of

 executives or their bonuses. Instead, Brandon directed A&M on what changes to make and

 A&M followed his directions.

        Moreover, Brandon’s creation of the plan and direction of A&M was not done “with the

 knowledge of” the Board. Instead, Brandon initiated the process of creating a bonus plan. Then

 Brandon brought in A&M, because of his prior relationship with Bryan Marsal. Then Brandon

 designed the plan and provided it to A&M. None of those details were known to any of the other

 Directors. The Directors on the compensation committee first became involved only after the

 plan was finished. The committee did not then act independently. Instead, Brandon orchestrated

 every aspect of the committee’s processing of the plan. He participated in the compensation

 committee meetings; he coordinated with A&M beforehand on what would be discussed and be

 presented at the meetings; and he directed how the advisors would respond to the issues that the

 compensation committee raised.




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           Defendants’ other cited cases purportedly supporting their position deal with independent

 directors who fulfilled their fiduciary duties, obtained all material information, and did not

 delegate the process to an interested director. See Warhanek v. Bidzos, 2013 U.S. Dist. LEXIS

 133099, at *16-17 (D. Del. Sept. 18, 2013); Charter Twp. of Clinton Police & Fire Ret. Sys. v.

 Martin, 219 Cal. App. 4th 924, 935 (2013). That is not the present case.

           Defendants further assert that Robert Kors, the Trustee of the Trust, conceded in his

 deposition that Brandon’s involvement does not mean that “the program is fatally flawed.” Mot.

 at 25. But the Trustee said no such thing. Defendants entirely omit the rest of the Trustee’s

 answer: that for Brandon and Grace’s involvement not to make the program fatally flawed, “the

 program needs to be developed consistent with the fiduciary duties of the officers and directors,
                                                   566
 and the requirements of the bankruptcy code.”           That did not happen here.

                          b.     Defendants’ “independent compensation committee” argument
                                 fails.

           Defendants’ argument that the Board followed advice and “set up an Independent

 Compensation Committee to review and approve” bonuses fails. As a matter of law, directors

 “must do more than establish a perfunctory special committee of outside directors” to obtain the

 protection of the business judgment rule. Kahn v. Tremont Corp., 694 A.2d 422, 429 (Del.

 1997). Indeed, an interested director “providing opinions to an independent committee could be

 wrongful if the analysis were supported by other facts warranting an inference of improper

 influence.” Friedman v. Dolan, No. 9425-VCN, 2015 Del. Ch. LEXIS 178, at *33 (Ch. June 30,

 2015).

           Here, Brandon not only directed how information would be presented to the

 compensation committee, he set up the compensation committee meetings, met with the advisors


 566
       Ex. 97 (Kors depo.) 278:5-21.
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 in advance to script what would happen in the meetings, reviewed the materials from Alvarez

 before they were provided to the committee, and then personally attended and participated in the

 committee meetings. And Brandon sent A&M changes and follow up materials after the

 compensation committee meeting that they wanted incorporated. This, coupled with Brandon’s

 control and direction of A&M in the development of the bonus plan, warrants an inference of

 improper influence.

        Defendants’ cited cases involved instances where there was no evidence that a director

 had any influence on an independent committee’s decision-making. See e.g. Puma v. Marriott,

 283 A.2d 693, 696 (Del. Ch. 1971) (“There is no testimony which even tends to show that the

 terms of the transaction were dictated by the Marriott Group or any member thereof.”) By

 contrast, here Brandon dictated all of the terms of the bonus plan. He designed the plan; he made

 the key decisions on who, how much, and when; and he continued to direct changes to the plan

 to add additional employees (such as his personal assistant). The plan that was presented to the

 compensation committee was the plan that Brandon developed.

        Thus, the board did not in fact delegate decision-making to a disinterested independent

 committee and cannot claim the protection of the business judgment rule.

                       c.      Defendants’ “conflicts of interest” argument fails.

        Defendants’ argument that “conflicts of interest asserted by the Trust are immaterial”

 fails. Mot. at 25-26. The Trust need not show that each Defendant had a conflict of interest in

 approving the bonus plan. As discussed above, allowing a conflicted director to dominate a

 transaction, failing to consider material information or consider alternatives, and making a

 decision outside the bounds of reason all establish breaches of fiduciary duty. Defendants do not

 dispute that Brandon had a glaring and obvious conflict of interest in designing and approving an

 executive bonus plan that would pay him millions of dollars. The rest of the Defendant directors
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 allowed Brandon to control the bonus program and failed to consider available information.

 That some of the Defendant Directors did not themselves personally benefit by receiving a bonus

 does not excuse their breaches of duty.

                4.       Defendants’ “rational business purpose” argument fails.

        Defendants assert that the payment of retention bonuses is “indisputably a legitimate

 business purpose.” Mot. at 26. Defendants seemingly claim that because retention is a

 legitimate purpose, any decision to pay retention bonuses is protected by the business judgment

 rule. This is contrary to law.

        Although the decision to pay a retention bonus is, like all director decisions, initially

 presumed to be a valid exercise of business judgment, as discussed above, that presumption is

 rebutted by demonstrating that Directors failed to inform themselves of all material information

 reasonably available, knowingly abdicated their fiduciary duties, allowed an interested Director

 to control the process, or by demonstrating facts supporting an inference that directors did not

 reasonably believe that the transaction was in the best interests of” the company. That

 sometimes the payment of retention bonuses may have a rational business purpose does not

 change that analysis.

        Further, there is no evidence that the board in this case actually considered whether the

 bonus plan designed by Brandon was necessary to achieve the business purpose of retaining

 employees. For example, the Board never asked whether the purpose could be achieved by

 awarding employees supplemental quarterly bonuses upon completing each quarter, rather than

 paying a full year bonus in a lump sum before entering bankruptcy. The Board did not inquire as

 to whether an amount lower than 75% would serve the purpose of retention, particularly since

 the top executives already had compensation above market. Instead, the Board approved a plan



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 without knowing whether it was actually necessary to achieve a business purpose. As explained

 above, this decision is not protected by the business judgment rule.

        Moreover, the existence of a “rational business purpose,” does not mitigate or justify

 using unlawful means to achieve that purpose. For example, while it may be rational for

 directors to have the ultimate purpose of increasing a corporation’s bank balance, this purpose

 does not justify authorizing employees to obtain funds by robbing a bank. And having a rational

 business purpose does nothing to excuse Defendants from engaging in fraudulent transfers, from

 knowing abdication of decision-making steps required by fiduciary duties (e.g. obtaining all

 material information reasonably available before making a decision), and disregarding known

 facts demonstrating the transaction is not in the corporation’s interest.

        D.      The exculpatory provision does not protect the Defendants against any of the
                Trust’s claims.

        As explained in detail above, the exculpatory clause does not protect Defendants’

 conduct for four reasons.

        First, exculpation is an affirmative defense, but Defendants failed to plead the

 exculpation defense in their answer. Moreover, have the burden of proof for an affirmative

 defense, but Defendants have failed to provide any evidence that establishes each element of the

 exculpation defense as an undisputed fact.

        Second, an exculpatory provision does not excuse director breaches of the duties of

 loyalty or good faith. 8 Del. C. § 102(b)(7). As discussed above, the Trust has evidence

 demonstrating Defendants’ breaches of both of these duties.

        Third, when directors breach both a duty of care and a duty of loyalty or good faith, then

 the exculpatory provision does not immunize directors for their breach of the duty of care.

 Miller v. Greystone Bus. Credit II, L.L.C. (In re USA Detergents, Inc.), 418 B.R. 533, 545


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 (Bankr. D. Del. 2009). And here, the Trust has demonstrated breaches of all three fiduciary

 duties, rendering the exculpatory provision inapplicable.

        Fourth, the exculpatory provision does not apply to Brandon’s actions in his capacity as

 an officer of the company. McPadden v. Sidhu, 964 A.2d 1262, 1275 (Del. Ch. 2008).

 Brandon’s breaches of his fiduciary duties are not excused by the exculpatory provision.

 VI.    The Director Defendants are liable for breaches of fiduciary duties in paying
        advisory fees to Sponsors.

        Directors owe fiduciary duties to the corporation and to minority shareholders to act in

 the best interests of all shareholders. Directors cannot engage in actions for the benefit of

 majority shareholders that detriment minority shareholders. Moreover, when a company is

 insolvent, directors owe a fiduciary duty to creditors to preserve the company’s assets for the

 benefit of creditors. Defendants breached these fiduciary duties in numerous ways.

        The fiduciary duties of directors require that directors avoid conflicts of interest in

 decision-making. When directors have conflicts, they must abstain from making decisions or

 delegate decisions to disinterested directors.

        Six of the eight Directors on the Board were appointed by the Sponsor companies, and

 had obvious conflicts of interest on decisions that would financially benefit the Sponsors.

 Brandon had a close relationship with Bain that similarly created a conflict of interest. Yet those

 same Directors approved hundreds of millions of dollars of advisory fee payments made to the

 Sponsor companies. They did not make any attempt to delegate the renegotiation and

 consideration of the advisory fees to independent and disinterested directors. By failing to do so,

 each of these Directors violated their duty of loyalty.

        The fiduciary duties of directors further require that directors act in good faith to only

 authorize transactions that are in the best interests of the company. And directors must not

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 engage in an abdication of their fiduciary duties by making decisions without adequate

 information or deliberation.

           Each of the Directors knew that the Advisory Fee Agreement had unreasonable terms and

 were not in the best interests of Toys “R” Us. The Agreement mandated that each Sponsor

 receive a fee, but did not require that any Sponsor perform any work—it gave the Sponsors full

 discretion to determine if they would perform any services for the company. And the Directors

 never attempted to obtain information about what services, if any, Toys “R” Us was receiving,

 much less the value of those services. Because the Directors authorized an objectively

 unreasonable transaction that was not in the best interest of the Company and abdicated their

 duty to consider material information, they breached their duty of good faith.

           Between 2005 and 2017, Bain, KKR, and Vornado received “over $308 million in fees
                                                                    567
 paid by Toys ‘R’ Us” pursuant to an Advisory Fee Agreement.              The Trust seeks damages for

 losses caused by Defendants’ breaches of fiduciary duty in the three years preceding the

 bankruptcy filing, from Q4 2014 to 2017. The amount of those losses is $17,863,110. 568

           A.     Defendants’ fiduciary duties applied to their decisions to allow payment of
                  advisory fees to the Sponsors.

           Directors have “a fiduciary duty to the corporation and to its minority shareholders if the

 majority shareholder[s] dominate[] the board and control[] the corporation.” In re Reading Co.,

 711 F.2d 509, 517 (3d Cir. 1983).

           When minority shareholders are present, payments that are “in essence self-dealing” by

 majority shareholders, to “the exclusion of and detrimental” to “minority stockholders,” are

 presumed to violate fiduciary duties unless the Defendants can demonstrate intrinsic fairness in



 567
       Ex. 70 (Greenspan) ¶346-347.
 568
       Ex. 135 (Mills) ¶31.
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 the transaction. Sinclair Oil Corp. v. Levien, 280 A.2d 717, 721 (Del. 1971); see Frederick Hsu

 Living Tr. v. ODN Holding Corp., No. 12108-VCL, 2017 Del. Ch. LEXIS 67, at *102 (Ch. Apr.

 14, 2017) (denying motion to dismiss where majority shareholder “was able to extract the cash to

 the exclusion of [minority] stockholders.”).
                                                                                569
        Bain, KKR, and Vornado each owned a 32.6% interest in Toys “R” Us.            Together, the
                                                              570
 three Sponsors owned approximately 97.8% of Toys “R” Us.           The remaining 2.2% was held

 by minority shareholders. 571 In 2015, 2016, and 2017, there were minority shareholders of Toys

 “R” Us that were identified in TRU’s 10-K filings. 572 As of 2017, there were approximately
                                                                                               573
 300 minority shareholders, including “current and former employees and a private investor.”

        The presence of these minority shareholders meant that the Directors needed to comply

 with their fiduciary duties to the Company and its minority shareholders when approving

 transactions that would benefit the majority shareholders.

        Further, when a company is insolvent, directors “owe[] a fiduciary duty” to “the

 company’s creditors to preserve assets.” Collins v. Throckmorton, 425 A.2d 146, 149 (Del.

 1980). Numerous pieces of evidence indicate that Toys “R” Us was not solvent at all times

 during its payment of the advisory fees. As discussed above, the Sponsor Directors and Brandon




 569
     Ex. 80 (Silverstein depo.) 84:23-85:10; Ex. 70 (Greenspan) ¶350.
 570
     Id.
 571
     Id.; Ex. 65 (2017 TRU 10k); Ex. 69 (Form 10-K 2016); Ex. 68 (Form 10-K 2015).
 572
     Ex. 70 (Greenspan) ¶351.
 573
     Ex. 65 (2017 TRU 10k) at pdf 28; Ex. 70 (Greenspan) ¶351.
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 had acknowledged that the Company was insolvent and that the Sponsors’ equity interests had no
          574
 value.         “The inability to realize any value above the debt is the definition of insolvency.” 575

          Thus, because of the presence of minority shareholders and because Toys “R” Us was

 insolvent, Defendants had fiduciary duties of loyalty, good faith, and due care that applied to any

 decision to allow the Company to make payments to Bain, KKR, or Vornado.

          As discussed above, directors have a duty to avoid conflicts of interest in a transaction

 and delegate decision-making to disinterested directors if a conflict of interest is implicated. The

 Delaware Supreme Court has “consistently defined the duty of loyalty of officers and directors”

 in “unyielding terms.” Cede & Co. v. Technicolor, 634 A.2d 345, 361 (Del. 1993). A director is

 “independent only when the director’s decision is based entirely on the corporate merits of the

 transaction and is not influenced by personal or extraneous considerations.” Id. at 362. “[T]here

 is no safe-harbor for divided loyalties in Delaware.” In re Walt Disney Co. Derivative Litig., 907

 A.2d 693, 751 (Del. Ch. 2005). When directors have conflicts and do “not totally abstain from

 participation in the matter,” they must “demonstrate their utmost good faith and the most

 scrupulous inherent fairness of the bargain.” Weinberger v. Uop, 457 A.2d 701, 710 (Del. 1983).

          Defendants’ duty of good faith required that they only authorize transactions that they

 reasonably believed were in the best interest of the Company. Bad faith can be shown when




 574
     Ex. 70 (Greenspan) ¶¶163-165; 399-401; Ex. 79 (Taylor depo.) 170:10-21 (testifying that
 KKR’s internal valuation of “KKR’s investment in Toys ‘R’ Us” showed that “our equity had no
 value”); Ex. 79 (Taylor depo.) 167:2-24 (testifying that KKR calculated that Toys “R” Us had
 debt of $4.7 billion but an enterprise value of $3.4 billion to $3.7 billion); Ex. 79 (Taylor depo.)
 169:4-18 (“the total value of Toys ‘R’ Us is less than the debt”); Ex. 78 (Levin depo.) 239:6-25,
 240:13-241:3 (“the equity investment in Toys ‘R’ Us has a value of zero”); Ex. 75 (Vornado
 2013 annual report) at 10 n.7, 57; Ex. 76 (Vornado 2014 annual report) at 36; Ex. 62 (11’4’14
 Vornado write down [DEFS_0111323]); Ex. 13 (4’8’15 Saghir to Taylor Levin re Brandon
 [DEFS_0049061]); Ex. 1 (1’4’16 Taylor Raether equity calculation, [DEFS_0125987]).
 575
     Ex. 70 (Greenspan) ¶400.
                                                     192
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 there are “facts supporting an inference that [the fiduciary] did not reasonably believe that the …

 transaction was in the best interests of” the company. Brinckerhoff v. Enbridge Energy Co., 159

 A.3d 242, 260 (Del. 2017), quoted with approval by Kahn v. Stern, 183 A.3d 715, 715 & n.5

 (Del. 2018). This bad faith standard is an objective standard that does not require proof of the

 director’s subjective intent. Brinckerhoff, 159 A.3d at 260.

        Directors also breach their duty of good faith if they engage in an “abdication of

 directorial duty.” Cede & Co. v. Technicolor, 634 A.2d 345, 363-64 (Del. 1993). Such a breach

 occurs when “the defendant directors knew that they were making material decisions without

 adequate information and without adequate deliberation.” In re Walt Disney Co. Derivative

 Litig., 825 A.2d 275, 289 (Del. Ch. 2003).

        Further, Defendants were also obligated to comply with their duty of care. That fiduciary

 duty is breached by action or inaction that amounts to “gross negligence,” which is “conduct that

 constitutes reckless indifference or actions that are without the bounds of reason.” McPadden v.

 Sidhu, 964 A.2d 1262, 1274 (Del. Ch. 2008).

        As discussed above, Defendants knew that to fulfill their fiduciary duties “in a situation

 where a decision would implicate an actual or potential conflict of interest, the board should

 delegate decision-making authority to disinterested directors or managers.” 576 Defendants

 further knew that they had to consider and assess “all reasonable alternatives” before coming to a
             577
 decision.         And Defendants understood that their fiduciary duties required them to “inform




 576
     Ex. 77 (Raether) 157:3-8; Ex. 27 (8’9’17 Fiduciary Duty Presentation [DEFS_0064535]) at
 slide 15.
 577
     Ex. 27 (8’9’17 Fiduciary Duty Presentation [DEFS_0064535]) at slide 10.
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 themselves of all material information that was reasonably available” and “carefully consider

 that information” before making a decision. 578

        Defendants knew and understood their fiduciary duties. But they utterly failed to comply

 with those duties in authorizing the payment of advisory fees to the Sponsors.

        B.      Defendants’ decision to allow the Company to make payments to Bain, KKR,
                and Vornado violated their fiduciary duty of loyalty.

        Six of the eight directors on the Board were appointed by the Sponsors who received

 advisory fee payments from Toys “R” Us: Bekenstein and Levin were appointed by Bain,

 Silverstein and Macnow were appointed by Vornado, and Raether and Taylor were appointed by

 KKR. 579 As demonstrated above, each of the Sponsor-appointed Directors was beholden to the

 Sponsor company that appointed them to the Board. And, as demonstrated above, Brandon had a

 conflict of interest in decisions involving the Sponsors because Brandon owed his continued

 employment and other outside financial benefits to the Sponsors. 580 Each of these directors

 therefore had conflicts of interest in decisions that would provide financial benefits to the

 Sponsors.

        Each of the Sponsor Directors and Brandon knew that Toys “R” Us was paying advisory

 fees to the Sponsors. Those advisory fees were disclosed in Toys “R” Us’ 10-Ks, which

 Brandon and the Sponsor Directors signed. 581 By signing the 10-Ks, the Directors indicated that
                                                                                                 582
 they “thoroughly reviewed and agreed with the accuracy and veracity of the contents therein.”




 578
     Ex. 27 (8’9’17 Fiduciary Duty Presentation [DEFS_0064535]) at slide 10.
 579
     Ex. 65 (2017 TRU 10k) at pdf 119.
 580
     Ex. 70 (Greenspan) ¶356.
 581
     Ex. 68 (Form 10-K 2015) at 115-116; Ex. 65 (2017 Form 10k) at 146-47; Ex. 80 (Silverstein
 depo.) 86:9-23.
 582
     Ex. 80 (Silverstein depo.) 86:9-23.
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        The Advisory Fee Agreements provided significant benefits to each of the Sponsors. In

 2005, Toys “R” Us entered an advisory fee agreement with the Sponsors and agreed to pay the
                                                        583
 three Sponsors approximately $15 million each year.          The agreement provided that the fees

 paid would increase by 5% each year. 584

        The agreement also required that the Company pay the Sponsors a fee equal to 1% of the

 value of each financing, acquisition, or other transaction that the Company engaged in,

 regardless whether any of the Sponsors had any involvement in arranging the transaction. 585

        The Sponsors benefitted financially from the payment of advisory fees. As discussed in

 greater detail below, the Advisory Fee Agreement provided that the Sponsors would receive a

 specific fee each quarter, and did not require that the Sponsors do anything to receive that fee.

 To the contrary, the agreement specified that “no minimum number of hours is required to be

 devoted” by the Sponsors and that the Company was required to pay the fees “regardless of the

 extent of services requested by [Toys ‘R’ Us].” 586 As long as the Advisory Fee Agreement was

 in effect, the Sponsors were guaranteed their $5 million yearly fee. And the Sponsors were
                                                                                          587
 similarly guaranteed their transaction fees, regardless of work done on any financing.         In

 total, this resulted in the Sponsors receiving “over $308 million in fees paid by Toys ‘R’ Us”
                          588
 between 2005 and 2017.

        Toys “R” Us and the Sponsors had the ability at any time to negotiate an amendment to

 the Agreement, including changing the amount of the fees, and, in fact, four amendments were



 583
     Ex. 169 (Original Advisory Agreement [DEFS_0064739]) at 2, 9-10; Ex. 70 (Greenspan)
 ¶338.
 584
     Ex. 169 (Original Advisory Agreement [DEFS_0064739]) at 2, 9-10.
 585
     Ex. 169 (Original Advisory Agreement [DEFS_0064739]) at 2-3. Ex. 70 (Greenspan) ¶338.
 586
     Ex. 169 (Original Advisory Agreement [DEFS_0064739]) at 3.
 587
     Id. at 2-3.
 588
     Ex. 70 (Greenspan) ¶346-347.
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 entered over the years. 589 The Agreement was amended in August 2014, to change the amount
                                                                              590
 of the fees that the Company was required to pay to $17 million per year.          The agreement was
                                                                                     591
 amended in June 2015 to change the amount of the fees to $6 million per year.             That 2015

 amendment was signed by Defendant Silverstein on behalf of Vornado, by Defendant Taylor on

 behalf of KKR, and by Defendant Levin on behalf of Bain. 592

        The parties to the agreement not only had the ability to negotiate amendments that

 reduced the amount of the fee, the parties also had the ability to negotiate a complete termination

 of the agreement, or to invoke the termination provision in the agreement. The Advisory Fee

 Agreement provided that it could be terminated by either the Sponsors or Toys “R” Us by
                                                593
 “written notice of its desire to terminate.”

        The Directors not only knew that the Company could negotiate amendments to modify

 the fees paid, the Directors participated in the amendment process. For example, before the

 Company entered the 2015 amendment, the Directors received an update email from the Toys

 “R” Us general counsel that identified “the reduction of the quarterly sponsor advisory fee” as

 one of “several important matters related to the Board.” 594 Silverstein represented Vornado in
                                        595
 the discussions with Bain and KKR.           She shared her views on the extension with Steve Roth,
                        596
 the CEO of Vornado.          And the signatories on that amendment on behalf of each of the



 589
     Ex. 70 (Greenspan) ¶¶342-345.
 590
     Ex. 177 (Amendment No. 3 to the Advisory Agreement); Ex. 70 (Greenspan) ¶343; Ex. 65
 (2017 Form 10k) at 146-47.
 591
     Ex. 166 (Amendment No. 4 to the Advisory Agreement) at 1 §2; Ex. 70 (Greenspan) ¶344;
 Ex. 65 (2017 Form 10k) at 146-47.
 592
     Ex. 80 (Silverstein depo) 29:17–30:19, 35:6-14; Ex. 166 (Amendment No. 4 to the Advisory
 Agreement [TRU-Trust0000323115]).
 593
     Ex. 169 (Original Advisory Agreement [DEFS_0064739]) at 1.
 594
     Ex. 153 (5'29'15 Silverstein reduction in fees [DEFS_0076425]).
 595
     Ex. 153 (5'29'15 Silverstein reduction in fees [DEFS_0076425]).
 596
     Id.
                                                      196
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 Sponsors were three of the Sponsor Directors: Levin, Taylor, and Silverstein. 597 As

 demonstrated above, “each of the Sponsor Directors held positions of significant influence

 within their organizations and had the ability to influence decisions by the Sponsor in any

 renegotiation of the advisory fee agreement.” 598

        When considering whether to renegotiate or terminate the Advisory Fee Agreement in the

 best interests of the Company, each of the Sponsor Directors and Brandon could not purport to

 be independent. Whereas a disinterested director would only be interested in determining

 whether the payment of advisory fees benefitted Toys “R” Us, the Sponsor Directors and

 Brandon had a separate interest—whether the fees benefitted the Sponsors. 599 For the conflicted

 directors to comply with their fiduciary duties, they would have to delegate the decision-making

 on advisory fee payments to independent and disinterested directors, and recuse themselves from

 participating in decision-making on whether to pay advisory fees to the Sponsors. 600

        There is no evidence that the Sponsor Directors and Brandon ever delegated their

 decision making to disinterested directors. The Sponsor Directors did not recuse themselves

 from participating in decision making on the advisory fees. They did not task an independent

 committee with evaluating whether the advisory fees were in the best interest of the Company

 and whether Toys “R” Us should continue paying them. And there is no evidence that any

 director suggested that the decision to pay advisory fees be delegated to the only independent




 597
     Ex. 80 (Silverstein depo.) 35:6-14; Ex. 166 (Amendment No. 4 to the Advisory Agreement
 [TRU-Trust0000323115]) at 3-5.
 598
     Ex. 70 (Greenspan) ¶358.
 599
     See Ex. 78 (Levin depo.) 9:19-10:13 (discussing Levin’s interest in Bain); Ex. 77 (Raether
 depo.) 7:23-8 (discussing Raether’s role at and ownership of shares in KKR); Ex. 80 (Silverstein
 depo.) 9:19-22, 11:15-22 (discussing ownership interest in Vornado).
 600
     Ex. 70 (Greenspan) ¶356.
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 director on the board at the time (Goodman). Instead, as demonstrated above, the Sponsor

 Directors were active participants in the process.

           Because the majority of the Board (7 of 8 directors) were conflicted in the decision to pay

 advisory fees, and did not recuse themselves, the burden shifts to Defendants to prove that “the

 transaction was entirely fair to the shareholders.” Chaffin v. GNI Grp., Inc., Civil Action No.

 16211-NC, 1999 Del. Ch. LEXIS 182, at *16 (Ch. Sep. 3, 1999). As discussed below,

 Defendants have made no attempt to demonstrate entire fairness and cannot do so.

           C.     Defendants’ decision to allow the Company to make payments to Bain, KKR,
                  and Vornado violated their fiduciary duty of good faith.

                  1.      The advisory fee agreements were objectively unreasonable in their
                          terms and not in the best interests of the Company.

           Bad faith can be shown when there are “facts supporting an inference that [the fiduciary]

 did not reasonably believe that the … transaction was in the best interests of” the company.

 Brinckerhoff v. Enbridge Energy Co., 159 A.3d 242, 260 (Del. 2017), quoted with approval by

 Kahn v. Stern, 183 A.3d 715, 715 & n.5 (Del. 2018). Whether a director “reasonably believed” a

 transaction was in the best interest of the company is an objective standard that does not require

 proof of the director’s subjective intent. Brinckerhoff, 159 A.3d at 260.

           The structure of the Advisory Fee Agreement was objectively unreasonable and not in the

 best interest of the Company. The Advisory Fee Agreement required the payment of millions of

 dollars in fees, but required no work whatsoever to be performed, and gave each of the Sponsors
                                                                                     601
 full discretion on whether to provide services and how to provide those services.

           Defendants understood that Toys “R” Us would be better off if it “spent less money” for

 the same services and thus “kept more money in its pocket.” 602 “[I]t would have been in the


 601
       Ex. 70 (Greenspan) ¶355.
 602
       Ex. 80 (Silverstein depo.) 81:22-82:4.
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 best interest of the Company to pay advisory fees only to the extent that the Company was

 receiving services from each Sponsor, that such services were not duplicative and unnecessary,

 and that the amount paid was fair value for the services.” 603 “If the Company was receiving no

 needed services from the Sponsors, then the interests of the Company would be served by not

 paying any fees to the Sponsors.” 604 The Advisory Fee Agreement did not serve Toys “R” Us’

 interests.

         The Advisory Fee Agreement stated that “[e]ach Advisor will provide and devote to the

 performance of this Agreement such partners, employees and agents of such Advisor as it shall

 deem appropriate to the furnishing of the services mutually agreed upon,” and that “no minimum
                                                                             605
 number of hours is required to be devoted by any or all of the Advisors.”         And the Advisory

 Fee Agreement further ensured that the Sponsors would receive the same flat fee payment

 regardless of the services that were actually requested and performed: “[t]he fees and other

 compensation specified in this Agreement will be payable by the Company regardless of the

 extent of services requested by the Company pursuant to this Agreement, and regardless of

 whether or not the Company requests an Advisor to provide any such services.” 606

         This meant that by its terms, the Advisory Fee Agreement allowed the Sponsors to

 perform no work for Toys “R” Us to receive the advisory fee payment in a given quarter. And it

 gave the Sponsors an incentive to perform minimal or no work at all for Toys “R” Us because

 they were guaranteed to receive their advisory fee payment anyway. Instead of tasking

 employees with performing work for Toys “R” Us, the Sponsors had an incentive to use those




 603
     Ex. 70 (Greenspan) ¶354.
 604
     Ex. 70 (Greenspan) ¶354.
 605
     Ex. 169 (Original Advisory Agreement [DEFS_0064739]) at 3.
 606
     Ex. 169 (Original Advisory Agreement [DEFS_0064739]) at 3.
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 employees on projects that actually required deliverables and measurable work product for fees

 to be paid.

           As a result, “it was unreasonable for the Company to enter into the Advisory Agreement

 since its terms were materially tilted to benefit the Sponsors, and it was a breach of fiduciary

 duty by the Defendants to allow the agreement to remain in place without negotiating material

 revisions or seek its termination.” 607 “An advisory agreement that requires the payment of

 millions of dollars in fees to the advisor, but permits the advisor to determine if and to the extent

 it will provide services and requires no work whatsoever to collect those fees, is one that the

 Director Defendants should have recognized as inherently unreasonable.” 608 It posed a high risk

 that Toys “R” Us would receive nothing in value in exchange for the payment of advisory fees.

 But instead of terminating the agreement or reducing the fees to zero, Defendants extended it

 beyond 2015 and caused Toys “R” Us to continue paying advisory fees.

                  2.     The advisory fee payments were not justified by the amount, quality,
                         or value of the services provided and therefore were objectively
                         unreasonable and not in the best interests of the Company.

           In assessing whether the advisory fee payments were in the best interest of the Company,

 they were highly suspect on their face. First, as demonstrated above, the payments were not tied

 to any specific services that the Sponsors were required to provide. There was thus a significant

 risk that there would be few or no services provided in exchange for the payments made by Toys

 “R” Us, because the Sponsors had no incentive to provide services—they were guaranteed their

 payment regardless of hours worked or services provided. Second, as discussed above, each of

 the Directors knew that they already had fiduciary duties to provide services to Toys “R” Us,

 irrespective of any advisory agreement. The Company did not need to pay the Sponsors to have


 607
       Ex. 70 (Greenspan) ¶355.
 608
       Ex. 70 (Greenspan) ¶355.
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 the Directors perform services that the Directors were already required to perform by the

 Directors’ fiduciary duties. Third, these two concerns were heightened because of the six

 Sponsor Directors’ obvious conflicts of interest in decisions regarding the Sponsors that

 appointed them to the board.

          Moreover, the Directors could not reasonably believe the payments were in the best

 interests of the Company because, as shown below, the record before the Directors demonstrated

 that the Company was not receiving any value in exchange for the payments.

                        a.      The Directors had insufficient evidence that advisory services
                                were actually provided by Sponsors to the Company 2014-
                                2017.

          The Advisory Agreement provided that the Sponsors would perform “such services for

 the Company and/or its subsidiaries as mutually agreed by the Advisors and the Company.” 609

 There is “no documentary or other evidence demonstrating that the Company requested or

 agreed that the Sponsor should provide any service to the Company … for the period from 2014-

 2017.” 610 For example, Silverstein testified as follows:

          14     Q. Did -- did Vornado ever enter a
          15 specific written agreement where Toys "R" Us and
          16 Vornado mutually agreed to certain services that
          17 were spelled out and that would be provided by
          18 Vornado to Toys "R" Us on a specific project?
          19     A. Not that I recall.
          20     Q. Did that ever occur between
          21 Toys "R" Us and Bain or KKR?
          22     A. I -- I don't know -- I don't recall,
          23 and I'm not sure I would know if it did or
          24 didn't exist.
          …
          Page 66
          6      Q. Did Vornado and Toys "R" Us ever agree
          7 on a specific deliverable that would be provided
          8 to Toys "R" Us for a specific set of services

 609
       Ex. 169 (Original Advisory Agreement [DEFS_0064739]) at 1 §2.
 610
       Ex. 70 (Greenspan) ¶¶365-366.
                                                201
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        9 that Vornado was providing to Toys "R" Us?
        10      A. Nothing specific that I recall.
 Ex. 80 (Silverstein depo.) 65:14 – 66:10.

           Furthermore, “[o]ne would generally expect that if multi-million dollars’ worth of

 services were provided over multiple years by a company with which a Sponsor Director had a

 relationship, he/she would be readily aware and knowledgeable of such services. And one would

 further expect that such services would be documented in some form.” 611 But there is no

 “documentary evidence demonstrating that a Sponsor provided any advisory services to the

 Company, in particular for the period from 2014-2017.” 612

           Defendant Silverstein testified:

        15      Q. Do you have a -- any recollection of
        16 hearing about any services that were provided by
        17 Vornado to Toys "R" Us during the time period
        18 from 2014 through 2017?
        19      MR. SEFICK: Objection to form. Asked
        20      and answered.
        21      A. I have nothing further to add.
        22      Q. Did you hear about any services that
        23 were provided by KKR to Toys "R" Us during the
        24 time period from 2014 to 2017?
        25      A. I have no recall as to what KKR or
        Page 55
        1 Bain did specifically.
        2       Q. Did you hear about any services that
        3 were provided by either Bain or KKR to
        4 Toys "R" Us during the time period 2014 to 2017?
        5       MR. SEFICK: Objection to form.
        6       A. I have no recollection.
 Ex. 80 (Silverstein depo.) 54:15 – 55:6.




 611
       Ex. 70 (Greenspan) ¶366.
 612
       Ex. 70 (Greenspan) ¶366.
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                          b.      The Directors had insufficient evidence of the value of advisory
                                  services provided by Sponsors to the Company 2014-2017.

           For the Directors to reasonably believe the advisory payments were in the best interest of

 the Company they would need to understand the value of those services, and the relationship

 between fees paid and services provided. But the Directors had no “documentation

 demonstrating the fair market value of any advisory services provided to the Company by a

 Sponsor.” 613

           “Although the Company was paying millions of dollars in fees to the Sponsors each year,

 it appears the Directors made no effort to audit or assess the quantity, nature, or value of

 advisory services provided to the Company from the Sponsors. 614 For example, Silverstein

 testified:

        21      Q. Was there ever an audit done of the
        22 services provided by Bain, KKR or Vornado to
        23 Toys "R" Us to determine, in the preceding year
        24 or five years, the amount of the services and
        25 their value to Toys “R” Us
        1       A. I'm -- I'm sorry, an audit done by
        2 whom? Which party?
        3       Q. By anyone.
        4       A. Not that I'm aware of.
        5       Q. Did the board of directors ever
        6 receive a report identifying the quantity and
        7 nature and value of the services that had been
        8 provided by Bain or KKR or Vornado to
        9 Toys "R" Us?
        10      A. Not that I recall.
 Ex. 80 (Silverstein) 66:21 – 67:10.

           Furthermore, “the payment of multi-million-dollar consulting fees is typically tied to

 specific services or workstreams that will be provided. This allows for the company hiring a

 consultant to periodically evaluate whether the payment of those fees is appropriate and creating


 613
       Ex. 70 (Greenspan) ¶367.
 614
       Ex. 70 (Greenspan) ¶368.
                                                  203
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 value for the company. And … companies typically re-evaluate those fees in the context of other

 retained advisors or advisory services.” 615 But for “the advisory fees paid by Toys ‘R’ Us to the

 Sponsors, there is no indication that the advisory fees were ever tied to specific services or levels

 of services.” 616

         Furthermore, the Sponsors were willing to provide those purported services regardless of

 the amount of money the Sponsors received. Although the required fees changed dramatically

 over the years, Silverstein testified that as the fees changed the Sponsors “did the same thing

 with or without the fees.” 617 “The reasonable inference is that Bain, KKR, and Vornado were

 not actually providing such services to the Company.” 618

                 3.     The Director Defendants abdicated their fiduciary duties to consider
                        material information and alternatives.

         The Director Defendants knew that when making decisions about a transaction, they

 needed to ensure that they were making that decision only after gathering and considering all

 reasonably available material information. And they needed to consider alternatives. They

 failed to do either.

         The payments to the Sponsors should have been highly suspect for several reasons. First,

 the payments were not tied to any specific services that the Sponsors were required to provide.

 There was thus a significant risk that there would be few or no services provided in exchange for

 the payments made by Toys “R” Us, because the Sponsors had no incentive to provide

 services—they were guaranteed their payment regardless of hours worked or services provided.

 Second, as discussed above, each of the Directors knew that they already had fiduciary duties to



 615
     Ex. 70 (Greenspan) ¶369.
 616
     Ex. 70 (Greenspan) ¶370.
 617
     Ex. 80 (Silverstein depo) at 81:9-15; id. at 97:14-98:12.
 618
     Ex. 70 (Greenspan) ¶371.
                                                 204
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 provide services to Toys “R” Us, irrespective of any advisory agreement. If the advisory fee

 agreement was duplicative of the services already required by the Directors’ fiduciary duties, it

 would not create any additional value to the Company. Third, these two concerns should have

 been heightened by the six Sponsor Directors’ obvious conflicts of interest in decisions regarding

 the Sponsors that appointed them to the board.

           To comply with their fiduciary duties in light of the above concerns, Defendants needed

 to assess all reasonably available material information to determine whether the advisory fee

 payments were actually in the best interests of Toys “R” Us. They needed to determine what

 services were actually being provided by the Sponsors, and whether the value of those services

 was equal to the price Toys “R” Us was paying for them. They needed to evaluate whether those

 services were duplicative of services already being performed by Toys “R” Us directors,

 employees, or other advisors hired by Toys “R” Us. They needed to assess whether those

 services could be obtained by paying less money to other advisors. And they needed to ensure

 that these assessments were performed by disinterested, rather than conflicted, directors. The

 Directors did none of these things.

                          a.     The Directors did not consider what services were provided or
                                 the value of those services.

           A prerequisite to being able to assess the value of services provided under the Advisory

 Fee Agreement is to determine what services were actually provided. The Directors failed to

 take even that basic step.

           As demonstrated above, there is no evidence that any of services were ever provided

 under the Advisory Fee Agreement. There is no documentation whatsoever of any services
                                                                   619
 provided by Bain, KKR, or Vornado between 2005 and 2017.                And the Directors never made


 619
       Ex. 80 (Silverstein depo.) 65:14-24, 66:6-10, 73:19-74:7.
                                                  205
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 any effort to assess whether any services were provided under the advisory agreement or the

 value of those services. There was no audit of the services provided by Bain, KKR or Vornado

 to “determine, in the preceding year or five years, the amount of the services and their value to

 Toys “R” Us.” 620 Without knowing the services (if any) that were provided, the number of

 hours worked by Sponsor employees on particular projects, or the deliverables that each Sponsor

 provided in exchange for payment, there was no possible way for the Directors to conclude that

 the payment of advisory fees was a transaction that was in the best interest of the Company.

           As demonstrated above, if the Directors had performed an analysis of the value received

 for the advisory fee payments, they would have seen no correlation between the amount of fees

 paid and the purported levels of service provided. And they therefore would have seen

 compelling evidence that the payment of advisory fees was not providing any additional value to

 the Company.

                          b.     The Directors did not consider whether the services were
                                 duplicative of other services already being provided to Toys
                                 “R” Us.

           Considering whether the same services listed in the Advisory Fee Agreement were

 already being provided to Toys “R” Us was a material fact. If a company pays for the same

 service twice, it is losing money and not gaining value because the company is unnecessarily

 paying for a duplicative service. Thus, to evaluate whether a transaction is in the interests of the

 company, a director must to assess whether that transaction is providing value rather than a

 merely duplicative service. If the services in the Advisory Fee Agreement were already being

 provided to Toys “R” Us from other sources, Toys “R” Us would receive no value from paying

 for those same services in the Advisory Fee Agreement.



 620
       Ex. 80 (Silverstein depo.) 66:21-67:4.
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         The Directors did not obtain information showing whether the services in the Advisory

 Fee Agreement were duplicative of those already being provided. Had they done so, they would

 have determined that all of the services listed in the Agreement were already being performed by
                                                                 621
 a combination of Toys “R” Us employees and outside advisors.

         Toys “R” Us employees provided many of the services detailed in the Advisory Fee

 Agreement. The Advisory Fee Agreement services included “general executive and

 management services,” “finance functions,” “real estate functions,” “marketing functions,” and

 “human resources functions.” 622 As Defendants confirmed, each of these services was already

 being provided by Toys “R” Us employees. Toys “R” Us had “executives and employees who

 fulfilled the function of providing general executive and management services.” 623 It had

 “employees and managers who performed finance functions, real estate functions, marketing

 functions, and human resources functions.” 624 And Toys “R” Us was already paying those

 employees to perform those functions. 625 The Directors did not evaluate whether these services

 were entirely duplicative of those in the Advisory Fee Agreement.

         Other services were duplicative of the work that other outside advisors were being paid to

 do for Toys “R” Us. The Defendants were aware that other outside advisors were performing

 work for Toys “R” Us during the same time period that Toys “R” Us was paying advisory

 fees. 626




 621
     Ex. 70 (Greenspan) ¶374.
 622
     Ex. 169 (Original Advisory Agreement [DEFS_0064739]) at 2-3.
 623
     Ex. 80 (Silverstein depo.) 58:4-11.
 624
     Ex. 80 (Silverstein depo.) 59:23-60:2.
 625
     Ex. 80 (Silverstein depo.) 60:4-7.
 626
     See Ex. 80 (Silverstein depo.) 61:9-62:5.
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        For example, the potential services listed in the Advisory Fee Agreement included

 “analysis of acquisitions and dispositions” and “negotiation and analysis of financing
                  627
 alternatives.”         Other advisors were already hired by Toys “R” Us to perform these functions.

 For example, Blackstone Advisory Partners L.P. was retained by Toys “R” Us in 2014 to provide
                                                           628
 valuation, financial modeling, and structuring advice.          And Sullivan & Cromwell LLP was

 retained to evaluate “options for refinancing” and “legal alternatives to increase equity value.”
 629


        Defendants did not evaluate whether and to what extent these services were entirely
                                                                         630
 duplicative of those contemplated by the Advisory Fee Agreement.              And they made no

 attempt to determine whether the services listed in the Advisory Fee Agreement could be

 “provided more cost effectively by outside advisors.” 631

        Failing to assess whether the services provided were duplicative was a knowing

 abdication of the directors’ fiduciary duty to assess material information. And without such a

 conclusion, it was a breach of the Directors’ fiduciary duty to pay the advisory fees.

                            c.     The Directors did not consider whether payment was required
                                   to ensure that services were provided by the Sponsors and
                                   Sponsor directors.

        Defendants further needed to analyze whether payment for the services contemplated by

 the Advisory Fee Agreement was superfluous; if Defendants were already required to provide

 services for Toys “R” Us at no cost to Toys “R” Us, it would be irrational for the Company to

 make payments for those services.



 627
     Ex. 169 (Original Advisory Agreement [DEFS_0064739]) at 2-3.
 628
     Ex. 70 (Greenspan) ¶381.
 629
     Ex. 70 (Greenspan) ¶384.
 630
     Ex. 70 (Greenspan) ¶387.
 631
     Ex. 80 (Silverstein depo.) 66:12-20.
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        Defendants did not perform this analysis. If they had done so, they would have

 determined that the Sponsor Directors and Sponsors were already obligated to provide services

 to Toys “R” Us.

        The Sponsor Directors were already required by their fiduciary duties to provide services

 to Toys “R” Us in their roles as directors. They would “devote time to reading materials,

 conducting analysis, setting the strategic course of the company, considering and voting on key

 decisions, and selection, review of the performance, and compensation of the CEO.” 632 Those

 actions were “customary duties that are expected to be provided by any individual serving as a

 board member,” and “not advisory services under the Advisory Agreement.” 633

        Moreover, each of the Sponsor Directors, and the Sponsors themselves, had an obligation

 to manage the Toys “R” Us investment to the best of their ability based on their duties as fund

 managers. “Toys “R” Us was held in Bain’s VIII fund, KKR’s Millennium Fund, and in

 Vornado Truck LLC.” 634 Each of the Sponsors received payments from investors to manage the

 holdings in those funds. 635 Defendants’ obligations as executives at the Sponsor companies

 included “fiduciary responsibilities … to manage all investments to the best of [their]

 abilities.” 636 One of those investments was Toys “R” Us.   637
                                                                   When employees of the Sponsors

 performed work related to Toys “R” Us, they did so in fulfillment of their duties to the holders of

 the investment funds. For example, when KKR employees created a performance summary for




 632
     Ex. 70 (Greenspan) ¶361.
 633
     Id.
 634
     Ex. 70 (Greenspan) ¶362; Ex. 65 (2017 TRU 10k) at 140-141.
 635
     Ex. 70 (Greenspan) ¶363.
 636
     Ex. 80 (Silverstein depo.) 104:9-21.
 637
     Id.
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 Toys “R” Us and calculated the equity value of Toys “R” Us, they did so because “they were

 paid by the funds as their investment fund manager.” 638

        By failing to even consider whether the services being paid for in the Advisory Fee

 Agreement were already required by other duties to Toys “R” Us, the Directors knowingly

 abdicated their duty to consider material information in evaluating the payment of advisory fees.

                4.     The Directors abdicated their fiduciary duty to ensure that decisions
                       were made by disinterested directors.

        A breach of the duty of good faith occurs “[w]here directors fail to act in the face of a

 known duty to act.” Stone v. Ritter, 911 A.2d 362, 370 (Del. 2006). As discussed above,

 Defendants knew they had a duty to ensure that decisions were made by disinterested directors

 who did not have conflicts of interest. And each Director Defendant knew that each of the

 Sponsor Directors had conflicts of interest in making decisions about advisory fees because the
                                                                                             639
 Sponsor Directors were appointed by, and represented the interests of the three Sponsors.

 The Directors’ fiduciary duties meant they could not stand by and simply allow decisions about

 the advisory fees to be made by interested directors.

        As demonstrated above, decisions about advisory fee payments were not delegated to

 Goodman as an independent director or to an independent committee set up for these purposes.

 Instead, the advisory fee agreements stayed in place, and the Sponsor Directors were the ones

 signing the agreements on behalf of the Sponsors. Thus, the Directors knowingly abdicated their

 duty to ensure that disinterested directors were making decisions about the advisory fee

 payments.




 638
    Ex. 70 (Greenspan) ¶364.
 639
    Ex. 80 (Silverstein depo.) 93:25-94:11; Ex. 65 (2017 Form 10-K) at 145-46; Ex. 68 (Form 10-
 K 2015) at 115, 131-32.
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         C.     Defendants’ decision to allow the Company to make payments to Bain, KKR,
                and Vornado violated their fiduciary duty of care.

         A director violates the duty of care when the director’s actions or inactions amount to

 “conduct that constitutes reckless indifference or actions that are without the bounds of reason.”

 McPadden v. Sidhu, 964 A.2d 1262, 1274 (Del. Ch. 2008). The evidence demonstrating that the

 Directors breached their duty of good faith by abdicating their duties and entering into

 transactions that they knew were not in the best interests of Toys “R” Us establishes “conduct

 that constitutes reckless indifference.” Thus, the Defendant Directors breached their duties of

 care in paying advisory fees to the Sponsors.

         D.     Defendants cannot demonstrate that their actions meet the entire fairness
                standard.

         “A breach of either the duty of loyalty or the duty of care rebuts the presumption that the

 directors have acted in the best interests of the shareholders, and requires the directors to prove

 that the transaction was entirely fair.” Cede & Co. v. Technicolor, 634 A.2d 345, 371 (Del.

 1993)

         Under the entire fairness standard “the defendants must establish … that

 the transaction was the product of both fair dealing and fair price.” Basho Techs. Holdco B, Ltd.

 Liab. Co. v. Georgetown Basho Inv’rs, Ltd. Liab. Co., No. 11802-VCL, 2018 Del. Ch. LEXIS

 222, at *80-81 (Ch. July 6, 2018) (internal quotes omitted). The “fair dealing” aspect concerns

 the process by which the transaction was approved. Id. at *82. The “fair price” aspect concerns

 the economic value. Id. A “fair price” means “obtaining the highest value reasonably available

 to the shareholders under all the circumstances.” Mills Acquisition Co. v. MacMillan, Inc., 559

 A.2d 1261, 1280 (Del. 1989).

         Although Defendants have the burden of proving entire fairness, in their motion for

 summary judgment, Defendants make no attempt to demonstrate that the payment of advisory

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 fees satisfies the entire fairness standard. And “where the movant fails to fulfill its initial burden

 of providing admissible evidence of the material facts entitling it to summary

 judgment, summary judgment must be denied, even if no opposing evidentiary matter is

 presented, for the non-movant is not required to rebut an insufficient showing.” Ray Communs.,

 Inc. v. Clear Channel Communs., Inc., 673 F.3d 294, 299-300 (4th Cir. 2012).

           Moreover, as demonstrated above, the decision to pay advisory fees was not the product

 of “fair dealing,” because the Sponsor Directors and Brandon had conflicts of interest, and

 because Defendants undertook no process to evaluate whether paying advisory fees was

 appropriate or in the interests of Toys “R” Us. And for “fair price,” as demonstrated above, there

 is no evidence of any services that Toys “R” Us received from the Sponsors in exchange for the

 advisory fees, much less that any services were “the highest value reasonably available” for the

 millions that Toys “R” Us paid.

           Thus, because Defendants “cannot demonstrate fairness as to process or price,” they

 cannot demonstrate that the payment of advisory fees meets the entire fairness standard. Basho,

 2018 Del. Ch. LEXIS 222, at *92 (Ch. July 6, 2018).

           E.     The Director Defendants’ breach of their fiduciary duties caused harm to
                  Toys “R” Us.

           By failing to comply with their fiduciary duties in allowing Toys “R” Us to pay advisory

 fees to the Sponsors, the Defendant Directors caused Toys “R” Us losses. This was a “diversion
                                                                      640
 of assets from Toys ‘R’ Us for the benefit of the three Sponsors.”

           In total, between Q4 2014 and Q1 2017, the Directors’ breaches of fiduciary duty in

 authorizing the payment of advisory fees caused Toys “R” Us losses of $17,863,110. 641



 640
       Ex. 70 (Greenspan) ¶352.
 641
       Ex. 135 (Mills) ¶31.
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        F.      Defendants’ arguments fail.

        Defendants make no attempt to argue that the advisory fee agreements were supportable

 or justifiable. Instead, they raise three arguments that misstate the law and ignore the facts. We

 rebut each in turn.

                1.     Defendants’ “solvency justifies payments” argument fails.

        Defendants assert that “as long as a company is not insolvent” that Company’s board

 members “can take actions that benefit the owners to the detriment of the company.” Mot. at 27-

 28. Defendants’ argument fails.

        Defendants’ premise holds only when there are no minority shareholders in a company

 and the owners own 100% of the company’s equity. “A transfer of value from a solvent

 subsidiary to the holder of 100% of the equity cannot give rise to a fiduciary wrong.” Quadrant

 Structured Prods. Co. v. Vertin, 102 A.3d 155, 184 (Del. Ch. 2014) (emphasis added) (cited at

 Mot. 27); Official Comm. of Unsecured Creditors v. Meltzer, 589 B.R. 6, 27 (D. Me. 2018)

 (cited at Mot. 27) (“directors of a solvent wholly-owned subsidiary” may “serve its parent’s

 interest”) (emphasis added).

        By contrast, when minority shareholders are present, the directors have “a fiduciary duty

 to the corporation and to its minority shareholders if the majority shareholder dominates the

 board and controls the corporation.” In re Reading Co., 711 F.2d 509, 517 (3d Cir. 1983). And

 when payments are “in essence self-dealing” by majority shareholders to “the exclusion of and

 detrimental” to “minority stockholders,” a violation of this fiduciary duty is presumed. Sinclair

 Oil Corp. v. Levien, 280 A.2d 717, 721 (Del. 1971); see Frederick Hsu Living Tr. v. ODN

 Holding Corp., No. 12108-VCL, 2017 Del. Ch. LEXIS 67, at *102 (Ch. Apr. 14, 2017).

        The Sponsors did not own 100% of the equity. As discussed above, there were 300

 minority shareholders that owned roughly 2% of Toys “R” Us’ equity. Because of the presence

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 of those shareholders, the Sponsor Directors could not authorize self-dealing transactions that

 paid the Sponsors and extracted value from the Company, whether or not Toys “R” Us was

 solvent.

        Moreover, whether Toys “R” Us was solvent is a disputed material issue of fact.

 Defendants assert that “to survive summary judgment, the Trust would have to show that there is

 a material issue of fact regarding TRU’s insolvency.” Mot. at 28. And Defendants then claim

 that their “expert conducted a detailed solvency analysis” and that “no other evidence in the

 record” supports a conclusion of insolvency, there is no disputed issue of material fact. Mot. At

 28. Defendants’ contention fails.

        That Defendants’ expert prepared a solvency analysis does not compel the conclusion at

 summary judgment that Toys “R” Us was solvent. Rather, it is one piece of evidence that must

 be assessed by the finder of fact at trial. The Trust’s expert highlighted multiple flaws with

 Defendants’ expert’s solvency analysis, including that he relied on “unrealistic projections” by

 management, failed to “subject [management’s] assumptions and resulting projections to any

 meaningful scrutiny,” and ignored “the equity valuations of Toys “R” Us performed by the

 Sponsors.” 642 Defendants’ expert testimony on solvency is thus not an undisputed material fact.

        Further, multiple pieces of evidence prove that Toys “R” Us was not solvent. The Trust’s

 expert marshalled evidence demonstrating that the Sponsors themselves, who are “arguably the

 people who know the company best and are incentivized to conclude there is equity” concluded
                                         643
 that Toys “R” Us had no equity value.



 642
     Ex. 70 (Greenspan) ¶¶395-401.
 643
     Ex. 70 (Greenspan) ¶¶399-401; Ex. 70 (Greenspan) ¶¶163-165; Ex. 79 (Taylor depo.) 170:10-
 21 (testifying that KKR’s internal valuation of “KKR’s investment in Toys ‘R’ Us” as of
 September 2017 showed that “our equity had no value”); Ex. 79 (Taylor depo.) 167:2-24
 (testifying that KKR calculated that Toys ‘R’ Us had debt of $4.7 billion but an enterprise value
                                                 214
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           First, the presence of a contract does not absolve directors of fulfilling their fiduciary

 duties. As the case that Defendants themselves cite makes clear, “the fact that a corporation is

 bound by its valid contractual obligations does not mean that a board does not owe fiduciary

 duties when considering how to handle those contractual obligations.” Frederick Hsu Living Tr.

 v. ODN Holding Corp., 2017 Del. Ch. LEXIS 67, at *53 (Del. Ch. Apr. 14, 2017). If

 Defendants’ premise were true, directors could freely make payments to majority shareholders

 without considering minority shareholders, alternatives, or the best interests of the corporation,

 as long as the parties entered a contract. One way to handle the contractual obligations imposed

 under the Advisory Fee Agreement was to attempt to renegotiate those fees to zero. Indeed, the

 amount of advisory fees paid was altered several times between 2005 and 2015, indicating that

 such renegotiation could be done and that Defendants knew this. 647 And the Sponsor Directors

 were in positions of influence at the Sponsor companies and could have attempted to renegotiate.

           Second, a contractual obligation between 2005 and the first quarter of 2015 does not

 excuse the Directors’ breaches of fiduciary duties between Q2 2015 and Q1 2017. The directors

 could have instructed Toys “R” Us to issue a notice of termination and the agreement would not

 have been renewed on July 20, 2015. Nothing in the contract obligated Toys “R” Us to renew

 the agreement. And in determining to renew the contract, the Directors breached their fiduciary

 duties. As discussed above, the Directors breached those duties by failing to delegate the

 renewal decision to disinterested directors, and utterly failing to perform any analysis of whether

 renewing the agreement would be in Toys “R” Us’ best interest. Those breaches are not excused

 by the presence of an expired contract.




 647
       Ex. 70 (Greenspan) ¶371.
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                  3.    Defendants’ “acquiescence” argument fails.

        Defendants assert that “[a] party with access to knowledge of actions that take place

 regularly for years, who lodges no objection to those actions, when an objection easily could

 have been made” cannot challenge those actions and “is estopped from later claiming that those

 actions were breaches of fiduciary duty.” Mot. at 29. This argument fails on all counts.

        First, Defendants’ argument fails because the Trust is not “a party with access to

 knowledge” that “easily could have” objected to the advisory fee agreements. The Trust was not

 in existence at the time that the advisory fee payments were being made, and thus neither knew

 about nor could challenge those payments. Mot. at 29. The Trust was not established until after

 Toys “R” Us liquidated. And, as discussed above, the Trust is not the successor to any party that

 could have challenged those payments—instead, it is a successor to Toys “R” Us Inc. and Toys

 “R” Us Delaware. The Trust thus could not have acquiesced to the advisory fee payments as a

 matter of law.

        Second, Defendants have failed to prove each of the elements of an affirmative defense

 of acquiescence. To prevail on an affirmative defense at the summary judgment stage,

 Defendants bear the burden of proving each of the elements of that defense. To do so,

 Defendants must show that (1) a party with “full knowledge” of a transaction, (2) “accept[ed] the

 benefits of [the] transaction,” and (3) “thereafter attack[ed] the same transaction.” Staples v.

 Billing, Civil Action No. 11339, 1994 Del. Ch. LEXIS 10, at *37 (Ch. Jan. 31, 1994).

        Defendants offer no evidence whatsoever for the latter two elements. They identify no

 party that accepted the benefits of the advisory fees that later attempted to challenge that

 transaction. Indeed, Defendants fail to provide evidence of any benefit whatsoever that resulted

 from the Advisory Fee Agreement. And as discussed above, there was none.



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           “Where, as here, the movant seeks summary judgment on an affirmative defense, it must

 conclusively establish all essential elements of that defense.” Ray Communs., Inc. v. Clear

 Channel Communs., Inc., 673 F.3d 294, 299-300 (4th Cir. 2012). And “where the movant fails

 to fulfill its initial burden of providing admissible evidence of the material facts entitling it

 to summary judgment, summary judgment must be denied, even if no opposing evidentiary

 matter is presented, for the non-movant is not required to rebut an insufficient showing.” Id.

           For the “full knowledge” element, Defendants claim that Toys “R” Us “regularly

 disclosed the advisory fees as Related Party Transactions.” Mot. at 29-30. But these disclosures

 do not suggest that any party had “full knowledge” of the advisory fees. Indeed, the description

 of Advisory Fees in Toys “R” Us’ 10-K agreements makes no mention of the key facts—that no

 services were actually being provided beyond what the Directors were already obligated to do for

 the company, that no analysis was performed on whether the advisory fee payments were

 reasonable, and that the services were entirely duplicative of other services already being
             648
 provided.         The first time that a party had full knowledge of these facts was when the Trust

 learned of them in investigating Defendants’ misconduct.

 VII.      Defendants are liable for fraudulent concealment.

           Defendants made (and caused to be made) representations of fact to Trade Vendors

 commencing on September 18, 2017, and continuing until March 14, 2018, when the Company

 announced it was liquidating. These representations were made for the purpose of inducing the

 Trade Vendors to ship goods on credit to Toys “R” Us during the bankruptcy. Central to those

 representations was that Toys “R” Us had received over $3 billion in DIP financing, that the

 financing would be available to pay vendors during the restructuring process, and that the


 648
       Ex. 68 (Form 10-K 2015) at 101-102.
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 financing gave Toys “R” Us the liquidity to pay vendors for goods shipped on credit during the

 restructuring period. In reliance on these representations, Trade Vendors shipped goods to Toys

 “R” Us on credit.

        From the beginning, Defendants knew these representations were misleading (overstating

 both the amount of DIP financing and its availability). And within weeks, Defendants knew that

 the Company’s sales and margins were far lower than would be needed to comply with the

 financial covenants in the DIP financing. By December 13, 2017, Defendants knew that the

 Company was projecting to default on the DIP financing, and therefore lacked the ability to pay

 for goods shipped on credit. Defendants also knew that Trade Vendors did not have this

 information, and that Trade Vendors would stop shipping goods on credit if they knew the truth.

        Defendants did not direct the Company’s employees to stop ordering goods on credit.

 And they did not disclose the truth to Trade Vendors. Instead, Defendants concealed the truth

 and made additional misrepresentations to Trade Vendors reassuring them that the Company had

 access to over $3 billion in DIP financing, that it had the ability to pay for all goods shipped on

 credit, and that the Company was focused on emerging from bankruptcy. This continued as the

 Company’s financial situation spiraled downward right up to the announcement of the

 Company’s liquidation on March 14, 2018.

        As a result of Defendants’ fraudulent concealments and representations, Trade Vendors

 lost hundreds of millions of dollars.

        A.      The law of fraudulent concealment

                1.      Choice of law: The tort claims of each Trade Vendor are governed by
                        the law of the state where that vendor is located, not by New York
                        law.

        The parties agree that because this case was transferred from the Southern District of

 New York, New York’s choice of law principles apply. Mot. 32 (citing Ferens v. John Deere

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 Co., 494 U.S. 516, 519 (1990). Defendants assert that “New York’s choice-of-law rules require

 the application of New York substantive law to tort claims like fraud and negligent

 misrepresentation” because “there is significant overlap between the law of New York and that

 of other states that have an interest in the tort claims.” Mot. 32. This is incorrect. New York

 choice of law rules require the Court to apply the law of the state where each Trade Vendor was

 located.

                        a.      There is an actual conflict between the tort laws of different
                                states.

        “In New York . . . the first question to resolve in determining whether to undertake a

 choice of law analysis is whether there is an actual conflict of laws. Curley v. AMR Corp., 153

 F.3d 5, 12 (2d Cir. 1998) (citing Allstate Ins. Co. v. Stolarz, 81 N.Y.2d 219, 223 (1993)). “If the

 applicable law from each jurisdiction provides different substantive rules, a conflict of laws

 analysis is required.” Id. Notably, the “party seeking application of non-[New York] law is not

 required . . . to demonstrate that its case would be lost were the court to apply [New York] law.

 Such a requirement would be absurd.” Fin. One Pub. Co. v. Lehman Bros. Special Fin., Inc.,

 414 F.3d 325, 331 (2d Cir. 2005).

        Contrary to Defendants’ assertions, the laws of New York and of the Vendors’ home

 states “provide[] different substantive rules” relevant to this case, thus requiring the Court to

 engage in a choice of law analysis. Curley v. AMR Corp., 153 F.3d 5, 12 (2d Cir. 1998). For

 example, to “state a claim for negligent misrepresentation under New York law, the plaintiff

 must allege that . . . the defendant had a duty as a result of a special relationship, to give correct

 information.” Anschutz Corp. v. Merrill Lynch & Co., 690 F.3d 98, 114 (2d Cir. 2012)

 (emphasis added). By contrast, California (where the largest number of Vendors is located) does

 not require a special or privity-like relationship. B.L.M. v. Sabo & Deitsch, 55 Cal. App. 4th


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 823, 843 (1997) (listing the elements of negligent misrepresentation); Cal. Civ. Code §§ 1709-

 1710. Similarly, many of the Trade Vendors’ jurisdictions follow the Restatement (Second) of

 Torts, which does not include the requirements of New York law. Restatement (Second) of Torts

 §552(1). “Because New York law requires a plaintiff to plead the existence of a special

 relationship, while [these other states’ law] does not, a clear conflict exists.” Flatiron

 Acquisition Vehicle, LLC v. CSE Mortg. LLC, No. 1:17-cv-8987-GHW, 2019 U.S. Dist. LEXIS

 43682, at *50 (S.D.N.Y. Mar. 17, 2019).

        Accordingly, the Court must engage in a choice-of-law analysis to resolve this conflict.

                        b.      The law of the Trade Vendors’ home states governs the Trust’s
                                tort claims.

        Under New York’s choice of law rules, when “conduct-regulating laws are at issue, the

 law of the jurisdiction where the tort occurred will generally apply.” Padula v. Lilarn Props.

 Corp., 84 N.Y.2d 519, 522 (N.Y. 1994); Sack v. Low, 478 F.2d 360, 366 (2d Cir. 1973) (“New

 York courts … hold that the cause of action accrues where the loss is suffered.”); Daiuto v.

 Evolve Guest Controls, LLC, No. 17-CV-1279 (NGG) (JO), 2020 U.S. Dist. LEXIS 38689, at *6

 (E.D.N.Y. Mar. 4, 2020). Legal rules are conduct-regulating when they have the “effect of

 governing conduct to prevent injuries from occurring.” Padula v. Lilarn Props. Corp., 84

 N.Y.2d 519, 522 (1994).

        Here, the Trust is alleging claims based on fraud and negligent misrepresentation, both of

 which are legal rules intended to prevent injuries from occurring, and are therefore conduct-

 regulating. Antipodean Domestic Partners, LP v. Clovis Oncology, Inc., 2018 NY Slip Op

 30809(U), ¶ 28 (Sup. Ct. 2018) (“negligent misrepresentation . . . is a conduct-regulating rule”);

 Vandashield LTD v. Isaacson, 2015 NY Slip Op 31782(U), ¶ 21 n.18 (Sup. Ct. 2015) (holding

 that fraud is “a conduct-regulating body of tort law”); Abu Dhabi Inv. Auth. v. Citigroup, Inc.,


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 2013 U.S. Dist. LEXIS 30214, at *22 n.9 (S.D.N.Y. Mar. 4, 2013) (“Fraud and negligent

 misrepresentation are conduct-regulating rules.”); Mark Andrew of the Palm Beaches, Ltd. v.

 GMAC Commercial Mortgage Corp., 265 F. Supp. 2d 366, 378 (S.D.N.Y. 2003) (noting that

 fraud and negligent misrepresentation are conduct regulating), aff’d, 96 F. App’x 750 (2d Cir.

 Apr. 22, 2004);

        Thus, the law of the place of the tort applies, which “is considered to be the place where

 the last event necessary to make the actor liable occurred.” Schultz v. Boy Scouts of Am., 65

 N.Y.2d 189, 195 (N.Y. 1985).

        Here, the last event necessary to make the Defendants liable was the Trade Vendors

 relying on the false information provided by Defendants. Reliance is a required element of both

 fraud and negligent misrepresentation. Kurtz v. Foy, 65 A.D.3d 741, 743 (App. Div. 3rd Dept.).

 Thus, an actor is not liable until the victim acts in reliance—which occurs where the victim is

 located. J.A.O. Acquisition Corp. v. Stavitsky, 745 N.Y.S.2d 634, 639 (Sup. Ct. 2001) (“fraud

 claims are governed by the law of the place of injury” which is “where plaintiffs are located”);

 Conner v. Kira Int’l, Inc., No. 13 CV 417 (ARR) (LB), 2015 U.S. Dist. LEXIS 102813, at *9

 (E.D.N.Y. July 14, 2015) (holding that for fraud claims, the loss is suffered “where the plaintiff

 is located.”); Geron v. Seyfarth Shaw LLP, 736 F.3d 213, 220 n.7 (2d Cir. 2013) (“When a

 person sustains loss by fraud, the place of wrong is where the loss is sustained.”). Accordingly,

 the tort claims assigned to the Trust are governed by the laws of the states where each Trade

 Vendor was located when it acted in reliance on Defendants’ false statements—not by New York

 law. See, e.g., Lewis Tree Serv. v. Lucent Techs., Inc., 211 F.R.D. 228, 237 (S.D.N.Y. 2002)

 (applying New York choice of law rules to conclude that the “fraud alleged in this lawsuit arose




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 in all fifty states, and their laws would be applied to the fraud claims”); Hughes v. Ester C Co.,

 317 F.R.D. 333, 352 (E.D.N.Y. 2016) (same for negligent misrepresentation).

                         c.      The states with most relevant vendors include California,
                                 Connecticut, Georgia, Rhode Island, Florida, and Illinois.

         The greatest quantity of claims—whether measured by number of Trade Vendors or

 amount of losses— are those assigned from California-based Trade Vendors, such as Mattel.

 There is only one Trade Vendor, Delta Enterprises, that operated out of New York and that is

 therefore subject to the peculiar requirements of New York law.

         Each of the Trade Vendors below testified that they are headquartered in and made their

 shipping decisions in a state other than New York. The chart below shows the Trade Vendors in

 the most relevant states, the amount of their claimed loss, and testimony from the Trade

 Vendor’s 30(b)(6) witness about where the company is headquartered and made decisions. The

 laws of the below states are the ones most relevant to this action, and are thus the ones cited by

 the Trust in its opposition brief.

 California

     •   Mattel

     •   McColgan 197:21-198:20

     •   $42,728,378


     •   Jakks Pacific

     •   Cooney 121:9-14

     •   $9,898,499


     •   MGA

     •   Elliott 242:18-243:5

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   •   $8,291,976


   •   Munchkin

   •   Sikand 263:23-264:10

   •   $3,184,195


   •   Bandai

   •   Ciminera 144:21-145:5

   •   $2,136,292


   •   Funrise

   •   Stone 88:3-4, 90:17-21, 91:19-22

   •   $1,263,524


   •   Warner Bros

   •   Gamble 207:10-22

   •   $1,087,659


   •   Merch Source

   •   Wysocki 126:14-21

   •   $922,878


   •   Jada Toys

   •   Simons 249:24-250:8

   •   $793,485


   •   Skyrocket Toys

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     •      Ardell, 177:21-178:10

     •      $482,660


 Georgia

     •      Graco

     •      Brinkmeier 132:15-21

     •      $37,180,065


     •      Kids II

     •      Calhoun 11:10-16

     •      $6,271,849


 Connecticut

     •      LEGO Group

     •      Kodak 257:16-24, 258:15-259:2

     •      $22,215,747


 Rhode Island

     •      Hasbro

     •      Glenn 7:3-5

     •      $16,109,150


 Illinois

     •      RR Donnelley

     •      Elliott 121:16-122:6

     •      $7,227,475

                                              225
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    •   Learning Resources

    •   Woldenberg 188:16-189:2

    •   $1,837,953


    •   LSC

    •   Pevonka 250:11-18

    •   $1,642,942


 Florida

    •   Jazwares

    •   Zebersky 158:23-159:4, 159:10-11

    •   $3,312,127


    •   Just Play

    •   Emby 254:11-24

    •   $2,207,573


    •   Basic Fun

    •   Foreman 208:15-20

    •   $1,841,009


                2.      Elements of fraudulent concealment.

        “The elements of a claim for fraudulent concealment require the plaintiff to show that:

 (1) the defendant … concealed or suppressed a material fact, (2) the defendant [was] under a

 duty to disclose the fact to the plaintiff, (3) the defendant … intentionally concealed or

 suppressed the fact with the intent to defraud the plaintiff, (4) the plaintiff [was] unaware of the

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 fact and would not have acted as he did if he had known of the concealed or suppressed fact, and

 (5) as a result of the concealment or suppression of the fact, the plaintiff must have sustained

 damage.” Prakashpalan v. Engstrom, Lipscomb & Lack, 223 Cal. App. 4th 1105, 1130 (2014)

 (internal quotes omitted).

                3.      Liability of directors and officers for concealments or representations
                        of other officers or employees.

        Defendants, as directors and officers, are personally liable for the representations or

 concealments of other officers or employees if either (a) the Defendant intends that the

 representation or concealment will be passed on and influence vendors, or (b) the Defendant fails

 to stop fraudulent conduct.

                        a.      Intended to influence vendors.

        Defendants are liable for any misrepresentation or concealment of material fact that they

 intended to have passed on to vendors to influence their conduct. “One who makes a

 misrepresentation or false promise or conceals a material fact is subject to liability if he or she

 intends that the misrepresentation or false promise or concealment of a material fact will be

 passed on to another person and influence such person’s conduct in the transaction involved.”

 Whiteley v. Philip Morris, Inc., 117 Cal. App. 4th 635, 681, 11 Cal. Rptr. 3d 807, 845 (2004)

 (internal quotes omitted).

        The California Supreme Court has also held that indirect liability for fraudulent

 representations does not require that the statement reach the ultimate decision-maker; it is

 “sufficient that defendant makes a misrepresentation to one group intending to influence the

 behavior of the ultimate purchaser, and that he succeeds in this plan.” Comm. on Children’s

 Television, Inc. v. Gen. Foods Corp., 35 Cal. 3d 197, 219 (1983).




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        As the Restatement frames it, a person is liable for a fraudulent misrepresentation

 received by another “if the misrepresentation, although not made directly to the other, is made to

 a third person and the maker intends or has reason to expect that its terms will be repeated or its

 substance communicated to the other, and that it will influence his conduct in the transaction or

 type of transactions involved.” Restatement (Second) of Torts § 533, quoted with approval in

 Whiteley v. Philip Morris, Inc., 117 Cal. App. 4th 635, 681, 11 Cal. Rptr. 3d 807, 845 (2004);

 Giulietti v. Giulietti, 65 Conn. App. 813, 842 n.24 (2001); Fla. Rock & Tank Lines v. Moore, 258

 Ga. 106, 106 n.1 (1988).

        Moreover, a defendant is deemed to expect that “a misrepresentation, false promise or

 nondisclosure of material fact will be passed on to another person and influence that person’s

 conduct if he or she has information that would lead a reasonable person to conclude that there is

 a likelihood that it will reach such person and will influence his or her conduct in the transaction

 involved.” Whiteley, 117 Cal. App. 45h at 681; Geernaert v. Mitchell, 31 Cal. App. 4th 601, 605

 (1995) (“if defendant makes the representation to a particular class of persons, he is deemed to

 have deceived everyone in that class”).

                        b.      Failing to stop fraudulent conduct.

        Directors and officers of a corporation are “personally liable for intentional torts when

 they knew or had reason to know about but failed to put a stop to tortious conduct.” Asahi Kasei

 Pharma Corp. v. Actelion Ltd., 222 Cal. App. 4th 945, 966 (2013); Frances T. v. Village Green

 Owners Assn., 42 Cal. 3d 490, 504 (1986) (director liable for tort claim if “they specifically

 knew or reasonably should have known that some hazardous condition or activity under their

 control could injure plaintiff, they negligently failed to take or order appropriate action to avoid

 the harm”); PMC, Inc. v. Kadisha, 78 Cal. App. 4th 1368, 1380 (2000) (officers are “personally

 liable for fraud committed by a managerial employee because [the officers] knew about and
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 allowed the tortious conduct to occur”); Polonetsky v. Better Homes Depot, Inc., 97 N.Y.2d 46,

 55 (2001) (“In actions for fraud, corporate officers and directors may be held individually liable

 if they participated in or had knowledge of the fraud, even if they did not stand to gain

 personally.”); Nielsen Co. (US), LLC v. Success Sys., 2012 U.S. Dist. LEXIS 115774, at *16-18

 (S.D.N.Y. Aug. 13, 2012).

        B.      The information concealed and suppressed by Defendants was actionable.

        For concealed information to be the subject of fraudulent concealment claim, the

 information must be actionable as fraud. The information concealed by Defendants is actionable

 on three different bases.

        (i) capable of empirical verification as true or false,

        (ii) implies the existence of facts that justify a belief in the truth of the statement or

 implies the speaker knows of nothing that would make the statement improbable,

        (iii) speaker possessed superior knowledge or special information on the subject.

        In the following sections, the Trust identifies the concealments and then demonstrates

 that they are actionable under each of these three bases.

                1.      The concealments.

        The information that Defendants concealed from Trade Vendors includes the following

 statements.

        September 20, 2017: While the Company’s advisors had determined that a $200 million

 liquidity cushion was required, the DIP Term Loan lenders had insisted on adding a new $175




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 million liquidity covenant that left the Company with a liquidity cushion of less than $50

 million.649 Short had determined that the new covenant “doesn’t work.” 650

        September 20, 2017: The DIP Term Loan lender had insisted on adding a January 31

 revised budget covenant in lieu of deleted milestones. 651 The covenant provided a zero cushion
                                                                    652
 from achieving the liquidity levels projected in the DIP budget.         Brandon and Short had

 concluded: “[t]his just isn’t going to work.” 653
                                                                                             654
        November 30, 2017: For the month of November, U.S. sales were down 13.9%.

        December 4, 2017: Brandon wrote an email to Mike Short stating, “We can confidently

 say that the flash projections for the quarter would indicate that the stretch target is completely

 unachievable and the target performance … could very well be under achieved by a significant

 amount.” 655

        December 13, 2017: “Brandon informed the Board that Management” had determined

 “that the Company will likely end the year with an EBITDA that would result in a default under

 its financing milestones.” 656
                                                                                            657
        December 31, 2017: For the month of December, U.S. sales were down 15.5%.




 649
     Ex. 70 (Greenspan) ¶¶103, 111-112, 115; Ex. 56 (9’20’17 0612 am Kilkenney [TRU-
 Trust0000075262]); Ex. 37 (8’31’17 attach DIP sizing [TRU-Trust0000373909]) at 3; Ex. 42
 (9’15’17 Lal 144 not sufficient [LZ-TRU0079112]); Ex. 59 (9’21’17 Kurtz re negotiations [LZ-
 TRU0086423]) at 1.
 650
     Greenspan ¶104; Ex. 57 (9’20’17 0652 am [TRU-Trust0000075725]).
 651
     Ex. 70 (Greenspan) ¶¶ 103, 262, 289, 302; Ex. 11 (3’2’18 Geier re 6.16 [TRU-
 Trust0000302970]).
 652
     Ex. 70 (Greenspan) ¶136.
 653
     Ex. 70 (Greenspan) ¶100; Ex. 48 (9’18’17 2244 pm [LZ-TRU0092221]) at 4.
 654
     Ex. 5 (2’7’18 weekly board update [DEFS_0125623]) at 3.
 655
     Ex. 163 (12’4’17 Brandon not achieve target [TRU-Trust0000007350]).
 656
     Ex. 164 (12’13’17 minutes [DEFS_0061932]).
 657
     Ex. 5 (2’7’18 weekly board update [DEFS_0125623]) at 3.
                                                  230
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        January 10, 2018: Brandon told the Board about management’s decision “not to
                                                                                            658
 voluntarily release our holiday sales results” contrary to the Company’s usual practice.         This

 decision was made because “holiday performance” was “significantly less than expected,” which

 “could have concerned” “the trade vendor community” because the Company “would have

 reported a weak holiday period,” and “[t]hey may have been concerned about the ability of Toys

 ‘R’ Us to continue going forward,” and “[t]he ability of Toys ‘R’ Us to pay for goods that were

 shipped on credit.” 659

        January 24, 2018: “Brandon advised the Board that the Company’s 2017 EBITDA is

 currently projected to be under $300 million—significantly short of the Company’s $640 million

 projection in the DIP budget” and the Company “anticipated breach of financial covenants under

 the DIP Financing in February or March.” 660

        January 24, 2018: Brandon told the Board that “the Company will now require a $150-

 $200 million cash infusion from a third-party in order to fill a hole in the proposed budget and

 emerge as a reorganized operating business” and also would need “substantial additional

 amounts of post-emergence capital that will be required for the Company to make planned

 capital expenditures.” 661

        January 28, 2018: Brandon told the Board that “while at the last meeting he said that the

 company would need $150-$200 million of additional capital to fill a hole in the budget and

 emerge from chapter 11, the revised numbers … indicate that the Company will require at least



 658
     Ex. 88 (Brandon depo.) 344:3-344:24; Ex. 87 (Short depo.) 279:19-23; Ex. 3 (1’10’18 BOD
 minutes [TRU-Trust0000374746]) at 2.
 659
     Ex. 87 (Short depo.) 279:19-23, 281:18-282:9; Ex. 88 (Brandon depo.) 344:3-344:24, Ex. 88
 (Brandon depo.) 346:7-16, Ex. 89 (Barry depo.) 519:16-24.
 660
     Ex. 139 (1’24’18 minutes [TRU-Trust0000374989]).
 661
     Ex. 139 (1’24’18 minutes [TRU-Trust0000374989]); Ex. 88 (Brandon depo.) 555:17-22; Ex.
 88 (Brandon depo.) 376:23-377:1.
                                                231
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 $200 million in order to emerge from the chapter 11 cases as a reorganized operating company,

 plus additional capital for planned capital expenditures.” Brandon also told the board that

 procuring the funding for emergence was “unlikely to materialize,” and one of the “likely

 outcomes of these chapter 11 cases” is “total liquidation of the enterprise.” 662

         January 31, 2018: Mike Short signed a waiver agreement stating that the Company had

 “determined that [it] would not be able to comply with the Revised Budget Covenant [covenant

 6.16].” 663

         January 31, 2018: “Brandon advised the board that … the forecasted cash liquidity

 position is dire” and “the Company projects it will breach its postpetition financing covenants in

 February or March.” 664

         January 31, 2018, Short provided the board “an update regarding the Company’s cash

 liquidity projections,” which show that the Company had more than a “$500 million shortfall”

 below the level required in the DIP budget. 665

         February 16, 2018: Brandon called an “emergency leadership team” meeting to announce

 that the DIP Term Loan lenders “thought it would be better to liquidate the company sooner

 rather than later,” and the Company was preparing “plans around a liquidation process”

 including a “liquidation analysis” and “wind-down budget” for the U.S. business, with the focus

 “around a mid March date.” 666




 662
     Ex. 140 (1’28’18 minutes [DEFS_0059009]) at 1-2.
 663
     Ex. 144 (1’31’18 TRU - Waiver Extension (1-30-18) [Draft] [TRU-Trust0000323056]).
 664
     Ex. 142 (1’31’18 minutes [DEFS_0059013]).
 665
     Ex. 142 (1’31’18 minutes [DEFS_0059013]); Ex. 141 (1’31’18 2b. Project Sunrise - Forecast
 Model 2018-01-31 (Liquidity Bridge) [DEFS_0002878]).
 666
     Ex. 146 (2’17’18 Brandon to Sussberg [TRU-Trust0000275355]) at 1-3; Ex. 145 (2’16’18
 Barry Notes (Barry depo. exh. 44) [DEFS_0026183]); Ex. 89 (Barry depo.) 419:24-421:17.
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                 2.      The concealments are actionable as facts capable of empirical
                         verification.

         Actionable statements include those that are capable of “being adjudged true or false in a

 way that … admit[s] of empirical verification.” Harrison v. Westinghouse Savannah River Co.,

 176 F.3d 776, 792 (4th Cir. 1999) (holding that cost estimates are statements of fact; internal

 citations and quotations omitted).

         A statement that can be verified is a fact, as contrasted with an entirely subjective opinion

 (e.g., “that artwork is beautiful”) or a statement that is so vague that it evades verification (e.g.,

 “the coming year will be eventful”). For example, the statement that a company’s financial

 projection for the coming year reports minimum liquidity of $100 million is a statement of fact

 because the statement can be verified as true or false: the financial projection can be examined to

 see what it reports.

         Each of the concealments is actionable because the truth or falsity of each of these

 statements could be objectively verified. The Company’s current sales results could be verified

 because the sales were recorded in Company records, which could be examined to determine

 what they show. The liquidity cushion the advisors had determined was required for the

 Company could be verified by examining documents reporting that information.

         The state of the Company’s financial projections could be verified because the
                                                                                            667
 projections were written down and could be examined to determine what they show.

 Likewise, how the financial projection compared to the requirements of the financial covenants

 could be verified by examining the relevant documents. In fact, the Company prepared exactly

 these comparisons to test the cash flow covenant and minimum liquidity covenant. 668


 667
   Ex. 190 (12’15’17 Project sunrise preliminary model [TRU-Trust0000201870]).
 668
   Ex. 141 (1’31’18 2b. Project Sunrise – Forecast Model 2018-01-31 (Liquidity Bridge)
 [DEFS_0002878]); Ex. 191 (12’30’17 LT forecast [TRU-Trust0000025841]) at 4.
                                                   233
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        Similarly, whether the Company had a hole or shortfall in its projected budget and the

 amount of that hole could be readily determined by examining the Company’s projected budget.

 And how the Company’s budget projection on January 31 compared to the DIP budget could be

 readily determined by putting the Company’s January 31 budget projections next to the DIP

 budget. 669

        Likewise, whether Short signed a document and whether the document stated that the

 Company had determined that it could not comply with the revised budget covenant could be

 verified by looking at the document. 670 And whether Toys “R” Us was engaging in liquidation

 planning targeting a mid-March date could be verified by asking those involved in the planning

 or examining internal emails and notes. 671

        Moreover, whether Brandon told the board that “the forecasted cash liquidity position is

 dire” or that one of the “likely outcomes of these chapter 11 cases” is “total liquidation of the

 enterprise” could be verified by examining the minutes of the board meeting.

        Because each of the pieces of concealed information was and is objectively verifiable,

 each is actionable.

                3.      The concealments are actionable statements that imply the existence
                        of facts that justify a belief in the truth of the statement and imply the
                        maker knows of nothing that would make the statement improbable.

        A statement that is a prediction of future events or actions, or that is an opinion, is also

 actionable if it “impl[ies] facts which justify a belief in the truth of the opinion.” Cohen v. S & S

 Constr. Co., 151 Cal. App. 3d 941, 946 (1983) (internal quotes omitted). “A statement about the



 669
     Ex. 141 (1’31’18 2b. Project Sunrise – Forecast Model 2018-01-31 (Liquidity Bridge)
 [DEFS_0002878]); First Day Motion (Bk. Dkt. 29) at 145.
 670
     Ex. 143 (1’31’18 signed Waiver [TRU-Trust0000375089]).
 671
     Ex. 146 (2’17’18 Brandon to Sussberg [TRU-Trust0000275355]; Ex. 145 (2’16’18 Barry
 Notes (Barry depo. exh. 44) [DEFS_0026183]).
                                                 234
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 future may imply a representation concerning an existing or past fact.” Restatement (Second) of

 Torts § 525, comment e.

        Similarly, “a statement that is in the form of a prediction or promise as to the future

 course of events may justifiably be interpreted as a statement that the maker knows of nothing

 which will make the fulfillment of his prediction or promise impossible or improbable.”

 Restatement (Second) of Torts § 525, comment f; Harrison v. Westinghouse Savannah River

 Co., 176 F.3d 776, 792 (4th Cir. 1999) (“opinion … carries with it an implied assertion … that

 the speaker knows no facts which would preclude such an opinion” (internal quotes omitted)).

        For example, if a contractor provides “cost … estimates” for what a project will end up

 costing, the cost estimates are actionable representations, because they imply the existence of

 reasonable cost projections that justify the estimate. Harrison, 176 F.3d at 792. As another

 example, a sales agent’s representations that a condominium with structural defects was

 “luxurious” and an “outstanding investment” was actionable. Cooper v. Jevne, 56 Cal. App. 3d

 860, 866 (1976); see Southern Cal. etc. Assemblies of God v. Shepherd of Hills etc. Church, 77

 Cal. App. 3d 951, 959 (1978) (a realtor’s opinion that the purchaser of a particular lot would

 have an enforceable access easement is actionable).

        Some of the concealed facts identified above contain within them predictions about future

 events. But in each such case, the statements necessarily implied the existence of verifiable facts

 justifying the prediction. Many of the concealed statements implied the existence of recent data

 and financial modeling that justified the statement. These include statements such as the

 Company “will likely end the year with an EBITDA that would result in a default under its

 financing milestones,” “the Company’s 2017 EBITDA is currently projected to be under $300

 million,” the Company “anticipated breach of financial covenants under the DIP Financing in



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 February or March,” “the Company will now require a $150-$200 million cash infusion from a

 third-party in order to fill a hole in the proposed budget,” and the Company “would not be able

 to comply with the Revised Budget Covenant [covenant 6.16].” All of these statements imply

 the existence of recent data, financial modeling, and calculations justifying the statement.

        Similarly statements by a CEO delivered at a board meeting that “the forecasted cash

 liquidity position is dire,” that funding for the Company to emerge from bankruptcy was

 “unlikely to materialize,” and that one of the “likely outcomes of these chapter 11 cases” is “total

 liquidation of the enterprise,” imply the existence of analysis and financial modeling justifying

 the statements. And the statement that “the flash projections for the quarter” indicate that an

 EBITDA target “is completely unachievable” and “could very well be under achieved by a

 significant amount,” implied the existence of recent financial data justifying these statements.

        Each of the concealments identified above is therefore actionable on this basis as well.

                4.      The concealments are actionable statements because Defendants
                        possessed superior knowledge or special information on the subject.

        “[I]t is well settled that an opinion may be actionable when it is made by a party who …

 possesses, or assumes to possess, superior knowledge or special information regarding the

 subject matter.” Jolley v. Chase Home Fin., LLC, 213 Cal. App. 4th 872, 892, 153 Cal. Rptr. 3d

 546, 562 (2013) (internal quotes omitted).

        For example, a defendant with superior knowledge to the plaintiff was held liable for

 stating that it “was ‘highly probable,’ and ‘likely,’ and ‘look[ed] good’—that a modification of

 the loan agreement would be approved.” Jolley, 213 Cal. App. 4th at 892. Similarly, when a

 broker with superior knowledge to the plaintiff buyer represented that “early prepayment of

 notes was ‘guaranteed,’” this statement was held to be actionable as fraud. Apollo Capital Fund

 LLC v. Roth Capital Partners, LLC, 158 Cal. App. 4th 226, 241 (2007); see PhotoMedex, Inc. v.


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 Irwin, 601 F.3d 919, 931 (9th Cir. 2010) (defendants’ statement “in March 2003 that the Pharos

 laser would be available that summer, within just a few months” was actionable).

        Because a company’s internal data sources and internal communications are, by

 definition, internal to the company, vendors do not have access to that information unless the

 company takes specific action to communicate the information outside the company.

 Accordingly, the Trade Vendors could not access the Company’s internal data sources and

 internal communications.

        The Trade Vendors consistently testified that the Company was the best source of

 information on the its liquidity, ability to pay, and financial results, and that Trade Vendors did

 not have access to this information. 672

        As Defendants admitted, Trade Vendors “did not have access to the leadership team

 meetings” at Toys “R” Us. 673 They “did not have access to the cash flow projections that were

 prepared by Toys “R” Us.” 674 And the Trade Vendors “did not have the financial information

 about Toys “R” Us” such that they could “calculate Toys “R” Us’ cash flow position.” 675

 Because the Trade Vendors lacked all of this information, they could not “determine whether or




 672
     For example: Ex. 307 (Cooney (Jakks) depo.) 212:22-213:6 (there was no “source of
 information besides representations made by Toys ‘R’ Us” that could provide “accurate
 information about Toys ‘R’ Us’ internal financial situation”); Ex. 232 (Foreman (Basic Fun)
 depo). 283:4-12 (“we didn’t really have any other source outside of what was coming directly
 from the company and the employees of the company”); Ex. 278 (Stone (Funrise) depo.) 146:22-
 147:9 (No “reasonable way” for “Funrise to learn about Toys ‘R’ Us’ internal financial
 projections in bankruptcy”); Ex. 284 (Brinkmeier (Graco) depo.) 183:13-184:8 (no source “that
 would be able to validate [covenant compliance] other than Toys ‘R’ Us”); Trust SOF ¶¶ 404,
 410, 416, 422, 428, 434, 440, 446, 452, 458, 464, 470, 476, 481, 486, 491, 496, 502, 508, 513,
 519, 525, 532, 537, 542, 548, 553, 559, 565, 571, 576, 581, 586, 592, 597, 603, 608.
 673
     Ex. 89 (Barry depo.) 542:23-25.
 674
     Ex. 89 (Barry depo.) 543:1-5.
 675
     Ex. 89 (Barry depo.) 543:20-544:2.
                                                 237
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 not [Toys “R” Us] was meeting or was likely to meet its financial covenants.” 676 Indeed, it was

 “impossible for a vendor to realistically assess and test complex covenants without detailed (and

 truthful) information and forecasts by the Company.” 677

         The Defendants had access to the Company’s internal data and communications that the

 Trade Vendors lacked. For example, Brandon, Short, and Barry received daily reports of

 sales. 678 The Directors received a “Weekly Board Update” with financial information. 679 And

 the Directors continued “to be updated about Toys ‘R’ U’s financial situation” while it was in
               680
 bankruptcy.         And the Directors were “provided detailed status updates by Mike Short and

 David Brandon.” 681

         As demonstrated above, these updates included information about Toys “R” Us’ financial

 position, and how that financial position affected covenant compliance and access to the DIP

 financing. The Defendants therefore possessed both superior knowledge and special information

 on the subjects of (i) the Company’s recent financial results including sales, margins, SG&A

 costs, and capital expenditures, (ii) the Company’s projected financial results including sales

 growth/ decline, margins, costs, and capital expenditures, (iii) the Company’s plan for emergence

 or liquidation, (iv) the Company’s compliance with financial covenants, (v) the Company’s

 current or projected liquidity. 682



 676
     Ex. 70 (Greenspan) ¶533.
 677
     Id. ¶538.
 678
     Bk. Dkt. 2341 (Transcript of 3’20’17 hearing; Kurtz testimony) at 17 (“the management
 team” was watching “the day-to-day operating performance of the company during … the
 holiday season” and “would literally receive … a daily sales tally”).
 679
     E.g. Ex. 5 (2’7’18 weekly board update [DEFS_0125623]); Ex. 81 (Bekenstein) 185:2-7,
 187:20-189:31.
 680
     Ex. 81 (Bekenstein depo.) 185:2-7.
 681
     Ex. 77 (Raether) 298:5-8.
 682
     See, e.g., Ex. 5 (2’7’18 weekly board update [DEFS_0125623]) at 3; Ex. 141 (1’31’18 2b.
 Project Sunrise - Forecast Model 2018-01-31 (Liquidity Bridge) [DEFS_0002878]); Ex. 146
                                                  238
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        Each of the concealments identified above is a statement on one or more of these

 subjects. The Defendants therefore possessed both superior knowledge and special information

 on the subject matter of the concealments. The concealments are therefore actionable.

        * * *

        The concealments are actionable on each of the three bases. Moreover, “‘where there is a

 reasonable doubt as to whether a particular statement is an expression of opinion or the

 affirmation of a fact, the determination rests with the trier of the facts.’” Jolley v. Chase Home

 Fin., LLC, 213 Cal. App. 4th 872, 893, (2013) (quoting Willson v. Municipal Bond Co., 7 Cal. 2d

 144, 151 (1936)).

        C.      The concealed information was “material.”

        “[A] fact is material if a reasonable man would attach importance to its existence or

 nonexistence in determining his choice of action in the transaction in question.” Persson v.

 Smart Inventions, Inc., 125 Cal. App. 4th 1141, 1163 (2005) (internal quotes omitted);

 Greenwald v. Odom, 314 Ga. App. 46, 55 (2012). (“a fact is material if its existence or

 nonexistence is a matter to which a reasonable man would attach importance in determining his

 choice or action in the transaction in question”).

        Each of the concealed facts was material to the Trade Vendors because they went to the

 heart of each Trade Vendor’s decision making in choosing to ship goods on credit to Toys “R”

 Us.




 (2’17’18 Brandon to Sussberg [TRU-Trust0000275355]) at 1-3; Ex. 163 (12’4’17 Brandon not
 achieve target [TRU-Trust0000007350]); Ex. 89 (Barry depo.) 543:1-544:2.
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                  1.   Whether Trade Vendors will be paid for goods that they ship was of
                       paramount importance to the Trade Vendors.

        Trade Vendors sell goods to be paid for those goods. Whether vendors will be paid for

 the goods that they ship is of “paramount” importance because the vendors are “not a charity or a

 nonprofit” and “need to be paid for the goods that [they] ship.” 683 When deciding whether or

 not to ship goods to a company, Trade Vendors evaluate the risks involved in shipping those

 goods. 684 As Defendants admit, part of the risk determination in shipping to Toys “R” Us was

 “whether [Trade Vendors] would be paid by Toys “R” Us,” and that risk was “a reasonable thing

 for [Trade Vendors] to consider.” 685

        Defendants also admit that if Trade Vendors had “doubts about whether they would be

 paid,” then Trade Vendors would not “want to ship [goods] on credit to Toys “R” Us.” 686 For

 goods that Trade Vendors shipped on credit, the vendors needed to assess the risk of whether

 Toys “R” Us would be able to pay for those goods when they came due. For example, for a

 vendor to choose to ship goods on 60 day terms to Toys “R” Us on January 25, 2018, the Trade

 Vendor would need to analyze the risk that Toys “R” Us would be unable to pay for those goods

 in late March.

        Trade Vendors testified that the risk level that vendors would not be paid on goods that

 they ordered would “vary based on information that’s available.” 687 Any information about

 Toys “R” Us’ ability to pay for goods shipped was thus highly important to vendors in

 determining whether to ship goods to Toys “R” Us on credit.


 683
     Ex. 409 (McCallum (Step2) depo.) 147:5-14; Ex. 258 (Rana (Dorel) depo.) 206:17-207:2; Ex.
 372 (Elliott (MGA) depo.) 270:12-20.
 684
     See e.g. Ex. 372 (Elliott (MGA) depo.) 270:24-271:4.
 685
     Ex. 87 (Short depo.) 311:1-17.
 686
     Ex. 89 (Barry depo.) 27:15-23; Ex. 372 (Elliott (MGA) depo.) 270:12-20; Ex. 258 (Rana
 (Dorel) depo.) 247:13-20.
 687
     Ex. 258 (Rana (Dorel) depo.) 209:4-11; Ex. 380 (Emrey (Munchkin) depo.) 110:4-7.
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                     2.   The continued availability of the DIP financing was directly relevant
                          to whether Trade Vendors would be paid for goods that they shipped.

         During the bankruptcy, Toys “R” Us’ ability to pay vendors was contingent on the DIP

 financing. Defendants admit that it was the presence of the DIP financing that provided vendors
                                                                                                    688
 with the assurance that Toys “R” Us would be able to pay them for goods shipped on credit.

 The DIP financing was “necessary for Toys “R” Us to have liquidity to pay for goods shipped on

 credit. 689

         In fact, Defendants admit that they knew that the presence of the DIP financing was

 critical to the vendors because it meant that Toys “R” Us had available liquidity to buy and pay
               690
 for goods.

         For example, on September 18, 2017, Defendant Barry reported to Brandon on his phone

 calls with “over 30” vendors, and stated: “Confirmation of the DIP financing is a crucial issue

 for the vendors, and subject to this, indications are a return to business as usual terms with a

 resumption of shipping.” 691

         Indeed, the DIP financing was the only source of liquidity that Toys “R” Us identified to

 vendors that could pay vendors for the goods that they shipped. 692

         Defendants admit that Trade Vendors would be interested in knowing “whether there was
                                                           693
 a serious risk that the DIP financing would disappear.”         The loss of the financing would mean

 that Toys “R” Us would no longer have the liquidity to pay vendors “for all goods shipped on



 688
     Short depo. 53:21-54:4.
 689
     Ex. 89 (Barry depo.) 396:17-21.
 690
     Ex. 89 (Barry depo.) 73:16-22; Ex. 372 (Elliott (MGA) depo.) 265:20-266:8; Ex. 321 (Kamler
 (Kent) depo.) 166:9-16; Ex. 330 (Woldenberg (Learning Resources) depo.) 198:3-199:8.
 691
     Ex. 156 (9’18’17 Barry re DIP crucial [TRU-Trust0000036336]).
 692
     See, e.g., Ex. 244 (Schellhase (Bestway) depo.) 171:25-172:5; Ex. 335 (Kodak (LEGO)
 depo.) 264:16-24, 265:1-10.
 693
     Ex. 87 (Short depo.) 434:20-435:1; Ex. 89 (Barry depo.) 461:9-12.
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 credit.” 694 Trade Vendors needed to have “sufficient information to be able to accurately

 evaluate the probability of a catastrophic outcome.” 695 A risk that the DIP financing would be

 lost in the coming weeks or months would affect a Trade Vendor’s risk calculus on whether it

 should ship goods to Toys “R” Us on credit, because Trade Vendors had to assess the likelihood

 that they would not be paid for all of the goods that they shipped.

                3.      Each of the concealed facts was highly material to a Trade Vendor’s
                        decision to ship goods on credit.

        Each of the concealed facts was highly material for a vendor’s assessment of risk and the

 Company’s ability to pay, and most of the concealed facts signaled that the DIP financing was in

 grave danger of disappearing.

        As Defendants knew, a breach of covenants in the DIP financing would mean that the
                                  696
 DIP financing would disappear.         A projection that Toys “R” Us would default on its financing

 milestones was thus a projection that the DIP financing would become unavailable.

        Furthermore, Defendants also knew that the financial covenants in the DIP financing
                                                                       697
 were (by definition) tied to the Company’s financial performance.           And the Defendants also

 knew that the Trade Vendors understood this. Defendants Brandon and Short testified that they

 made the decision “not to voluntarily release our holiday sales results” contrary to the

 Company’s usual practice, because “holiday performance” was “significantly less than

 expected,” which “could have concerned” “the trade vendor community” because the Company

 “would have reported a weak holiday period,” and “[t]hey may have been concerned about the

 ability of Toys ‘R’ Us to continue going forward,” and “[t]he ability of Toys ‘R’ Us to pay for



 694
     Ex. 87 (Short depo.) 56:23-57:2.
 695
     Ex. 70 (Greenspan) ¶529.
 696
     See e.g., Ex. 89 (Barry depo.) 395:22-396:8; Ex. 87 (Short depo.) 313:25-314:4.
 697
     See, e.g., Ex. 78 (Levin depo.) 286:22-287:15; Ex. 77 (Raether depo.) 124:19-125:12.
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 goods that were shipped on credit.” 698 And, on January 10, 2018, Brandon told the Board about

 “the decision not to release holiday results, including the communications strategy related

 thereto.” 699

         Moreover, Defendants knew that the discrepancy between Toys “R” Us’ actual

 performance and the DIP budget was enormous—the Company had a liquidity shortfall of $500

 million below the levels required by covenant 6.16. 700 And that deficit would increase, rather

 than decrease, over time: Short’s projection showed that by June 2018 the deficit would be

 almost $600 million. 701

                 Facts about Toys “R” Us’ projected breach of the covenants and $500 million

 shortfall in liquidity would indicate to the Trade Vendors that Toys “R” Us was not on track to

 comply with its covenants, and that there was a grave risk that the DIP financing would disappear.

 This in turn would mean that Trade Vendors would not be paid for their goods. These facts were

 highly material to the vendors. 702

         Similarly, Toys “R” Us engaging in liquidation planning would indicate to the vendors

 that there was a high risk that Toys “R” Us would be unable to pay for purchase orders that it

 placed. Liquidation means that a company has failed as an ongoing business and will not be able




 698
     Ex. 87 (Short depo.) 279:19-23, 281:18-282:9; Ex. 88 (Brandon depo.) 344:3-344:24, Ex. 88
 (Brandon depo.) 346:7-16, Ex. 89 (Barry depo.) 519:16-24.
 699
     Ex. 88 (Brandon depo.) 344:3-344:24; Ex. 87 (Short depo.) 279:19-23; Ex. 138 (1’10’18
 BOD minutes [TRU-Trust0000374746]) at 2.
 700
     Ex. 141 (1’31’18 2b. Project Sunrise - Forecast Model 2018-01-31 (Liquidity Bridge)
 [DEFS_0002878]); Ex. 70 (Greenspan) ¶¶455-459.
 701
     Ex. 141 (1’31’18 2b. Project Sunrise - Forecast Model 2018-01-31 (Liquidity Bridge)
 [DEFS_0002878]); Ex. 70 (Greenspan) ¶459.
 702
     See Trust SOF ¶¶ 403, 409, 415, 421, 427, 433, 439, 445, 451, 457, 463, 469, 475, 480, 485,
 490, 495, 501, 507, 512, 518, 524, 530, 536, 541, 547, 552, 558, 564, 570, 575, 580, 585, 591,
 596, 602, 607.
                                                243
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 to continue to pay its obligations as they come due. 703 Liquidation planning would be “a clear

 signal that [a Trade Vendor] should expect not to be paid on any further shipments. 704

                    4.     The vendors testified that the concealed facts would have been
                           relevant to their decision-making, and would have caused them to act
                           differently.

        Vendors testified that the concealed information about Toys “R” Us’ projected covenant
                                                                            705
 defaults and liquidation planning was relevant to their decision-making.         “Anything that

 would have indicated that [Trade Vendors] were at risk of not getting paid back would have been
              706
 relevant.”         And, as demonstrated above, each of the pieces of concealed information indicated

 that there was a risk of non-payment.

        For example, had the LEGO Group “known that there was a risk that Toys “R” Us would

 be defaulting on its loan covenants,” the LEGO Group would have “only ship[ped] on a cash in

 advance basis.” 707 If the LEGO Group had any indication that Toys “R” Us had a “half a billion

 dollar miss” on the DIP budget requirements, that “would have been a clear sign that the

 operation was faltering,” and would have caused the LEGO Group “to trade cash in advance

 only.” 708

        Defendants make no effort to argue that the concealed facts were not material to vendors.

 Nor could they. Each vendor testified that the above facts that were concealed from them were

 relevant in their decision-making process. And the vendors testified that they would have acted


 703
     Ex. 88 (Brandon depo.) 564:18-21.
 704
     Ex. 335 (Kodak (LEGO) depo.) 356:20-357:15. Additional examples can be found in Trust
 SOF ¶¶ 403, 409, 415, 421, 427, 433, 439, 445, 451, 457, 463, 469, 475, 480, 485, 490, 495, 501,
 507, 512, 518, 524, 530, 536, 541, 547, 552, 558, 564, 570, 575, 580, 585, 591, 596, 602, 607.
 705
     See Trust SOF ¶¶ 403, 409, 415, 421, 427, 433, 439, 445, 451, 457, 463, 469, 475, 480, 485,
 490, 495, 501, 507, 512, 518, 524, 530, 536, 541, 547, 552, 558, 564, 570, 575, 580, 585, 591,
 596, 602, 607.
 706
     Ex. 380 (Emrey (Munchkin) depo.) 54:23-55:4.
 707
     Ex. 335 (Kodak (LEGO) depo.) 344:23-345:16.
 708
     Ex. 335 (Kodak (LEGO) depo.) 352:15-353:16.
                                                   244
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 on that information by reconsidering their trade terms with Toys ‘R’ Us, moving to cash in

 advance, or simply stopping shipments altogether. 709

        The above evidence more than establishes materiality. “Materiality is a question of fact

 for the jury, unless the fact misrepresented is so obviously unimportant that the jury could not

 reasonably find that a reasonable man would have been influenced by it.” Persson v. Smart

 Inventions, Inc., 125 Cal. App. 4th 1141, 1163 (2005) (internal quotes omitted).

        D.      Defendants were under a duty to disclose the concealed facts to the Trade
                Vendors.

        Defendants had a duty to disclose the concealed facts to Trade Vendors under four

 independent theories.

                1.       Defendants had a duty to disclose subsequently acquired information
                         that made their earlier statements untrue or misleading.

        A person has a duty to disclose “subsequently acquired information that he knows will

 make untrue or misleading a previous representation that when made was true or believed to be

 so.” Restatement (Second) of Torts § 551(c). A person makes “a representation which when

 made was true or believed to be so” and then “remains silent after he has learned that it is

 untrue” is “legally in the same position as if he knew that his statement was false when made.”

 Restatement (Second) of Torts § 551, comment h.




 709
    See, e.g., Ex. 258 (Rana (Dorel) depo.) 251:22-252:4 (information about cash infusion would
 have “highlight[ed] the liquidity issues, which would definitely help us make our decision of
 stopping to ship”); Ex. 301 (Simons (Jada Toys) depo.) 295:2-9 ($150 to $200 million required
 cash infusion would have caused Jada to “sto[p] shipping goods and/or mov[e] them to a cash-in-
 advance”); Ex. 351 (McColgan (Mattel) depo.) 256:13-257:5 (December 2017 information about
 projected EBITDA would have led Mattel to “not have shipped them any more goods”); see
 Trust SOF ¶¶ 403, 409, 415, 421, 427, 433, 439, 445, 451, 457, 463, 469, 475, 480, 485, 490,
 495, 501, 507, 512, 518, 524, 530, 536, 541, 547, 552, 558, 564, 570, 575, 580, 585, 591, 596,
 602, 607.
                                                 245
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           “The Restatement provides in subsection 2(c) that a party in a business transaction who

 subsequently learns of information that renders a prior representation untrue or misleading is

 under a duty to disclose that information.” R.I. Indus.-Recreational Bldg. Auth. v. CAPCO Steel,

 LLC, No. PC 14-6055, 2015 R.I. Super. LEXIS 90, at *37 (Super. Ct. July 22, 2015) (internal

 citations omitted); Nissan Motor Acceptance Cases, 63 Cal. App. 5th 793, 828 (2021)

 (“[Plaintiff] based its claim on [Defendant’s] failure to disclose material information that would

 have shown [Defendant’s] disclosed representations were false or misleading.”).

           The Restatement applies this principal in an illustration that is remarkably similar to the

 facts of the present case. In that example, the “president of a mercantile corporation makes a

 true statement of its financial position,” that he intends will be relied on by trade vendors.

 Restatement (Second) of Torts § 551, Illustration 2. The president then learns that the

 “corporation’s financial position becomes seriously impaired” but does nothing to inform the

 vendors. Id. When later the “corporation receives goods on credit from” a trade vendor, the

 president “is subject to liability in deceit” for any losses suffered by the vendor. Id.

           Defendants made, and caused others to make, representations to Trade Vendors and then

 Defendants acquired information that made those earlier representations untrue and misleading.

 Defendants therefore had a duty to disclose that subsequently acquired information to Trade

 Vendors.

                          a.      Defendants’ representations in September 2017.

           The Company’s bankruptcy filing caused Trade Vendors to stop shipping goods on

 credit. 710 Beginning on the day of the filing, September 18, 2017, Defendants directed

 communications in various forms to Trade Vendors containing key representations to persuade



 710
       Ex. 89 (Barry depo.) 26:12-19.
                                                   246
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 Trade Vendors that they could safely ship goods to the Company on credit during the

 restructuring process. (In Part VIII, Section B below, we demonstrate that each of these

 representations is actionable. And in Part VII, Section H below, we demonstrate that all

 Defendants are liable for fraudulent concealment as to the representations delivered to Trade

 Vendors by other officers and employees of the Company.) The September representations

 included each of the following.

        Vendor FAQ on the website.

        A Vendor FAQ was posted on the Toys “R” Us’ website and vendor portal stating that

 Toys “R” Us had “sufficient liquidity to meet its obligations” because it had “access to up to $2.5

 billion in debtor-in-possession (‘DIP’) financing which will support our business and enable us

 to meet our financial obligations throughout the restructuring process.” 711 It further stated that

 the Company would later “access almost $1 billion in additional financing for a total of $3.125

 billion in new financing.” 712 It also stated that Toys “R” Us “will pay vendors for all goods and
                                                   713
 services received on or after the filing date.”         Barry testified that this Vendor FAQ was posted
                                     714
 “for vendors to read and review.”

        Telephone calls directly to Trade Vendors.

        Brandon, Short, Barry, and the Company’s merchant team that reported to Barry, made

 telephone calls to Trade Vendors and communicated that the Company had obtained $3 billion in

 DIP financing that gave the Company liquidity to pay vendors for all goods shipped on credit

 throughout the restructuring process.




 711
     Ex. 172 (Vendor FAQ (Barry Exhibit 8) [TRU-Trust0000349256]).
 712
     Id.
 713
     Ex. 172 (Vendor FAQ (Barry Exhibit 8) [TRU-Trust0000349256]).
 714
     Ex. 89 (Barry depo.) 64:15-24.
                                                     247
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        Barry, Brandon, and Short personally reached out to many trade vendors to inform them

 about the bankruptcy filing and the DIP financing. 715

        They communicated that “the DIP financing would provide liquidity to Toys “R” Us to

 be able to pay for goods that were shipped on credit,” 716 that the DIP financing “would enable

 Toys “R” Us to pay for merchandise that was shipped on credit while Toys “R” Us was in
                717
 bankruptcy.”

        Defendant Barry was in charge of the merchandising team responsible for interacting
                       718
 with Trade Vendors.         The merchant team was given a set of “Vendor Talking Points” and was

 trained to deliver those talking points to Trade Vendors. 719 Barry directed the merchandising

 team to attend these trainings. 720

        The merchants were trained to communicate to Trade Vendors that “our operations are

 continuing in the ordinary course,” and “We intend to pay vendors in full under normal terms for

 goods and services provided on or after the filing date.” 721

        The Trade Vendors were trained to communicate that the Company does “have sufficient

 liquidity to meet its obligations” because “we have commitments for over $3.0 billion in new

 financing that will help support our operations and enable is us to meet our financial obligations
                                       722
 during the restructuring process.”



 715
     Ex. 88 (Brandon depo.) 260:12-24; Ex. 87 (Short depo.) 61:24-62:2; Ex. 89 (Barry depo.)
 34:8-15, 73:2-15, 83:6-10.
 716
     Ex. 89 (Barry depo.) 73:11-5.
 717
     Ex. 89 (Barry depo.) 35:6-14.
 718
     Ex. 89 (Barry depo.) 40:19-41:4, 135:1-23.
 719
     Ex. 89 (Barry depo.) 56:20-57:4, 57:10-15, 58:6-11, 59:5-60:12, 139:9-16, 137:15-23.
 720
     Ex. 89 (Barry depo.) 136:6-9.
 721
     Ex. 174 (Vendor Talking Points [TRU-Trust0000336056]); Ex. 89 (Barry) 59:13-60:2.
 722
     Ex. 174 (Vendor Talking Points [TRU-Trust0000336056]); Ex. 170 (TRU Master Q&A
 (Barry Exhibit 7) [TRU-Trust0000322879]) at 2, 13; Ex. 173 (Vendor reference guide
 [DEFS_0026186]) at 8; Ex. 89 (Barry depo.) 47:13-21.
                                                 248
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        Defendant Barry testified that the Vendor Talking Points “was the information the team

 was required to share with vendors.” 723 And he testified:

        4      Was the Toys"R"Us merchandising
        5 team instructed to tell trade vendors
        6 that Toys "R" Us had received commitments
        7 of over 3 billion in new financing that
        8 will help support their operations and
        9 enable Toys"R"Us to meet its business
        10 obligations during the financial
        11 restructuring process?
        12 A. Yes.

 Ex. 89 (Barry) 60:4-12.

        Barry and the merchant team made a list of approximately 200 senior executives at Trade

 Vendors who were to be contacted and receive the representations in the talking points. 724

        Barry directed the merchant team to “split up the list between ourselves,” and make the

 “talking points” calls to all of these Trade Vendors. 725 Some of the calls were assigned to be
                                      726
 made by Brandon, Short, and Barry.

        Brandon delivered the representations in calls to executives at the following Trade

 Vendors:

        •   Lego.   727




        •   Hasbro.   728




 723
     Ex. 89 (Barry depo.) 59:5-12.
 724
     Ex. 89 (Barry) 108:5-20; Ex. 171 (Vendors Call spreadsheet (Barry depo exhibit 16) [TRU-
 Trust0000364251]).
 725
     Ex. 89 (Barry) 139:25-140:4; Ex. 171 (Vendors Call spreadsheet (Barry depo exhibit 16).
 726
     Ex. 171 (Vendor Call spreadsheet (Barry Exhibit 16) [TRU-Trust0000364251].
 727
     See Ex. 335 (Lego (Kodak)) 16:4-16, 17:20-18:14; Ex. 89 (Barry) 115:3-9; Ex. 95 (9’18’17
 Brandon RE VIP Vendor List [TRU-Trust0000229765]).
 728
     See Ex. 293 (Hasbro (Glenn)) 33:13-23, 34:7-23, 34:24-35:7, 40:20-41:6; Ex. 89 (Barry)
 112:9-13; Ex. 95 (9’18’17 Brandon RE VIP Vendor List [TRU-Trust0000229765]).
                                                249
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        •   Huffy.   729




        •   Jakks. 730


        •   Just Play. 731


        •   Mattel. 732


        •   Spin Master. 733


        •   MGA.     734




        •   Graco.   735




        Short delivered the representations in calls to executives at the following Trade Vendors:

        •   Lego. 736




 729
     See Ex. 297 (Huffy (O’Gara)) 26:16-22, 53:1-10, 54:16-18.
 730
     See Ex. 307 (Jakks (Cooney)) 157:17-158:2; Ex. 95 (9’18’17 Brandon RE VIP Vendor List
 [TRU-Trust0000229765]).
 731
     See Ex. 315 (Just Play (Emby)) 73:16-18, 74:2-9, 257:18-258:12, 258:13-259:5, 64:4-65:7,
 259:20-260:10, 260:11-261:5, 261:13-262:1; Ex. 89 (Barry) 115:19-116:9; Ex. 95 (9’18’17
 Brandon RE VIP Vendor List [TRU-Trust0000229765]).
 732
     See Ex. 351 (Mattel (McColgan)) 230:16-231:8, 231:15-232:2, 237:23-239:8, 241:5-7,
 242:16-243:12, 243:3-12; Ex. 95 (9’18’17 Brandon RE VIP Vendor List [TRU-
 Trust0000229765]).
 733
     See Ex. 88 (Brandon) 264:2-11; Ex. 89 (Barry) 117:16-118:6; Ex. 95 (9’18’17 Brandon RE
 VIP Vendor List [TRU-Trust0000229765]).
 734
     See Ex. 88 (Brandon) 265:5-10, 266:10-19; Ex. 89 (Barry) 118:12-21, 119:17-21; Ex. 95
 (9’18’17 Brandon RE VIP Vendor List [TRU-Trust0000229765]).
 735
     See Ex. 95 (9’18’17 Brandon RE VIP Vendor List [TRU-Trust0000229765]).
 736
     See Ex. 335 (Lego (Kodak)) 53:9-21, 286:2-18, 288:1-19; Ex. 87 (Short) 143:11-16, 145:13-
 146:10, 147:9-25.
                                               250
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        •   Spin Master. 737


        •   Mattel. 738


        •   Hasbro.   739




        •   Jazwares.     740




        Barry delivered the representations in calls to executives at the following Trade Vendors:

        •   Mattel. 741


        •   Lego.   742




        •   Spin Master. 743


        •   Hasbro.   744




        •   MGA.    745




        •   Kids 2. 746



 737
     See Ex. 401 (Spin Master (Stewart)) 193:10-15, 194:2-25, 195:2-16, 197:18-198:2, 199:15-
 23, 283:19-284:10, 241:5-17; Ex. 87 (Short) 111:1-7, 111:19-22, 112:22-113:7, 112:6-10,
 114:15-20.
 738
     See Ex. 351 (Mattel (McColgan)) 170:21-171:20; Ex. 87 (Short) 116:3-13.
 739
     See Ex. 87 (Short) 141:1-142:1, 142:18-24.
 740
     See Ex. 87 (Short) 148:15-21, 149:14-19, 149:7-10.
 741
     See Ex. 351 (Mattel (McColgan)) 244:13-245:15; Ex. 89 (Barry) 111:25-112:3.
 742
     See Ex. 335 (Lego (Kodak)) 67:18-68:4, 68:15-23, 310:8-311:16; Ex. 89 (Barry) 115:3-9.
 743
     See Ex. 401 (Spin Master (Stewart)) 195:18-196:1, 197:18-198:2, 199:15-23; Ex. 89 (Barry)
 117:16-118:6.
 744
     See Ex. 293 (Hasbro (Glenn)) 290:12-291:1; Ex. 89 (Barry) 112:9-13.
 745
     See Ex. 372 (MGA (Elliott)) 54:25-55:3, 55:23-56:12, 258:21-259:16; Ex. 89 (Barry) 118:12-
 21, 119:17-21.
 746
     See Ex. 324 (Kids 2 (Calhoun)) 49:18-50:10, 50:11-21, 51:5-21, 215:23-216:5.
                                               251
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        •   Step2. 747


        •   Jazwares.      748




        •   Huffy.   749




        •   Just Play. 750


        •   Bandai. 751


        •   Delta.   752




        •   Learning Resources. 753


        •   Handi-Craft. 754


        •   Funrise. 755


        •   Yvolve.    756




        •   eKids.   757




 747
     See Ex. 409 (Step2 (McCallum)) 26:9-12, 76:24-77:3, 27:10-20, 153:21-154:12.
 748
     See Ex. 311 (Jazwares (Zebersky)) 164:13-17, 164:21-165:5, 41:1-10, 42:14-23, 42:24-43:6.
 749
     See Ex. 297 (Huffy (O’Gara)) 125:10-14, 36:21-37:16, 38:2-8, 39:1-10, 40:19-21.
 750
     See Ex. 315 (Just Play (Emby)) 259:20-260:10; Ex. 89 (Barry) 115:19-116:9.
 751
     See Ex. 213 (Bandai (Ciminera)) 47:7-14, 47:23-48:8, 48:23-49:2, 50:18-51:2
 752
     See Ex. 255 (Delta (Shamie)) 169:7-22.
 753
     See Ex. 330 (Learning Resources (Woldenberg)) 192:20-193:17, 198:3-199:8.
 754
     See Ex. 289 (Handi-Craft (Hentschell)) 23:5-21, 26:24-27:13, 105:15-106:7.
 755
     See Ex. 279 (Funrise (Price)) 52:23-54:17, 58:9-59:6.
 756
     See Ex. 421 (Yvolve (Smith)) 42:2-14, 46:12-16, 253:21-255:16; Ex. 89 (Barry) 82:19-24,
 81:12-22.
 757
     See Ex. 267 (eKids (       )) 335:22-336:2, 250:18-251:1, 336:18-337:14, 337:15-25, 338:1-
 339:11.
                                               252
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        •   Skyrocket. 758


        The initial contact spreadsheet assigned Company officers or employees to deliver the

 talking points to executives at the following trade vendors: Mattel, Hasbro, Just Play, Jazwares,

 Spin Master, Graco, MGA, Skyrocket, Jakks, Dorel, Kids II, Huffy, Delta, Bandai, Evenflo,

 Kent, Yvolution/Yvolve, Crayola, Best Chairs, Step 2, Munchkin, Artsana, Kitex. 759 In

 addition, other merchant team members made calls to the following Trade Vendors.

        •   eKids (       ) 760


        •   Bestway (Schellhase) 761


        •   Learning Resources (Woldenberg) 762


        •   Funrise (Price) 763


        •   Jada Toys (Simons) 764


        •   Warner Bros (Gamble) 765


        •   North States (Sueker) 766




 758
     See Ex. 395 (Skyrocket (Ardell)) 65:13-66:5, 105:18-106:4.
 759
     Ex. 89 (Barry depo.) 122:17-25, 124:19-128:2, 128:14-18, 128:24-129:13. Ex. 171 (Vendors
 Call spreadsheet (Barry depo. exhibit 16) [TRU-Trust0000364251]).
 760
     Ex. 267 (eKids (       ) depo.) 330:1-21, 250:18-251:1, 336:18-337:14.
 761
     Ex. 244 (Bestway (Schellhase) depo.) 102:2-17, 171:11-16, 181:13-17.
 762
     Ex. 330 (Learning Resources (Woldenberg) depo.) 192:20-193:17, 198:3-199:8.
 763
     Ex. 279 (Funrise (Price) depo.) 44:18-24, 45:2-11, 45:21-46:19, 48:15-49:1, 49:3-13, 52:23-
 53:17, 58:9-59:6.
 764
     Ex. 301 (Jada Toys (Simons) depo.) 51:22-25, 52:19-53:4, 207:11-25.
 765
     Ex. 415 (Warner (Gamble) depo.) 212:13-213:18, 215:5-21.
 766
     Ex. 385 (North States (Sueker) depo.) 59:1-5, 61:11-62:7.
                                                253
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        •   Basic Fun (Foreman) 767


        •   Handi-Craft (Hentschell) 768


        •   LSC (Pevonka) 769


        •   RR Donnelly (see LSC)




        Barry’s letter

        A letter signed by Richard Barry was “sent out to all of the major trade vendors.” 770 The

 letter began “Dear Valued Business Partner.” 771 It said “We have received commitments for

 over $3 billion in new financing that will support our operations and enable us to meet our
                                                                     772
 business obligations during the financial restructuring process.”

        Press releases

        The Company issued press releases informing the vendor community that Toys “R” Us

 “successfully obtained debtor-in-possession financing today” and that Toys “R” Us “can assure

 our vendors that we are in a good position to accept shipments on a normal basis and they have

 great assurance they will be paid.” 773



 767
     Ex. 232 (Basic Fun (Foreman) depo.) 246:19-247:5, 247:12-248:1.
 768
     Ex. 290 (Handi-Craft (Hentschell) depo.) 90:13-24, 37:4-17, 45:16-46:6, 28:2-13, 23:5-21,
 26:4-27:13, 105:15-106:7.
 769
     Ex. 347 (LSC (Pevonka) depo.) 181:6-24, 260:9-24, 264:3-13.
 770
     Ex. 89 (Barry) 93:25:94:10, 94:18-22, 95:3-6, 96:3-7; Ex. 160 (9’21’17 Barry letter Business
 Partner Update [TRU-Trust0000374052]).
 771
     Ex. 160 (9’21’17 Barry letter Business Partner Update [TRU-Trust0000374052]).
 772
     Ex. 160 (9’21’17 Barry letter Business Partner Update [TRU-Trust0000374052]), Ex. 89
 (Barry) 95:20-97:2.
 773
     Ex. 157 (9’19’17 1000 pm Reuters [TRU-Trust0000375540]); Ex. 159 (9’20’17 TRU First
 Day Press Release [TRU-Trust000374024]).
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        Short’s declaration

        Short submitted a declaration with the First Day filings stating “the DIP Facilities will

 also provide the Debtors liquidity to fund the administrative costs of these chapter 11 cases …

 and emerge from bankruptcy.” 774 Short further stated that “the DIP Facilities will provide the

 Debtors with the liquidity needed to reactivate their supply chain, provide assurance to their

 vendors, and capitalize on the holiday season.” 775

        Additional evidence about these statements and how they were communicated to Trade

 Vendors is found in Trust SOF ¶¶ 402, 408, 414, 420, 426, 432, 438, 444, 450, 456, 462, 468,

 474, 479, 484, 489, 494, 500, 506, 511, 517, 523, 529, 535, 540, 546, 551, 557, 563, 569, 574,

 579, 584, 590, 595, 601, 606.

                        b.       The information acquired by Defendants made the earlier
                                 representations false or misleading.

        As demonstrated above, the Defendants had communicated to trade vendors that Toys

 “R” Us had access to over $3 billion in DIP financing during the restructuring process that would

 enable Toys “R” Us to pay for merchandise that was shipped on credit while Toys “R” Us was in

 bankruptcy. The concealments identified above constitute information acquired by Defendants

 establishing that the representations made in September were false and misleading. The

 concealed information makes these representations false or misleading in three related ways.

        First, it was false or misleading to represent that the DIP financing provided Toys “R” Us

 with sufficient liquidity to meet its obligations throughout the bankruptcy.

        As Defendant Short admitted, “By the end of January, we understood that the original
                                                                  776
 amount raised under the DIP financing wouldn’t be sufficient.”         Defendants understood that


 774
     Short declaration (Bk. Dkt. 20) at ¶127.
 775
     Id. at ¶130.
 776
     Ex. 87 (Short depo.) 441:15-442:15.
                                                 255
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 the “DIP financing by itself [was] not enough,” because Toys “R” Us “need[ed] an additional

 $200 million” in financing. 777

        The statement that the DIP financing provided sufficient liquidity for Toys “R” Us to

 meet its obligations was thus no longer true. 778 In fact, the exact opposite was true. Defendants

 knew that the DIP financing would not provide Toys “R” Us with sufficient liquidity to meet its

 obligations, and that Toys “R” Us “would need access to additional financing” for the earlier

 statements to be true. 779

        Short admitted that Defendants’ representation that the DIP financing would allow Toys
                                                                                          780
 “R” Us to meet its obligations during the restructuring was no longer true in January.         At that

 time, Defendants knew that Toys “R” Us “would require an additional 150 to $200 million in a

 cash infusion” to meet its financial obligations. 781 And because of that information, Short

 “understood that the DIP financing that [the Company] had secured back in September would no

 longer enable the company to meet its financial obligations throughout the restructuring
             782
 process.”         He admitted that as of January 2018, “there would be other things that would have

 to be added to this statement to make it true,” including that “we needed additional financing …

 on the order of 150 to $200 million.” 783

        Second, it was misleading to represent that the DIP financing would be available for the

 duration of the bankruptcy process.




 777
     Ex. 88 (Brandon depo.) 559:18-560:3.
 778
     Ex. 88 (Brandon depo.) 558:3-12, 559:23-560:3.
 779
     Ex. 87 (Short depo.) 442:17-24.
 780
     Ex. 87 (Short depo.) 441:15-442:15.
 781
     Ex. 87 (Short depo.) 345:15-18.
 782
     Ex. 87 (Short depo.) 441:15-442:15.
 783
     Ex. 87 (Short depo.) 443:2-14, 444:16-24.
                                                   256
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           As discussed above, Defendants learned that the Company was projected to default on

 financial covenants by February or March 2018, and that they could not comply with the January

 31 budget covenant.

           A projected breach of the DIP financing covenants would mean that Toys “R” Us would

 not have access to the financing for the duration of the bankruptcy. For example, a loss of the

 financing in March would mean that the DIP financing would only be available for five months,

 rather than the 16 months that Defendants had represented.

           Defendants did not update Trade Vendors with the new information they learned.

 Instead, they continued to misrepresent the status of Toys “R” Us’ covenant compliance. For

 example, at the beginning of March 2018, Short sent a PowerPoint on covenant compliance to

 LEGO that stated that Toys “R” Us was “in compliance with all of our covenants through March

 3rd.” 784 That presentation did not mention that the Company had not complied with the January

 budget covenant (6.16), that the Company had determined that they could not satisfy the

 covenant, and that the lender had given them a 30 day waiver that would expire on March 3rd.
 785


           Third¸ it was misleading to represent that Toys “R” Us had the ability to pay vendors for

 “all goods and services” provided during the bankruptcy.

           Because Toys “R” Us was ordering goods on credit, Toys “R” Us needed sufficient

 liquidity to pay for those goods when the bill came due, typically 60 days after the order was

 placed. As discussed above, the DIP financing was the source of liquidity that allowed Toys “R”

 Us to satisfy its obligations. Defendants knew that if the Company breached its financial




 784
       Ex. 343 (Kodak (LEGO) depo. ex. 113).
 785
       Ex. 343 (Kodak (LEGO) depo. Ex. 113) at 3.
                                                  257
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 covenants and the DIP financing became unavailable, Toys “R” Us would be unable to pay

 vendors for goods. And by December 13, 2017, Defendants knew that the Company would

 breach a financial covenant in February or March 2018. It was therefore misleading to represent

 that the Company had the ability to pay vendors for “all goods and services” provided during

 bankruptcy.

                2.     Because Defendants continued to make representations, they had a
                       duty to disclose all material facts.

        Someone is liable “for non-disclosure of material facts” if “the defendant makes

 representations but does not disclose facts which materially qualify the facts disclosed, or which

 render his disclosure likely to mislead.” Nissan Motor Acceptance Cases, 63 Cal. App. 5th 793,

 827 (2021) (quoting Warner Constr. Corp. v. City of Los Angeles, 2 Cal. 3d 285, 294 (1970)). In

 other words, “concealment exists when a party to a transaction, who is under no duty to speak,

 nevertheless does speak and suppresses facts which materially qualify the facts stated.” Persson

 v. Smart Inventions, Inc., 125 Cal. App. 4th 1141, 1164-65 (2005); Jones v. ConocoPhillips Co.,

 198 Cal. App. 4th 1187, 1198, (2011) (a duty to disclose “[the suppression of a fact, by one …

 who gives information of other facts which are likely to mislead for want of communication of

 that fact”); Macomber v. Travelers Prop. & Cas. Corp., 261 Conn. 620, 636 (2002) (“A duty to

 disclose will be imposed, however, on a party insofar as he voluntarily makes disclosure. A party

 who assumes to speak must make a full and fair disclosure as to the matters about which he

 assumes to speak.”); Gutter v. Wunker, 631 So. 2d 1117, 1118-19 (Fla. Dist. Ct. App. 1994)

 (“where a party in an arm’s length transaction undertakes to disclose information, all material

 facts must be disclosed”).

        Defendants did not merely remain silent after making the initial representations to

 vendors in September. Rather, they continued to make statements to vendors. Each of these


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 representations to Trade Vendors required disclosure of all facts that materially qualified the

 statements or that were needed so that the statement was not misleading.

                        a.         The Vendor FAQ on the website.

        As Defendant Barry admitted, the Vendor FAQ was maintained on the Company’s

 vendor portal “all the way up through the date that it announced it was liquidating in March 0f

 2018.” 786

        And that Vendor FAQ continued to represent to vendors that Toys “R” Us “had sufficient

 liquidity to meet its obligations” during the bankruptcy because it “had access” to billions of

 dollars in DIP financing that would “enable us to meet our financial obligations throughout the
                           787
 restructuring process.”         And it continued to represent that Toys “R” Us would “pay vendors

 for all goods and services” that Trade Vendors provided after the bankruptcy filing. 788

        Defendants had an obligation to disclose all facts that would materially qualify those

 statements and that were necessary so that they would not be misleading. As demonstrated

 above, Defendants knew that whether the Company “had access” to billions of dollars in DIP

 financing “throughout the restructuring process,” was contingent on satisfying the financial

 covenants, that the Company was projecting to breach those covenants, and that—by January

 31—had determined the Company could not comply. As Short admitted, “there would be other

 things that would have to be added to this statement to make it true,” including that Toys “R” Us
                                                      789
 had “concluded we needed additional financing.”




 786
     Ex. 89 (Barry depo.) 64:15-24.
 787
     Ex. 172 (Vendor FAQ (Barry Exhibit 8) [TRU-Trust0000349256]).
 788
     Ex. 172 (Vendor FAQ (Barry Exhibit 8) [TRU-Trust0000349256]).
 789
     Ex. 87 (Short depo.) 443:2-13, 444:16-24.
                                                   259
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        Furthermore, the Vendor FAQ continued to represent “Will Toys ‘R’ Us continue normal

 operations? Yes. Our operations are continuing as usual.” That statement was misleading in

 light of the concealed facts set forth above that were known to Defendants, but not disclosed,

 including the following:

        •   “the Company will require at least $200 million in order to emerge from the chapter 11

            cases as a reorganized operating company, plus additional capital for planned capital

            expenditures,” the funding for emergence was “unlikely to materialize,” and one of the

            “likely outcomes of these chapter 11 cases” is “total liquidation of the enterprise.” 790


        •   the Company had “determined that [it] would not be able to comply with the Revised

            Budget Covenant [covenant 6.16].” 791


        •   “the forecasted cash liquidity position is dire” and “the Company projects it will breach
                                                                          792
            its postpetition financing covenants in February or March.”


        •   the DIP Term Loan lenders “thought it would be better to liquidate the company sooner

            rather than later,” and the Company was preparing “plans around a liquidation process”

            including a “liquidation analysis” and “wind-down budget” for the U.S. business, with

            the focus “around a mid March date.” 793


        As Brandon admitted:

        21    Q. Did you tell any trade vendors that,
        22 although you’d represented to them that Toys "R" Us
        23 would continue normal operations while in

 790
     Ex. 140 (1’28’18 minutes [DEFS_0059009]) at 1-2.
 791
     Ex. 144 (1’31’18 TRU - Waiver Extension (1-30-18) [Draft] [TRU-Trust0000323056]).
 792
     Ex. 142 (1’31’18 minutes [DEFS_0059013]).
 793
     Ex. 146 (2’17’18 Brandon to Sussberg [TRU-Trust0000275355]) at 1-3; Ex. 145 (2’16’18
 Barry Notes (Barry depo. exh. 44) [DEFS_0026183]).
                                                 260
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       24 bankruptcy, that you now determined it was unlikely
       25 that Toys "R" Us would continue to operate its
       1 current business plan?
       3       THE WITNESS: We did not share that
       4 information with any stakeholders.
 Brandon 565:21-566:4.

                       b.      December 21 conference call with vendors.

        On December 21, 2017, Brandon and Short conducted a conference call that was attended

 by many Trade Vendors as well as major news outlets, such as the Wall Street Journal,

 Bloomberg News, U.S.A. Today, PBS, and CBS. 794 Brandon and Short stated that the Company

 had “secured $3.1 billion in DIP financing” and “we obtained a very strong DIP financing

 package which put us in a position to have strong liquidity through this process.” 795

        But both Brandon and Short knew and failed to disclose facts that materially qualified

 those statements. While representing that they had a “very strong DIP financing package” that

 projected “strong liquidity through this process,” they failed to disclose that the Term DIP Loan

 lender had insisted on two financial covenants that left the Company with an insufficient

 liquidity cushion, so that the $175 million liquidity covenant “doesn’t work,” and the January

 budget covenant “just isn’t going to work.” 796

        They failed to disclose that holiday sales were down double-digits which meant the

 Company could not possibly achieve the liquidity levels required by the January budget




 794
     Ex. 87 (Short) 168:7-170:23; Ex. 165 (12’21’17 participant list).
 795
     Ex. 64 (12’21’17 Transcript, Q3 Earnings Call [TRU-Trust0000323034]).
 796
     Ex. 70 (Greenspan) ¶¶100, 104; Ex. 57 (9’20’17 0652 am [TRU-Trust0000075725]); Ex. 48
 (9’18’17 2244 pm [LZ-TRU0092221]) at 4; Ex. 70 (Greenspan) ¶¶103, 111-112, 115; Ex. 56
 (9’20’17 0612 am Kilkenney [TRU-Trust0000075262]); Ex. 37 (8’31’17 attach DIP sizing
 [TRU-Trust0000373909]) at 3; Ex. 42 (9’15’17 Lal 144 not sufficient [LZ-TRU0079112]); Ex.
 59 (9’21’17 Kurtz re negotiations [LZ-TRU0086423]) at 1.
                                                   261
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 covenant, and that eight days earlier Brandon had told the Board that the Company was

 projecting a “default under its financing milestones.” 797

                        c.     Hong Kong Toy Fair.

        Barry attended the Hong Kong Toy Fair from January 7 to January 11, 2018, along with

 Company employees Ron Baime, Rich Ryan, Raina Khumush, Dave Ditota, and Rob

 Magarino. 798 The team had extensive discussions with many Trade Vendors.      799
                                                                                      Barry reported

 that there were “Lots of vendor concerns out here.” 800 To address these concerns, the

 employees that accompanied Barry were not given an updated set of talking points and were not
                                                                                  801
 told to say anything different than what they had been saying since September.         The

 September talking points instructed the employees to tell Trade Vendors the Company had

 “sufficient liquidity to meet its obligations” because it had “a commitment for over $3.0 billion

 in new financing which will support our business and enable is us to meet our financial

 obligations during the restructuring process.” 802

        Barry told vendors “the common message” “that Toys ‘R’ Us had received … ‘DIP

 financing’ that would help us get through and exit bankruptcy” and that Toys “R” Us was going

 to be “purchasing additional merchandise in the coming months over the following years.” 803

 He told vendors that Toys “R” Us “was looking forward to doing business with them for the




 797
     Ex. 5 (2’7’18 weekly board update [DEFS_0125623]) at 3; Ex. 164 (12’13’17 minutes
 [DEFS_0061932]); Ex. 70 (Greenspan) ¶¶111, 135.
 798
     Ex. 89 (Barry depo.) 143:23-144:2, 145:1-13.
 799
     Ex. 89 (Barry depo.) 148:18-22, 152:20-153:8.
 800
     Ex. 89 (Barry depo.) 192:15-193:24; Ex. 137 (1'8'18 Barry to Hassan [TRU-
 Trust0000376438]).
 801
     Ex. 89 (Barry depo.) 92:22-25, 93:8-13, 144:20-25.
 802
     Ex. 174 (Vendor Talking Points (Barry Exhibit 6) [TRU-Trust0000336056]); Ex. 170 (TRU
 Master Q&A (Barry Exhibit 7) [TRU-Trust0000322879]) at 2, 13.
 803
     Ex. 90 (Baime depo.) 25:3-16, 26:25-27:7.
                                                 262
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 holiday season.” 804 He informed vendors that “we were working through the bankruptcy

 process with a plan to emerge and we were looking to get focused on driving business in holiday

 2018.” 805 Barry told vendors “things are fine,” “[e]verything’s on track” and “[f]inance is in

 place,” and was “giving his word” that vendors would be paid for the goods that they shipped. 806

 Barry did not communicate any negative information to vendors, such as “risks that Toys “R” Us

 could default on its financing,” or that “there may be obstacles to Toys “R” Us emerging from
                807
 bankruptcy.”         For additional evidence of representations to vendors at the Hong Kong Toy

 Fair see Trust SOF 494, 468, 563, 590, 500, 511, 414, 484, 551, 420.

        Multiple meeting schedules show the Trade Vendors that Barry and his team met with in
                808
 Hong Kong.           Those vendors included:

        Jada Toys
        • January 7, 2018, 10:30am

        •   Ex. 89 (Barry depo.) 162:22-163:5


        Funrise
        • January 7, 2018, 11:00am

        •   Ex. 89 (Barry depo.) 151:22-152:5, 162:11-165:7


        MGA
        • January 7, 2018, 11:45am and January 10, 3:30pm

        •   Ex. 89 (Barry depo.) 156:4-8, 165:12-16, 190:22-25




 804
     Ex. 89 (Barry depo.) 158:23-159:4, 186:25-187:5.
 805
     Ex. 89 (Barry depo.) 193:9-24.
 806
     Ex. 232 (Foreman (Basic Fun) depo.) 263:17-264:11, 266:15-267:14.
 807
     Ex. 89 (Barry depo.) 195:16-23, 155:7-19.
 808
     Ex. 180 (1’7’18 HK Executive Schedule [TRU-Trust0000376417]); Ex. 181 (1’9’18 HK
 GCC Schedule [TRU-Trust0000376416]); Ex. 182 (1’10’18 HK GCC Schedule [TRU-
 Trust0000376410]); Ex. 89 (Barry depo.) 150:14-21.
                                                  263
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        Spin Master
        • January 7, 2018, 1:30pm

        •   Ex. 89 (Barry depo.) 167:11-168:1, 168:19-169:1


        Jakks
        • January 7, 2018, 3:45pm and January 9, 2018, 7:00pm

        •   Ex. 89 (Barry depo.) 157:2-4, 169:2-9, 177:13-17


        Just Play
        • January 8, 12:45pm and January 10, 2:30pm

        •   Ex. 89 (Barry depo.) 189:17-24


        Bandai
        • January 8, 2018, 2:45pm

        •   Ex. 89 (Barry depo.) 174:12-15


        Hasbro
        • January 8, 2018, 3:30pm and January 10

        •   Ex. 89 (Barry depo.) 185:23-186:1



        Mattel
        • January 8, 5:30pm

        •   Ex. 89 (Barry depo.) 176:10-19


        Basic Fun
        • Ex. 89 (Barry depo.) 196:20-23, 200:15-201:9


        While representing to Trade Vendors that the Company had “‘DIP financing’ that would

 help us get through and exit bankruptcy,” Barry and his team omitted critical facts about the

 status of the financing. Barry did not disclose that the Company’s holiday sales were down over

                                                264
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 15% and that, as a result, the Company had determined that it would default on the DIP

 financing financial covenants in February or March or that shipping goods was “a risk.” 809

 Barry gave no indication that “Toys “R” Us was concerned” that it would not be able “to comply

 with its financing.” 810 Barry made selective disclosures that only provided positive information

 while withholding information suggesting Toys “R” Us’ liquidity was in jeopardy.

                            d.      Larian.

         When Brandon and Barry received an inquiry from Isaac Larian, the CEO of MGA, on

 February 3, 2018, Brandon chose to make statements on the subject, but not disclose the whole
                    811
 truth to Larian.         Larian forwarded Brandon a LinkedIn post by Jim Silver, an industry

 commentator, who reported that “Word has leaked from one of ToysRUS financial owners

 (Bain,Vornado,KKR) that they are leaning toward a liquidation” and were considering various

 options ranging from shrinking the footprint to “a 200 store chain” or “liquidate the whole

 thing.” 812 Larian asked Brandon “What the hell is going on? … Why NOBODY tell me about

 this?” 813

         In responding to Larian, Brandon communicated that Larian should not “rely upon Jim

 Silver as being a source of useful and accurate information about decisions being made in the

 boardroom of TRU.” 814 Brandon stated: “If there is something to tell you, you will be hearing it

 from us– not rumors on LinkedIn from Jim Silver.” 815 Brandon assured Larian that Toys “R”

 Us was “working on the best plan for emergence and a variety of alternatives are being



 809
     Ex. 232 (Foreman (Basic Fun) depo.) 263:17-264:11.
 810
     Ex. 232 (Foreman (Basic Fun) depo.) 264:13-265:1.
 811
     Ex. 147 (2’3’18 Brandon to Larian re Silver post [TRU-Trust0000272792]).
 812
     Ex. 167 (Larian Post).
 813
     Ex. 147 (2’3’18 Brandon to Larian re Silver post [TRU-Trust0000272792]) at 3.
 814
     Ex. 147 (2’3’18 Brandon to Larian re Silver post [TRU-Trust0000272792]) at 2.
 815
     Id. at 2.
                                                    265
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 considered.” 816 Brandon’s statements were calculated to convince Larian that there was no truth

 in the rumor of liquidation and that Silver was not an accurate source of information. 817

        Brandon’s statements were misleading and failed to disclose all material facts on the

 subject. Brandon failed to disclose that, just five days earlier, Brandon had told the board that

 there were “three likely outcomes of these chapter 11 cases” one of which was “total liquidation

 of the enterprise,” and that the outcome of emergence from bankruptcy “seems unlikely to

 materialize given current facts.” 818

        Brandon failed to disclose that the Company had a “500 million shortfall” in liquidity

 from the levels stated in the DIP budget. 819 And he failed to disclose the Company had

 determined that it could not satisfy the January 31 revised budget covenant, but had only been

 able to obtain a one-month waiver from the lender. 820 Brandon omitted that, just three days

 before, he had told the Board that “the forecasted cash liquidity position is dire,” and “the
                                                                                                 821
 Company projects it will breach its postpetition financing covenants in February or March.”

                           e.      New York Toy Fair.

        Defendants Brandon and Barry attended the New York Toy Fair from February 17 to

 February 19, 2018. All of the Defendants knew that Brandon, Barry, and a Toys “R” US team

 would be attending, because Brandon updated the board about the plans to attend the Toy Fair.

 Brandon told the Board that he “intends to meet with the executives of many large vendors” at
                 822
 the Toy Fair.         Brandon explained that each vendor would likely “push him for comfort that



 816
     Id. at 2.
 817
     Ex. 88 (Brandon depo.) 433:18-434:3.
 818
     Ex. 140 (1’28’18 minutes, [DEFS_0059009]).
 819
     Ex. 142 (1’31’18 minutes [DEFS_0059013]) at 2.
 820
     Ex. 143 (1’31’18 signed Waiver [TRU-Trust0000375089]).
 821
     Ex. 142 (1’31’18 minutes [DEFS_0059013]) at 2.
 822
     Ex. 148 (2’12’18 minutes [DEFS_0059030]).
                                                   266
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 the Company can pay for shipments,” and that Brandon and other Toys “R” Us employees

 visiting the Toy Fair would “provide vendors additional comfort so they do not determine to stop

 shipping.” 823

        As Raether testified, at the board meeting “there was a discussion about the upcoming

 New York Toy Fair and that Dave Brandon would be meeting with a number of the vendors …

 [a]nd that undoubtedly, there would be difficult conversations with the vendors about whether

 they would continue to ship or not.” 824 Brandon told the board “that he expected these vendors

 at the toy fair to push him for comfort that the company can pay for shipments.” 825 Brandon

 said “he was hopeful that he would be able to convince those vendors ... that they should

 continue to ship Toys ‘R’ Us.” 826 “He hoped that he would be successful in convincing the –

 the vendors not to stop shipping.” 827

        In advance of the Toy Fair, Barry and Brandon prepared and approved messaging that

 they and the rest of the Toys “R” Us team visiting the Toy Fair would use to communicate to

 Trade Vendors at the Toy Fair. On February 15, Barry approved a “NYTF Fact Sheet” that

 contained messages that the Toys “R” Us employees visiting Toy Fair were expected to deliver.

 That messaging stated: “The Leadership Team and our advisors are totally focused on our plans

 for emergence.” 828



 823
     Ex. 148 (2’12’18 minutes [DEFS_0059030]). Ex. 82 (Goodman) 346:19-347:3, 347:20-24;
 Ex. 81 (Bekenstein) 266:23-267:15, 268:6-269:24, 273:4-10; Ex. 83 (Macnow) 145:1-146:12,
 150:22-151:11; Ex. 80 (Silverstein) 328:15-25, 329:10-330:10; Ex. 79 (Taylor) 251:17-253:2,
 274:2-11, 277:10-18, 279:13-24, 281:21-282:2, 282:12-283:6; Ex. 88 (Brandon) 471:2-9,
 471:21-472:4, 472:10-473:6, 473:12-25, 475:1-4, 476:6-12, 477:4-8., 478:2-8, 478:18-479:2.
 824
     Ex. 77 (Raether) 282:13-283:4.
 825
     Ex. 77 (Raether) 283:5-16.
 826
     Ex. 77 (Raether) 283:17-284:4.
 827
     Ex. 77 (Raether) 283:5-16, see Ex. 77 (Raether) 284:15-22, 285:14-286:2, 287:7-24.
 828
     Ex. 150 (2’15’18 - Von Walter to Barry re fact sheet [TRU-Trust0000362680]); Ex. 149
 (2’15’18 NYTF Fact Sheet FINAL [TRUTrust0000362681]).
                                                267
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        On February 15, 2018, Barry organized a “Team Huddle” to instruct the Toys ‘R’ Us

 merchant team that would be attending the Toy Fair what to communicate to Trade Vendors. At

 the Team Huddle, Brandon and Barry presented a PowerPoint presentation that included slides

 such as “be positive,” “be aggressive,” and “[a]sk unapologetically for everything!” 829 It

 contained a slide with a graphic that read “Chapter 11 next exit,” which was used to

 communicate that Toys “R” Us “would emerge from bankruptcy.” 830 And it also included a

 slide that stated that “We are on our toes, not our heels,” which Brandon felt “was a very

 appropriate metaphor to use” to get the team in the right mindset. 831

        When delivering the presentation, Brandon told the merchant team “to be positive and

 work with our vendor partners to deliver a successful season as we worked to emerge from
                832
 bankruptcy.”         And Barry’s remarks included telling the team to “[b]e positive in your outlook

 with the vendors and in the way that you are going to drive negotiations,” and to “really as[k] the

 vendors to lean in with us and support us.” 833 Barry further told the team that “we were working

 hard on the emergence plans,” and to focus on Toys “R” Us’ future emergence from

 bankruptcy. 834

        An executive schedule listed the meetings that Brandon and Barry would have with
                      835
 different vendors.         Barry admits that he attended each of the meetings on the Toy Fair

 executive schedule. 836



 829
     Ex. 183 (2’15’18 NYTF team huddle powerpoint [TRU-Trust0000323065]). Id. at 7, 8, 11.
 830
     Id. at 5; Ex. 89 (Barry depo.) 272:4-8.
 831
     Ex. 183 (2’15’18 NYTF team huddle powerpoint [TRU-Trust0000323065]) at 6; Ex. 88
 (Brandon depo.) 462:15-21.
 832
     Ex. 89 (Barry depo.) 267:21-268:5; Ex. 88 (Brandon depo.) 463:8-12.
 833
     Ex. 89 (Barry depo.) 272:16-25, 276:10-25.
 834
     Ex. 89 (Barry depo.) 271:13-272:15.
 835
     Ex. 189 (2018 Executive Schedule – NY Toy Fair [TRU-Trust0000374795]).
 836
     Ex. 89 (Barry depo.) 332:10-15.
                                                    268
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        That schedule indicates that the following Trade Vendors received representations from

 Defendants at the toy fair at specific times.

        Basic Fun
        • Saturday, February 17, 10:00am 837


        Jakks
        • February 17, 2:45pm



        Yvolve/Yvolution
        • February 17, 5:00pm


        Hasbro
        • Sunday, February 18, 9:30am 838


        Lego
        • February 18, 12:00pm      839




        Step2
        • February 18, 2:00pm      840




        Crayola
        • February 18, 3:00pm      841




        Spin Master
        • Monday, February 19, 9:00am


        Mattel




 837
     Ex. 89 (Barry depo.) 289:15-17.
 838
     Ex. 89 (Barry depo.) 332:19-21, 335:13-24.
 839
     Ex. 89 (Barry depo.) 340:2-341:3.
 840
     Ex. 89 (Barry depo.) 347:18-22.
 841
     Ex. 89 (Barry depo.) 351:5-9.
                                                  269
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        •   February 19, 11:00am   842



        •   February 20, 5:30pm   843




        Just Play
        • February 19, 1:10pm     844




        MGA
        • February 19, 2:00pm     845




        For additional evidence of Trade Vendor meetings with Defendants and other Toys “R”

 Us representatives, see 420, 500, 606, 484, 540, 595, 438, 590, 551, 511, 563.

        At the New York Toy Fair, Brandon and Barry delivered a consistent message to Trade

 Vendors. Brandon told Trade Vendors in a “reassuring and comforting manner” that Toys “R”

 Us was “working through the bankruptcy” and was working on “exiting” and “having a

 business.” 846

        Brandon sat down with McCallum from Step2, “literally knee to knee,” and looked

 McCallum “straight in the eye” and said “we’re coming out of this fast,” “load the trucks, and

 get ready to ship because we’re going to need goods.” 847

        Brandon admitted that he told Trade Vendors “that Toys “R” Us was working on plans to

 emerge from bankruptcy.” 848 And Brandon further admitted that he did not inform vendors

 “that Toys “R” Us was working on a plan for liquidation.” 849


 842
     Ex. 89 (Barry depo.) 355:2-5, 360:5-11.
 843
     Ex. 88 (Brandon depo.) 516: 5-15.
 844
     Ex. 89 Barry depo. 362:21-363:1; Ex. 88 (Brandon depo.) 508:19-23.
 845
     Ex. 89 (Barry depo.) 366:4-67:5.
 846
     Ex. 90 (Baime depo.) 43:25-44:14.
 847
     Ex. 409 (Step 2 (McCallum)) 149:16-150:5, 184:19-185:10.
 848
     Ex. 88 (Brandon depo.) 500:4-7.
 849
     Ex. 88 (Brandon depo.) 500:10-14.
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        Barry delivered the same message: that Toys “R” Us was “focused on emergence and

 focused on the holiday season.” 850 Barry admitted that he did not provide “any negative

 information” to Trade Vendors or inform vendors that “there’s risks that [they] might not get

 paid.” 851 Barry told vendors it was “business as usual at Toys “R” Us.”   852
                                                                                  Barry stated: “things

 are fine,” “[e]verything’s on track” and “[f]inance is in place,” and was “giving his word” that
                                                                          853
 vendors would be paid for the goods that they shipped to Toys “R” Us.

        Each of the other Toys “R” Us representatives delivered the message that Brandon and

 Barry had instructed them to convey. They told Trade Vendors that management was “totally
                                        854
 focused on our plans for emergence.”         They assured Trade Vendors that




        Each of those statements was misleading and omitted the concealed information

 described above, which materially qualified the statements. They omitted that Brandon told the

 Board that “the Company will require at least $200 million in order to emerge from the chapter

 11 cases as a reorganized operating company, plus additional capital for planned capital

 expenditures” and this funding was “unlikely to materialize.” 856 They omitted that the

 Company had determined that it could not satisfy the January 31 revised budget covenant, but




 850
     Ex. 89 (Barry depo.) 343:6-13.
 851
     Ex. 89 (Barry depo.) 289:5-9.
 852
     Ex. 421 (Smith (Yvolve) depo.) 272:13-273:10.
 853
     Ex. 232 (Foreman (Basic Fun) depo.) 263:17-264:11, 266:15-267:14.
 854
     Ex. 150 (2’15’18 - Von Walter to Barry re fact sheet [TRU-Trust0000362680]); Ex. 149
 (2’15’18 NYTF Fact Sheet FINAL [TRUTrust0000362681]).
 855
     Ex. 93 (Ryan depo.) 174:6-10.
 856
     Ex. 140 (1’28’18 minutes [DEFS_0059009]) at 1-2.
                                                  271
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 had only a one-month waiver. 857 They omitted that on January 31, 2018, “Brandon advised the

 board that … the forecasted cash liquidity position is dire” and “the Company projects it will
                                                                        858
 breach its postpetition financing covenants in February or March.”

         And they omitted that on February 16, 2018, the day before the start of the New York

 Toy Fair, Brandon called an “emergency leadership team” meeting to announce that the DIP

 Term Loan lenders “thought it would be better to liquidate the company sooner rather than later,”

 and the Company was preparing “plans around a liquidation process” including a “liquidation

 analysis” and “wind-down budget” for the U.S. business, with the focus “around a mid March

 date.” 859

         Brandon, Barry, and the rest of the team were being “positive,” and “provid[ing] vendors

 additional comfort so they do not determine to stop shipping,” and telling vendors that “The

 Leadership Team and our advisors are totally focused on our plans for emergence.” 860 But

 Brandon and Barry knew that in fact they had just had an “emergency meeting” on the day

 before the Toy Fair, that the liquidity situation was dire, that they were not totally focused on

 emergence, and that liquidation planning was underway. This constitutes fraudulent

 concealment. Nissan Motor Acceptance Cases, 63 Cal. App. 5th 793, 827 (2021) (defendant

 “failed to disclose material facts it had a duty to disclose” when defendant told plaintiff that it




 857
     Ex. 144 (1’31’18 TRU - Waiver Extension (1-30-18) [Draft] [TRU-Trust0000323056]).
 858
     Ex. 142 (1’31’18 minutes [DEFS_0059013]).
 859
     Ex. 146 (2’17’18 Brandon to Sussberg [TRU-Trust0000275355]) at 1-3; Ex. 145 (2’16’18
 Barry Notes (Barry depo. exh. 44) [DEFS_0026183]); Ex. 89 (Barry depo.) 419:24-421:17; Ex.
 89 (Barry depo.) 419:24-421:17.
 860
     Ex. 148 (2’12’18 minutes [DEFS_0059030]); Ex. 150 (2’15’18 - Von Walter to Barry re fact
 sheet [TRU-Trust0000362680]); Ex. 149 (2’15’18 NYTF Fact Sheet FINAL
 [TRUTrust0000362681]).
                                                  272
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 “would not shut Superior down while at the same time he and his staff were contemplating that

 option”).

        As Raether admitted, telling vendors at the New York Toy Fair that “things are going

 great,” that Toys “R” Us was “working on [its] plans to emerge from bankruptcy,” and that Toys

 “R” Us was “looking forward to the next holiday season” would not be “the whole truth.” 861

                       f.       Mattel and the LEGO Group representations.

        Defendants made additional, specific statements to Mattel and the LEGO Group falsely

 claiming covenant compliance.

        The LEGO Group entered a non-disclosure agreement with Toys “R” Us to obtain

 information about Toys “R” Us’ covenant compliance in February 2018. 862 After LEGO signed

 that NDA, Short sent LEGO a financial covenant forecast deck on March 1, 2018, stating that it
                                                                        863
 provided “info on covenant compliance in Delaware for Jan and Feb.”          That slide deck stated

 that Toys “R” Us had only “two financial covenants,” the cash flow and liquidity covenants, and

 that Toys “R” Us would be “in compliance with both of these covenants” through March 3,

 2018. 864 In reality, Short knew that Toys “R” Us was projected to soon breach these covenants.

 And Short failed to disclose a third covenant, the January 31 revised budget covenant, and that

 the Company had determined it could not comply with that covenant, but had only been able to

 obtain a one-month waiver from the lender. 865




 861
     Ex. 77 (Raether depo.) 296:4-19; see Ex. 80 (Silverstein depo.) 335:1-24.
 862
     Ex. 335 (Kodak (LEGO) depo.) 156:20-157:9.
 863
     Ex. 152 (3’2’18 Short to Lao [LEGO-TRU_00012738]).
 864
     Ex. 151 (3’1’18 financial covenant forecast).
 865
     Ex. 143 (1’31’18 signed Waiver [TRU-Trust0000375089]).
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        Similarly, Mattel reached out to Short on February 16 and informed Short that its auditors
                                                                                            866
 were requesting “a document confirming current compliance with existing covenants.”              Short

 was “the point person for” “understanding whether they were going to be in a position to default”
                            867
 on any of the covenants.         Short did not tell Mattel that Toys “R” Us was projected to breach

 the liquidity and cash flow covenants and had already determined it could not comply with the

 January 31 revised budget covenant. Instead, Short surmised that “we are going to tell Gregg

 [Stefanick] that if we were in covenant default, we would have had to issue an 8K. Since we did

 not, he, his company, and their auditors ought to assume that we are not in breach.” 868 Brandon

 executed this strategy, telling Mattel on February 25 or 26 that “Toys “R” Us would have been

 required to file an 8-K if it was not in compliance with its covenants.” 869 Brandon and Short did

 not disclose, or direct anyone else to disclose, the true facts regarding the Company’s covenant

 breaches. Instead, on February 25, Mattel received an email with forecasts that were claimed to

 “demonstrate the Company’s ability to comply with February covenants.” 870

                       g.          Purchase orders representing the ability to pay.

        In addition to the verbal and written statements to Trade Vendors directly addressing the

 status of the Company’s financing, liquidity situation, and plans for emergence, vendors received

 additional representations each time that they received a purchase order from the Company.

 Trust’s SOF ¶¶401, 407, 413, 419, 425, 431, 437, 443, 449, 455, 461, 467, 473, 478, 483, 488,

 493, 499, 505, 510, 516, 522, 528, 534, 539, 545, 550, 556, 562, 568, 573, 578, 583, 589, 594,

 600, 605.



 866
     Ex. 185 (2’16’18 Stefanick to Short [MATTEL00000537]).
 867
     Ex. 357 (Stefanick (Mattel) depo.) 172:2-18.
 868
     Ex. 184 (2’16’18 Short to Kosturos [TRU-Trust0000299828]).
 869
     Ex. 357 (Stefanick (Mattel) depo.) 177:23-179:14.
 870
     Ex. 186 (2’26’18 Johnson to Euteneuer cash flow forecast [MATTEL00005494]).
                                                   274
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           A buyer’s commitment to purchase goods on credit includes an implied representation

 that the buyer “has the wherewithal”—the ability—to “repay all credit extended.” In re

 Hutchinson, 27 B.R. 247, 250-51 (Bankr. E.D.N.Y. 1983) (collecting cases); In re Rodgers, 115

 B.R. 678, 683-84 (Bankr. C.D. Cal. 1990). A buyer has “a duty to disclose to the seller facts

 critical to the buyer’s ability to perform the transaction.” Fairview Dev. Corp. v. Aztex Custom

 Homebuilders, LLC, No. CV-07-0337-PHX-SMM, 2009 U.S. Dist. LEXIS 16501, at *33 (D.

 Ariz. Mar. 2, 2009) (collecting cases).

           The representation that the Company had the ability to pay gave rise to a duty to disclose

 all facts that materially qualified that representation. These facts included that the Company was

 projected to soon default on its DIP financing. But Defendants failed to give vendors any of the

 information that indicated that Toys “R” Us’ ability to pay for purchase orders using the DIP

 financing was in peril. For example, a purchase order placed by Toys “R” Us on January 25,

 2018, contained the implied representation that Toys “R” Us would be able to pay for that

 purchase order when it came due. But Defendants learned just one day earlier that they were

 projected to lose access to the DIP financing—their ability to pay—because they could not

 comply with required liquidity levels under the budget covenant. 871

           Trade Vendors were never aware of any of this information. Instead, the Company “just

 kept merrily producing the POs, and we kept shipping them. And they were trying to induce us

 to accept more orders and take more financial risk and send them more inventory with free

 financing up to the very last day.” 872 Additional evidence for the Trade Vendors’ lack of

 awareness is found in Trust SOF ¶¶ 403, 409, 415, 421, 427, 433, 439, 445, 451, 457, 463, 469,




 871
       Ex. 139 (1’24’18 minutes [TRU-Trust0000374989]).
 872
       Ex. 330 (Woldenberg (Learning Resources) depo.) 220:20-222:5.
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 475, 480, 485, 490, 495, 501, 507, 512, 518, 524, 530, 536, 541, 547, 552, 558, 564, 570, 575,

 580, 585, 591, 596, 602, 607.

                3.      Defendants were under a duty to disclose because they possessed
                        superior knowledge and knew that Trade Vendors were acting on the
                        basis of mistaken facts.

        A person is under a duty to disclose when he knows that another is acting on a mistaken

 belief about a material fact to the transaction. “[A] duty to disclose may also arise when a

 defendant possesses or exerts control over material facts not readily available to the plaintiff.”

 Jones v. ConocoPhillips Co., 198 Cal. App. 4th 1187, 1199 (2011)). A defendant is liable for

 “non-disclosure of material facts” if “the facts are known or accessible only to defendant, and

 defendant knows they are not known to or reasonably discoverable by the plaintiff. Nissan

 Motor Acceptance Cases, 63 Cal. App. 5th 793, 826 (2021) (quoting Warner Constr. Corp. v.

 City of Los Angeles, 2 Cal. 3d 285, 294 (1970)).

        Such a duty exists when “(1) one party has superior knowledge of certain information; (2)

 that information is not readily available to the other party; and (3) the first party knows that the

 second party is acting on the basis of mistaken knowledge.” Pursuit Partners, LLC v. UBS AG,

 No. X05CV084013452S, 2009 Conn. Super. LEXIS 2313, at *40 (Super. Ct. Sep. 8, 2009).

        A duty to disclose exists “where one party possesses superior knowledge, not readily

 available to the other, and knows that the other is acting on the basis of mistaken knowledge.”

 Century Pac., Inc. v. Hilton Hotels Corp., 2004 U.S. Dist. LEXIS 6904, at *26-27 (S.D.N.Y.

 Apr. 20, 2004) (discussing Second Circuit application of New York state law). “It is no longer

 acceptable, if ever it was, to conclude in knowing silence, a transaction damaging to a party who

 is mistaken about its basic factual assumptions when, like the present plaintiff, he ‘would

 reasonably expect a disclosure’.” Gaines Serv. Leasing Corp. v. Carmel Plastic Corp., 432

 N.Y.S.2d 760, 763 (Civ. Ct. 1980) (citing Restatement, Torts 2d, § 551).
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        The Trust has evidence establishing each of these components.

                        a.     Defendants had superior knowledge of material facts.

        As demonstrated above, Defendants had access to the Company’s internal data and

 communications that the Trade Vendors lacked. The Defendants therefore possessed both

 superior knowledge and special information on the subjects of (i) the Company’s recent financial

 results including sales, margins, SG&A costs, and capital expenditures, (ii) the Company’s

 projected financial results including sales growth/ decline, margins, costs, and capital

 expenditures, (iii) the Company’s plan for emergence or liquidation, (iv) the Company’s

 compliance with financial covenants, (v) the Company’s current or projected liquidity.

        Defendants had superior knowledge of the concealed facts because the facts consisted of

 internal Company communications, data, and projections. For example, Brandon, Short, and
                                          873
 Barry received daily reports of sales.         The Directors received a “Weekly Board Update” with

 financial information. 874 And the Directors received updates at each board meeting about Toys

 “R” Us’ financial position, and how that financial position affected covenant compliance and

 access to the DIP financing. As discussed above, each of these facts was material because they

 directly related to the risk that Toys “R” Us would be unable to pay vendors for goods as they

 came due.

        As a result, Defendants knew each of the concealed facts, for example:




 873
     Bk. Dkt. 2341 (Transcript of 3’20’17 hearing; Kurtz testimony) at 17 (“the management
 team” was watching “the day-to-day operating performance of the company during … the
 holiday season” and “would literally receive … a daily sales tally”).
 874
     E.g. Ex. 5 (2’7’18 weekly board update [DEFS_0125623]); Ex. 81 (Bekenstein) 185:2-7,
 187:20-189:31.
                                                     277
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        On December 13, 2017, Brandon informed the Board of Directors that Toys “R” Us was

 projected to “end the year with an EBITDA that would result in a default under its financing

 milestones.” 875

        On January 24, 2018, Brandon told the Board that Toys “R” Us’ 2017 EBITDA was

 “projected to be under $300 million—significantly short of the Company’s $640 million

 projection in the DIP budget” which would lead to an “anticipated breach of financial covenants

 under the DIP Financing.” 876 And Brandon explained that “as a result of the Company’s poor

 performance and based on current projections the Company will now require a $150-$200

 million cash infusion from a third-party in order to fill a hole in the proposed budget and emerge

 as a reorganized operating business.” 877

        Four days later, at a January 28, 2018, board meeting, Brandon told the Board that “the

 Company will require at least $200 million in order to emerge from the chapter 11 cases as a
                                                                                             878
 reorganized operating company, plus additional capital for planned capital expenditures.”

 And on January 31, 2018, Brandon and Short informed the Board that the company was more

 than $500 million below the level required to satisfy the company’s covenant milestones. 879




 875
     Ex. 164 (12’13’17 minutes [DEFS_0061932]).
 876
     Ex. 139 (1’24’18 minutes [TRU-Trust0000374989]).
 877
     Ex. 139 (1’24’18 minutes [TRU-Trust0000374989]); Ex. 88 (Brandon depo.) 555:17-22; Ex.
 88 (Brandon depo.) 376:23-377:1.
 878
     Ex. 140 (1’28’18 minutes [DEFS_0059009]).
 879
     Ex. 142 (1’31’18 minutes [DEFS_0059013]).
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        By February 16, 2018, Barry, Brandon, and Short understood that the “contingency

 planning effort” for a liquidation was “well underway” and was targeting a “mid March date.” 880
                                                                                                   881
 And the rest of the Director Defendants learned this at a board meeting on February 18, 2018.

                       b.      Information about those material facts was not readily
                               available to the Trade Vendors.

        In particular, Toys “R” Us’ internal projections for covenant compliance and statements

 made at board meetings were not readily available to Trade Vendors. Defendants admitted as
                                                                                               882
 much: Trade Vendors “did not have access to the leadership team meetings” at Toys “R” Us.

 They “did not have access to the cash flow projections that were prepared by Toys “R” Us.” 883

 And the Trade Vendors “did not have the financial information about Toys “R” Us” such that

 they could “calculate Toys “R” Us’ cash flow position.” 884 Because the Trade Vendors lacked

 all of this information, they could not “determine whether or not [Toys “R” Us] was meeting or

 was likely to meet its financial covenants.” 885 Indeed, it was “impossible for a vendor to

 realistically assess and test complex covenants without detailed (and truthful) information and

 forecasts by the Company.” 886

        Moreover, Trade Vendors could not learn any of this information from outside sources.

 As the vendors testified, news sources and rumors in the industry did not provide accurate

 information on which they could base their decisions. 887 The only way that Trade Vendors


 880
     Ex. 146 (2’17’18 Brandon to Sussberg [TRU-Trust0000275355]); Ex. 89 (Barry depo.)
 420:25-421:3; Ex. 87 (Short depo.) 415:9-25.
 881
     Ex. 146 (2’17’18 Brandon to Sussberg [TRU-Trust0000275355]); Ex. 188 (2’18’18 board
 minutes [TRU-Trust0000303812]) at 3-4.
 882
     Ex. 89 (Barry depo.) 542:23-25.
 883
     Ex. 89 (Barry depo.) 543:1-5.
 884
     Ex. 89 (Barry depo.) 543:20-544:2.
 885
     Ex. 70 (Greenspan) ¶533.
 886
     Id. ¶538.
 887
     Ex. 372 (Elliott (MGA) depo.) 292:21-293:8 (discussing that other sources be “just
 speculating on whether [Toys “R” Us was] in compliance or would eventually be out of
                                                279
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                                                                                              888
 could learn this information was by getting it from Defendants or others at Toys “R” Us.           As

 one vendor put it “[s]hort of hacking or spying,” there was no way to obtain the information that

 was communicated in “a private conversation held in confidence behind closed doors.” 889

 Vendors attempted to learn that information from Toys “R” Us—they would “ask for and expect

 updates from Toys “R” Us about their status.” 890 But vendors were not told the truth when they

 asked for those updates. Instead, they were “told consistently” that Toys “R” Us was “confident

 that they would emerge” and never given any information that contradicted the initial
                                          891
 information posted on the Vendor FAQ.          Additional evidence of Defendants’ superior

 knowledge can be found in Trust SOF ¶¶ 404, 410, 416, 422, 428, 434, 440, 446, 452, 458, 464,

 470, 476, 481, 486, 491, 496, 502, 508, 513, 519, 525, 532, 537, 542, 548, 553, 559, 565, 571,

 576, 581, 586, 592, 597, 603, 608.

                       c.      Defendants knew that the Trade Vendors were acting on the
                               basis of mistaken knowledge.

        As demonstrated above, Defendants knew that the concealed facts were material to the

 Trade Vendors’ decision to ship goods on credit and that the Trade Vendors did not have this

 information.

        Brandon, Barry, and Short understood the importance of the DIP financing to Trade

 Vendors because they personally made statements to the Trade Vendors and gauged their

 reaction. “[I]t was important that [trade vendors] understood that [Toys ‘R’ Us] had financing

 that allowed us to continue going forward.” 892 The DIP was important because Trade Vendors


 compliance” with its covenants); Ex. 307 (Cooney (Jakks) depo.) 188:17-189:17 (“we couldn’t
 act on rumor”).
 888
     Ex. 70 (Greenspan) ¶535.
 889
     Ex. 330 (Woldenberg (Learning Resources) depo.) 230:11-231:8.
 890
     Ex. 372 (Elliott (MGA) depo.) 293:10-21.
 891
     Ex. 372 (Elliott (MGA) depo.) 278:25-279:11, 289:19-290:1.
 892
     Ex. 87 (Short depo.) 73:17-74:2; Ex. 88 (Brandon depo.) 206:11-14.
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 wanted assurances that Toys “R” Us had the ability to pay for goods that it shipped. 893 And the

 presence of the DIP facilities “provide[d] assurance to vendors that, if they shipped goods on

 credit, they would be paid.” 894 After Barry and his team completed 30 discussions with Trade

 Vendors on September 18, 2017, he wrote an email to the entire leadership team including

 Brandon and Short, and explained that “Confirmation of the DIP financing is a crucial issue for

 the vendors” in deciding whether to “return to business as usual terms with a resumption of

 shipping.” 895

        The Directors similarly understood the importance of the DIP financing to vendors

 because they were told about the vendor communication strategy implemented by Brandon and

 Barry. At the board meeting on September 27, 2017, the board was informed that a “vendor war

 room was established with the primary focus of getting vendors to start shipping again.” 896

 Barry described for the Directors “the war room process that Toys ‘R’ Us was following to reach
                                                                     897
 out to trade vendors to get them to start shipping” to the board.

        Barry explained to the Directors that “informing the trade vendors about the $3 billion in

 DIP financing was important to the trade vendors,” that vendors were “reacting positively” to

 “the liquidity available from the DIP financing” and “had agreed to ship.” 898 Barry explained

 that “to get trade vendors to start shipping,” the vendors were told that “Toys ‘R’ Us had

 liquidity to pay for goods shipped on credit as a result of obtaining DIP financing.” 899 As



 893
     Ex. 87 (Short depo.) 44:3-8.
 894
     Ex. 87 (Short depo.) 54:13-18.
 895
     Ex. 156 (9’18’17 Barry re DIP crucial [TRU-Trust0000036336]); Ex. 89 (Barry) 132:11-
 133:2.
 896
     Ex. 87 (Short depo.) 155:9-12; Ex. 162 (9’27’17 board minutes [TRU-Trust0000374722]);
 Ex. 77 (Raether) 261:13-18.
 897
     Ex. 89 (Barry depo.) 132:7-133:2; Ex. 162 (9’27’17 board minutes [TRU-Trust0000374722]).
 898
     Ex. 89 (Barry depo.) 132:7-134:1.
 899
     Ex. 77 (Raether) 262:3-12.
                                                 281
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 Defendant Raether (one of the Directors) explained, the reason the Company obtained “a

 substantial amount of DIP financing” was “to be able to say…to the vendors, that … it’s

 demonstrable that we have the cash to pay for the goods that we’ve ordered.” 900

        As a result of those updates, the Directors knew that the “presence of the $3 billion in

 DIP financing” was “one of the substantial reasons why” Trade Vendors decided to ship goods to
                                       901
 Toys “R” Us during the bankruptcy.

        Defendants understood that Toys “R” Us “needed the DIP facilities to be able to pay

 vendors in the future.” 902 Without the DIP financing, Toys “R” Us would not “have the ability
                                             903
 to pay for all goods shipped on credit.”          And Defendants further knew that Trade Vendors

 would be interested in knowing “whether there was a serious risk that the DIP financing would

 disappear” because vendors were assessing the risk of “whether they would be paid by Toys “R”

 Us.” 904 If vendors had been informed about Toys “R” Us’ “dire liquidity position or potential to

 default its financial covenants,” vendors would likely have stopped shipping. 905

        But Defendants knew that Trade Vendors were not receiving updates about these risks,

 and were acting on the basis of mistaken information. The information that Trade Vendors

 had—from representations made throughout the bankruptcy—was that the DIP financing

 provided sufficient liquidity to fulfill Toys “R” Us’ obligations and that it would be available for

 the duration of the bankruptcy. 906 As discussed above, Defendants were aware that these




 900
     Ex. 77 (Raether) 262:3-12.
 901
     Ex. 77 (Raether depo.) 262:23-263:17.
 902
     Ex. 87 (Short depo.) 55:7-11.
 903
     Ex. 87 (Short depo.) 56:23-57:2.
 904
     Ex. 87 (Short depo.) 311:1-9, 313:25-314:4.
 905
     Ex. 87 (Short depo.) 401:21-402:17.
 906
     See, e.g., Ex. 290 (Hentschell (Handi-Craft) depo.) 129:11-20, 126:13-127:13; Ex. 315 (Emby
 (Just Play) depo.) 276:24-277:15; Trust SOF ¶¶ 403, 409, 415, 421, 427, 433, 439, 445, 451,
                                                      282
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 statements were no longer true, and knew that Defendants had superior knowledge as a result of

 communications, data, and projections that were internal to the Company. Defendants therefore

 knew that Trade Vendors did not have this information. 907

        For example, Defendants Brandon and Short testified that they made the decision “not to

 voluntarily release our holiday sales results” contrary to the Company’s usual practice, because

 “holiday performance” was “significantly less than expected,” which “could have concerned”

 “the trade vendor community” because the Company “would have reported a weak holiday

 period,” and “[t]hey may have been concerned about the ability of Toys ‘R’ Us to continue going
                                                                                              908
 forward,” and “[t]he ability of Toys ‘R’ Us to pay for goods that were shipped on credit.”

 And, on January 10, 2018, Brandon told the Board about “the decision not to release holiday
                                                                    909
 results, including the communications strategy related thereto.”

        Thus, Defendants knew that Trade Vendors were acting on the basis of mistaken and

 incomplete knowledge in making their decision to ship goods to Toys “R” Us. And they had a

 duty to disclose facts to rectify that mistaken knowledge when entering into transactions with the

 Trade Vendors.

                4.     Defendants had a relationship of trust and confidence with Trade
                       Vendors that created a duty to disclose.

        A person has a duty to disclose “matters known to him that the other is entitled to know

 because of a fiduciary or other similar relation of trust and confidence between them.”

 Restatement (Second) of Torts §551(2)(a). “[A] duty to disclose material facts may arise out of a


 457, 463, 469, 475, 480, 485, 490, 495, 501, 507, 512, 518, 524, 530, 536, 541, 547, 552, 558,
 564, 570, 575, 580, 585, 591, 596, 602, 607.
 907
     See, e.g., Ex. 89 (Barry depo.) 542:23-25.
 908
     Ex. 87 (Short depo.) 279:19-23, 281:18-282:9; Ex. 88 (Brandon depo.) 344:3-344:24, Ex. 88
 (Brandon depo.) 346:7-16, Ex. 89 (Barry depo.) 519:16-24.
 909
     Ex. 88 (Brandon depo.) 344:3-344:24; Ex. 89 (Short depo.) 279:19-23; Ex. 3 (1’10’18 BOD
 minutes [TRU-Trust0000374746]) at 2.
                                                283
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 situation where plaintiff places trust and confidence in defendant, thereby placing defendant in a

 position of influence and superiority over plaintiff. This position of superiority may arise by

 reason of friendship, agency, or experience.” Connick v. Suzuki Motor Co., 174 Ill. 2d 482, 500

 (1996) (internal citation omitted); see Schrager v. N. Cmty. Bank, 328 Ill. App. 3d 696, 708-09

 (2002) (holding that superior knowledge of financial history and specific facts of a development

 project “placed defendants in a position of influence”); R.I. Indus.-Recreational Bldg. Auth. v.

 CAPCO Steel, LLC, No. PC 14-6055, 2015 R.I. Super. LEXIS 90, at *36-37 (Super. Ct. July 22,

 2015) (“The duty to disclose, or duty to speak, does not depend on the existence of a fiduciary

 relationship between the parties. It may arise in any situation where one party imposes

 confidence in the other because of that person’s position, and the other party knows of this

 confidence.” (internal quotes omitted)); Hooper v. Barnett Bank of W. Fla., 474 So. 2d 1253,

 1257 (Fla. Dist. Ct. App. 1985) (“one who stands in a confidential or fiduciary relation to the

 other party to a transaction must disclose material facts”).

        Trade Vendors placed trust and confidence in Defendants, and relied on that relationship

 in their dealings with Toys “R” Us and Defendants.

        Trade Vendors had “very longstanding, mutually beneficial partnership[s]” with Toys
                                910
 “R” Us spanning many years.          Trade Vendors and Toys “R” Us representatives built
                                                                     911
 “relationship[s] based on trust and long-term business together.”         When Defendants sent

 communications to vendors, they reminded vendors of this partnership. For example, the letter




 910
     Ex. 307 (Cooney (Jakks) depo.) 126:18-24; Ex. 272 (Blankenship (Evenflo) depo.) 156:17-21
 (“We also considered them a partner); Ex. 88 (Brandon depo.) 191:8-14 (Confirming that he
 often “referred to the relationship between Toys “R” Us and toy vendors as … a partnership.”)
 911
     Ex. 409 (McCallum (Step2) depo.) 148:14-149:15 (“[W]e looked each other in the eye and
 we made promises, and we delivered on those promises.”)
                                                  284
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 sent bearing Barry’s signature that provided Trade Vendors with information about the DIP
                                                                            912
 financing referred to the Trade Vendors as “valued business partners.”

          This close relationship of trust extended to the relationships between Trade Vendors and

 Defendants. Barry had a relationship with many vendors “for years, even decades.” 913 Over

 that period, Barry had “developed a reputation as someone who would be honest” with the Trade

 Vendors. 914

          Barry himself agreed that the relationship between him and trade vendors was “one of

 mutual trust and partnership.” 915 When Barry communicated with Trade Vendors during the

 bankruptcy, he reiterated that he considered “the relationship to be a partnership.” 916 And Barry

 continuously “encourage[d] trade vendors to believe that [he was] a man of [his] word and could

 be trusted.” 917

          Trade Vendors confirmed that they had close relationships of Trust and confidence with

 both Barry and Brandon. For example, Jay Foreman of Basic Fun had “a warm, personal

 friendship and relationship from a business standpoint” with Barry, and felt that he could trust
          918
 Barry.         And Joe Shamie of Delta testified that he and Barry were ‘close friends” and that he

 “trusted [Barry] immensely.” 919 Bill McCallum of Step2 testified of his close relationship with

 Brandon: “[W]hen David looked me in the eye and told me something, that’s it. We shake hands,

 and we moved forward.” 920 Additional evidence of Trade Vendors’ trust and confidence is



 912
     Ex. 160 (9’21’17 Barry letter Business Partner Update [TRU-Trust0000374052]).
 913
     Ex. 89 (Barry depo.) 471:5-10.
 914
     Ex. 89 (Barry depo.) 88:19-23.
 915
     Ex. 89 (Barry depo.) 471:8-10.
 916
     Ex. 89 (Barry depo.) 169:17-25.
 917
     Ex. 89 (Barry depo.) 201:10-13.
 918
     Ex. 232 (Foreman (Basic Fun) depo.) 216:1-217:1.
 919
     Ex. 255 (Shamie (Delta) depo.) 169:23-172:3.
 920
     Ex. 409 (McCallum (Step2) depo.) 178:5-18.
                                                    285
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 found in Trust SOF ¶¶ 406, 412, 418, 424, 430, 436, 442, 448, 454, 460, 466, 472, 498, 504, 515,

 521, 527, 533, 544, 555, 561, 567, 588, 598, 610.

        These special relationships created a duty to share with Trade Vendors information

 material to the Company’s ability to pay for goods shipped on credit. As discussed above, the

 concealed facts were not readily available to Trade Vendors. But they were available to

 Brandon, Barry, and the other Defendants. Thus, Defendants’ superior knowledge about the

 Company’s ability to pay vendors coupled with the relationship of trust and confidence created a

 duty to disclose.

        E.      Defendants’ concealment was intended to induce action by the Trade
                Vendors.

        “An intent to deceive is not an essential element of the cause of action; the required intent

 is an intent to induce action.” Beckwith v. Dahl, 205 Cal. App. 4th 1039, 1062 (2012) (internal

 citations omitted). To demonstrate the requisite intent for fraudulent concealment, a plaintiff

 must prove that “the concealment was intended to induce a false belief, under circumstances

 creating a duty to speak.” Neptuno Treuhand-Und Verwaltungsgesellschaft MBH v. Arbor, 295

 Ill. App. 3d 567, 572 (1998).

        As demonstrated above, Defendants knew the importance of the concealed facts to Trade

 Vendors, understood that Trade Vendors did not have this information, but determined not to

 disclose them so that Trade Vendors would continue shipping goods to Toys “R” Us—this

 suffices to show knowledge and an intent to induce action.

        Defendants intended (in fact had the strong desire) that the Trade Vendors continue

 shipping goods on credit. As long-time directors and officers of the Company, Defendants knew

 that the Company’s business model required obtaining goods from Trade Vendors. 2017 Form




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 10k at 16. They also knew that the Company did not have sufficient liquidity to pay for goods

 COD, and needed the Trade Vendors to ship goods on credit. 921

        Similarly, Short testified that the Company’s “business model is effectively built on these
                 922
 trade terms.”         And if the Company’s “trade terms contracted from 60 days to cash-on-

 delivery,” this “would require over $1.0 billion in additional liquidity.” 923 Defendants knew that

 if “vendors stopped shipping, then the company would have been unable to continue as a going

 concern.” 924

        As demonstrated above, Defendants also knew that Trade Vendors would stop shipping

 goods on credit if they became concerned about the Company’s ability to pay, and that the

 presence of the DIP financing was the source of liquidity that gave Trade Vendors the assurance

 to ship on credit. 925 For example, Barry wrote an email to the entire leadership team including

 Brandon and Short, and explained that “Confirmation of the DIP financing is a crucial issue for

 the vendors” in deciding whether to “return to business as usual terms with a resumption of

 shipping.” 926 Barry also explained to the Directors “the war room process that Toys ‘R’ Us was

 following to reach out to trade vendors to get them to start shipping” to the board. 927 And Barry

 explained that “informing the trade vendors about the $3 billion in DIP financing was important




 921
     Ex. 51 (9’18’17 attach Brandon chapt 11 [DEFS_0027298]) at 7 (“The Company does not
 have available liquidity to pay cash in advance”).
 922
     Bk. Dkt. 30 (Short decl.) ¶112.
 923
     Bk. Dkt. 30 (Short decl.) ¶113.
 924
     Ex. 87 (Short depo.) 401:21-402:17.
 925
     Ex. 87 (Short depo.) 54:13-18.
 926
     Ex. 156 (9’18’17 Barry re DIP crucial (Barry Exh. 2) [TRU-Trust0000036336]); Ex. 89
 (Barry) 132:11-133:2.
 927
     Ex. 89 (Barry depo.) 132:7-133:2; Ex. 162 (9’27’17 board minutes [TRU-Trust0000374722]).
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 to the trade vendors,” that vendors were “reacting positively” to “the liquidity available from the
                                            928
 DIP financing” and “had agreed to ship.”

        As demonstrated above, Defendants knew that Trade Vendors were interested in knowing

 “whether there was a serious risk that the DIP financing would disappear” because vendors were

 assessing the risk of “whether they would be paid by Toys “R” Us.” 929 And Defendants

 understood that if vendors had been informed about Toys “R” Us’ “dire liquidity position or

 potential to default its financial covenants,” vendors could have stopped shipping. 930 Had the

 Trade Vendors been made aware of the Company’s financial predicament and the analysis it had

 conducted, “they would have changed their shipping terms or stopped shipping altogether.” 931

        Because Defendants knew that the Trade Vendors would stop shipping goods on credit if

 they learned the concealed facts, Defendants knew that by concealing that information the Trade

 Vendors would continue shipping goods on credit, which is the action Defendants intended and

 desired to induce in Trade Vendors. For example, Defendants Brandon and Short testified that

 they made the decision “not to voluntarily release our holiday sales results” contrary to the

 Company’s usual practice, because “holiday performance” was “significantly less than

 expected,” which “could have concerned” “the trade vendor community” because the Company

 “would have reported a weak holiday period,” and “[t]hey may have been concerned about the

 ability of Toys ‘R’ Us to continue going forward,” and “[t]he ability of Toys ‘R’ Us to pay for

 goods that were shipped on credit.” 932




 928
     Ex. 89 (Barry depo.) 132:7-134:1.
 929
     Ex. 87 (Short depo.) 311:1-9, 313:25-314:4.
 930
     Ex. 87 (Short depo.) 401:21-402:17.
 931
     Ex. 70 (Greenspan) ¶538.
 932
     Ex. 87 (Short depo.) 279:19-23, 281:18-282:9; Ex. 88 (Brandon depo.) 344:3-344:24, 346:7-
 16, Ex. 89 (Barry depo.) 519:16-24.
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          As another example, all Defendants knew that Brandon, Short, and Barry went to the

 New York Toy Fair for the express purpose of providing Trade Vendors information about the

 Company’s finances and plans for emergence that would provide “comfort that the Company can

 pay for shipments,” “so they [Trade Vendors] do not determine to stop shipping.” 933 Because

 Defendants knew that the concealed facts would not “comfort” Trade Vendors, Defendants failed

 to disclose them and did so with the knowledge that this would induce Trade Vendors to

 continue shipping. 934 The Trust has proffered powerful direct and circumstantial evidence that,

 by failing to disclose the concealed facts, Defendants intended to induce Trade Vendors to

 continue shipping, and Defendants have never disputed that they had such intent. “Questions of

 intent are normally questions of fact properly reserved for the jury.” Sloan v. GM LLC, No. 16-

 cv-07244-EMC, 2020 U.S. Dist. LEXIS 71982, at *54 (N.D. Cal. Apr. 23, 2020) (collecting

 cases); Testo v. Ruggiero, NO. CV90 27 19 97 S, 1993 Conn. Super. LEXIS 1719, at *8 (Super.

 Ct. July 13, 1993) (“Summary judgment is inappropriate to determine questions of motive and

 intent.”).

          F.     Trade Vendors were unaware of the concealed facts and would have acted
                 differently.

          The fourth element of fraudulent concealment is: “(4) the plaintiff [was] unaware of the

 fact and would not have acted as he did if he had known of the concealed or suppressed fact.”

 Prakashpalan v. Engstrom, Lipscomb & Lack, 223 Cal. App. 4th 1105, 1130 (2014) (internal

 quotes omitted); Huls v. Clifton, Gunderson & Co., 179 Ill. App. 3d 904, 909 (1989) (“the

 concealed information must also have been such that the other party would have acted differently

 had he been aware of it”).



 933
       Ex. 148 (2’12’18 board minutes [TRU-Trust0000313960]).
 934
       Ex. 70 (Greenspan) ¶451.
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        As demonstrated above, the concealed facts were material to each Trade Vendor because

 they directly affected each Trade Vendor’s evaluation of the risk of shipping goods to Toys “R”

 Us. Each of the vendors testified that they were unaware of the concealed facts and would have

 acted differently had they been told each of the concealed facts—they would have stopped

 shipping goods on credit. Vendors would have either moved to cash in advance (ensuring that

 they received payment before parting with any additional goods), or stopped shipping and

 retained the goods (so that they could sell them to other purchasers). See Trust SOF ¶¶ 403, 409,

 415, 421, 427, 433, 439, 445, 451, 457, 463, 469, 475, 480, 485, 490, 495, 501, 507, 512, 518,

 524, 530, 536, 541, 547, 552, 558, 564, 570, 575, 580, 585, 591, 596, 602, 607. And the

 testimony of Defendants and outside advisors further supports that Trade Vendors would have

 acted differently by stopping shipments or tightening credit terms if they had learned the

 concealed facts. 935

        G.      Trade Vendors were damaged by Defendants’ concealment of facts.

        The final element of a claim for fraudulent concealment is: “as a result of the

 concealment or suppression of the fact, the plaintiff must have sustained damage.”

 Prakashpalan v. Engstrom, Lipscomb & Lack, 223 Cal. App. 4th 1105, 1130 (2014) (internal

 quotes omitted).

        Each Trade Vendor filled purchase orders between December 2017 and March 2018 and

 therefore sustained damage. As demonstrated above, had Defendants disclosed the concealed

 facts above, Trade Vendors would have acted differently by not shipping goods or by only

 shipping those goods if they received cash before shipment. Each Trade Vendor filled purchase

 orders between December 13, 2017, and March 14, 2018, when the Company’s liquidation was


 935
    See Ex. 87 (Short depo.) 401:21-402:17; Ex. 84 (Sussberg depo.) 176:6-14; Ex. 85 (Kurtz
 depo.) 270:24-271:7.
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 announced. Because Trade Vendors shipped goods to Toys “R” Us on credit, and were not paid

 for those goods they sustained damage. See Trust SOF ¶¶ 405, 411, 417, 423, 429, 435, 441,

 447, 453, 459, 465, 471, 477, 482, 487, 492, 497, 503, 509, 514, 520, 526, 532, 538, 543, 549,

 554, 560, 566, 572, 577, 582, 587, 593, 599, 604, 609.

           Each Trade Vendor’s administrative proof of claim lays out the purchase orders that the
                                                                                             936
 Trade Vendor shipped and was not paid for. This Court approved those proofs of claim.             And
                                                                                             937
 the specific amounts of those damages are detailed and supported by the Trust’s experts.

           H.     All Defendants are liable for the fraudulent concealments and
                  representations.

           For Defendants to be liable for fraudulent concealment there is no requirement that each

 Defendant personally prepare or distribute each non-disclosure, misleading statement, or half-

 truth to Trade Vendors. Instead, Defendants are personally liable for the representations or non-

 disclosures of other officers or employees if either (a) the Defendant intends that the

 representation or concealment will be passed on and influence a vendor, or (b) the Defendant

 fails to stop fraudulent conduct.

                  1.     Defendants intended that that the concealment would be passed on
                         and influence Trade Vendors.

           “One who makes a misrepresentation or false promise or conceals a material fact is

 subject to liability if he or she intends that the misrepresentation or false promise or concealment

 of a material fact will be passed on to another person and influence such person’s conduct in the

 transaction involved.” Whiteley v. Philip Morris, Inc., 117 Cal. App. 4th 635, 681 (2004)

 (internal quotes omitted); Comm. on Children’s Television, Inc. v. Gen. Foods Corp., 35 Cal. 3d

 197, 219 (1983).


 936
       See, e.g., Bk. Dkt. 4583, Bk. Dkt 5171.
 937
       See Ex 70 (Greenspan) ¶¶545-571, Ex. 135 (Mills) ¶¶55-61.
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        As the Restatement frames it, a person is liable for a fraudulent misrepresentation

 received by another “if the misrepresentation, although not made directly to the other, is made to

 a third person and the maker intends or has reason to expect that its terms will be repeated or its

 substance communicated to the other, and that it will influence his conduct in the transaction or

 type of transactions involved.” Restatement (Second) of Torts § 533, quoted with approval

 Whiteley v. Philip Morris, Inc., 117 Cal. App. 4th 635, 681, 11 Cal. Rptr. 3d 807, 845 (2004);

 Giulietti v. Giulietti, 65 Conn. App. 813, 842 n.24 (2001).

        In the immediate aftermath of the bankruptcy filing, Defendants intended that Trade

 Vendors receive representations about the DIP financing that would influence the Trade Vendors

 to ship goods to Toys “R” Us. As discussed above, Defendants knew that Toys “R” Us needed

 Trade Vendors to ship goods on credit. Defendants also knew that Trade Vendors needed

 assurances about payment so that they would make the decision to ship goods to Toys “R” Us. 938

 And they knew that the DIP financing would provide Trade Vendors with assurances about

 payment. In the words of Defendant Raether, Toys “R” Us’ DIP financing would enable Toys

 “R” Us “to be able to say… to the vendors, that … its demonstrable that we have the cash to pay

 for the goods that we’ve ordered.” 939 To convince Trade Vendors to ship goods to the company

 on credit, Defendants thus needed to ensure that each Trade Vendor was informed about the DIP

 financing.

        To ensure that the Trade Vendors received those representations, Defendants Brandon

 and Barry took the lead in establishing a “vendor war room” that would aim to “ge[t] vendors to

 start shipping again.” 940 As part of the war room process, Brandon and Barry instructed the



 938
     Ex. 87 (Short depo.) 44:3-8.
 939
     Ex. 77 (Raether depo.) 262:3-12.
 940
     Ex. 87 (Short depo.) 155:9-12.
                                                 292
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 Toys “R” Us merchant team to deliver specific representations to Trade Vendors about the $3.0

 billion in new financing, and Toys “R” Us’ ability to pay Trade Vendors for goods shipped for

 the duration of the bankruptcy. 941 Each of the other Defendants was informed that the war room

 was established and that Toys “R” Us employees were communicating the specific messages

 about the DIP financing that would provide assurances to vendors that they would be paid for
                            942
 goods that they ordered.         No Defendant objected to this process because it accomplished their

 goal: informing Trade Vendors of the presence of the DIP financing so that Trade Vendors

 would determine to ship goods during the bankruptcy.

        Moreover, Defendants intended that Brandon, Barry, and the team at the New York Toy

 Fair reassure Trade Vendors and provide them “comfort so they do not determine to stop

 shipping.” 943 In a board meeting just days before the New York Toy Fair, “there was a

 discussion about the upcoming New York Toy Fair and that Dave Brandon” would be having

 “conversations with the vendors about whether they would continue to ship or not.” 944

 Defendants knew that the concealed facts about Toys “R” Us’ liquidity hole, need for an

 additional cash infusion, and consideration of a full or partial liquidation would not provide

 comfort to the Trade Vendors. Instead, those facts would cause Trade Vendors to stop

 shipping. 945 But no Defendant raised any objection to Brandon’s plan. They did not instruct

 Brandon to refrain from visiting the New York Toy Fair. They did not tell Brandon that instead

 of providing “comfort,” he should provide Trade Vendors with the current facts about Toys “R”




 941
     Ex. 174 (Vendor Talking Points [TRU-Trust0000336056]); Ex. 89 (Barry depo.) 59:13-60:2.
 942
     Ex. 87 (Short depo.) 155:9-12; Ex. 162 (9’27’17 board minutes [TRU-Trust0000374722]);
 Ex. 77 (Raether) 261:13-18; Ex. 89 (Barry depo.) 132:7-133:2.
 943
     Ex. 148 (2’12’18 minutes [DEFS_0059030]).
 944
     Ex. 77 (Raether depo.) 282:13-283:4.
 945
     See Ex. 87 (Short depo.) 401:21-402:17.
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 Us’ situation. Instead, Defendants allowed Brandon, Barry, and a team of Toys “R” Us

 employees to attend the New York Toy Fair and deliver misleading half-truths. As Raether

 confirmed, comforting statements at the New York Toy Fair “that things are going great,” that

 Toys “R” Us was “working on [its] plans to emerge from bankruptcy” and that Toys “R” Us was

 “looking forward to the next holiday season,” would not be “the whole truth.” 946 Those

 comforting statements necessarily required concealing the facts that Defendants knew would

 cause Trade Vendors to stop shipping.

           As demonstrated above, each Defendant had knowledge of the concealed facts and had

 reason to expect (in fact intended) that the non-disclosure would be communicated to Trade

 Vendors and would influence Trade Vendors in shipping goods to the Company on credit.

 Accordingly, all Defendants are liable for all acts of fraudulent concealment.

           Such liability does not require that a Defendant knew with certainty that non-disclosure

 would reach each Trade Vendor. A defendant is deemed to expect that “a misrepresentation,

 false promise or nondisclosure of material fact will be passed on to another person and influence

 that person’s conduct if he or she has information that would lead a reasonable person to

 conclude that there is a likelihood that it will reach such person and will influence his or her

 conduct in the transaction involved.” Whiteley, 117 Cal. App. 4th at 681. Furthermore, it does

 not matter whether each Defendant knew the identity of each Trade Vendor. If a representation

 or non-disclosure is made to “a particular class of persons, [the defendant] is deemed to have

 deceived everyone in that class.” Geernaert v. Mitchell, 31 Cal. App. 4th 601, 605 (1995)




 946
       Ex. 77 (Raether depo.) 296:4-19.
                                                  294
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                2.      Defendants failed to stop fraudulent conduct.

        Defendants are also liable under the alternative theory that they failed to stop fraudulent

 conduct.

        Directors and officers of a corporation are “personally liable for intentional torts when

 they knew or had reason to know about but failed to put a stop to tortious conduct.” Asahi Kasei

 Pharma Corp. v. Actelion Ltd., 222 Cal. App. 4th 945, 966 (2013); Frances T. v. Village Green

 Owners Assn., 42 Cal. 3d 490, 504 (1986) (director liable for tort claim if “they specifically

 knew or reasonably should have known that some hazardous condition or activity under their

 control could injure plaintiff, they negligently failed to take or order appropriate action to avoid

 the harm”); PMC, Inc. v. Kadisha, 78 Cal. App. 4th 1368, 1380 (2000) (officers are “personally

 liable for fraud committed by a managerial employee because [the officers] knew about and

 allowed the tortious conduct to occur”); Polonetsky v. Better Homes Depot, Inc., 97 N.Y.2d 46,

 55 (2001) (“In actions for fraud, corporate officers and directors may be held individually liable

 if they participated in or had knowledge of the fraud, even if they did not stand to gain

 personally.”); Nielsen Co. (US), LLC v. Success Sys., 2012 U.S. Dist. LEXIS 115774, at *16-18

 (S.D.N.Y. Aug. 13, 2012) (same).

        As demonstrated above:

        •   All Defendants knew that the Company’s officers and employees had conducted a “war

            room” strategy to persuade Trade Vendors to ship goods on credit. They knew that the

            Company’s officers and directors had represented to Trade Vendors that the Company

            had the ability to pay Trade Vendors because it had access to over $3 billion in DIP

            financing throughout the restructuring process.




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        •    All Defendants knew the DIP financing was crucial to the Trade Vendor’s continuing

             to ship goods on credit.


        •    All Defendants knew that the Company was continuing to place orders for goods on

             credit, thereby representing that the Company had the ability to pay for the goods.


        •    All Defendants knew the concealed facts and knew that the Company’s officers and

             employees were not disclosing those facts to Trade Vendors.


        •    All Defendants knew that the Company’s officers and employees would be attending

             the New York Toy Fair, where they would be receiving questions from Trade Vendors

             seeking assurances that the Company can pay for shipments, and that officers and

             employees would respond by providing Trade Vendors comfort so that they do not

             determine to stop shipping.


        Because Defendants thus “knew or had reason to know about but failed to put a stop to

 tortious conduct,” Defendants are “personally liable” for those torts. Asahi Kasei Pharma Corp.

 v. Actelion Ltd., 222 Cal. App. 4th 945, 966 (2013).

 VIII. Defendants are liable for fraudulent misrepresentation.

        A.      Law of fraudulent misrepresentation.

        A claim for fraudulent misrepresentation claim has the following elements: “(1) a false

 statement of material fact, (2) knowledge or belief of the falsity by the party making it, (3)

 intention to induce the other party to act, (4) action by the other party in reliance on the truth of

 the statements, and (5) damage to the other party resulting from such reliance.” Kopley Grp. V.,

 Ltd. P’ship v. Sheridan Edgewater Props., 376 Ill. App. 3d 1006, 1017 (2007); see Gold v. Univ.

 of Bridgeport Sch. of Law, 19 Conn. App. 379, 382 (1989); Cooper v. Equity Gen. Ins. Co., 219
                                                  296
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 Cal. App. 3d 1252, 1262 (1990) (describing elements as “(1) representation; (2) falsity; (3)

 knowledge of falsity; (4) intent to deceive; and (5) reliance and resulting damages”).

        The Trust has powerful evidence proving each of these elements.

        B.      The representations from Defendants were actionable.

                1.       The representations.

        As demonstrated above, Defendants made representations directly to Trade Vendors,

 authorized and instructed others to make representations directly to the Trade Vendors, and

 authorized representations that Toys “R” Us would disseminate publicly. These statements are

 summarized here:

                         a.     September representations

        Vendor FAQ on the website:

        •    Toys “R” Us had “sufficient liquidity to meet its obligations” because it had “access to

             up to $2.5 billion in debtor-in-possession (‘DIP’) financing which will support our

             business and enable us to meet our financial obligations throughout the restructuring
                         947
             process.”


        •    The Company would later “access almost $1 billion in additional financing for a total
                                                     948
             of $3.125 billion in new financing.”          It also stated that Toys “R” Us “will pay

             vendors for all goods and services received on or after the filing date.” 949


        Telephone calls directly to Trade Vendors:




 947
     Ex. 172 (Vendor FAQ (Barry Exhibit 8) [TRU-Trust0000349256]).
 948
     Id.
 949
     Ex. 172 (Vendor FAQ (Barry Exhibit 8) [TRU-Trust0000349256]).
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        •   The Company’s “operations are continuing in the ordinary course,” and “We intend to

            pay vendors in full under normal terms for goods and services provided on or after the

            filing date.” 950


        •   The Company does “have sufficient liquidity to meet its obligations” and “we have

            commitments for over $3.0 billion in new financing that will help support our

            operations and enable is us to meet our financial obligations during the restructuring
                        951
            process.”


        •   “the DIP financing would provide liquidity to Toys ‘R’ Us to be able to pay for goods

            that were shipped on credit,” 952 and “would enable Toys ‘R’ Us to pay for merchandise

            that was shipped on credit while Toys ‘R’ Us was in bankruptcy,” 953


        Barry’s letter:

        •   “We have received commitments for over $3 billion in new financing that will support

            our operations and enable us to meet our business obligations during the financial
                                      954
            restructuring process.”


        Press releases:




 950
     Ex. 174 (Vendor Talking Points [TRU-Trust0000336056]); Ex. 89 (Barry) 59:13-60:2.
 951
     Ex. 174 (Vendor Talking Points [TRU-Trust0000336056]); Ex. 170 (TRU Master Q&A
 (Barry Exhibit 7) [TRU-Trust0000322879]) at 2, 13; Ex. 173 (Vendor reference guide
 [DEFS_0026186]) at 8; Ex. 89 (Barry depo.) 47:13-21.
 952
     Ex. 89 (Barry depo.) 73:11-5.
 953
     Ex. 89 (Barry depo.) 35:6-14.
 954
     Ex. 160 (9’21’17 Barry letter Business Partner Update [TRU-Trust0000374052]); Ex. 89
 (Barry) 95:20-97:2.
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       •   Toys “R” Us “successfully obtained debtor-in-possession financing today” and Toys

           “R” Us “can assure our vendors that we are in a good position to accept shipments on

           a normal basis and they have great assurance they will be paid.” 955


       Short’s declaration:

       •   “the DIP Facilities will also provide the Debtors liquidity to fund the administrative

           costs of these chapter 11 cases … and emerge from bankruptcy.” 956


       •   “the DIP Facilities will provide the Debtors with the liquidity needed to reactivate their

           supply chain, provide assurance to their vendors, and capitalize on the holiday season.”
           957




                        b.    December-March representations

       The Vendor FAQ on the website

       •   The same representations identified above continued to appear on the Vendor FAQ.


       Purchase orders representing the ability to pay

       •   An implied representation that the Company “has the wherewithal to repay all credit

           extended.”


       December 21 conference call with vendors.




 955
     Ex. 157 (9’19’17 1000 pm Reuters [TRU-Trust0000375540]); Ex. 159 (9’20’17 TRU First
 Day Press Release [TRU-Trust000374024]).
 956
     Short declaration (Bk. Dkt. 20) at ¶127.
 957
     Id. at ¶130.
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       •   The Company had “secured $3.1 billion in DIP financing” and “we obtained a very

           strong DIP financing package which put us in a position to have strong liquidity

           through this process.” 958


       Hong Kong Toy Fair, January 7-11, 2018.

       •   The Company had “sufficient liquidity to meet its obligations” and had “a commitment

           for over $3.0 billion in new financing which will support our business and enable is us

           to meet our financial obligations during the restructuring process.” 959


       •   “Toys ‘R’ Us had received … ‘DIP financing’ that would help us get through and exit
                         960
           bankruptcy”


       •   Barry stated: “things are fine,” “[e]verything’s on track” and “[f]inance is in place,”

           and was “giving his word” that vendors would be paid for the goods that they shipped
                               961
           to Toys “R” Us.


       Larian

       •   An MGA executive asked Brandon and Barry about Jim’s Silver post that: “Word has

           leaked from one of ToysRUS financial owners (Bain, Vornado, KKR) that they are

           leaning toward a liquidation” and were considering various options ranging from

           shrinking the footprint to “a 200 store chain” or “liquidate the whole thing.” 962



 958
     Ex. 64 (12’21’17 Transcript, Q3 Earnings Call [TRU-Trust0000323034]).
 959
     Ex. 170 (TRU Master Q&A (Barry Exhibit 7) [TRU-Trust0000322879]) at 2, 13; Ex. 173
 (Vendor reference guide [DEFS_0026186]) at 8; Ex. 89 (Barry depo.) 47:13-17.
 960
     Ex. 90 (Baime depo.) 25:3-16, 26:25-27:7.
 961
     Ex. 232 (Foreman (Basic Fun) depo.) 263:17-264:11, 266:15-267:14.
 962
     Ex. 167 (Larian Post); Ex. 147 (2’3’18 Brandon to Larian re Silver post [TRU-
 Trust0000272792]).
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        •   In response, Brandon communicated that Larian should not “rely upon Jim Silver as

            being a source of useful and accurate information about decisions being made in the

            boardroom of TRU.” 963


        •   Brandon also said Toys “R” Us was “working on the best plan for emergence and a

            variety of alternatives are being considered.” 964 “If there is something to tell you, you

            will be hearing it from us– not rumors on LinkedIn from Jim Silver.” 965


        NY Toy Fair February 17-19, 2018

        •   “The Leadership Team and our advisors are totally focused on our plans for
                           966
            emergence.”


        •   Brandon told Trade Vendors in a “reassuring and comforting manner” that Toys “R”

            Us was “working through the bankruptcy” and was working on “exiting” and “having

            a business.”


        •   “Toys “R” Us was working on plans to emerge from bankruptcy.” 967


        •   Toys “R” Us “would emerge from bankruptcy.” 968


        •   Toys “R” Us was “focused on emergence and focused on the holiday season.” 969




 963
     Ex. 147 (2’3’18 Brandon to Larian re Silver post [TRU-Trust0000272792]) at 2.
 964
     Id. at 2.
 965
     Id. at 2.
 966
     Ex. 150 (2’15’18 – Von Walter to Barry re fact sheet [TRU-Trust0000362680]); Ex. 149
 (2’15’18 NYTF Fact Sheet FINAL [TRUTrust0000362681]).
 967
     Ex. 88 (Brandon depo.) 500:4-7.
 968
     Id. at 5; Ex. 89 (Barry depo.) 272:4-8.
 969
     Ex. 89 (Barry depo.) 343:6-13.
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        •    “we were working hard on the emergence plans,” 970


        •   it was “business as usual at Toys “R” Us.” “Toys ‘R’ Us was looking forward to

            working with the vendor in the holiday season,” and “wanted to work with the vendor

            once [Toys “R” Us] emerged from Chapter 11.” 971


        •   things are fine,” “[e]verything’s on track” and “[f]inance is in place,” and was “giving

            his word” that vendors would be paid for the goods that they shipped to Toys “R” Us.972


        Mattel and Lego representations.

        •   To LEGO Group: Toys “R” Us has only “two financial covenants” and would be “in
                                                                            973
            compliance with those covenants” throughout March 3, 2018.


        •   To Mattel: cash flow forecasts purporting to “demonstrate the Company’s ability to
                                                974
            comply with February covenants.”          Statements by Brandon that Toys “R” Us was

            in compliance with its covenants because otherwise it would have been required to file

            an 8-K.


                2.     The representations are actionable as facts capable of empirical
                       verification.

        Each of the representations is actionable because the truth or falsity of each of these

 statements could be objectively verified.




 970
     Ex. 89 (Barry depo.) 271:13-272:15
 971
     Ex. 93 (Ryan depo.) 174:6-10.
 972
     Ex. 232 (Foreman (Basic Fun) depo.) 263:17-264:11, 266:15-267:14.
 973
     Ex. 151 (3’1’18 financial covenant forecast).
 974
     Ex. 186 (2’26’18 Johnson to Euteneuer cash flow forecast [MATTEL00005494]).
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        Each of the representations about DIP financing were verifiable as true or false in several

 respects. Whether the Company had “access to” or had “received commitments for” the

 financing is a fact that can be determined to be true or false, and can be objectively verified by

 examining documentation and emails. Objective evidence would demonstrate whether the

 Company did have access to the financing, or whether it did not. The representation as to the

 amount of financing, such as “over $3 billion in new financing” or “$3.125 billion in new

 financing” is a fact whose truth or falsity can be determined. Numerical amounts are facts; and

 the amount of new financing could be verified from documentation.

        The representation that the amount of DIP financing was sufficient to “enable us to meet

 our financial obligations throughout the restructuring process” was a fact whose truth or falsity

 could be objectively verified. 975 The statement would be clearly true, for example, if the

 Company’s budget for the restructuring process projected a $200 million surplus in liquidity.

 And the statement would be clearly false if the budget projected a $200 million shortfall in

 liquidity. As Defendant Short admitted, by the end of January that representation had become

 verifiably false: Toys “R” Us needed “access to additional financing for that to be true.” 976 And

 that financing would have to be “on the order of 150 to $200 million.” 977

        And a representation as to the duration of availability, such as “throughout the

 restructuring process,” or “while Toys ‘R’ Us was in bankruptcy” is a fact capable of being true

 or false and subject to verification by examining objective documentation. The fact would be

 certainly true, for example, if financing documents provided that the financing was committed

 “for the duration of the restructuring process,” and it would be clearly false if the documents



 975
     Ex. 172 (Vendor FAQ [TRU-Trust0000349256]).
 976
     Ex. 87 (Short depo.) 442:17-24, 443:2-13.
 977
     Ex. 87 (Short depo.) 444:16-24.
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 provided that the financing would end in six months, which could be well before any

 restructuring could be completed.

          Each of the representations about the sufficiency of the company’s liquidity include

 facts capable of verification as true or false. Representations such as that the Company does

 “have sufficient liquidity to meet its obligations,” or will “pay vendors in full under normal

 terms,” or has the “ability to pay” for goods shipped on 60 days credit include a statement of fact

 about the current state of the Company’s liquidity projection. And that fact can be verified as

 true or false based on examining objective evidence. The statement would be clearly true, for

 example, if the Company was projecting that it would have several hundred million dollars in

 excess liquidity in 60 days. It would be clearly false if the Company projected a large liquidity

 shortfall in 60 days.

        Each of the representations about the Company’s plan for emergence or liquidation

 include facts capable of verification as true or false, by examining objective documentation, such

 as emails and board minutes. For example, a representation that the Company was “working on

 the best plan for emergence” and was not considering the option of “liquidate the whole thing,”

 would be clearly false if management and advisors were in fact considering the option of

 liquidation. Similarly, a representation that the Company’s “Leadership Team and our advisors

 are totally focused on our plans for emergence,” would be false if they were in fact focusing in

 substantial part on plans to liquidate the Company.

        Similarly, representations that its “business as usual” and that the Company’s “operations

 are continuing in the ordinary course” contain facts capable of verification as true or false by

 examining objective records. The statement would be clearly false if, for example, that




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 Company’s management had determined that the Company could no longer be continuing

 business as usual and instead would need to liquidate the U.S. business.

                3.      The representations are actionable statements that imply the existence
                        of facts that justify a belief in the truth of the statement and imply the
                        maker knows of nothing that would make the statement improbable.

        A statement that is a prediction of future events or actions, or that is an opinion, is also

 actionable if it “impl[ies] facts which justify a belief in the truth of the opinion.” Cohen v. S & S

 Constr. Co., 151 Cal. App. 3d 941, 946 (1983) (internal quotes omitted). “A statement about the

 future may imply a representation concerning an existing or past fact.” Restatement (Second) of

 Torts § 525, comment e.

        “Similarly a statement that is in form a prediction or promise as to the future course of

 events may justifiably be interpreted as a statement that the maker knows of nothing which will

 make the fulfillment of his prediction or promise impossible or improbable.

 Restatement (Second) of Torts, § 525. Harrison v. Westinghouse Savannah River Co., 176 F.3d

 776, 792 (4th Cir. 1999) (“opinion … carries with it an implied assertion … that the speaker

 knows no facts which would preclude such an opinion” (internal quotes omitted)).

        For example, if a contractor provides “cost … estimates” for what a project will end up

 costing, this implies existing, reasonable cost projections that justify the estimate, and it is

 actionable. Harrison, 176 F.3d at 792. As another example, a sales agent’s representations that

 a condominium with structural defects was “luxurious” and an “outstanding investment” was

 actionable. Cooper v. Jevne, 56 Cal. App. 3d 860, 866 (1976); see Southern Cal. etc.

 Assemblies of God v. Shepherd of Hills etc. Church, 77 Cal. App. 3d 951, 959 (1978) (a realtor’s

 opinion that the purchaser of a particular lot would have an enforceable access easement is

 actionable).



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        All of the representations implied the existence of verifiable facts justifying the

 statements, and are therefore actionable.

        Statements about the Company’s liquidity such as that the Company has “sufficient

 liquidity to meet its obligations” imply the existence of recent financial data, financial modeling,

 and calculations justifying the statement. And such statements imply that there are no facts that

 would make the statement improbable. For example, if the Company’s then existing projections

 showed a $200 million liquidity shortfall, that is a fact (the existence of that projection) that

 would make the statement improbable. Accordingly, the representation that the Company has

 sufficient liquidity to pay trade vendors in full for goods shipped on credit implies that no such

 facts are known.

        Statements characterizing the DIP financing as “a very strong DIP financing package

 which put us in a position to have strong liquidity through this process,” imply the existence of

 data and analysis justifying the statement. And it also implies that there are no known facts that

 would make statement impossible or improbable.

        Some representations include, in part, a statement about the Company’s future business

 operations, such as that it was “business as usual at Toys ‘R’ Us,” that the company was

 “focused on emergence,” and that management and advisors were “totally focused on our plans

 for emergence.” These representations imply the existence of facts that would justify the

 statement (e.g. supporting analyses and plans), and that no known facts would make the

 representation impossible or improbable (e.g. that the Company had determined that emergence

 as a going concern was unlikely to materialize, or was working on plans for liquidation).




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                  4.      The representations are actionable statements because Defendants
                          possessed superior knowledge or special information on the subject.

           As discussed above, “it is well settled that an opinion may be actionable when it is made

 by a party who … possesses, or assumes to possess, superior knowledge or special information

 regarding the subject matter.” Jolley v. Chase Home Fin., LLC, 213 Cal. App. 4th 872, 892, 153

 Cal. Rptr. 3d 546, 562 (2013) (internal quotes omitted).

           For example, a defendant with superior knowledge to the plaintiff was held liable for

 stating that it “was ‘highly probable,’ and ‘likely,’ and ‘look[ed] good’—that a modification of

 the loan agreement would be approved.” Jolley, 213 Cal. App. 4th at 892. Similarly, a broker

 with superior knowledge to the plaintiff buyer represented that “early prepayment of notes was

 ‘guaranteed,’” and this statement was actionable. Apollo Capital Fund LLC v. Roth Capital

 Partners, LLC, 158 Cal. App. 4th 226, 241 (2007); see PhotoMedex, Inc. v. Irwin, 601 F.3d 919,

 931 (9th Cir. 2010) (defendants’ statement “in March 2003 that the Pharos laser would be

 available that summer, within just a few months” was actionable).

           As demonstrated above, because a company’s internal data sources and internal

 communications are, by definition, internal to the company, vendors do not have access to that

 information unless the company takes specific action to communicate the information outside the

 company. Accordingly, the Trade Vendors could not access the Company’s internal data sources

 and internal communications.

           As Defendants admitted, Trade Vendors “did not have access to the leadership team

 meetings” at Toys “R” Us. 978 They “did not have access to the cash flow projections that were

 prepared by Toys “R” Us.” 979 And the Trade Vendors “did not have the financial information



 978
       Ex. 89 (Barry depo.) 542:23-25.
 979
       Ex. 89 (Barry depo.) 543:1-5.
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 about Toys “R” Us” such that they could “calculate Toys “R” Us’ cash flow position.” 980

 Because the Trade Vendors lacked all of this information, they could not “determine whether or

 not [Toys “R” Us] was meeting or was likely to meet its financial covenants.” 981 Indeed, it was

 “impossible for a vendor to realistically assess and test complex covenants without detailed (and

 truthful) information and forecasts by the Company.” 982 See Trust SOF ¶¶ 404, 410, 416, 422,

 428, 434, 440, 446, 452, 458, 464, 470, 476, 481, 486, 491, 496, 502, 508, 513, 519, 525, 532,

 537, 542, 548, 553, 559, 565, 571, 576, 581, 586, 592, 597, 603, 608.

        The Defendants had access to the Company’s internal data and communications that the

 Trade Vendors lacked. The Defendants therefore possessed both superior knowledge and special

 information on the subjects of (i) the Company’s recent financial results including sales,

 margins, SG&A costs, and capital expenditures, (ii) the Company’s projected financial results

 including sales growth/ decline, margins, costs, and capital expenditures, (iii) the Company’s

 plan for emergence or liquidation, (iv) the Company’s compliance with financial covenants, (v)

 the Company’s current or projected liquidity.

        Each of the representations is a statement on one or more of these subjects. The

 Defendants therefore possessed both superior knowledge and special information on the subject

 matter of the representations. The representations are therefore actionable.

                                              *         *     *

        The representations are actionable on each of the three bases. Moreover, “‘where there is

 a reasonable doubt as to whether a particular statement is an expression of opinion or the

 affirmation of a fact, the determination rests with the trier of the facts.’” Jolley v. Chase Home



 980
     Ex. 89 (Barry depo.) 543:20-544:2.
 981
     Ex. 70 (Greenspan) ¶533.
 982
     Id. ¶538.
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 Fin., LLC, 213 Cal. App. 4th 872, 893, (2013) (quoting Willson v. Municipal Bond Co., 7 Cal. 2d

 144, 151 (1936)).

        C.      The representations were material.

        “[A] fact is material if a reasonable man would attach importance to its existence or

 nonexistence in determining his choice of action in the transaction in question.” Persson v.

 Smart Inventions, Inc., 125 Cal. App. 4th 1141, 1163 (2005) (internal quotes omitted). As

 demonstrated above, the Company’s ability to pay for goods shipped on credit was highly

 material to a Trade Vendors’ decision-making. And the Trade Vendors would “attach

 importance” to the existence or nonexistence of any fact that materially affect the credit risk of

 shipping to Toys ‘R’ Us.

        And, as demonstrated above, Toys “R” Us’s ability to pay vendors was contingent on the

 DIP financing, and, as Defendants admitted, it was the presence of the DIP financing that

 provided vendors with the assurance that Toys “R” Us would be able to pay them for goods

 shipped on credit. 983 The DIP financing was “necessary for Toys ‘R’ Us to have liquidity to pay

 for goods shipped on credit.” 984 And the presence of the DIP financing was critical to the

 vendors as the Company’s source of liquidity to pay for goods shipped on credit. 985 For

 example, Defendant Barry reported to Brandon that “Confirmation of the DIP financing is a

 crucial issue for the vendors.” 986

        Defendants admit that Trade Vendors would be interested in knowing “whether there was
                                                           987
 a serious risk that the DIP financing would disappear.”         A risk that the DIP financing would


 983
     See, e.g., Ex. 87 (Short depo.) 53:21-54:4.
 984
     Ex. 89 (Barry depo.) 396:17-21.
 985
     Ex. 89 (Barry depo.) 73:16-22; Ex. 372 (Elliott (MGA) depo.) 265:20-266:8; Ex. 321 (Kamler
 (Kent) depo.) 166:9-16; Ex. 330 (Woldenberg (Learning Resources) depo.) 198:3-199:8.
 986
     Ex. 156 (9’18’17 Barry re DIP crucial [TRU-Trust0000036336]).
 987
     Ex. 87 (Short depo.) 434:20-435:1; Ex. 89 (Barry depo.) 461:9-12.
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 disappear in the coming weeks or months would affect a Trade Vendor’s risk calculus on

 whether it should ship goods to Toys “R” Us on credit. The loss of the financing would mean

 that Toys “R” Us would no longer have the liquidity to pay vendors “for all goods shipped on

 credit.” 988

           Therefore, each of the representations was material to a Trade Vendors’ decision-making

 because it would materially affect the credit risk of shipping to Toys ‘R’ Us, and a reasonable

 vendor would attach importance to the existence or non-existence of the fact.

           Representations addressing the Company’s liquidity and ability to pay were material

 because liquidity and ability to pay directly affect the credit risk. Examples include:

           •    Toys “R” Us had “sufficient liquidity to meet its obligations”


           •    Toys “R” Us “can assure our vendors that we are in a good position to accept shipments

                on a normal basis and they have great assurance they will be paid.”


           •    “We will pay vendors in full under normal terms for goods and services provided on or

                after the filing date.”


           •    The implied representation in each purchase order that the Company “has the

                wherewithal to repay all credit extended.”


           Representations addressing the DIP financing were material because that financing was

 the source of liquidity for the Company’s ability to pay for goods shipped on credit, and a

 reasonable vendor would attach importance to the existence or nonexistence of the DIP

 financing. Examples include:



 988
       Ex. 87 (Short depo.) 56:23-57:2.
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        •   The Company had “access to up to $2.5 billion in debtor-in-possession (‘DIP’)

            financing which will support our business and enable us to meet our financial

            obligations throughout the restructuring process.”


        •   “We have received commitments for over $3 billion in new financing that will support

            our operations and enable us to meet our business obligations during the financial

            restructuring process.”


        •   “we have commitments for over $3.0 billion in new financing that will help support

            our operations and enable is us to meet our financial obligations during the restructuring

            process.”


        •   “the DIP financing would provide liquidity to Toys ‘R’ Us to be able to pay for goods

            that were shipped on credit,” 989 and “would enable Toys ‘R’ Us to pay for merchandise

            that was shipped on credit while Toys ‘R’ Us was in bankruptcy,” 990


        •   Toys “R” Us “successfully obtained debtor-in-possession financing today” and


        •   “the DIP Facilities will also provide the Debtors liquidity to fund the administrative

            costs of these chapter 11 cases … and emerge from bankruptcy.” 991




 989
     Ex. 89 (Barry depo.) 73:11-5.
 990
     Ex. 89 (Barry depo.) 35:6-14.
 991
     Short declaration (Bk. Dkt. 20) at ¶127.
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        •   “the DIP Facilities will provide the Debtors with the liquidity needed to reactivate their

            supply chain, provide assurance to their vendors, and capitalize on the holiday season.”
            992




        •   The Company had “secured $3.1 billion in DIP financing” and “we obtained a very

            strong DIP financing package which put us in a position to have strong liquidity

            through this process.”


        •   “Toys ‘R” Us had received … ‘DIP financing’ that would help us get through and exit

            bankruptcy.”


        •   Toys “R” Us had only “two financial covenants” and would be “in compliance with
                                                               993
            both of these covenants” through March 3, 2018.


        •   That forecasts “demonstrate the Company’s ability to comply with February
                          994
            covenants.”


        Representations addressing whether the Company will continue as an ongoing business

 and will emerge from bankruptcy or instead will liquidate were material because they go directly

 to whether the Company would be around to pay for goods shipped on credit, and a reasonable

 vendor would attach importance to the representation. Liquidation planning would be “a clear

 signal that [a Trade Vendor] should expect not to be paid on any further shipments. 995

 Examples include:



 992
     Id. at ¶130.
 993
     Ex. 151 (3’1’18 financial covenant forecast).
 994
     Ex. 186 (2’26’18 Johnson to Euteneuer cash flow forecast [MATTEL00005494]).
 995
     Ex. 335 (Kodak (LEGO) depo.) 356:20-357:15.
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            •   The Company’s “operations are continuing in the ordinary course,”


            •   “things are fine,” “[e]verything’s on track” and “[f]inance is in place,” and


            •   Toys “R” Us was going to be “purchasing additional merchandise in the coming

                months over the following years.”


            •   Toys “R” Us was “working on the best plan for emergence and a variety of

                alternatives are being considered.” “If there is something to tell you, you will be

                hearing it from us– not rumors on LinkedIn from Jim Silver.”


            •   “The Leadership Team and our advisors are totally focused on our plans for

                emergence.”


            •   “Toys “R” Us was working on plans to emerge from bankruptcy.” 996


            •   Toys “R” Us was “focused on emergence and focused on the holiday season.” 997


            •   it was “business as usual at Toys “R” Us.” “Toys ‘R’ Us was looking forward to

                working with the vendor in the holiday season,” and “wanted to work with the

                vendor once [Toys ‘R’ Us] emerged from Chapter 11.”


                “Anything that would have indicated that [Trade Vendors] were at risk of not

 getting paid back would have been relevant.” 998 As set forth in the accompanying statement of

 facts, the Trade Vendors testified that the representations were relevant to their decision-making,



 996
     Ex. 88 (Brandon depo.) 500:4-7.
 997
     Ex. 89 (Barry depo.) 343:6-13.
 998
     Ex. 380 (Emrey (Munchkin) depo.) 54:23-55:4.
                                                313
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 and if they had known they were not true, they would have acted differently. See Trust SOF ¶¶

 403, 409, 415, 421, 427, 433, 439, 445, 451, 457, 463, 469, 475, 480, 485, 490, 495, 501, 507,

 512, 518, 524, 530, 536, 541, 547, 552, 558, 564, 570, 575, 580, 585, 591, 596, 602, 607; Trust

 SOF ¶¶ 402, 408, 414, 420, 426, 432, 438, 444, 450, 456, 462, 468, 474, 479, 484, 489, 494, 500,

 506, 511, 517, 523, 529, 535, 540, 546, 551, 557, 563, 569, 574, 579, 584, 590, 595, 601, 606.

        For example, had LEGO “known that there was a risk that Toys “R” Us would be

 defaulting on its loan covenants,” LEGO would have “only ship[ped] on a cash in advance

 basis.” 999 If LEGO had any indication that Toys “R” Us had a “half a billion dollar miss” on the

 DIP budget requirements, that “would have been a clear sign that the operation was faltering,”
                                                                   1000
 and would have caused LEGO “to trade cash in advance only.”

        As another example, if Learning Resources had known that Toys “R” Us “anticipated the

 breach of financial covenants under its DIP financing in February or March,” it “wouldn’t have

 shipped.” 1001 And if it had learned that Toys “R” Us’ cash liquidity situation was dire, Learning

 Resources “would have taken their credit to zero and put them on cash in advance.” 1002

        Defendants make no effort to argue that the representations were not material to vendors.

 Nor could they. The above evidence more than suffices to demonstrate materiality. “Materiality

 is a question of fact for the jury, unless the fact misrepresented is so obviously unimportant that

 the jury could not reasonably find that a reasonable man would have been influenced by it.”

 Persson v. Smart Inventions, Inc., 125 Cal. App. 4th 1141, 1163 (2005) (internal quotes omitted).




 999
     Ex. 335 (Kodak (LEGO) depo.) 344:23-345:16.
 1000
      Ex. 335 (Kodak (LEGO) depo.) 352:15-353:16.
 1001
      Ex. 330 (Woldenberg (Learning Resources) depo.) 229:23-230:10.
 1002
      Ex. 330 (Woldenberg (Learning Resource) depo.) 235:9-236:13.
                                                 314
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         D.      Defendants knew the representations were false or misleading when made.

         A representation is fraudulent if it is false or if it is a misleading half-truth. A

 representation is known to be false if it includes a material fact that was known to be false when

 the representation was made. Cohen v. S & S Constr. Co., 151 Cal. App. 3d 941, 946 (1983). A

 representation that contains only true facts is also fraudulent if it is a half-truth that is materially

 misleading because of the failure to recite matters that materially qualify the statement. “A

 statement containing a half-truth may be as misleading as a statement wholly false. Thus, a

 statement which contains only those matters which are favorable and omits all reference to those

 which are unfavorable is as much a false representation as if all the facts stated were untrue.”

 Rest. (2d) Torts §529, comment (a). “A statement that is technically true may nevertheless be

 fraudulent where it omits qualifying material since a ‘half-truth’ is sometimes more misleading

 than an outright lie.” Guvenoz v. Target Corp., 30 N.E.3d 404, 425 (Ill. App. 2015). “A half-

 truth may be as misleading as a statement which is wholly false. A fraudulent misrepresentation

 may inhere in a statement which is truthful so far as it goes but which is materially misleading

 because of the failure to recite qualifying matters.” Medivox Prods. v. Hoffmann-LaRoche, Inc.,

 107 N.J. Super. 47, 69 (Super. Ct. 1969).

         Each of the representations when made was known to be false in material respects, a

 misleading half-truth in material respects, or both.

                 1.      September representations.

         The September statements to Trade Vendors about the DIP financing were known to be

 false in material respects and were known to be misleading half-truths.

         As described above, Defendants communicated to Trade Vendors in multiple ways that:

 the Company had “sufficient liquidity to meet its obligations” to Trade Vendors because “We

 have received commitments for over $3 billion in new financing that will support our operations
                                                   315
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 and enable us to meet our business obligations during the financial restructuring process.”

 Several aspects of this were known to be false by Defendants.

        When the Company’s officers and directors started representing to Trade Vendors on

 September 18 that the Company had “commitments for” and “access to” the DIP financing,

 Brandon and Short knew those representations were false. As demonstrated above (in explaining

 the breach of fiduciary duty for authoring the DIP financing), Brandon and Short knew that the

 Company did not have access to the DIP Term Loan, because the lender was insisting on

 financial covenants that the Company could not accept. After several days of negotiations with

 no access to cash, the Company was “dying,” and Brandon and Short had to accept the
              1003
 covenants.          The loan was not closed until the afternoon of September 22, 2017. 1004

        Defendants also knew that it was false and misleading to represent to Trade Vendors the

 amount of the financing as “over $3 billion in new financing” that was available “to support our

 operations and enable us to meet our business obligations during the financial restructuring

 process.” The face amount of the potentially available credit for the DIP financing did exceed $3

 billion. But this financing did not give the Company $3 billion to “support our operations and

 enable us to meet our business obligations during the financial restructuring process.”

        The $375 million TAJ DIP loan was “not available to the U.S. entity” at all and most of it

 was used to pay off existing loans for international subsidiaries. 1005 The ABL/FILO DIP loan

 essentially rolled over the pre-petition ABL/FILO. 1006 The actual available credit for this loan

 was determined by the “borrowing base,” and there “were no projections which indicated that the



 1003
      Ex. 158 (9’20’17 1501 pm company dying [TRU-Trust0000338280]) (“I just got off with
 Mike Short. We have to get this done … The company is dying.”).
 1004
      Ex. 161 (9’22’17 352 pm closed [TRU-Trust0000338956]).
 1005
      Ex. 70 (Greenspan) ¶442.
 1006
      Ex. 70 (Greenspan) ¶442.
                                                   316
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 Company’s borrowing base would allow it to access the full nominal amount of the DIP

 loans.” 1007 In addition, $1.305 billion of the ABL/FILO was used to pay off the prepetition

 ABL/FILO, and was not available for ongoing operations. The available amount was further

 reduced by over $90 million of then-outstanding letters of credit, and over $90 million of loan

 fees withheld by the DIP lenders. 1008 In addition, the loan terms blocked access to another $300

 million. 1009

         After subtracting these amounts, available DIP financing at the start of the process was

 about $1 billion. But Brandon and Short also knew that about $500 million was committed to

 pay for pre-petition obligations to foreign and critical vendors. Consequently, they knew the

 amount of DIP financing the Company would have access to “to meet our business obligations

 during the financial restructuring process” was about $500 million, which is a far cry from the $3

 billion they represented.

         The Directors also knew that it was false to represent that the DIP financing provided

 over $3 billion in new financing to pay Trade Vendors during the restructuring process. For

 example, in the Board meeting on September 13, 2017, the Directors were told that the

 ABL/FILO would “refinance in full the existing prepetition ABL and FILO … and enhance

 liquidity by $170 million” and the DIP Term loan would provide “$450 million of incremental

 liquidity” for a total $620 million. 1010




 1007
      Ex. 70 (Greenspan) ¶442.
 1008
      Ex. 70 (Greenspan) ¶442.
 1009
      Ex. 70 (Greenspan) ¶442.
 1010
      Ex. 41 (9’13’17 Brandon agenda plus attach [DEFS_0004126]) at 4; Ex. 155 (9’6’17 Raether
 board materials [DEFS_0124536]) at pdf 3 (Raether’s handwritten calculations that the delta
 added by the DIP financing was “$620MM”).
                                                317
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        Whether the Company had a $3 billion credit card or a $500 million credit card to

 provide liquidity was highly material to vendors. 1011

        Brandon and Short also knew that it was misleading to represent that the Company would

 have access to the DIP financing “during the financial restructuring process,” or “throughout the

 restructuring process,” or “while Toys ‘R’ Us was in bankruptcy,” or “to fund the administrative

 costs of these chapter 11 cases … and emerge from bankruptcy.” As demonstrated above, Short

 knew that the DIP Term loan that left the Company with insufficient liquidity to get through

 bankruptcy and “doesn’t work,” and Brandon and Short knew that it required a revised budget

 covenant that “just isn’t going to work.” The ability to comply with financial covenants for the

 DIP financing was plainly material to the Trade Vendors, and it was therefore misleading to

 represent that the Company had DIP financing without disclosing these key facts.

                2.      December-March representations.

        Each of the representations made from December to March was known by the

 Defendants to be both false and misleading.

        The implied representation in every purchase order that the Company had the ability to

 repay all credit extended was false as all Defendants knew. As demonstrated above, all

 Defendants knew that the DIP financing was required for the Company to have the ability to pay

 for goods shipped on credit. And by December 13, 2017, the Directors knew that the Company

 was projected to default on its DIP financing, which would eliminate the Company’s source of

 liquidity. It was therefore false to represent otherwise after that date. And it was misleading,




 1011
    See, e.g., Ex. 330 (Woldenberg (Learning Resources) depo.) 198:2-199:8; Ex. 347 (Pevonka
 (LSC) depo.) 258:12-22; Ex. 351 (McColgan (Mattel) depo.) 213:10-214:18.
                                                 318
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 and therefore a fraudulent half-truth, to omit that fact in any representation that the Company had

 the ability to pay.

           Brandon and Short knew that their statements on the December 21 conference call that

 the Company had “secured $3.1 billion in DIP financing” and “we obtained a very strong DIP

 financing package which put us in a position to have strong liquidity through this process” were

 false and misleading. 1012 As demonstrated above, Brandon and Short knew (a) the DIP

 financing package was subject to financial covenants that left insufficient liquidity, (b) the

 terrible holiday sales meant that the Company could not possibly satisfy the covenants, and (c)

 management had already determined—and announced to the Board of Directors that it was

 projected to default on the covenants. Consequently, Brandon and Short knew that it was

 misleading to state that the Company had a “very strong DIP financing package” that would

 provide “strong liquidity through this process.”

           Moreover, throughout January and February, all Defendants knew additional facts (the

 concealments described above) that were highly material to the Company’s ability to pay, and

 that the Defendants failed to include when making statements to Trade Vendors on the

 Company’s financial situation and ability to pay, and failed to direct that the Company’s officers

 and directors include in statements to Trade Vendors.

           As demonstrated above, Defendants knew by January 2018 that the Vendor FAQ was

 false and misleading because it represented that the DIP financing “will support our business and

 enable us to meet our financial obligations throughout the restructuring process,” when in fact

 the DIP financing would not be sufficient, because the Company had a $200 million hole in its

 budget and was projected to default within weeks.



 1012
        Ex. 64 (12’21’17 Transcript - Q3 Earnings Call [TRU-Trust0000323034]).
                                                 319
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        In fact, the Defendants’ admissions demonstrate that they knew this information was

 material to Trade Vendors, and that they withheld this information from Trade Vendors precisely

 because they knew that Trade Vendors would stop shipping goods on credit if they knew the

 information. On January 10, 2018, Brandon told the Board about management’s decision “not to
                                                                                            1013
 voluntarily release our holiday sales results” contrary to the Company’s usual practice.          This

 decision was made because “holiday performance” was “significantly less than expected,” which

 “could have concerned” “the trade vendor community” because the Company “would have

 reported a weak holiday period,” and “[t]hey may have been concerned about the ability of Toys

 ‘R’ Us to continue going forward,” and “[t]he ability of Toys ‘R’ Us to pay for goods that were

 shipped on credit.” 1014

        As demonstrated above, Barry knew that it was false and misleading for him to attend the

 Hong Kong Toy Fair and represent that “Toys ‘R’ Us had received … ‘DIP financing’ that

 would help us get through and exit bankruptcy,” “[e]verything’s on track” and “[f]inance is in

 place,” and “giving his word” that vendors would be paid for the goods that they shipped to Toys
           1015
 “R” Us.

        Brandon’s response to Trade Vendor executive Larian on February 3 was knowingly

 false and misleading. Larian asked Brandon and Barry about Jim’s Silver post that: the




 1013
      Ex. 88 (Brandon depo.) 344:3-344:24; Ex. 87 (Short depo.) 279:19-23; Ex. 138 (1’10’18
 BOD minutes [TRU-Trust0000374746]) at 2.
 1014
      Ex. 87 (Short depo.) 279:19-23, 281:18-282:9; Ex. 88 (Brandon depo.) 344:3-344:24; Ex. 88
 (Brandon depo.) 346:7-16; Ex. 89 (Barry depo.) 519:16-24.
 1015
      Ex. 232 (Foreman (Basic Fun) depo.) 263:17-264:11, 266:15-267:14; Ex. 90 (Baime depo.)
 25:3-16, 26:25-27:7.
                                                320
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 Company was considering the options of shrinking the footprint to “a 200 store chain” or

 “liquidate the whole thing.” 1016

         Brandon and Barry knew that Brandon had presented exactly those options at a Board

 meeting a few days earlier. A truthful response would have included: yes, those options are

 being considered. But instead, Brandon communicated that Larian should not “rely upon Jim

 Silver as being a source of useful and accurate information about decisions being made in the

 boardroom of TRU.” 1017 Brandon also said Toys “R” Us was “working on the best plan for
               1018
 emergence.”          “If there is something to tell you, you will be hearing it from us– not rumors on

 LinkedIn from Jim Silver.” 1019

         Brandon knew the information in Jim Silver’s post was highly material to Trade Vendors.

 In fact, Trade Vendor Larian had just given “TRU a $25 Million line of credit” and was

 demanding to know: “Why NOBODY tell me about this?” 1020 Brandon admitted that he

 understood that Larian was “concerned about the rumor” that “Toys ‘R’ Us was considering a

 liquidation,” and was seeking “to verify whether there was any credibility contained in this

 blog.” 1021

         And Brandon knew that what Larian was asking about was true: Brandon had just

 notified the Board five days earlier that the two remaining “likely options” were “shrink and
                                                                   1022
 rethink the business” or “total liquidation of the enterprise.”          But Brandon told Larian that




 1016
      Ex. 167 (Larian Post); Ex. 147 (2’3’18 Brandon to Larian re Silver post [TRU-
 Trust0000272792]).
 1017
      Ex. 147 (2’3’18 Brandon to Larian re Silver post [TRU-Trust0000272792]) at 2.
 1018
      Id. at 2.
 1019
      Id. at 2.
 1020
      Ex. 147 (2’3’18 Brandon to Larian re Silver post [TRU-Trust0000272792]) at 3.
 1021
      Ex. 88 (Brandon) 435:8-14, 436:9-17.
 1022
      Ex. 140 (1’28’18 minutes) at 2.
                                                   321
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 this was not “accurate information.” Brandon admitted: “my response to him was coaching him

 that that was not an appropriate source of useful information for him and he should not take it as
          1023
 fact.”          But Brandon knew it was fact. And Brandon falsely stated, “If there is something to

 tell you, you will be hearing it from us.” Brandon knew there was something to tell Larian but

 that Larian would not be hearing it from Brandon or anyone else at Toys “R” Us. Brandon knew

 that his statements were false and misleading (and obviously designed to deceive Larian).

           Defendants knew that the representations given to Trade Vendors at the New York Toy

 Fair were false and misleading. Brandon told the Board that he “intends to meet with the

 executives of many large vendors” at the Toy Fair. 1024 Brandon explained that each vendor

 would likely “push him for comfort that the Company can pay for shipments,” and that Brandon

 and other Toys “R” Us employees visiting the Toy Fair would “provide vendors additional

 comfort so they do not determine to stop shipping.” 1025

           As Raether testified, at the board meeting “there was a discussion about the upcoming

 New York Toy Fair and that Dave Brandon would be meeting with a number of the vendors …

 [a]nd that undoubtedly, there would be difficult conversations with the vendors about whether

 they would continue to ship or not.” 1026 Brandon told the board “that he expected these vendors

 at the toy fair to push him for comfort that the company can pay for shipments.” 1027 Brandon

 said “he was hopeful that he would be able to convince those vendors ... that they should




 1023
      Ex. 88 (Brandon) 434:21-435:6.
 1024
      Ex. 148 (2’12’18 minutes [DEFS_0059030]).
 1025
      Ex. 148 (2’12’18 minutes [DEFS_0059030]).
 1026
      Ex. 77 (Raether) 282:13-283:4.
 1027
      Ex. 77 (Raether) 283:5-16.
                                                    322
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 continue to ship Toys ‘R’ Us.” 1028 “He hoped that he would be successful in convincing the –

 the vendors not to stop shipping.” 1029

        Brandon and Barry organized a “Team Huddle” to get the merchants in the “right

 mindset.” 1030 They instructed the merchant team to be positive and aggressive with Trade

 Vendors and tell them: “The Leadership Team and our advisors are totally focused on our plans

 for emergence.” 1031 The team communicated to Trade Vendors that it was




        Brandon told Trade Vendors in a “reassuring and comforting manner” that Toys “R” Us

 was “working through the bankruptcy” and was working on “exiting” and “having a business.”

 Barry and Brandon represented that “Toys “R” Us was working on plans to emerge from
                 1033
 bankruptcy.”           And Toys “R” Us was “focused on emergence and focused on the holiday

 season.” 1034

        Defendants knew that responding to questions from Trade Vendors about whether the

 Company could pay for shipments by providing Trade Vendors comfort so that they continue

 shipping was misleading and omitted the concealed information described above, which

 materially qualified the statements. Defendants were delivering a message “which contains only



 1028
      Ex. 77 (Raether) 283:17-284:4.
 1029
      Ex. 77 (Raether) 283:5-16, see Ex. 77 (Raether) 284:15-22, 285:14-286:2, 287:7-24.
 1030
      Ex. 187 (2’14’18 Brandon to Barry [TRU-Trust0000362666]); Ex. 183 (2’15’18 NYTF team
 huddle [TRU-Trust0000323065]).
 1031
      Ex. 150 (2’15’18 Von Walter to Barry re fact sheet [TRU-Trust0000362680]); Ex. 149
 (2’15’18 NYTF Fact Sheet FINAL [TRUTrust0000362681]).
 1032
      Ex. 93 (Ryan depo.) 174:6-10.
 1033
      Ex. 88 (Brandon depo.) 500:4-7.
 1034
      Ex. 89 (Barry depo.) 343:6-13.
                                                  323
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 those matters which are favorable and omits all reference to those which are unfavorable,” which

 “is as much a false representation as if all the facts stated were untrue.” Restatement (Second)

 Torts §529, comment (a).

           Defendant Macnow admitted:

           22     Q. If as of February 12, the fact
           23   was that Toys “R” Us was expected to
           24   default on its covenants, would it be
           25   appropriate for Mr. Brandon to go to the
            1   Toy Fair and provide comfort for vendors?
            3     A. No.

       9        In February – as of February
      10 12, 2018, you understand that Toys “R” Us
      11 was not on track to meet its financial
      12 covenants; is that correct?
      14    A. Yes.
      15    Q. And so as of February 12, 2018,
      16 it would be inappropriate for Mr. Brandon
      17 to provide trade vendors with comfort so
      18 that they would continue shipping; is that
      19 correct?
      21    A. Yes.
 Macnow depo. 148:22-149:3, 150:9-21.

           For example, Defendants omitted that the Company had determined that it could not
                                                                                     1035
 satisfy the January 31 revised budget covenant, but had only a one-month waiver.           They

 omitted that on January 31, 2018, “Brandon advised the board that … the forecasted cash

 liquidity position is dire” and “the Company projects it will breach its postpetition financing
                                      1036
 covenants in February or March.”

           And they omitted that on February 16, 2018, the day before the start of the New York

 Toy Fair, Brandon called an “emergency leadership team” meeting to announce that the DIP




 1035
        Ex. 144 (1’31’18 TRU – Waiver Extension (1-30-18) [Draft] [TRU-Trust0000323056]).
 1036
        Ex. 142 (1’31’18 minutes [DEFS_0059013]).
                                                  324
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 Term Loan lenders “thought it would be better to liquidate the company sooner rather than later,”

 and the Company was preparing “plans around a liquidation process” including a “liquidation

 analysis” and “wind-down budget” for the U.S. business, with the focus “around a mid March

 date.” 1037

         Brandon, Barry, and the rest of the team were being “positive,” and “provid[ing] vendors

 additional comfort so they do not determine to stop shipping,” and telling vendors that they are
                                                 1038
 “totally focused on our plans for emergence.”          In truth, they were not totally focused on

 emergence, and the Company was planning for a liquidation targeting mid-March.

         By stating “only those matters which are favorable and omit[ting] all reference to those

 which are unfavorable,” Defendants knowingly presented false statements and half-truths,

 thereby engaging in fraudulent misrepresentation. Restatement (Second) Torts § 529,

 comment (a).

         F.     Defendants intended the representations to induce the Trade Vendors to ship
                goods on credit.

         As detailed above, “[a]n intent to deceive is not an essential element of the cause of

 action; the required intent is an intent to induce action.” Beckwith v. Dahl, 205 Cal. App. 4th

 1039, 1062 (2012) (internal citations omitted). And the statement intended to induce action need

 not “be the sole or even the predominant or decisive factor in influencing [plaintiff’s] conduct. . .

 . It is enough that the representation has played a substantial part, and so has been a substantial

 factor, in influencing his decision.” Engalla v. Permanente Med. Grp., Inc., 15 Cal. 4th 951, 976-

 77 (1997) (quoting Rest. 2d Torts § 546, com. b, p. 103). Just as Defendants intended that the


 1037
      Ex. 146 (2’17’18 Brandon to Sussberg [TRU-Trust0000275355]) at 1-3; Ex. 145 (2’16’18
 Barry Notes [DEFS_0026183]). Ex. 98 (Barry depo.) 419:24-421:17.
 1038
      Ex. 148 (2’12’18 minutes [DEFS_0059030]); Ex. 150 (2’15’18 Von Walter to Barry re fact
 sheet [TRU-Trust0000362680]); Ex. 149 (2’15’18 NYTF Fact Sheet FINAL [TRU-
 Trust0000362681]).
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 concealment of certain facts would induce the Trade Vendors to continue shipping goods on

 credit, they also intended that the statements affirmatively made to the Trade Vendors would

 cause the Trade Vendors to continue shipping goods on credit.

        Defendants knew that for Toys “R” Us to remain in business, it needed to obtain goods

 from Trade Vendors. And they further understood that Toys “R” Us would need to obtain those
                                                                                                   1039
 goods on credit, because it did not have sufficient liquidity to pay for goods cash in advance.

        For the Trade Vendors to ship again, the Trade Vendors “needed some assurance that

 they would be paid for their goods.” 1040 Defendants knew that statements made to Trade

 Vendors about the DIP financing and its availability throughout the bankruptcy would be

 “crucial for the vendors” in their determination of whether to ship to Toys “R” Us, because they
                                                  1041
 provided Trade Vendors with those assurances.           Defendants themselves confirmed that the

 statements made to Trade Vendors in September were made to “get them [Trade Vendors] to

 start shipping merchandise to Toys ‘R’ Us again.” 1042 Defendants intended for the initial
                                                                                            1043
 outreach in September to Trade Vendors to “encourage[e] them to ship” to Toys “R” Us.

 This demonstrates that those statements were made with the intent to induce Trade Vendors to

 ship goods on credit.

        Each of the representations made to Trade Vendors during the bankruptcy were similarly

 intended to have those Trade Vendors continue shipping goods to Toys “R” Us. After the initial

 statements in September that had convinced Trade Vendors to begin shipping goods on credit,



 1039
      Ex. 51 (9’18’17 attach Brandon chapt 11 [DEFS_0027298]) at 7 (“The Company does not
 have available liquidity to pay cash in advance”).
 1040
      Ex. 89 (Barry depo.) 37:4-9.
 1041
      Ex. 87 (Short depo.) 66:18-67:2.
 1042
      Ex. 89 (Barry depo.) 34:8-15; Ex. 82 (Goodman depo.) 330:4-9 (“the goal of that process
 was to get vendors to ship goods to Toys “R” Us”).
 1043
      Ex. 87 (Short depo.) 61:16-23.
                                                 326
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 Defendants knew that Trade Vendors would want to know “whether there was a serious risk that

 the DIP financing would disappear” because vendors were evaluating “whether they would be

 paid by Toys “R” Us.” 1044 Defendants understood that if Trade Vendors felt that Toys “R” Us

 was in a “dire liquidity position” or had a “potential to default its financial covenants,” vendors

 could have stopped shipping. 1045

        Because Defendants knew that the presence of the DIP financing was critical to Trade

 Vendors, that Trade Vendors were highly interested in updates from Toys “R” Us, and were

 constantly evaluating risk, Defendants knew that statements about Toys “R” Us’ position would

 influence the Trade Vendors. And by making statements that misleadingly portrayed Toys “R”

 Us’ condition as positive, Defendants knew that Trade Vendors would be more likely to ship

 goods to Toys “R” Us. This establishes a strong inference that those statements were made with

 the intent to induce Trade Vendors to continue those shipments.

        For example, each time that Toys “R” Us placed a purchase order, that purchase order

 contained an implied representation of an ability to pay, as discussed above. Defendants knew

 that Trade Vendors would respond to that implied representation by filling the purchase order

 and shipping goods. And because Defendants knew that receiving those goods was critical to

 Toys “R” Us’ business, there is a strong inference that they made those implied representations

 with the intent that Trade Vendors ship goods in response to them.

        As another example, on December 21, Brandon and Short participated in an earnings call.

 They knew that Trade Vendors would be participating on that call, along with members of the

 media. 1046 They further knew that the reason Trade Vendors were listening was to “learn



 1044
      Ex. 87 (Short depo.) 311:1-9, 313:25-314:4.
 1045
      Ex. 87 (Short depo.) 401:21-402:17.
 1046
      Ex. 87 (Short depo.) 169:1-6, 170:9-14.
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                                                                                                 1047
 information about Toys “R” Us’ liquidity and its ability to pay for goods shipped on credit.”

 On that call, Brandon and Short made statements that Toys “R” Us “secured $3.1 billion in DIP

 financing” and “we obtained a very strong DIP financing package which put us in a position to

 have strong liquidity through this process.” 1048 Brandon and Short’s knowledge of Trade

 Vendors participating in the call, coupled with their desire to have Trade Vendors continue

 shipping goods on credit, strongly suggests that those statements were made with the intent to

 induce Trade Vendors to ship goods on credit.

        Moreover, at the Hong Kong Toy Fair, Barry made statements to Trade Vendors with the

 intent of getting Trade Vendors “focused on driving business in holiday 2018.” 1049 He told

 Trade Vendors that Toys “R” Us was “building plans for the holiday season,” so that Toys ‘R”

 Us “would have a successful 2018 holiday season.” 1050 One part of that “successful holiday

 season” included Trade Vendors continuing to “driv[e] the business” by shipping goods to Toys

 “R” Us on credit. 1051 By making those statements to Trade Vendors and planning for the future,

 Barry intended that the Trade Vendors would continue shipping product to Toys “R” Us.

        Further, Brandon, Barry, and Short attended the New York Toy Fair with the intent to

 give vendors “comfort that the Company can pay for shipments,” “so they [Trade Vendors] do

 not determine to stop shipping.” 1052 As discussed above, each of the other Defendants

 understood that Brandon, Barry, and Short would be attending the New York Toy Fair for the




 1047
      Ex. 87 (Short depo.) 171:10-17, 172:16-24.
 1048
      Ex. 64 (12’21’17 Transcript - Q3 Earnings Call [TRU-Trust0000323034]).
 1049
      Ex. 89 (Barry depo.) 193:9-24.
 1050
      Ex. 89 (Barry depo.) 159:5-12.
 1051
      Ex. 89 (Barry depo.) 194:19-195:11, 198:10-20 (asking Basic Fun “to continue to ship to
 Toys “R” Us”).
 1052
      Ex. 148 (2’12’18 board minutes [TRU-Trust0000313960]).
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                                                                                            1053
 purpose of making statements about the Company’s finances and plans for emergence.                And

 none of the Defendants objected to that strategy. This creates a strong inference that the

 Defendants wanted statements of comfort to be made to Trade Vendors at the New York Toy

 Fair so that they “do not determine to stop shipping.”

         The evidence detailed above provides compelling inferences that Defendants made

 misrepresentations to Trade Vendors throughout the bankruptcy with the intent to induce Trade

 Vendors to ship goods to Toys “R” Us on credit. As discussed above, Defendants have never

 disputed that they had this intent. Whether Defendants had the requisite intent is thus a disputed

 issue of material fact that cannot be resolved on summary judgment. “Questions of intent are

 normally questions of fact properly reserved for the jury.” Sloan v. GM LLC, No. 16-cv-07244-

 EMC, 2020 U.S. Dist. LEXIS 71982, at *54 (N.D. Cal. Apr. 23, 2020) (collecting cases); Testo

 v. Ruggiero, NO. CV90 27 19 97 S, 1993 Conn. Super. LEXIS 1719, at *8 (Super. Ct. July 13,

 1993) (“Summary judgment is inappropriate to determine questions of motive and intent”); Sadiq

 Marafi v. Hind El Achchabi, No. FSTCV186036789, 2020 Conn. Super. LEXIS 1333, at *17

 (Super. Ct. Nov. 2, 2020) (“[i]t is well established that the question of intent is purely a question

 of fact”).

         G.     Trade Vendors acted in reliance on Defendants’ statements.

         To demonstrate reliance, a plaintiff “need only make a showing that the

 misrepresentations were material, and that therefore a reasonable trier of fact could infer reliance

 from such misrepresentations.” Engalla v. Permanente Med. Grp., Inc., 15 Cal. 4th 951, 977

 (1997). This is because “a presumption, or at least an inference, of reliance arises wherever there




 1053
    See, e.g., Ex. 77 (Raether depo.) 282:13-283:4, 283:17-284:4 (Brandon was going to
 convince “vendors” “that they should continue to ship Toys “R” Us.”)
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 is a showing that a misrepresentation was material.” Engalla v. Permanente Med. Grp., Inc., 15

 Cal. 4th 951, 977 (1997).

        As discussed at length above, each of the misrepresentations that Defendants made were

 material, because they each impacted the risk of whether a Trade Vendor would be paid for

 goods shipped on credit. Trade Vendors uniformly testified that the statements about the DIP

 financing and its availability was a material or key factor in their decision to continue shipping

 goods to Toys “R” Us on credit. This alone suffices to establish reliance.

        Moreover, Trade Vendors provided additional direct evidence of reliance. For example,

 Trade Vendors testified that the statements made by Defendants were the key factors in
                                                                     1054
 determining to ship goods to Toys “R” Us during the bankruptcy.            And other Trade Vendors

 testified that they relied on the information that Defendants disseminated in letters, press
                                                                                       1055
 releases, and the Vendor FAQ in deciding to ship goods to Toys “R” Us on credit.

 Additional evidence of reliance is found in Trust SOF ¶¶ 403, 409, 415, 421, 427, 433, 439, 445,

 451, 457, 463, 469, 475, 480, 485, 490, 495, 501, 507, 512, 518, 524, 530, 536, 541, 547, 552,

 558, 564, 570, 575, 580, 585, 591, 596, 602, 607.

        The evidence discussed above establishes not just an inference of, but actual reliance, and

 thus precludes a grant of summary judgment.




 1054
      See, e.g., Ex. 232 (Foreman (Basic Fun) depo.) 258:2-10, 260:2-17 (discussing
 representations received as “critical factor” in decision-making, “in particular” those from
 Barry); Ex. 330 (Woldenberg (Learning Resources) depo.) 198:19-199:8 (the “representation
 that” Toys “R” Us had the ability to pay “was essential to” decision to ship); Ex. 421 (Smith
 (Yvolve) depo.) 253:21-255:16 (discussing “assurances” from Barry as leading Yvolve to
 believe that shipping to Toys “R” Us “was a low risk”); Ex. 244 (Schellhase (Bestway) depo.)
 172:11-17.
 1055
      Ex. 307 (Cooney (Jakks) depo.) 149:3-7 (describing vendor FAQ as “critical” in shipping
 decision); Ex. 321 (Kamler (Kent) depo.) 166:9-16 (describing statement about DIP financing in
 Dear Valued Business Partner letter as “the most critical piece” in shipping decision).
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        H.      Trade Vendors’ reliance was reasonable.

        Reasonable reliance can be shown by demonstrating that “circumstances were such to

 make it reasonable for [the] plaintiff to accept [the] defendant’s statements without an

 independent inquiry or investigation.” OCM Principal Opportunities Fund, L.P. v. CIBC World

 Mkts. Corp., 157 Cal. App. 4th 835, 864 (2007). “[W]hether reliance is reasonable in an

 intentional fraud case is not tested against the standard of precaution or of minimum knowledge

 of a hypothetical, reasonable man.” Boeken v. Philip Morris, Inc., 127 Cal. App. 4th 1640, 1666

 (2005) (internal quotes omitted).

        Trade Vendors attempted to make independent inquiries and investigations into the truth

 of Defendants’ statements, but they had no way of learning that Defendants’ statements were

 false. Trade Vendors could not independently investigate the internal financial condition of Toys

 “R” Us. Trade Vendors had no other source of reliable information other than what they were

 being told by Toys “R” Us. News articles, rumors, and other information was neither accurate

 nor reliable, and Trade Vendors testified that they could not make decisions based on that

 information. 1056 To obtain accurate financial information about Toys “R” Us, Trade Vendors
                                                                                       1057
 had to rely on what they were being told by Defendants and others at Toys “R” Us.            And, as

 discussed above, the statements that Defendants made were false and misleading, and did not

 inform Trade Vendors about the true state of affairs at Toys “R” Us. As one vendor put it,

 “[s]hort of hacking or spying,” there was no way to obtain the information that was

 communicated in “a private conversation held in confidence behind closed doors.” 1058




 1056
      Ex. 307 (Cooney (Jakks) depo.) 188:17-189:17.
 1057
      See, e.g., Ex. 307 (Cooney (Jakks) depo.) 188:10-16; Ex. 421 (Smith (Yvolve) depo.) 277:6-
 21; Ex. 369 (Wysocki (MerchSource)) 150:19-151:14.
 1058
      Ex. 330 (Woldenberg (Learning Resources) depo.) 230:11-231:8.
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        As one Trade Vendor put it, “[w]e felt it was reasonable [to rely on representations]

 because Toys “R” Us was the source for their information. They had the facts in hand. And as

 our business partner, we relied pretty heavily, unfortunately, on how they communicated those

 facts to us.” 1059 And in the words of another Trade Vendor, Defendants “had knowledge of the

 health of the business and we didn’t believe people we had known [for] so long and trusted and

 had a relationship with would tell us anything but the truth.” 1060

        Additional testimony and evidence supporting reasonable reliance and the inability of

 Trade Vendors to learn accurate information from other sources is found in Trust SOF ¶¶ 404, 410,

 416, 422, 428, 434, 440, 446, 452, 458, 464, 470, 476, 481, 486, 491, 496, 502, 508, 513, 519,

 525, 532, 537, 542, 548, 553, 559, 565, 571, 576, 581, 586, 592, 597, 603, 608.

        The evidence above demonstrates that Trade Vendors’ reliance was reasonable.

 “[J]ustifiable reliance is a question of fact that is to be determined by the finder of fact and not

 the by the trial court as a matter of law.” Schrager v. N. Cmty. Bank, 328 Ill. App. 3d 696, 709

 (2002) (internal quotes omitted); Blankenheim v. E. F. Hutton & Co., 217 Cal. App. 3d 1463,

 1475 (1990) (“[w]hether plaintiffs’ reliance on this representation was reasonable is a question

 of fact to be determined by the jury”); Johnson v. Waterfront Servs. Co., 391 Ill. App. 3d 985,

 993 (2009) (reversing grant of summary judgment on the issue of reasonable reliance).

        I.      Trade Vendors suffered losses.

        As discussed above in the [fraudulent concealment damages section], as a result of

 Defendants’ statements, Trade Vendors shipped hundreds of millions of dollars of goods that
                           1061
 they were not paid for.


 1059
      Ex. 307 (Cooney (Jakks) depo.) 209:13-210:2.
 1060
      Ex. 232 (Foreman (Basic Fun) depo.) 282:4-17.
 1061
      See Ex. 135 (Mills) ¶¶55-59, Ex. 168 (Mills supplemental report Ex. 15) (collecting post-
 petition vendor losses).
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        Each Trade Vendor filled purchase orders between December 13, 2017, and March 14,

 2018, when the Company’s liquidation was announced. Because Trade Vendors shipped goods to

 Toys “R” Us on credit, and were not paid for those goods, they sustained losses. Evidence of these

 losses is found in Trust SOF ¶¶ 405, 411, 417, 423, 429, 435, 441, 447, 453, 459, 465, 471, 477,

 482, 487, 492, 497, 503, 509, 514, 520, 526, 532, 538, 543, 549, 554, 560, 566, 572, 577, 582, 587,

 593, 599, 604, 609.

        Each Trade Vendor’s administrative proof of claim lays out the purchase orders that the
                                                                                           1062
 Trade Vendor shipped and was not paid for. This Court approved those proofs of claim.

 And the specific amounts of those damages are detailed and supported by the Trust’s experts. 1063

        J.      All Defendants liable.

        As discussed at length above, Defendants are liable for misrepresentations under two

 theories. First, Defendants are liable if they intended to have representations passed on to Trade

 Vendors to influence their conduct. See Whiteley v. Philip Morris, Inc., 117 Cal. App. 4th 635,

 681, 11 Cal. Rptr. 3d 807, 845 (2004). As detailed above, each of the Defendants intended that

 representations be made to the Trade Vendors to influence them to continue shipping goods to

 the Company on credit. Second, Defendants are liable if they knew or had reason to know about

 but failed to put a stop to tortious conduct. Asahi Kasei Pharma Corp. v. Actelion Ltd., 222 Cal.

 App. 4th 945, 966 (2013); Frances T. v. Village Green Owners Assn., 42 Cal. 3d 490, 504

 (1986). As discussed above, Defendants made no effort to stop the misrepresentations that were

 being made to Trade Vendors, and thus they are also liable under this theory.




 1062
      See, e.g., Bk. Dkt. Nos. 4583, 5171, 5562, 6060, 6848, 7073, 7099, 7199, 7248 (Notices of
 Allowed Administrative Claims).
 1063
      See Ex. 70 (Greenspan) ¶¶545-571, Ex. 135 (Mills) ¶¶55-61.
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 IX.    Defendants are liable for negligent concealment, negligent misrepresentation, and
        negligence.

        A.      The Trust’s evidence proves each element of its claims for negligent
                misrepresentation and concealment.

        “The elements of negligent misrepresentation are substantially similar to those of

 fraudulent misrepresentation, except that the required mental state is less stringent.” Schrager v.

 N. Cmty. Bank, 328 Ill. App. 3d 696, 703 (2002). “Negligent misrepresentation is a lesser

 included claim of fraudulent misrepresentation. It differs only in that while [fraudulent

 misrepresentation] requires knowledge that the pertinent statement was false, [negligent

 misrepresentation] merely requires that the person who made the statement failed to exercise

 reasonable care or competence to obtain or communicate true information.” Ferris Ave. Realty,

 LLC v. Huhtamaki, Inc., No. PB 07-1995, 2011 R.I. Super. LEXIS 25, at *32 (Super. Ct. Feb. 18,

 2011) (internal quotes and citations omitted). Similarly, negligent concealment is a lesser

 included claim of fraudulent concealment that differs only in terms of the intent required. Wigod

 v. Wells Fargo Bank, N.A., 673 F.3d 547, 573 n.11 (7th Cir. 2012) (“We assume the elements

 of negligent concealment are equivalent to those of a negligent misrepresentation claim, meaning

 the defendant must have negligently — but not intentionally — failed to disclose a material fact,

 and that he also must have owed some duty to the plaintiff to disclose it”).

        As discussed above, the Trust has presented evidence of each of the other elements of

 fraudulent misrepresentation and concealment. And the evidence of knowledge above satisfies

 the “less stringent” mental state requirement for negligent misrepresentation and concealment.

 Thus, the evidence above demonstrates that Defendants are liable for negligent misrepresentation

 and concealment.




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        B.      The Trust’s evidence proves each element of its claim for negligence.

        “Actionable negligence involves a legal duty to use due care, a breach of such legal duty,

 and the breach as the proximate or legal cause of the resulting injury.” United States Liab. Ins.

 Co. v. Haidinger-Hayes, Inc., 1 Cal. 3d 586, 594 (1970). What is negligence under a particular set

 of circumstances is a question for the trier of fact. Id.

        The Trust’s evidence above establishes each of the elements of a negligence claim.

 Defendants owed a duty of care to the Trade Vendors. Defendants owed a duty of care to Trade

 Vendors. They breached that duty of care in multiple ways. Defendants paid executive bonuses

 so that Trade Vendors would not have access to those funds. They recklessly and carelessly

 obtained a financing package with no care for the damage that would be caused to Trade Vendors.

 And Defendants repeatedly made statements to Trade Vendors to induce Trade Vendors to ship

 goods, knowing that Trade Vendors did not have the information that they needed to make their

 decision. And as a result of Defendants’ breaches of their duty of care, Trade Vendors suffered

 hundreds of millions of dollars of damages. This evidence of a negligence claim precludes

 summary judgment.

        Defendants argue that “[u]nder Delaware law,” the Trust’s negligence claim cannot survive

 summary judgment. Mot. 99. But Defendants apply the wrong law. As discussed above, the

 substantive law of each Vendor’s home state governs the Trust’s tort claims. None of the Trade

 Vendors were located in Delaware. Thus, Delaware law is irrelevant to the negligence claim.

        Moreover, the internal affairs doctrine does not change this analysis. Under New York

 choice-of-law rules, the law of a corporation’s state of incorporation governs issues relating to

 the “corporation’s internal affairs—matters peculiar to the relationships among or between the

 corporation and its current officers, directors, and shareholders.” Edgar v. Mite Corp., 457 U.S.



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 624, 645 (1982); Mindspirit, LLC v. Evalueserve Ltd., 2019 U.S. Dist. LEXIS 167060, at *16-17

 (S.D.N.Y. Sep. 2019) (same).

           But the internal affairs doctrine does not apply to torts committed by directors and

 officers against a third-party, such as a creditor. Roselink Inv’rs, L.L.C. v. Shenkman, 386 F.

 Supp. 2d 209, 225 (S.D.N.Y. 2004) (“Creditors’ claims at issue here are tort claims regarding the

 rights of ‘third parties external to the corporation’ as they are not brought by shareholders,

 officers or directors, nor are they brought derivatively on behalf of the corporation. Therefore,

 the ‘internal affairs doctrine’ is inapplicable.”); Tyco, 756 F. Supp. 2d at 560 (“internal affairs

 doctrine” does not apply to a claim against “the directors and officers for … the commission of a

 tort”).

           Here, the negligence claim is brought on behalf of Trade Vendors—creditors external to

 the corporation—and therefore does not involve a matter peculiar to the internal affairs of TRU.
                                                                                       1064
 Thus, the internal affairs doctrine does not apply, and neither does Delaware law.

           Under the applicable state common law, Defendants owed a duty of care to the Trade

 Vendors. Defendants argue that they “did not owe a duty to the trade vendors apart from the

 duty the Defendants owed to the company.” Mot. 99. This is incorrect. For example, under the

 law of California, the state where the largest number of Vendors was located, “directors

 individually owe a duty of care, independent of the corporate entity’s own duty, to refrain from

 acting in a manner that creates an unreasonable risk of personal injury to third parties.” Frances




 1064
        Defendants also cite a Delaware statute, 8 Del C. § 102(b)(7), that allows corporations to
        shield directors from personal liability for breaches of their duty of care. Mot. 100. But
        section 102(b)(7) covers only liability for breaches of a duty of care owed to the
        corporation, not negligence toward third parties. Moreover, second, section 102(b)(7) does
        not insulate officers from liability for actions taken in bad faith, and the Trust has
        demonstrated above that Defendants acted in good faith.
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 T. v. Vill. Green Owners Ass’n, 42 Cal. 3d 490, 504 (1986). Thus, “[d]irectors are liable to third

 persons injured by their own tortious conduct regardless of whether they acted on behalf of the

 corporation and regardless of whether the corporation is also liable.” Id.

        And here, as demonstrated above, Defendants breached their duty of care to the Trade

 Vendors through their actions and caused Trade Vendors to suffer losses, establishing a

 negligence claim separate from Defendants’ duties to the Company. As demonstrated above,

 Defendants’ conduct breached their duty of care owed to the Trade Vendors. As demonstrated

 above, Defendants paid executive bonuses depriving Trade Vendors of access to those funds.

 Defendants recklessly and carelessly obtained a financing package with no care for the damage

 that would be caused to Trade Vendors. And Defendants repeatedly made statements to Trade

 Vendors to induce Trade Vendors to ship goods, knowing that Trade Vendors did not have the

 information that they needed to make their decision.

        Finally, the evidence presented above demonstrated that Trade Vendors suffered losses

 caused by Defendants’ breach of the duty of care. Accordingly, the Trust has sufficient evidence

 of its separate claim for negligence, and the motion for summary judgment should be denied.

 X.     Each of Defendants’ arguments on the Trust’s tort claims fails.

        A.      The Trust has standing to pursue claims assigned to it by the Trade Vendors.

                1.     Fourth Circuit precedent governs issues of federal bankruptcy law.

        Defendants argue that the Court should apply “Delaware’s interpretation of federal

 bankruptcy law” to determine whether the Trust has standing to pursue claims on behalf of the

 Trade Vendors. Mot. 31. Defendants are mistaken. The Court must apply Fourth Circuit

 precedent to issues of federal law. And under binding Fourth Circuit precedent, the Trust has

 standing to pursue claims assigned to it by the Trade Vendors.



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          Federal courts do not apply a state court’s interpretation of federal law. Westport Ins.

 Corp. v. Atchley, Russell, Waldrop & Hlavinka, L.L.P., 267 F. Supp. 2d 601, 628 (E.D. Tex.

 2003) (“where a state interpretation of federal law varies from federal interpretation, the state

 interpretation is ignored”) (citing Hutto v. Davis, 454 U.S. 370, 375 (1982)). Rather, when

 interpreting federal law, courts in the Fourth Circuit must, “of course, apply the law of the Fourth

 Circuit.” Bradley v. United States, 161 F.3d 777, 782 n.4 (4th Cir. 1998). This is true even

 when, as here, the case was transferred from another circuit. “[T]his court cannot and does not

 apply the law of another circuit simply because the case was transferred from the other circuit.”

 Id.

          Thus, the Court need not engage in a choice-of-law analysis on this issue, and Delaware’s

 interpretation of federal bankruptcy law is irrelevant. In re Escalera Res. Co., 563 B.R. 336, 350

 n.6 (Bankr. D. Colo. 2017) (“There is no need for the Court to engage in a choice of law analysis

 . . . since the Court is only required to construe federal law.”); Art Inst. of Phila. Llc v. Nelson,

 Nos. Chapter 7, 20-50627 (CTG), 2022 Bankr. LEXIS 68, at *15 (Bankr. D. Del. Jan. 12, 2022)

 (“the choice-of-law problem arises only when a federal court exercises jurisdiction over a case

 that is governed by a law other than federal law.”)

                 2.      Under binding Fourth Circuit precedent, the Trust has standing to
                         pursue claims assigned to it by the Trade Vendors.

          The Fourth Circuit has held that a “trustee has the requisite standing to sue [for] the

 causes of action he acquired for the estate from the [creditors] after commencement of [a]

 bankruptcy case.” Logan v. JKV Real Estate Servs. (In re Bogdan), 414 F.3d 507, 512 (4th Cir.

 2005).

          For example, in In re McCurnin, 590 B.R. 729, 740 (Bankr. E.D. Va. 2018), M&T Bank,

 the creditor of a bankruptcy estate, assigned its claim against the estate to a trust. Applying


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 Logan, this Court held that “[b]y giving the Trustees the unconditional Assignment [of its claim],

 M&T Bank relinquished its rights to the claim, and the Trustees, who now stand in place of

 M&T Bank, may pursue the claim . . . as if they were M&T Bank.” Id.

        Here, under the direction of this Court, the Trade Vendor claims were unconditionally

 assigned to the Trust for the specific purpose of bringing this action. E.g. TRU Trust Agreement

 [Dkt. 6925] §2.5(a) (“[T]he creditors of the Debtors … hereby irrevocably transfer, assign, and

 deliver to the TRU Creditor Litigation Trust all assets constituting the Non-Released Claims

 Trust Assets.”). The Trust has the exclusive right to assert the Trade Vendor claims. TRU Trust

 Agreement [Dkt. 6925] §2.5(f) (“no Person or creditor … other than the TRU Creditor Litigation

 Trust … shall be permitted to assert … any Claim or Cause of Action that is transferred to the

 TRU Creditor Litigation Trust pursuant to this Agreement or the Plans.”). Thus, the Trust has

 standing under controlling Fourth Circuit law.

        Defendants do not actually apply Delaware state law, nor do they assert any principle of

 Delaware state law that would bar the Trust from asserting claims assigned to it, and for good

 reason. “Delaware has a longstanding rule that claims are freely assignable and can be asserted

 by the acquirer.” In re Activision Blizzard, Inc. Stockholder Litig., 124 A.3d 1025, 1050-51 (Del.

 Ch. 2015).

        Instead, Defendants rely on a Delaware state court opinion applying federal bankruptcy

 law. Trenwick America Litigation Trust v. Ernst & Young, L.L.P., 906 A.2d 168, 205 (Del. Ch.

 2006). The court in Trenwick stated that under federal bankruptcy law, “litigation trusts do not

 have standing to pursue the direct claims of creditors . . . even in cases where a creditor has

 assigned her claims to a . . . Trust.” The Trenwick court based this statement on a




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 misinterpretation of the U.S. Supreme Court case Caplin v. Marine Midland Grace Trust Co.,

 406 U.S. 416, 434 (1972).

        The Trenwick court’s statement was merely dicta, however, because the creditors in

 Trenwick had not actually assigned their claims to the trust. The Trenwick court held that the

 trust could not bring the creditors’ claims because the “provisions of the Litigation Trust

 Agreement … include an express assignment of Trenwick America's pre-petition claims to the

 Litigation Trust, but not the claims of Trenwick America's creditors.” Trenwick Am. Litig. Tr. v.

 Ernst & Young, L.L.P., 906 A.2d 168, 190 (Del. Ch. 2006) (emphasis added); see Zazzali v.

 Hirschler Fleischer, P.C., 482 B.R. 495, 509 (D. Del. 2012) (distinguishing Trenwick because it

 “did not involve the assignment of creditors’ claims” and holding: “[T]he Trustee has standing to

 pursue claims on behalf of assigning creditors. As an assignee, the Trustee has standing to assert

 the injury in fact suffered by the assignors.”) 1065

        More importantly, the Fourth Circuit has already considered and rejected Trenwick’s

 misinterpretation of Caplin, holding that Caplin does not apply to cases (like the present one)

 where the creditors unconditionally assigned their claims to a trust. Logan v. JKV Real Estate

 Servs. (In re Bogdan), 414 F.3d 507, 511 (4th Cir. 2005) (“It does not follow from the reasons

 advanced by the Court in Caplin that the trustee lacks the necessary standing in this case…. By

 taking unconditional assignments from the creditors, the trustee, as assignee, is making his claim




 1065
      Defendants also assert that Torch Liquidating Trust ex rel. Bridge Assocs., LLC v. Stockstill,
 2008 U.S. Dist. LEXIS 19535 at *21 n.4 (E.D. La. Mar. 13, 2008) “is illustrative.” Mot. 31. It is
 not. In Torch the dispositive finding was that the creditors would not be able to assert fiduciary
 duty claims on their own behalf if they owned the claims. Id. at *10. “If the causes of action are
 not able to be brought by the creditors … then the Trust, in turn, cannot bring that cause of
 action.” Id. There is no similar issue here. In a footnote, the Torch court noted hypothetically
 that the trust would not have standing under Trenwick. Id. at *20 n.4. Thus, like in Trenwick,
 this statement was merely dicta.
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 on behalf of Bogdan’s estate, not on behalf of the mortgage lenders . . . the Bankruptcy Code

 implicitly authorizes such a suit.”). 1066

         In sum, binding Fourth Circuit precedent—not dicta from the Delaware Court of

 Chancery—governs issues of federal bankruptcy law. And under Fourth Circuit precedent, the

 Trust has standing to pursue claims assigned to it by the Trade Vendors. See Logan v. JKV Real

 Estate Servs. (In re Bogdan), 414 F.3d 507, 512 (4th Cir. 2005); In re McCurnin, 590 B.R. 729,

 740 (Bankr. E.D. Va. 2018); Schnelling v. Crawford (In re James River Coal Co.), 360 B.R. 139,

 159 (Bankr. E.D. Va. 2007).

         B.      Defendants’ “30(b)(6) testimony contradicts” argument fails.

         Defendants assert “the Trust’s claims must be dismissed for all trade vendors who gave

 30(b)(6) testimony directly contradicting the Trust’s claims.” Mot. at 33. This argument fails

 for four reasons.

         First, the Trust’s 30(b)(6) deposition testimony responding to questions on the Trust’s

 contentions is found exclusively in the 30(b)(6) deposition that was taken of the Trust, and not in

 the deposition of any Trade Vendor witness. The Trust never designated a trade vendor

 employee to testify as a 30(b)(6) witness for the Trust. The testimony from trade vendor

 witnesses was the result of notices that Defendants expressly directed at the vendor company,

 and not the Trust. For example, for vendor Just Play, the deposition notice was styled

 “Defendants’ Amended Notice of 30(b)6) Deposition of Just Play, LLC.” 1067 And Charlie



 1066
      Most other courts to consider this issue have similarly held that Caplin does not apply where
 the creditors assigned their claims to a litigation trust. See Grede v. Bank of N.Y. Mellon, 598
 F.3d 899, 901-02 (7th Cir. 2010) (holding that Caplin does not apply to a plan-created litigation
 trust asserting claims that were assigned to it by creditors); Semi-Tech Litig., LLC v. Bankers
 Trust Co., 272 F. Supp. 2d 319, 323-24 (S.D.N.Y. 2003) (same); In re Tribune Co., 464 B.R.
 126, 192-93 (Bankr. D. Del. 2011) (same).
 1067
      Ex. 179 (Notice of 30(b)(6) of Just Play (Emby exhibit 1)).
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 Emby, the witness who testified for Just Play, confirmed that he was “designated by Just Play to

 testify on its behalf,” not on behalf of the Trust. 1068

         By contrast, Defendants served a separate and distinct 30(b)(6) deposition notice on the

 Trust: “Defendants’ Notice of 30(b)(6) Deposition of TRU Creditor Litigation Trust.” 1069 That

 notice requested a witness to testify regarding the Trust’s contentions, for example, “Your

 contentions that the Trade Vendors, when deciding to ship goods to TRU on credit,

 justifiably/reasonably relied on statements or representations You contend Defendant made or

 caused to be made.” 1070 In response, the sole person designated by the Trust to provide 30(b)(6)

 testimony on its behalf was the Trustee, Robert Kors. 1071 The Trust’s 30(b)(6) deposition

 testimony responding to questions on the Trust’s contentions is found exclusively in that

 deposition, not in the deposition of a Trade Vendor witness.

         Second, the rule of law that Defendants are referring to (and that is stated in the case that

 Defendants cite) is that “a party may not submit an affidavit or declaration at the summary

 judgment stage contradicting its earlier deposition testimony.” Thomas v. FTS USA, LLC, No.

 3:13cv825, 2016 U.S. Dist. LEXIS 82679, at *23 n.4 (E.D. Va. June 24, 2016) (internal quotes

 omitted). The Trust is not seeking to submit an affidavit or declaration from a witness that

 contradicts earlier deposition testimony from the witness. Defendants’ argument is thus entirely

 inapplicable.

         Moreover 30(b)(6) testimony does not foreclose an issue, because “answers given at

 a Rule 30(b)(6) deposition are not judicial admissions.” United States v. Taylor, 166 F.R.D. 356,




 1068
      Ex. 315 (Just Play (Emby) depo.) 12:6-10.
 1069
      Ex. 178 (Notice of 30(b)(6) of Trust (Kors depo exhibit 1)).
 1070
      Id. at 32.
 1071
      Ex. 97 (Kors depo.) 20:24-21:25.
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 362-63 & n.6 (M.D.N.C. 1996) (“When the court indicates that the Rule 30(b)(6) designee gives

 a statement or opinion binding on the corporation, this does not mean that said statement is

 tantamount to a judicial admission. Rather, just as in the deposition of individuals, it is only a

 statement of the corporate person which, if altered, may be explained and explored through

 cross-examination as to why the opinion or statement was altered.”); Vehicle Mkt. Research, Inc.

 v. Mitchell Int'l, Inc., 839 F.3d 1251, 1261 (10th Cir. 2016) (“We agree with our sister circuits

 that the testimony of a Rule 30(b)(6) witness is merely an evidentiary admission, rather than

 a judicial admission.”).

        Third, to the extent Defendants contend that the Trust cannot use a statement in vendor

 deposition testimony that appears to be inconsistent with other parts of the deposition, that

 argument has been flatly rejected by courts across the country. “[C]onflicting testimony within

 [the same deposition] raises a genuine issue of material fact… which precludes summary

 judgment for defendants.” O'Brien v. Ed Donnelly Enters., 575 F.3d 567, 595 (6th Cir. 2009),

 overruled in part on another ground, Campbell-Ewald Co. v. Gomez, 577 U.S. 153, 160 (2016);

 Mest v. Cabot Corp., 449 F.3d 502, 514 (3d Cir. 2006) (contradictory testimony in the same

 deposition must be “viewed in the light most favorable to the non-moving party”); Burns v. Bd.

 of Cty. Comm'rs, 330 F.3d 1275, 1282-83 (10th Cir. 2003) (“internally inconsistent” testimony

 must be viewed “in the light most favorable” to the non-moving party). Thus, inconsistent

 testimony in a Trade Vendor’s deposition “raises a genuine issue of material fact … which

 precludes summary judgment for defendants.” O’Brien, 575 F.3d at 595.

        Fourth, when each vendor’s testimony is considered as a whole, and when it is compared

 against the various alternative theories asserted by the Trust to prove its claims, there is no

 vendor testimony that is inconsistent with or forecloses any of the Trust’s claims. For example,



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 the Trust asserts multiple actionable misrepresentations by Defendants across multiple time

 periods. A vendor witness, therefore, might testify that the vendor did not receive or rely upon a

 particular representation, but did receive and rely upon other representations. The testimony that

 the vendor did not receive that one particular representation does not contradict all of the Trust’s

 theories for the claim, and therefore provides no basis for summary judgment on the claim.

           C.      Defendants’ “Critical Vendor Agreements” argument fails.

           Defendants assert that Trade Vendors “were contractually obligated to ship regardless of

 what Defendants said to them,” and thus the Trust cannot “prove reliance or causation for

 vendors who signed them.” Mot. at 34. Each part of this argument fails.

                   1.     Critical Vendor Agreements did not obligate Trade Vendors to ship
                          goods to Toys “R” Us on credit.

           The Critical Vendor agreements were contractual agreements to supply goods as long as

 Toys “R” Us paid for those goods. But the Critical Vendor agreements did not obligate Trade

 Vendors to extend credit to Toys “R” Us or ship goods on credit. Trade Vendors were free to

 move to cash in advance or shorten credit terms if they became concerned about Toys “R” Us’

 ability to pay for goods shipped.

           The Critical Vendor Agreements required Trade Vendors to ship goods to Toys “R” Us

 under the trade terms that were customary in the 180 days leading up to the bankruptcy. The

 Critical Vendor Agreements stated that “supplier shall supply goods and/or perform services to

 the company” based on “Customary Trade Terms.” 1072 Those “Customary Trade Terms” were

 defined as “trade terms at least as favorable to the company as those practices and programs,




 1072
        See, e.g., Ex. 260 (Dorel (Rana depo ex. 13)) at 2.
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 product mix, availability, and other programs, in place in the 180 days prior to the Petition

 Date.” 1073

        Trade Vendors confirmed that the trade terms in place with Toys “R” Us during that 180

 day period before the bankruptcy would allow the vendors to move to cash in advance or ask for

 assurances if they were concerned about Toys “R” Us’ ability to pay. Trade Vendors would still

 ship goods—in compliance with the critical vendor agreement—but they would ship those goods
                                                   1074
 only after receiving payment from Toys “R” Us.

        Moving to cash in advance would have allowed each Critical Vendor to avoid all of its

 losses. There would have been no unpaid goods that were shipped to Toys “R” Us, because

 vendors would have received payment before shipping any of those goods. Defendants entirely

 ignore the ability of Trade Vendors to adjust their payment terms in this way.

                2.      Each Critical Vendor testified that they would have acted differently
                        had they learned of concealed facts, establishing reliance and
                        causation.

        Defendants’ claim that the Trust cannot “prove reliance or causation” for these vendors is

 directly contrary to the vendors’ testimony. Mot. at 34. As discussed above, reliance and

 causation require showing that a statement or concealment was a material or important factor in a

 decision, and that absent that statement, the Trade Vendor would have acted differently. The

 evidence demonstrates reliance and causation for each Critical Vendor.



 1073
     Id.
 1074
     See, e.g., Ex. 372 (Elliott (MGA) depo.) 262:17-263:16 (confirming that “it is very routine”
 for MGA to “ask for cash in advance in situations where we think the customer is unable to
 pay”); Ex. 258 (Rana (Dorel) depo.) 233:6-234:15 (confirming that under “customary trade
 terms,” Dorel would have the option to “move to cash in advance terms” if it was “unsure [that a
 customer] would be able to pay”); Ex. 284 (Brinkmeier (Graco) depo.) 179:11-180:25
 (confirming that under customary trade terms, Graco could ship “cash in advance” or “halve the
 [length of payment] terms” if it believed “there was a substantial chance that Toys “R” Us was
 not going to be able to pay”).
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          Trade Vendors with critical vendor agreements uniformly testified that they would have

 acted differently had they known the facts that Defendants concealed from them. For example,

 Jakks would have “moved to cash in advance” if it had known about projected covenant breaches

 and the need for additional financing, notwithstanding the existence of the critical vendor
              1075
 agreement.          Best Chairs explained that it would have “terminate[d] the contract pursuant to

 the provisions that were in there or at a minimum we would have said he who first materially

 breaches the contract cannot later enforce it. So we would have had lots of arguments to stop

 shipping them and we would have utilized those at that time.” 1076

          As another example, LEGO’s Trade Agreement signed after Toys “R” Us entered

 bankruptcy included the following language under scenarios in which LEGO could stop shipping

 goods:

          “Supplier determines, in its good-faith business judgment, that the Company or one or
          more of the Relevant Affiliates fails to satisfy Supplier’s customary business credit risk
          management criteria” 1077

          “the occurrence of a material adverse change with respect to the ability of one or more of
          the Relevant Affiliates to purchase goods and services from vendors on credit in the
          ordinary course of business” 1078

          LEGO testified that the “customary business risk management criteria” would include

 “evidence of liquidity with the customer” and necessitated “access to that information.” 1079 If

 LEGO “felt that there was risk” that Toys “R” Us would not be “able to access the DIP facilities

 for any reason,” LEGO would have stopped shipping based “on the good-faith business

 judgment or credit judgment clause that’s inside of our trading terms contract.” 1080


 1075
      Ex. 307 (Cooney (Jakks) depo.) 215:15-217:4.
 1076
      Ex. 239 (Sermersheim (Best Chairs) depo.) 329:17-330:15.
 1077
      Ex. 341 (Kodak (LEGO) depo. Ex. 107) 6(c)(vi)
 1078
      Ex. 341 (Kodak (LEGO) depo. Ex. 107) 6(d)(i)
 1079
      Ex. 335 (Kodak (LEGO) depo.) 138:7-19.
 1080
      Ex. 335 (Kodak (LEGO) depo.) 342:8-23.
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        Defendants’ present a table with vendor testimony that Defendants assert supports their

 argument. Mot. 35-37. Once again, Defendants completely ignore the testimony demonstrating

 that each Trade Vendor with a critical vendor agreement would have acted differently if

 Defendants had told them the truth. To respond to Defendants’ table, the Trust presents

 testimony for each Trade Vendor in the Trust’s Appendix A in response to Defendants’ tables of

 vendor testimony, and that Appendix is being filed as a separate document.

        Moreover, Defendants’ cited cases do not support the proposition that there can be no

 fraud when a contract exists. To the contrary, Defendants’ own cited case establishes that “a

 fraud claim may arise when a defendant makes misrepresentations to induce a plaintiff's

 continuing performance.” Coughlan v. Jachney, 473 F. Supp. 3d 166, 194 (E.D.N.Y. 2020); see

 Barrie House Coffee Co. v. Teampac, LLC, No. 13 CV 8230 (VB), 2016 U.S. Dist. LEXIS

 85527, at *20 (S.D.N.Y. June 30, 2016). Defendants’ misrepresentations here induced Trade

 Vendors to ship goods on credit, rather than adjusting payment terms, because the Trade Vendors

 falsely believed that Toys “R” Us’ DIP financing was available and that Toys “R” Us would

 have the ability to pay for those orders when they came due.

        None of Defendants cases involve a similar situation in which the plaintiff could alter his

 conduct under a contract. ICBC (London) PLC v. Blacksands Pac. Grp., Inc., 2015 U.S. Dist.

 LEXIS 131211, at *33 (S.D.N.Y. Sep. 29, 2015) (discussing fraud in context of obligation to

 make interest payments); Megaris Furs v. Gimbel Bros., 172 A.D.2d 209, 212-13 (App. Div. 1st

 Dept. 1991) (holding no fraud to induce rent payments because plaintiff was “contractually

 bound to comply with a particular schedule of rent payments”); IBM Credit Fin. Corp. v. Mazda

 Motor Mfg. Corp., 152 A.D.2d 451, 453 (App. Div. 1st Dept. 1989) (discussing presence of

 existing contract as defeating a fraudulent inducement claim). None of these cases involve a



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 plaintiff alleging that it would have exercised its ability to change terms or act differently under

 the allowed terms of a contract. As discussed above, the Trade Vendors here were not

 “contractually bound” to ship goods on credit. They could, and would, have moved to cash in

 advance if Defendants had told them the truth. As discussed at length above, this satisfies the

 elements of reliance and causation.

                3.         Defendants’ “fraudulent inducement” argument is a red herring.

        Separately, Defendants claim that “the Trust cannot argue that the trade vendors were

 fraudulent induced into signing the Critical Vendor Agreements.” Mot. at 37-38. This is a red

 herring. The Trust is not arguing that Trade Vendors were fraudulently induced into entering the

 Critical Vendor Agreements. Rather, the terms of the critical vendor agreements and the

 vendors’ testimony demonstrate that the critical vendor agreements do not change the analysis of

 vendor reliance or causation.

        D.      Defendants’ “actionable misstatements” arguments fail.

        Defendants assert that “the Trust must be able to identify a specific actionable

 representation to every trade vendor that was false when made to proceed with its fraudulent

 misrepresentation claim for that vendor” and “[t]he Trust cannot do so.” Mot. at 38. Each part

 of this argument fails.

        As an initial matter, Defendants’ argument relates only to the fraudulent and negligent

 misrepresentation claims. Defendants do not address the concealed facts giving rise to

 fraudulent concealment claims. And Defendants’ arguments also lack merit regarding the

 fraudulent misrepresentation claims.

                1.         Statements made in September and October are actionable.

        Defendants make two arguments: that there is no evidence “to suggest” that statements

 made in September and October “were false when made,” and that statements “regarding the

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 purpose of the DIP financing and TRU’s intent to pay trade vendors” are not actionable because

 they were “forward looking and aspirational or promissory statements.” Mot. at 39-42.

        First, Defendants’ claim that “[n]othing in the factual record suggests” that the September

 and October statements “were not true” is wrong.

        As demonstrated at length above, the September statements were both false and

 misleading half-truths, giving rise to liability for fraudulent misrepresentation. The statements

 on September 18 that Toys R” Us had “commitments for” and “access to” the DIP financing as

 of that date were false, because the DIP financing was not yet available. Further, the DIP did not

 provide “over $3 billion in new financing” that would be available “to support [Toys “R” Us’]

 business obligations during the financial restructuring process.” Instead, the actual amount of

 new money that could be used to pay for obligations in the post-petition period was less than

 $500 million. Each of these falsities gives rise to a cause of action for fraudulent concealment.

 Moreover, the statement that the Company had access to the financing throughout the

 restructuring process was both false and misleading as demonstrated above.

        Second, Defendants entirely ignore the additional fraudulent statements made from

 December 2017 through February 2018. For example, as demonstrated above, Defendants made

 additional false and misleading statements to Trade Vendors at the Hong Kong and New York

 Toy Fairs, including that it was “business as usual at Toys “R” Us,” and that Toys “R” Us was

 “totally focused on plans for emergence”—both of which were false when made. Further, the

 Vendor FAQ was posted on Toys “R” Us website throughout the bankruptcy, not just in

 September. And in January and February, the statement on the FAQ that the DIP financing “will

 enable [Toys “R” Us] to meet our financial obligations throughout the restructuring process” was

 false, because Toys “R” Us needed a cash infusion of at least $150 to $200 million. Defendants



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 ignore the statements after September and October that separately give rise to liability for

 fraudulent misrepresentation and were false when made.

                  2.      Defendants’ “advisors approved” argument fails.

           Defendants’ claim that because advisors “reviewed and approved” messaging used by

 Toys “R” Us, there can be no claim that Defendants were “transmitting false information.” Mot.

 at 40. This argument is not only wholly unsupported by evidence, but also fails as a matter of

 law.

           First, Defendants claim that the “undisputed factual evidence demonstrates” that “legal

 and financial advisors reviewed and approved the messaging and written statements that TRU

 issued during this time period” and that this review and approval included “FAQs, vendor talking

 points, press releases, and letter to customers” is false. Mot. at 40 (emphasis added).

           Defendants cite to their statement of facts ¶¶85-88 and Exhibits 109-111 to support this

 assertion. The statement of facts again repeats the assertion that a “legal or financial advisor

 approved” of the messaging. Exhibit 109 shows that Joele Frank (a public relations firm, not a

 “legal or financial advisor”) circulated drafts to other professionals, but provides no indication

 that the materials were “reviewed and approved.” 1081 Defendants’ Exhibit 110 is an email in

 which a Kirkland lawyer summarizes in an email that he told one vendor that “if they want to

 ship on preexisting terms, and the company wants to purchase products, they would be paid in

 full for that postpetition purchase.” 1082 That email does not indicate that Kirkland “reviewed or

 approved of” the Vendor Talking Points, Vendor FAQ, or the Dear Valued Business Partner

 Letter. Similarly, Defendants’ Exhibit 111 reflects a Kirkland lawyer giving advice on




 1081
        Defs. Ex. 109.
 1082
        Defs. Ex. 110.
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 September 27 about statements at the Dallas Toy Fair, not approving the messaging that was

 used to contact vendors in the aftermath of the bankruptcy. 1083

           Defendants thus have no evidence or basis for the claim that legal or financial advisors

 “approved” the messaging being given to vendors, much less evaluated it to ensure that it did not

 make false or misleading statements. Because Defendants have not provided any evidence,

 much less undisputed evidence, of review and approval, this argument fails at the threshold.

           Second, Defendants claim that Kirkland and Ellis was making “these same substantive

 representations to trade vendors,” demonstrating that they were true. Mot. at 40. But

 Defendants again provide no evidence to support this statement. Defendants cite an email in
                                                                                         1084
 which a Kirkland lawyer informed a vendor about shipment as a non-critical vendor.             And

 Defendants misleadingly excerpt from the deposition of the LEGO Group. Here is the full

 answer, showing the statement made by Kirkland and the witness’ limitation of the answer to

 “the same type of messaging” to “this particular message.”

            2      Q. Josh Sussberg writes, "Not sure
            3   what you guys are doing here. You are now
            4   the only vendor not shipping."
            5          Do you see that?
            6      A. I do see that.
            7      Q. So the same type of messaging
            8   that was being provided to Lego Dave
            9   Brandon, Mike Short, and Richard Barry was
           10    also being provided to LEGO's outside
           11    counsel from Toys "R" Us' outside counsel,
           12    correct?
           13       A. Yes. On this particular
           14    message, that seems clear.

 Kodak (LEGO) depo. 98:2-14




 1083
        Defs. Ex. 111.
 1084
        Defs. Ex. 110.
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           The statement that the LEGO Group was “the only vendor not shipping” was certainly

 not a statement about $3.0 billion in new financing or that it would be available throughout the

 restructuring process. Thus, Defendants’ argument that Kirkland and Ellis was communicating

 the same false statements to Trade Vendors is baseless.

           Third, any claim of reliance on advisors does not apply when “Defendants knew the true

 facts” and “the advisors did not provide contrary advice containing false information.” 1085 As

 discussed above, both Brandon and Short knew that the DIP financing did not in fact provide

 $3.0 billion of new money, but that it instead provided less than $500 million. And they knew

 that the DIP financing had not been approved as of September 18, when they were calling

 vendors and informing them that Toys “R” Us had obtained DIP financing. Moreover,

 Defendants do not provide evidence that Kirkland & Ellis or Alvarez & Marsal gave Brandon

 and Short advice to the contrary—for example, that the DIP financing truly did provide $3.0

 billion in funding to use for ongoing operations. Brandon and Short’s decision to make those

 false statements to vendors would not be excused by advisor approval.

           Fourth, throughout the bankruptcy, neither Kirkland nor Alvarez gave Defendants advice

 that the statements on the FAQ continued to be true, or that the statements in the talking points

 continued to be accurate. For example, Defendants do not proffer evidence of a Kirkland lawyer

 telling Defendants that it would be perfectly true and not misleading to tell vendors in February

 that the DIP financing was sufficient to enable Toys “R” Us to meet its financial obligations

 during the bankruptcy. Each of those false statements remain actionable, regardless of the

 presence of advisors.




 1085
        Ex. 70 (Greenspan) ¶487.
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        Fifth, the Trust’s evidence demonstrates that the Defendants failed to follow the advice

 they had been given by the advisors. Josh Sussberg of Kirkland & Ellis at a board meeting

 “advised it is best to remain open, honest, and transparent with stakeholders throughout the
             1086
 process.”          Sussberg testified that he instructed Brandon, Short, and the Directors to be

                                                  and that they should
                                                              1087



        Sussberg also testified that he never advised Defendants that it was permissible to make

 statements that would mislead the trade vendors, or to make statements that would create false
                                                       1088
 impressions about Toys R Us’ financial strength.

        Finally, to attempt to support their position, Defendants use a single quote from the

 Trustee that the Trust “does not contend that Kirkland engaged in any wrongdoing in connection

 with the DIP financing.” Mot. at 40. That statement does not stand for, nor imply, the

 proposition that all materials that anyone from Kirkland ever received contained truthful

 information, or nor does it imply that all statements communicated by Defendants remained true

 after they were initially disseminated. And indeed, the analysis above indicates that Defendants

 made many statements that were knowingly false when made, and otherwise became false or

 misleading during the bankruptcy.

                    3.      Forward looking and aspirational or promissory statements are
                            actionable

        Defendants assert that the statements “that TRU would make payments on post-petition

 shipments” and that “the DIP financing received would provide sufficient liquidity” are forward

 looking and “cannot serve as the basis for tort liability.” Mot. at 42. Defendants are wrong.


 1086
      Ex. 142 (1'31'18 minutes [DEFS_0059013]) at 4.
 1087
      Ex. 84 (Sussberg depo.) 116:9-117:13.
 1088
      Ex. 84 (Sussberg depo.) 116:9-13, 212:13-213:9
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        First, as explained at length above, a statement that is a prediction or an opinion is

 actionable if it “impl[ies] facts which justify a belief in the truth of the opinion.” Cohen v. S & S

 Constr. Co., 151 Cal. App. 3d 941, 946 (1983) (internal quotes omitted). Because all of the

 representations made by Defendants implied the existence of verifiable facts justifying the

 statements, those representations are therefore actionable.

        Second, a forward-looking statement or statement of opinion “may be actionable when it

 is made by a party who … possesses, or assumes to possess, special knowledge or special

 information regarding the subject matter.” Jolley v. Chase Home Fin. LLC, 213 Cal. App. 4th

 872, 892 (2013) (internal quotes omitted). As detailed above, Defendants had superior

 knowledge of Toys “R” Us’ financial position and internal data. Trade Vendors did not have

 access to any of this information. Because Defendants had superior knowledge of the facts

 underlying each of the representations, their forward-looking statements and opinions made area

 actionable.

        Third, Defendants’ “aspirational or promissory” argument does not address the additional

 fraudulent misrepresentation made by Defendants between December 2017 and March 2018. As

 discussed in detail above, each of those statements were actionable statements of fact when

 made, and they separately give rise to claims for fraudulent misrepresentation.

        Finally, Defendants assert that vendors testified that they still “believe that Defendants

 were speaking truthfully” when they made statements in September and October 2017. That a

 Defendant fooled a vendor into believing that the Defendant was speaking truthfully does

 nothing to undermine a fraud claim: just the opposite, it is perfectly consistent with fraud. As

 demonstrated above, while Defendants knew the truth, trade vendors did not know the truth, and

 even today most trade vendors do not know the full truth. It is not surprising, therefore, that a



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 trade vendor could continue to believe Defendants’ false statements. Likewise, vendors believed

 that Brandon and Barry were telling them the truth when they represented to vendors at the New
                                                                         1089
 York Toy Fair that that it was “business as usual” for the Company.            Those vendors did not

 know what Brandon and Barry knew—that the Company was preparing to liquidate and

 targeting a mid-March date.

           Moreover, as discussed above, a Trade Vendors’ 30(b)(6) testimony is not a judicial

 admission by the Trust on any fact, and the Trust has presented powerful evidence of each of the

 elements of fraudulent misrepresentation, including falsity.

                  4.      Defendants “cannot identify specific statements” argument fails.

           Defendants claim that because “vendors testified that they could not identify the specifics

 of any misstatements allegedly made to them,” the Trust’s fraudulent misrepresentation claims

 fail. Mot. at 42-44. This argument is wrong on two counts.

           First, as demonstrated in the Trust’s evidence (examples in the Trust’s specific response

 to Defendants’ tables for each Trade Vendor) each Trade Vendor identified multiple specific

 statements, who those statements were made by, and when the statements were made. This alone

 defeats Defendants’ argument. See Trust SOF ¶¶ 402, 408, 414, 420, 426, 432, 438, 444, 450,

 456, 462, 468, 474, 479, 484, 489, 494, 500, 506, 511, 517, 523, 529, 535, 540, 546, 551, 557,

 563, 569, 574, 579, 584, 590, 595, 601, 606.

           Second, Defendants falsely assume that the only source of evidence for specific

 statements is the Trade Vendor depositions. But Defendants and Toys “R” Us employees also

 provided testimony identifying specific statements, when they were made, and to whom they

 were made. For example, Barry testified that he and other employees at Toys “R” Us had



 1089
        See, e.g., Ex. 421 (Smith (Yvolve) depo.) 56:21-58:8.
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 conversations in which they communicated “the information in the talking points” to vendors.
 1090
        Those talking points included: “we have received commitments for over $3.0 billion in new

 financing” that would “enable [Toys “R” Us] to meet our business obligations.” 1091 And Barry

 admitted specific statements that he made, for example:

           6    Q. In September 2017 and in October
           7   2017 when you were talking to trade
           8   vendors, did you tell them that
           9   Toys ‘R’ Us had over $3 billion in DIP
          10    financing that would provide liquidity
          11    and enable Toys ‘R’ Us to pay for
          12    merchandise that was shipped on credit
          13    while Toys ‘R’ Us was in bankruptcy?
          14     A. Yes.

 Ex. 89 (Barry depo.) 35:6-14.

 He further admitted:

           6    Q. Was there any trade vendor that
           7   you had a conversation with where you
           8   decided I'm not going to mention the 3
           9   billion in DIP financing that we got?
          10     A. Not that I recall.
          11     Q. Did you think it was important to
          12    tell each of the trade vendors about the
          13    $3 billion in DIP financing that
          14    Toys ‘R’ Us had as a source of liquidity?
          15     A. Yes.

 Ex. 89 (Barry depo.) 83:6-15.

          Furthermore, Barry’s testimony may be used to prove which Trade Vendors received this
                                                  1092
 representation and when they were contacted.            Further, documents confirm the timing of

 particular statements. For example, they indicate that particular vendors were contacted the day



 1090
      Ex. 89 (Barry depo.) 83:2-10.
 1091
      Ex. 174 (Vendor Talking Points [TRU-Trust0000336056]).
 1092
      Ex. 89 (Barry depo.) 118:12-119:6 (testifying about a conversation “in Dave Brandon’s
 office” and a number of conversations that occurred “a day before” the bankruptcy filing).
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 of the bankruptcy filing, or the day after filing. 1093 Defendants ignore all of this additional

 evidence that independently establishes specific statements, when they were made, and who

 made them.

           E.     Defendants’ “scienter” arguments fail.

           Defendants claim that no evidence of scienter sufficient for fraudulent misrepresentation

 or concealment “appears in the factual record.” Mot. at 44. Defendants are wrong.

                  1.      The Trust has ample evidence of Defendants’ intent.

           As discussed above, “[a]n intent to deceive is not an essential element of the cause of

 action; the required intent is an intent to induce action.” Beckwith v. Dahl, 205 Cal. App. 4th

 1039, 1062 (2012) (internal citations omitted).

           As demonstrated above, Defendants knew that Toys “R” Us’ business model required

 that Trade Vendors continue shipping goods on credit and Defendants desired to induce Trade

 Vendors to continue shipping. Defendants knew that the Trade Vendors would stop shipping

 goods if they became concerned about Toys “R” Us’ ability to pay. And they knew that the DIP

 financing was what gave the Trade Vendors comfort that Toys “R” Us would have the ability to

 pay.

           Defendants further knew that Trade Vendors would stop shipping goods to the company

 on credit if they learned the concealed facts. They knew that by concealing information about

 Toys “R” Us’ projected loss of its DIP financing, need for additional financing, and liquidation

 planning, Trade Vendors would continue shipping. As detailed in the sections above discussing

 Defendants’ intent, this evidence precludes summary judgment.




 1093
        See, e.g., Ex. 171 (Vendor Call spreadsheet (Barry Ex. 16) [TRU-Trust0000364251]).
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                2.      Defendants’ cited securities law cases are inapposite.

        Defendants attempt to use cases in the context of securities litigation under Rule 10b-5

 and Section 10(b) to support their assertion that Defendants lacked scienter. But the intent

 required under securities law fraud cases is not analogous to the intent requirement for common

 law fraud.

        “[T]he body of law that has developed under Rule 10b-5 is not sufficiently analogous to

 the law of fraud to justify its importation into the latter.” Mirkin v. Wasserman, 5 Cal. 4th 1082,

 1093 (1993); see Strauss v. Long Island Sports, Inc., 60 A.D.2d 501, 509 (App. Div. 2nd Dept.

 1978) (“section 10b-5 cases are very much distinguishable from common-law fraud cases”).

        Several of Defendants’ cases deal with the intent required in securities litigation. See

 Ernst & Ernst v. Hochfelder, 425 U.S. 185, 193 n.12 (1976) (assessing intent requirement “for

 civil liability under §10(b) and Rule 10b-5”); In re Triangle Capital Corp. Sec. Litig., 988 F.3d

 743, 750-51 (4th Cir. 2021) (discussing intent requirements for claims based on Section 10(b)

 and the Private Securities Litigation Reform Act); Kalnit v. Eichler, 264 F.3d 131, 138-39 (2d

 Cir. 2001) (summarizing evolution of intent requirements in the context of the Private Securities

 Litigation Reform Act). These cases do not establish the appropriate standard for scienter in

 common law fraud claims.

                3.      Defendants’ March board minutes argument fails.

        Defendants assert that board minutes in March constitute “undisputed evidence” that

 “Defendants did not want to deceive the trade vendors.” Mot. at 45. This argument fails for two

 reasons.

        First, the Trust has extensively demonstrated above that Defendants possessed the

 requisite fraudulent intent between September 2017 and late February 2018. Defendants wanted

 Trade Vendors to ship goods to Toys “R” Us. Defendants knew that Trade Vendors would stop

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 shipping if they learned the concealed facts. And Defendants not only concealed those facts

 from Trade Vendors, they made additional misrepresentations to the Trade Vendors so that they

 would continue shipping. The March minutes do not contradict that showing of intent.

           Second, the March board minutes do not reflect that Defendants had an intent to stop

 deceiving the Trade Vendors as of March. To the contrary, the minutes reflect that “the Board

 advised management” to inform vendors that payment “is not guaranteed” only “if asked.” 1094 If

 a Trade Vendor did not ask, that Trade Vendor would have no way of knowing about the

 concealed information. Defendants did not make an additional disclosure to Trade Vendors

 warning them about the risks of shipping. Defendants did not direct the Company’s employees

 to stop ordering goods on credit. And Defendants did not take down the Vendor FAQ, which

 continued, even as of this date, to reassure vendors that “Toys “R” Us will pay for all goods and

 services” and that the DIP financing provided “sufficient liquidity” for Toys “R” Us to meet its

 business obligations. 1095

           Third, Defendants’ argument fundamentally misunderstands the appropriate summary

 judgment standard. Defendants attempt to draw inferences from the March board minutes that

 support a purported lack of intent. See Mot. at 45-46. But this is not the purpose of summary

 judgment. For summary judgment to be appropriate, Defendants must demonstrate that when all

 inferences are drawn in favor of the Trust, there is no genuine issue about Defendants’ intent.

 Defendants fall far short of meeting this burden.




 1094
        Ex. 196 (3’4’18 Board minutes [TRU-Trust0000375064]).
 1095
        Ex. 172 (Vendor FAQ [TRU-Trust0000349256]).
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                4.     Defendants’ “public disclosure” argument fails.

        Defendants assert that a “public disclosure” in a “contemporaneous SEC filing at the

 beginning of the Chapter 11 proceeding” prevents any showing that “Defendants acted with an

 intent to deceive.” Mot. at 46. This argument fails for multiple reasons.

        First, Defendants made numerous affirmative statements to Trade Vendors to convince

 them to ship goods. At the same time that this SEC disclosure was submitted, Defendants were

 making statements directly to Trade Vendors assuring them that the DIP financing would be

 available throughout the bankruptcy and that Trade Vendors would be paid for all goods that

 they shipped to Toys “R” Us during the bankruptcy. Defendants understood that the purpose of

 these statements was to have Trade Vendors begin shipping to the company again. Defendants

 did not tell Trade Vendors anything about the potential dangers of covenant compliance, or that

 Toys “R” Us might be unable to pay for goods during the bankruptcy. That the company

 submitted a separate voluminous disclosure to the SEC (not to the Trade Vendors) with various

 boilerplate warnings does not negate the direct statements that Defendants made and authorized

 to be made in September 2017.

        Second, a form statement in an SEC disclosure in September has no bearing on

 Defendants’ intent to conceal additional facts between December and March. As discussed

 above, intent is established by “knowledge of falsity” and “an intent to induce action.” Beckwith

 v. Dahl, 205 Cal. App. 4th 1039, 1062 (2012). Defendants became aware of additional facts

 after the initial SEC disclosure was published, and made the decision to withhold those facts

 from Trade Vendors. Defendants did not make any additional disclosure about impending

 covenant breaches, that the Company required $150-$200 million in new financing to meet its

 obligations, or was engaged in liquidation planning.



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        Third, none of Defendants’ inapplicable securities law cases establish that an SEC

 disclosure absolves directors of fraudulent intent in common law fraud claims. See In re Triangle

 Capital, 988 F.3d at 756 (discussing that disclosures to investors meant that plaintiff had “not

 satisfied the PSLRA’s [Private Securities Litigation Reform Act’s] heightened burden for

 pleading scienter”); City of Coral Springs Police Officers’ Ret. Plan v. Farfetch Ltd., 2021 U.S.

 Dist. LEXIS 189502, at *10 (S.D.N.Y. Sept. 30, 2021) (discussing scienter requirements under

 Section 10(b) and Rule 10b-5); Lucas v. Icahn, 616 F. App’x 448, 450 (2d Cir. 2015) (holding

 that plaintiff had not “adequately pleaded that the 10b-5 Defendants acted with scienter” and

 laying out requirements for pleading scienter in a claim for securities fraud).

                5.      Defendants’ argument that vendors testified that Defendants had no
                        intent to deceive is irrelevant as a matter of law, and grossly
                        mischaracterizes the facts.

        Defendants assert that because some Vendors testified that they did not “believe that

 Defendants had an intent to deceive,” the Trust cannot “pursue tort claims on behalf of those”

 Trade Vendors. Mot. at 46-47.

        First, the question of Defendants’ intent is not determined by whether a Trade Vendor

 believed that a Defendant had a particular intent. The required element for fraud is “an intent to

 deceive” not “a plaintiff’s belief that a Defendant had an intent to deceive.” That a Trade

 Vendor believed a Defendant had a particular intent is not relevant to, much less dispositive of,

 Defendants’ actual intent. Rather, the appropriate evidence for intent comes from Defendants’

 own testimony, which, as discussed above, demonstrates the requisite intent.

        Second, Defendants do not identify any Trade Vendor that actually provided testimony

 that Defendants lacked an intent to deceive. In support of their proposition, Defendants cite a

 single Trade Vendor witness. That Trade Vendor witness was not the 30(b)(6) designee for



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                                                            1096
 statements made by Defendants to that Trade Vendor.               And the witness did not testify that

 Defendants lacked an intent to deceive. Here is the full question and answer that Defendants

 misleadingly excerpt:

             7        Sitting here today, does R.R. Donnelley contend
             8   that any of the statements in this document are -- were
             9   false?
            10        A. Well, hindsight is 20/20. Right?
            11        Did they pay vendors for all goods and services
            12    received after the filing date? No. Because I've got
            13    a claim for that.
            14        On or before, I didn't get paid for everything,
            15    but I agreed to not get paid for everything. So
            16    it's --
            17        Q. Right.
            18        Because R.R. Donnelley had an agreement with
            19    Toys "R" Us, correct?
            20        A. Yeah. Yeah. So, you know, it's a little
            21    complicated. I don't think they meant to deceive.

 R.R. Donnelley (Elliott) depo. 77:7-21

           This excerpt does not address all of the Defendants’ representations to R.R. Donnelly; it

 concerns a single representation. And it describes only what this witness “thinks”—a witness

 who was fooled by Defendants and who did not have the evidence from Defendants’ depositions

 establishing that, in fact, they did intend to induce action. And the opinion offered by the

 witness addresses whether “they meant to deceive,” it does not address whether Defendants

 intended to induce action by Trade Vendors, which is the relevant issue. This does not have any

 bearing on Defendants’ intent, much less does it conclusively demonstrate that there is no

 disputed issue of fact regarding fraudulent intent.

           In sum, Defendants fail to meet their burden to show that there are no issues of material

 fact on the question of scienter. Intent is a question of fact for the jury to evaluate. “Issues of



 1096
        Ex. 391 (Elliott (R.R. Donnelley) depo.) 14:19-16:6.
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 fraud and intent to deceive present questions of fact particularly inappropriate for resolution on a

 motion for summary judgment.” Tenax Corp. v. Tensar Corp., 743 F. Supp. 1204, 1211 (D. Md.

 1990); Kilroy v. Alpharetta Fitness, Inc., 295 Ga. App. 274, 280 (2008) (“the question

 of scienter is an issue of fact for jury determination”);

        F.      Defendants’ “reliance” argument fails.

        Defendants assert that the testimony of “the vast majority of trade vendors at their

 30(b)(6) depositions” is grounds for dismissing tort claims on behalf of those vendors. Mot. at

 47. This argument fails.

        Reliance can be shown by demonstrating “that the misrepresentations were material, and

 that therefore a reasonable trier of fact could infer reliance from such misrepresentations …

 absent evidence conclusively rebutting reliance.” Engalla v. Permanente Med. Grp., Inc., 15

 Cal. 4th 951, 977 (1997). As discussed above, the Trust has evidence that the misrepresentations

 were material. And Defendants’ arguments fail to rebut reliance.

        First, “Rule 30(b)(6) testimony is not ‘binding’ in the sense that it precludes the deponent

 from correcting, explaining, or supplementing its statements.” ADT Holdings, Inc. v. Harris, No.

 2017-0328-JTL, 2017 Del. Ch. LEXIS 163, at *4 (Ch. Sep. 7, 2017). At Trade Vendor

 depositions, Defendants would commence the questioning, and would ask broad questions

 without referencing specific documents. The Trust then examined the witnesses using the

 contemporaneous documents from Defendants that contained their representations and using

 emails Trade Vendor representatives had written at the time discussing Defendants’ statements.

 Not surprisingly, these documents often refreshed the witness’s recollection and resulted in

 specific and compelling testimony of reliance.

        As detailed in the Trust’s Statement of Facts Trade Vendor’s testified statements made by

 Defendants or at Defendants’ direction were material factors in each Trade Vendor’s decision to
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 ship goods on credit. See SOF ¶¶ 402, 408, 414, 420, 426, 432, 438, 444, 450, 456, 462, 468,

 474, 479, 484, 489, 494, 500, 506, 511, 517, 523, 529, 535, 540, 546, 551, 557, 563, 569, 574,

 579, 584, 590, 595, 601, 606.

        For example, no fact “was more important to Basic Fun in deciding whether to ship on

 credit than Richard Barry’s statements and his word.” 1097 As another example, Step2 “believed

 what [they] learned” from Defendants, and continued “supporting Toys “R” Us’ business with

 the flow of goods.” 1098 As yet another example, the statement on the Vendor FAQ about the

 DIP financing and its availability throughout the bankruptcy was “the most critical factor” in

 Jakks’ decision to ship. 1099 And the statement that Toys “R” Us had received



                              Ex. 321 (Kamler (Kent) depo.) 165:11-166:16. Further evidence for

 the decisions to ship can be found in Trust SOF ¶¶ 403, 409, 415, 421, 427, 433, 439, 445, 451,

 457, 463, 469, 475, 480, 485, 490, 495, 501, 507, 512, 518, 524, 530, 536, 541, 547, 552, 558,

 564, 570, 575, 580, 585, 591, 596, 602, 607.

        Furthermore, to the extent that there is any contradiction within a 30(b)(6) witness’ own

 deposition testimony, such contradiction cannot be resolved at the summary judgment stage. “[I]f

 there are inconsistencies in a witness’ testimony, [i]t is the exclusive province of the trier of fact

 to weigh conflicting testimony and make determinations of credibility, crediting some, all or

 none of any given witness’ testimony.” Wall Sys. v. Pompa, 324 Conn. 718, 741 (2017) (internal

 quotes omitted); Lennon v. Christoph, No. 94 C 6152, 1997 U.S. Dist. LEXIS 1231, at *14 (N.D.

 Ill. Feb. 4, 1997) (“conflicts within deposition testimony create credibility issues which should



 1097
      Ex. 232 (Foreman (Basic Fun)) 270:22-271:13.
 1098
      Ex. 409 (McCallum (Step2)) 24:9-15, 177:13-178:2.
 1099
      Ex. 307 (Cooney (Jakks) depo.) 159:19-160:5, 145:16-22.
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 be considered by the fact-finder”); Mata v. Brooks Petroleum Co., No. 12-02-00075-CV, 2003

 Tex. App. LEXIS 3511, at *12 (Tex. App. Apr. 23, 2003) (“conflicting testimony of the same

 witness on the same issue creates a fact issue for the fact finder to decide”).

        Second, Defendants’ assertion that Trade Vendors testifying that they were not present at

 the Hong Kong or New York Toy Fair means that those vendors “disavowed the Trust’s claims

 on their behalf” is wrong. Mot. at 47.

        That certain Trade Vendor witnesses were not present at the Hong Kong or New York

 Toy Fairs or did not rely on statements at those events does not negate those vendors’ reliance on

 Defendants’ representations. Indeed, each of the Trade Vendors that Defendants cite gave
                                                                         1100
 testimony that they relied on other statements that Defendants made.           A lack of reliance on

 one representation does not establish a lack of reliance on other statements.

        Moreover, each Trade Vendor’s testimony establishes that the Trade Vendor relied on

 Defendants’ September statements, and that Trade Vendors had a continuing expectation that

 those statements remained true. No vendor had access to any of the information that was

 concealed by Defendants, and no vendor was told the truth, whether at a Toy Fair or in any other

 setting. Just because certain Trade Vendors did not receive additional statements at the Hong

 Kong or New York Toy Fairs does not negate their reliance on other statements made by

 Defendants.

        Third, Defendants’ argument about Trade Vendors that received representations that were

 “not reassuring” fails to establish a basis for granting summary judgment. Mot. at 48. No Trade



 1100
     See Ex. 401 (Stewart (Spinmaster) depo.) 213:6-24 (“conversations that SpinMaster had with
 Short and Barry” were “one of the factors in deciding to ship”); Ex. 315 (Emby (Just Play)
 depo.) 113:9-17 (“100 percent” true that “conversation with Mr. Brandon influence[d] Just
 Play’s decision to ship goods”); Ex. 249 (Hoff (Crayola) depo.) 242:13-243:2 (statement made
 about DIP financing “was an important factor” in Crayola’s decision to ship).
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 Vendor testified that they were told any of the concealed facts by Defendants in February. See

 Trust SOF ¶¶ 403, 409, 415, 421, 427, 433, 439, 445, 451, 457, 463, 469, 475, 480, 485, 490,

 495, 501, 507, 512, 518, 524, 530, 536, 541, 547, 552, 558, 564, 570, 575, 580, 585, 591, 596,

 602, 607. And no Trade Vendor testified that they stopped shipping as a result of a statement

 made by a Defendant—as the lack of any citation or evidence for Defendants’ assertion reflects.

 On the contrary, Trade Vendors uniformly testified that they continued to ship due to the

 continued availability of the DIP financing and that they believed that Toys “R” Us had the

 ability to pay for purchase orders when it placed them.

           G.     Defendants’ “reasonable reliance” arguments fail.

           Defendants assert that the Trust cannot prove reasonable reliance because (1) Toys “R”

 Us’ SEC filing included a statement about “the risk that it might not emerge,” (2) because the

 “DIP financing agreements were publicly filed” and that the vendors, as “sophisticated

 companies,” could have “known about the risk of shipping goods” if they “review[ed] these

 disclosures,” and (3) vendors could not “reasonably believe that shipping goods to a company

 during a Chapter 11 proceeding was risk free.” Mot. at 48-49. Each of these arguments fail.

                  1.      Defendants’ “SEC filings” argument fails.

           First, the SEC filing Defendants reference could not possibly disclose the facts identified

 above as concealments. The SEC filing was on September 29, 2017. 1101 Defendants’ fraudulent

 concealments occurred between October and March. The SEC filing did not contain any of that

 concealed information: for example, that the Company was projecting that it would default on its

 financial covenants, that Toys “R” Us had a $200 million hole in its budget that was required to

 emerge from bankruptcy, that there was a $500 million dollar shortfall from the DIP budget, and



 1101
        Ex. 198 (Toys “R” Us Form 10-Q, Sept. 29, 2017).
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 that liquidation planning was underway. Thus, the SEC filing has no bearing on Defendants’

 fraudulent concealments.

           Second, the SEC filings did not actually disclose the magnitude of the risks associated

 with the DIP financing. Instead, the SEC filing buried discussion of the DIP financing in various

 boilerplate warnings such as “We may be subject to claims that will not be discharged,” and a

 warning that “ability to maintain contracts” was a risk factor that Toys “R” Us faced in
                1102
 bankruptcy.           To evaluate those risks, Trade Vendors would need access to the additional

 information that Defendants concealed from them.

           For example, to evaluate the risk whether Toys “R” Us would breach a covenant, the

 Trade Vendors would need information about the Company’s recent and projected financial

 results, including sales, margins, costs, and capital expenditures, and the Company’s projected

 compliance with the covenant. But, as demonstrated above, the Defendants intentionally

 withheld that information, because, as they admitted, disclosing the terrible holiday results was

 likely to cause the Trade Vendors to stop shipping. By knowingly concealing this information,

 they knowingly induced Trade Vendors to continue shipping, which constitutes fraudulent

 concealment.

           The 10-Q did not contain any information that would allow Trade Vendors to evaluate

 the risks. The 10-Q did not mention covenant 6.16 or its requirements, nor did it disclose that

 the DIP Term Loan lender had required the covenant in lieu of other deleted milestones. It did

 not provide any probability of default or likelihood that a covenant would be breached. It did not

 disclose that Brandon and Short had determined that the covenants left an insufficient liquidity




 1102
        Ex. 198 (Toys “R” Us Form 10-Q, Sept. 29, 2017) at 38-39.
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 cushion. And it did not inform anyone about the Directors’ lack of analysis on the Company’s

 ability to comply with the covenants or the flawed projections in the DIP budget.

                  Third, the SEC filing did not give Trade Vendors the information that they needed

 to evaluate the risks of shipping to Toys “R” Us during the bankruptcy. Trade Vendors knew there

 was a risk that Toys ‘R’ Us might not emerge from bankruptcy. But they also testified that what

 was critical to evaluating that risk was the availability of accurate information from the

 Company. See Trust SOF ¶¶ 404, 410, 416, 422, 428, 434, 440, 446, 452, 458, 464, 470, 476, 481,

 486, 491, 496, 502, 508, 513, 519, 525, 532, 537, 542, 548, 553, 559, 565, 571, 576, 581, 586,

 592, 597, 603, 608. Without that information, the risk disclosure on the 10-Q provided vendors

 no information that they could use to make an accurate risk determination.

                  2.     Defendants’ “DIP financing agreements” argument fails.

           The public availability of the DIP financing documents, including the language of the

 covenants has no bearing on reasonable reliance.

           The public availability of the DIP financing agreements would only inform Trade

 Vendors of the presence of covenants. It would provide vendors with absolutely no way to

 determine whether Toys “R” Us was in compliance with those covenants. Because “current

 income and balance sheet accounts and rolling forecasts—which were necessary to determine

 whether the DIP budget and covenants were achievable” were not available to Trade Vendors,

 the Vendors “did not have the financial information necessary to determine whether or not [Toys

 “R” Us] was meeting or was likely to meet its financial covenants.” 1103 A vendor looking at the

 DIP financing agreements in February 2018 would have no ability to determine whether




 1103
        Ex. 70 (Greenspan) ¶533.
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 covenants were in danger of being breached without knowing the information that Defendants

 concealed.

          Thus, the public availability of the DIP financing covenants gave vendors no information

 about, and no ability to assess, whether Toys “R” Us would be able to comply with the covenants

 in the DIP financing or whether the DIP financing was sufficient to enable Toys “R” Us to meet

 its obligations during the bankruptcy.

                 3.      Defendants’ “no risk” and “guaranteed” argument mischaracterizes
                         the Trust’s contentions and attacks a straw man.

          Defendants’ claim that summary judgment is appropriate because vendors could not

 reasonably believe that the “DIP financing was guaranteed” or that shipping goods during

 bankruptcy “was risk free” misstates the Trust’s allegations, and distorts the factual record. Mot.

 at 49.

          First, the Trust’s list of fraudulent misrepresentations does not include the statement “the

 DIP financing was guaranteed.” Mot. at 49. Thus, Defendants’ argument fails at the threshold.

          Second, Trade Vendor testimony does not indicate that any vendor believed shipping

 goods was risk free. Instead, based on the representations that Trade Vendors received from

 Defendants, and the lack of any follow up information, Trade Vendors believed that the DIP

 financing was available and provided Toys “R” Us with sufficient liquidity to meet its

 obligations. As long as the DIP financing was available to satisfy Toys “R” Us’ obligations,

 Trade Vendors believed their risk of shipping was very low, because of the statements that

 assured them that the DIP financing would pay them for all of the goods that they shipped post-

 petition. 1104 Defendants did not inform Trade Vendors that the Company was projecting a


 1104
    See, e.g., Ex. 330 (Woldenberg (Learning Resources) depo.) 212:9-19 (Learning Resources
 was “comfortable extending 90-day terms” because of the “very large DIP line” and statements
 about “excess liquidity); Ex. 415 (Gamble (Warner Brothers) depo.) 240:25-241:10, 242:17-
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 F.3d 507, 516 (6th Cir. 1999) (reversing grant of summary judgment and concluding that

 boilerplate language did not preclude justifiable reliance); In re Nat'l Century Fin. Enters., 846

 F. Supp. 2d 828, 882 (S.D. Ohio 2012) (denying summary judgment on the issue of reasonable

 reliance when Defendant argued that its disclosures contained “cautionary language” and

 “advised potential investors to make their own assessments”).

        Moreover, if there is a factual dispute about whether the plaintiff had the same access to

 information as the defendant, there is a question of fact that precludes summary judgment on the

 issue of reasonable reliance. See In re Refco Inc. Sec. Litig., No. 07 MDL 1092 (JSR), 2011 U.S.

 Dist. LEXIS 33554, at *53-54 (determining that summary judgment on reliance was

 inappropriate because “there is a significant factual dispute on whether the two parties had

 reasonable access to the same information”). Here, as discussed above, the Trade Vendors did

 not have reasonable access to the information known to, and concealed by, Defendants. And

 Trade Vendors uniformly testified that they could not discover that information from outside

 sources. See Trust SOF ¶¶ 404, 410, 416, 422, 428, 434, 440, 446, 452, 458, 464, 470, 476, 481,

 486, 491, 496, 502, 508, 513, 519, 525, 532, 537, 542, 548, 553, 559, 565, 571, 576, 581, 586,

 592, 597, 603, 608. Whether their reliance on Defendants statements was reasonable is thus a

 material issue of fact precluding summary judgment.

        H.      Defendants’ “causation” argument fails.

        Defendants assert that for the Trust to “prove causation,” the Trust must “prove that

 Defendants’ statements are what caused” Trade Vendors to ship. Mot. 49-50. This contention

 fails on the law and the facts.

                1.      The Trust has ample evidence of causation.

        “It is not . . . necessary that [a plaintiff's] reliance upon the truth of the fraudulent

 misrepresentation be the sole or even the predominant or decisive factor in influencing his

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 conduct. . . . It is enough that the representation has played a substantial part, and so has been a

 substantial factor, in influencing his decision.” Engalla v. Permanente Med. Grp., Inc., 15 Cal.

 4th 951, 976-77 (1997) (quoting Restatement (Second) of Torts § 546, com. b, p. 103).

        “Plaintiffs are required to prove only that defendant's conduct was a cause of damages.

 They need not prove that [Defendant’s] conduct was the sole cause of loss.” Varacallo v. Mass.

 Mut. Life Ins. Co., 332 N.J. Super. 31, 48 (Super. Ct. App. Div. 2000). “[T]here can be more

 than one proximate cause contributing to any one injury.” Capiccioni v. Brennan Naperville,

 Inc., 339 Ill. App. 3d 927, 937-38 (2003). “It need not be the sole cause or the last or nearest

 cause.” Id.

        As demonstrated above, Defendants’ representations and concealments was a substantial

 factor in causing Trade Vendors to suffer harm. As discussed at length above, Defendants’

 statements about the presence of the DIP financing, its availability throughout the bankruptcy,

 and its ability to provide Toys “R” Us with sufficient liquidity to meet its obligations were

 important factors in the Trade Vendors’ decision to resume shipping.

        Moreover, the concealment of facts between December and March—for example, that the

 Company required a $150-$200 million cash infusion, that it was $500 million below the DIP

 budget projections, and that liquidation planning was underway—caused Trade Vendors to

 continue shipping. Trade Vendors uniformly testified that if these concealed facts had been

 disclosed to them, they would have stopped shipping goods to Toys “R” Us on credit. See Trust

 SOF ¶¶ 403, 409, 415, 421, 427, 433, 439, 445, 451, 457, 463, 469, 475, 480, 485, 490, 495, 501,

 507, 512, 518, 524, 530, 536, 541, 547, 552, 558, 564, 570, 575, 580, 585, 591, 596, 602, 607.

                2.      Defendants’ cited cases are inapposite.

        Defendants’ two cited cases are inapplicable to the facts of this case. In Caviness v.

 DeRand Res. Corp., 983 F.2d 1295, 1305 (4th Cir. 1993), the plaintiff failed to present any
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 “evidence of reliance or damage.” There was “no assertion by the plaintiffs that the stated

 misrepresentations were even material” in their decision-making process. Id. By contrast, the

 Trust has powerful evidence of materiality, including admissions from Defendants. And Trade

 Vendors testified that the statements about the DIP financing made by Defendants were “critical”

 in their decision making. 1105 The Trade Vendors further testified about the importance of each

 of the concealed facts in that they would have led the vendors to stop shipping goods on credit.
 1106
        And in Revak v. SEC Realty Corp., 18 F.3d 81, 89-90 (2nd Cir. 1994), the plaintiffs “failed

 to allege any injury caused proximately (or otherwise)” and thus could not as a matter of law

 prove harm. By contrast, here there is ample evidence of injury to Trade Vendors and that

 Defendants’ conduct caused that harm.

                  3.     Proximate causation is a question of fact not amenable to resolution at
                         summary judgment.

          “[T]he question of proximate causation generally belongs to the trier of fact because

 causation is essentially a factual issue.” Eaton v. Weichert Workforce Mobility, Inc., No.

 X10UWYCV186040244S, 2021 Conn. Super. LEXIS 73, at *25 (Super. Ct. Feb. 3, 2021)

 (internal quotes omitted). Because “[t]he present case is not one where no reasonable person

 could conclude that the defendant's acts caused the plaintiffs' alleged injuries,” summary

 judgment is inappropriate on the issue of proximate causation. Eaton, 2021 Conn. Super. LEXIS

 73, at *25.




 1105
      See, e.g., Ex. 307 (Cooney (Jakks) depo.) 149:3-7; Ex. 321 (Kamler (Kent) depo.) 167:18-
 168:7.
 1106
      See, e.g., Ex. 335 (Kodak (LEGO) depo.) 354:25-355:24; Ex. 244 (Schellhase (Bestway)
 depo.) 205:13-206:8.
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        I.      Defendants’ “duty to disclose” arguments fail.

        As demonstrated above, the Trust has evidence establishing Defendants’ duty to disclose

 on four separate bases: (i) Defendants had a duty to disclose subsequently acquired information

 that made their earlier statements untrue or misleading. (ii) Defendants had a duty to disclose all

 material facts when they continued making representations. (iii) Defendants had a duty to

 disclose the concealed facts because they possessed superior knowledge and knew that Trade

 Vendors were acting on the basis of mistaken facts. (iv) The Trade Vendors had a relationship of

 trust and confidence with Defendants that created a duty to disclose.

        Defendants assert that “Defendants had no obligation” to disclose the concealed facts “in

 the manner the Trust alleges.” Mot. at 50. Every part of this argument fails.

                1.      Defendants’ proof of “swindling” argument fails.

        Defendants assert that a duty to disclose because of superior knowledge requires conduct

 that will “amount to a form of swindling,” quoting a phrase from a comment in the Restatement

 (Second) of Torts. Mot. 51 (quoting Restatement (Second) of Torts § 551, comment l).

 Defendants omit the rest of that sentence from the Restatement, which explains “swindling” as a

 situation “in which the plaintiff is led by appearances into a bargain that is a trap, of whose

 essence and substance he is unaware.” Id. That description of “swindling” is exactly what

 happened here. Trade Vendors were led by appearances to fill purchase orders and ship goods

 on credit, unaware of key material facts establishing that the Company did not have the ability to

 pay.

        Moreover, the Restatement comments clarify this branch of the duty to disclose, by

 stating that it would not arise “[w]hen the facts are patent, or when the plaintiff has equal

 opportunity for obtaining information … or when the defendant has no reason to think that the

 plaintiff is acting under a misapprehension.” Restatement (Second) of Torts § 551, comment k.

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 That description does not apply to any of the concealed facts here. The Trust’s evidence

 establishes that the concealed facts were not patent, the Trade Vendors did not have an equal

 opportunity for obtaining the information, and the Defendants had good reason to think—in fact

 they knew— that the Trade Vendors were acting under a misapprehension.

        In the Ferry case cited by Defendants, the plaintiff “was able to ascertain” the key

 information at issue “from sources other than Defendants.” Ferry v. Black Diamond Video, Inc.,

 No. 15-7723 (RBK/AMD), 2016 U.S. Dist. LEXIS 76893, at *23-24 (D.N.J. June 13, 2016).

 Because the relevant information “was equally available to both parties,” the court determined

 that there was no duty to disclose. Id. As demonstrated above, that is not the situation here. The

 concealed facts were available only to insiders at Toys ‘R’ Us and was not information that was

 equally available to Trade Vendors and Defendants. Indeed, it was information that even the

 vendors who were UCC members did not have. 1107

                2.     Defendants’ “trust and confidence” argument fails.

        Defendants’ assertion that “there is no evidence in the record that the vendors ‘reposed a

 trust and confidence’ in Defendants is false. Mot. 52. As discussed at length above, vendors had

 more than simple arms-length relationships with Toys “R” Us. Multiple vendors testified that

 they had a long-standing relationship of mutual trust with Barry, and that they relied upon Barry

 to provide them with accurate updates about the Toys “R” Us business. 1108




 1107
      See Ex. 357 (Stefanick (Mattel) depo.) 144:22-145:14, 148:19-149:8; Ex. 335 (Kodak
 (LEGO) depo.) 341:20-342:7; Ex. 297 (O’Gara-Kerr (Huffy) depo.) 127:18-128:9, 132:23-
 133:8; Ex. 273 (Chamberlain (Evenflo) depo.) 37:24-38:8.
 1108
      See, e.g., Ex. 255 (Shamie (Delta) depo.) 171:3-172:3 (“I trusted [Barry] immensely); Ex.
 232 (Foreman (Basic Fun) depo.) 216:1-217:1 (“didn’t believe [Barry]” “would tell us anything
 but the truth”). Barry himself admitted that he had a relationship of “mutual trust and
 partnership” with executives at many major trade vendors. Ex. 89 (Barry depo.) 471:5-10.
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         Moreover, as demonstrated above, Trade Vendors were beholden to the knowledge of

 Defendants because vendors did not have any access to the internal financial situation of Toys

 “R” Us beyond what they were being told by Defendants. News reports and speculation about
                                                                    1109
 Toys “R” Us’ liquidity was not accurate or reliable information.

         The sole case cited by Defendants to support this argument is inapposite. Grumman

 Allied Indus. v. Rohr Indus., 748 F.2d 729 (2d Cir. 1984). In that case, the plaintiff had

 “unrestricted access to all personnel and records” of the defendant. Grumman, 748 F.2d at 731-

 32. It was that “unrestricted access to [defendant’s] facilities, personnel, and records” that led

 the Court to conclude that the claim of “superior knowledge” was “without merit.” Id. at 739.

 Here, Trade Vendors had no access—much less unrestricted access—to the Company’s internal

 financial situation.

                 3.     Defendants’ “the UCC knew” argument fails.

         Defendants’ claim that their conduct did not amount to “swindling” because the UCC and

 its lawyers “were well aware that the company was having financial difficulties” similarly fails.

 Mot. 52.

         First, only four of the thirty-seven Trade Vendors in this action were members of the

 UCC: Mattel, Huffy, the LEGO Group, and Evenflo. And the UCC members were not permitted

 to disclose information that they learned from their membership on the UCC to other Trade

 Vendors or to any other source. 1110 Indeed, much of the material provided to the advisors for

 the UCC was not even provided to those four vendors, because it was marked “FOR



 1109
      See, e.g., Ex. 330 (Woldenberg (Learning Resources) depo.) (no way to obtain that
 information “[s]hort of hacking or spying); Ex. 258 (Rana (Dorel) depo.) 247:6-12 (“We could
 not get any information); Ex. 369 (Wysocki (Merchsource) depo.) 150:19-151:14 (no way to get
 “accurate information from a source outside of Toys “R” Us”).
 1110
      See Ex. 297 (Huffy (O’Gara-Kerr) depo.) 131:13-21.
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 PROFESSIONAL EYES ONLY.” 1111 Contrary to Defendants’ assertion, the UCC could not

 disclose this information to other Trade Vendors.

        Second, even the four UCC members did not have knowledge of the truth.         Knowledge

 that Toys “R” Us was having “financial difficulties” is not a disclosure of the concealed facts,

 such as that the Company had determined that it could not possibly comply with covenant 6.16

 in the Term DIP loan. For example, in February, Mattel reached out to Toys “R” Us to confirm
                                         1112
 “compliance with existing covenants.”          Short developed a strategy to respond: “we are going

 to tell Gregg [Stefanick] that if we were in covenant default, we would have had to issue an 8K”

 so that Mattel “would assume that we are not in breach.” 1113 And Brandon executed that

 strategy by telling Mattel that “Toys “R” Us would have been required to file an 8-K if it was not

 in compliance with its covenants.” 1114 Mattel never knew about the covenant: “it was a big

 surprise” that the budget covenant was the basis for default and there were never discussions

 with Brandon or Barry or the UCC “that there was a risk of default at all on the budget
              1115
 covenant.”

        As another example, the LEGO Group signed an NDA with Toys “R” Us to obtain

 information about covenant compliance. 1116 But Short chose to withhold information about

 covenant 6.16, instead informing the LEGO Group that Toys “R” Us had “two financial

 covenants”—cash flow and liquidity—and that it would be “in compliance with both of those




 1111
      See, e.g., Ex. 197 (11’30’17 Business Update [REV03792918]).
 1112
      Ex. 185 (2’16’18 Stefanick to Short [MATTEL00000537]).
 1113
      Ex. 184 (2’16’18 Short to Kosturos [TRU-Trust0000299828]).
 1114
      Ex. 357 (Mattel (Stefanick) depo.) 177:23-179:14.
 1115
      Ex. 357 (Mattel (Stefanick) depo.) 148:19-149:8.
 1116
      Ex. 335 (Kodak (Lego) depo.) 340:18-342:7.
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                1117
 covenants.”           Short did not mention the budget covenant (6.16) that he knew Toys “R” Us

 would breach days later.

                  4.        Statements made in September and October created a duty to correct
                            those statements when they became false.

           Defendants do not actually address their duty to disclose subsequently acquired

 information. Instead, Defendants simply assert that because the September statements “were true

 when made” and were “promissory statements not cognizable as tort claims,” there was no duty

 to update them. Mot. at 54. Defendants are wrong on both counts.

           As demonstrated above, the statements made in September were not true when made.

 More importantly, statements that are true when made create a duty to update those statements if

 the maker of the statements learns of information that makes those statements false. For

 example, if it was true in September that the DIP financing was sufficient to enable Toys “R” Us

 to meet its obligations, it certainly was not true in January, when the Defendants knew that Toys

 “R” Us required an additional $200 million cash infusion to meet its obligations.

           Further, as demonstrated above, each of the representations made by Defendants in

 September were actionable statements because they are subject to empirical verification, because

 they imply the existence of facts justifying the statement and imply that Defendants are unaware

 of any facts that would make the statement improbable, and because Defendants had superior

 knowledge on the subject.

           The Medtronic case cited by Defendants is inapposite. Medtronic Sofamor Danek, Inc. v.

 Michelson, 2004 U.S. Dist. LEXIS 26385, at * 48 (W.D. Tenn. May 20, 2004). The statements

 at issue in Medtronic, were that “it was possible for Medtronic to sell up to $35 million per year”

 and that “it could potentially achieve sales of $40 million.” Id. at *46 (emphasis added). By


 1117
        Ex. 151 (3’1’18 financial covenant forecast).
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 contrast, Defendants here did not merely tell vendors that it was “possible” that the Company

 would obtain $3 billion in DIP financing, or that the Company “potentially” might receive DIP

 financing. Instead, Defendants’ representations stated as a fact that the Company had secured

 more than $3.0 billion in DIP financing that would be available throughout the restructuring
            1118
 process.

                   5.     Defendants’ no duty to update with “real-time confidential
                          information” argument fails.

           Defendants claim that “there was no duty to update the trade vendor community with

 real-time confidential information while the outcome of these discussions and state of the

 company’s access to liquidity remained highly uncertain.” Mot. 54. This argument fails for two

 reasons.

           First, there was no information that was confidential that Defendants were prohibited

 from disclosing. The information was only “confidential” because Defendants were concealing

 it.

           And there was no legal obstacle preventing Defendants from telling Trade Vendors the

 truth. SEC selective disclosure rules did not prohibit Defendants from sharing information about

 Toys “R” Us’ financial condition with Trade Vendors. The SEC rule provides that (“Whenever

 an issuer, or any person acting on its behalf, discloses any material nonpublic information

 regarding that issuer or its securities to any person described in paragraph (b)(1) of this section,

 the issuer shall make public disclosure of that information as provided in § 243.101(e).” 17

 C.F.R. § 243.100 (a). None of the vendors were brokers, dealers, investment advisors, or

 investment companies such that this SEC selective disclosure rule would apply to them. 1119



 1118
        See, e.g., Ex. 315 (Just Play (Emby) depo.) 64:4-65:7.
 1119
        Greenspan ¶508.
                                                  379
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 Further, under the SEC disclosure rule, Defendants could have entered into nondisclosure

 agreements with each of the Trade Vendors, and told them the truth about Toys “R” Us’

 financial condition. 1120 And the SEC disclosure rule “does not prohibit making accurate

 disclosure to everyone simultaneously.” 1121 Defendants could have simply told the truth

 publicly.

        Moreover, Defendants cite no SEC disclosure rule that would excuse their conduct. SEC

 disclosure rules do not permit a party to make affirmative misrepresentations or engage in
                           1122
 fraudulent concealment.          Having made disclosures to the Trade Vendors in September and

 October, and continuing to make misleading half-true statements throughout the bankruptcy,

 created a duty on Defendants to disclose the concealed information.

        Second, Defendants’ claim about “real-time confidential information” attacks a

 strawman. The Trust has never claimed that Defendants were under a duty to provide every

 minute detail about negotiations (e.g. terms proposed in emails or the number of times an advisor

 was called on a given day). Instead, the Trust has established that Defendants were under a duty

 to disclose key facts that contradicted Defendants’ earlier and ongoing representations about the

 Company’s liquidity and ability to pay. For example, when Defendants knew in January that the

 DIP financing would no longer be sufficient to allow Toys “R” Us to meet its financial

 obligations, they had an obligation to disclose that fact.

        Moreover, the “uncertainty” that Defendants identify in the January and February time

 period shows that Defendants’ earlier statements about the definite availability of the DIP

 financing and Toys “R” Us’ ability had become false. Trade Vendors had no knowledge that



 1120
      Ex. 70 (Greenspan) ¶509.
 1121
      Ex. 70 (Greenspan) ¶513.
 1122
      Ex. 70 (Greenspan) ¶512.
                                                  380
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 Toys “R” Us’ “access to liquidity” was “highly uncertain.” To the contrary, the vendors had

 been assured (and reassured) that the DIP financing provided the company with ample liquidity

 that it could use to pay its obligations throughout the bankruptcy.

        There was no uncertainty that Defendants’ own projections showed that the Company

 would default on its financial covenants for the DIP financing. There was no uncertainty that

 Defendants had determined that the Company could not possibly comply with the January

 revised budget covenant, 6.16. Defendants knew that the Trade Vendors did not have that

 information, knew that the Trade Vendors needed that information (and in fact Trade Vendors

 were constantly asking for this information), and Defendants withheld that information precisely

 because they knew it would cause the Trade Vendors to stop shipping goods on credit.

        Third, Defendants cited cases are inapplicable to common law fraud claims. Each of the

 cases that Defendants cite in support of their arguments deal with a violation of federal securities

 statutes that have specific knowledge and duty requirements. By contrast, in this case all of the

 claims are common law fraud claims governed by state law. Defendants’ cited cases are thus

 inapposite.

        In re Express Scripts Holdings Co. Sec. Litig., 773 F. App’x 9, 14 (2nd Cir. 2019),

 involved duties in the context of securities litigation, and is inapposite to this case. (“Section

 10(b) and Rule 10b-5 do not create an affirmative duty”) (internal citation omitted). Coyne v.

 Gen. Elec. Co., 2010 U.S. Dist. LEXIS 70879, at *21 (D. Conn. July 15, 2010) similarly

 involved duties in the securities fraud context and is inapplicable. Walker v. Action Indus. Inc.,

 is another securities case in which the court stressed that “[w]e do not hold that there is no duty

 to disclose financial projections under any circumstances. To that extent, the district court’s

 instruction arguably was error.” Walker v. Action Indus., 802 F.2d 703, 710 (4th Cir. 1986).



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        Defendants cite In re Convergent Techs. Sec. Litig., 948 F.2d 507, 516 (9th Cir. 1991), as

 purportedly “explaining that a company is generally ‘not obliged to disclose [its] internal

 projections.’” Mot. at 55. The court made no such finding. The court merely made a

 determination that based on the company continuing “to warn investors of the risks posed by

 NGEN” the company did not have a duty to disclose certain “more detailed internal NGEN

 projections.” Id. at 515-516. By contrast, Defendants did not warn trade vendors about its

 covenant breaches in any way, much less disclose the underlying projections.

        And the court in In re Duane Reade Inc. Sec. Litig., 2003 U.S. Dist. LEXIS 21319, at *35

 (S.D.N.Y. Nov. 24, 2003), held that there was no evidence that Defendants had scienter, not that

 there was no duty to update. The court rejected the fraud claim because plaintiff had only

 “unsupported claims” that Defendant “was aware of facts or had access to information

 suggesting that their public statements were inaccurate.” Id. By contrast, as demonstrated

 above, the factual record in the present case is replete with evidence of Defendants’ knowledge

 that the statements being made to Trade Vendors were false.

                6.      Defendants’ negligent misrepresentation arguments fail.

        Defendants assert that the “Trust is unable to prove” three factors purportedly required

 for a negligent misrepresentation claim

                        a.     The Trust has evidence of each of the elements of negligent
                               misrepresentation

        “The elements of negligent misrepresentation are substantially similar to those of

 fraudulent misrepresentation, except that the required mental state is less stringent.” Schrager v.

 N. Cmty. Bank, 328 Ill. App. 3d 696, 703 (2002). “Negligent misrepresentation is a lesser

 included claim of fraudulent misrepresentation. It differs only in that while [fraudulent

 misrepresentation] requires knowledge that the pertinent statement was false, [negligent


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 misrepresentation] merely requires that the person who made the statement failed to exercise

 reasonable care or competence to obtain or communicate true information.” Ferris Ave. Realty,

 LLC v. Huhtamaki, Inc., No. PB 07-1995, 2011 R.I. Super. LEXIS 25, at *32 (Super. Ct. Feb. 18,

 2011) (internal quotes and citations omitted).

        As discussed above, the Trust has evidence establishing each of elements of fraudulent

 misrepresentation. Because the only difference between fraudulent and negligent

 misrepresentation is that the intent requirement for negligent misrepresentation is lower, the

 Trust’s evidence for each of the elements of fraudulent misrepresentation establishes each of the

 elements of negligent misrepresentation. And the evidence of fraudulent intent discussed above

 easily satisfies the “less stringent” mental state requirement for negligent misrepresentation.

                        b.      There is no requirement that Defendants and vendors be in a
                                “special or privity-like relationship.”

        Defendants claim that the Trust must prove “a special or privity-like relationship” to

 establish a claim for negligent misrepresentation. Mot. at 55. Defendants are wrong.

 Defendants make no effort to demonstrate that the special relationship requirement applies

 outside of New York. And they cannot do so, because other states do not require that a special

 relationship exist for a negligent misrepresentation claim.

        For example, under California law, “[t]he elements of negligent misrepresentation are (1)

 a misrepresentation of a past or existing material fact by one who has no reasonable ground for

 believing it to be true; (2) justifiable reliance; and (3) resulting damage.” Torralbo v. Davol,

 Inc., 2017 U.S. Dist. LEXIS 218339, at *14 (C.D. Cal. Oct. 19, 2017); see West v. JPMorgan

 Chase Bank, N.A., 214 Cal. App. 4th 780, 792 (2013). California law does not require that a

 special relationship exist between the parties to establish liability for negligent misrepresentation.




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           Similarly, in Georgia, “[t]o prevail on a claim of negligent misrepresentation, a party

 must prove the following essential elements: (1) the defendant's negligent supply of false

 information to foreseeable persons, known or unknown; (2) such persons’ reasonable reliance

 upon that false information; and (3) economic injury.” First Bank v. Robertson Grading, Inc.,

 328 Ga. App. 236, 246 (2014) (internal quotes omitted). No requirement of a special

 relationship appears in Georgia law.

           And in New Jersey, “[t]he elements of negligent misrepresentation are an ‘incorrect

 statement, negligently made, and justifiably relied on’ resulting in economic loss.” Pim Brands

 LLC v. Cabot Acquisition, LLC, 2008 N.J. Super. Unpub. LEXIS 3075 at *35 (quoting Kaufman

 v. I-Stat Corp., 165 N.J. 94, 109 (2000)). No special relationship requirement appears in New

 Jersey law.

                          c.      The single New York Trade Vendor satisfies the special
                                  relationship test.

           Defendants cite New York law for the proposition that “[a] special relationship requires a

 closer degree of trust between the parties than that of the ordinary buyer and seller.” Mot. at 56

 (citing Alley Sports Bar, LLC v. SimplexGrinnell, LP, 58 F. Supp. 3d 280, 293-94 (W.D.N.Y.

 2014)). The sole New York Trade Vendor, Delta Enterprises, easily meets this test.

           Joe Shamie, the president of Delta Enterprises, had a close relationship with Richard

 Barry far beyond that “of the ordinary buyer and seller.” Shamie testified that he “trusted

 [Barry] immensely” because of their years-long relationship. 1123 Shamie asked Barry to be an

 “honree” at his charity, involved Barry’s wife in the charity, and Shamie told Barry’s children

 “how much the community, vendor community, spoken in a more personal way, loved and




 1123
        Ex. 255 (Shamie (Delta) depo.) 171:3-12.
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                     1124
 respected” Barry.          Because of their extremely close relationship and friendship, Shamie
                                                                                                1125
 “really trusted” Barry and did not expect that Barry would tell him anything that was false.

 When Barry reached out and “reassured” Delta that it would be protected and could feel safe

 shipping under the protection of the DIP financing, and repeated those assurances during the

 bankruptcy, Delta believed Barry and shipped to Toys “R” Us. 1126

        Defendants own cited case confirms that this is sufficient to establish a special

 relationship: “the relationship between parties could extend beyond the typical arm's-length

 business transaction where defendants initiated contact with plaintiffs, induced them to forebear

 from performing their own due diligence, and repeatedly vouched for the veracity of the

 allegedly deceptive information.” Alley Sports Bar, LLC v. Simplexgrinnell, LP, 58 F. Supp. 3d

 280, 293 (W.D.N.Y. 2014) (internal quotes omitted).

        Moreover, New York courts have concluded that specialized knowledge and expertise in

 a particular business is enough to find that a special relationship exists between two parties such

 that a duty of care exists. See Kimmell v. Schaefer, 89 N.Y.2d 257, 264 (1996). In Kimmel, the

 court concluded that a defendant “uniquely situated to evaluate the economics” as the “chief

 financial officer and chairman” possessed specialized knowledge. Id. The defendant sought to

 “induce plaintiffs to invest” by “[meeting] with each plaintiff,” and the court determined that this

 combination sufficed to show specialized knowledge or experience. Id.

        As discussed above, Barry had the requisite special knowledge of Toys “R” Us’ internal

 finances and projected failure to comply with financial covenants.




 1124
      Ex. 255 (Shamie (Delta) depo.) 169:23-171:2.
 1125
      Ex. 255 (Shamie (Delta) depo.) 169:18-172:3.
 1126
      Ex. 255 (Shamie (Delta) depo.) 178:6-25, 183:2-13.
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           Finally, the question of whether a special relationship existed between Delta and Barry is

 a question of fact. “Whether such a special relationship exists in the commercial context is

 highly fact specific and is not generally amenable to summary disposition.” Silvercreek Mgmt. v.

 Citigroup, Inc., 346 F. Supp. 3d 473, 504-05 (S.D.N.Y. 2018) (internal quotes omitted); AFA

 Protective Sys. v. AT&T, 57 N.Y.2d 912, 914 (1982) (“The issue of whether a ‘special

 relationship exists sufficient to make out a cause of action for negligent misrepresentation should

 also be left to the finder of fact”); see Murphy v. Kuhn, 90 N.Y.2d 266, 270 (1997).

           J.      Defendants’ argument regarding reliance on omitted information fails.

           Defendants assert that the Trust cannot prove “reasonable reliance” because Trade

 Vendors “knew or could have known the allegedly omitted information.” Mot. at 57.

 Defendants identify only three facts that Trade Vendors purportedly were aware of and that

 Defendants assert “cannot give rise to a tort claim”: (1) that the DIP financing agreement

 contained covenants, (2) that Toys “R” Us’ holiday sales were poor, and (3) that Toys “R” Us

 was in danger of breaching its covenants. Mot. at 57-58.

           Defendants do not address the extensive additional concealments made by Defendants,

 that Trade Vendors had no way of knowing. For example:

           •    December 13, 2017: that Toys “R” Us would end the year with an EBITDA that would

                result in a default under the financing milestones. 1127


           •    January 24, 2018: that the 2017 EBITDA is projected to be under $300 million—

                significantly short of the Company’s $640 million projection in the DIP budget. As a

                result, the Company anticipated a breach of covenants in February or March. 1128



 1127
        Ex. 164 (12’13’17 minutes [DEFS_0061932]).
 1128
        Ex. 139 (1’24’18 minutes [TRU-Trust0000374989]).
                                                     386
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           •   January 28, 2018: that Toys “R” Us would need at least $200 million in additional

               capital to emerge. 1129


           •   February 16, 2018: The company was preparing plans around a liquidation process

               including a liquidation analysis and wind-down budget.

           Defendants make no attempt to argue that the Trust cannot prove reasonable reliance on

 any of this concealed information. Nor could they. None of this information was publicly

 available. Each Trade Vendor testified that they were unaware of this information, and could not

 have learned it from any source other than Toys “R” Us. See Trust SOF ¶¶ 403, 409, 415, 421,

 427, 433, 439, 445, 451, 457, 463, 469, 475, 480, 485, 490, 495, 501, 507, 512, 518, 524, 530,

 536, 541, 547, 552, 558, 564, 570, 575, 580, 585, 591, 596, 602, 607. Summary judgment thus

 cannot be granted on any of these concealed facts.

           Moreover, Defendants’ arguments fail on the three facts they do address fail.

                  1.      The Trust has never asserted a claim based on the mere fact that the
                          DIP financing contained covenants.

           Defendants assert that because “covenants were contained in the publicly filed DIP

 financing agreements” the Trust’s purported claim that Defendants “failed to tell [Trade

 Vendors] that the DIP financing agreements contained covenants” fails. Mot. at 57. This

 argument attacks nothing but straw. The Trust has not asserted that the mere existence of

 covenants is the basis of a fraud claim.

           Rather, as demonstrated above, Defendants failed to disclose facts establishing that Toys

 ‘R’ Us would default on those covenants. This was information that the Trade Vendors could

 not learn from public sources. For example, as demonstrated above, Defendants made the



 1129
        Ex. 140 (1’28’18 minutes [DEFS_0059009]) at 1-2.
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 deliberate decision to withhold their holiday financial results precisely because Defendant knew

 that, unless they disclosed holiday results to Trade Vendors, Trade Vendors could not get that

 information and would continue to ship goods on credit.

           Trade Vendors could not learn that the Company was projected to default on its financial

 covenants. As one vendor explained: “I could see the covenants, yeah. Doesn’t mean I would be

 able to assess all the financials of Toys ‘R’ Us, if they were meeting the covenants or not.” 1130

                  2.      Defendants intentionally withheld the holiday sales results data, and
                          then lied about what holiday sales meant for the Company’s ability to
                          pay.

           Defendants claim that because “multiple vendors” saw “news of TRU’s poor holiday

 results,” the omission of holiday results “cannot give rise to a tort claim.” Mot. at 57-58. This

 argument fails for multiple reasons.

           First, information that holiday results were disappointing is not the same as having data

 that can be used to project that the Company will default on its financial covenants. Do “poor”

 holiday results mean that the Company is on the verge of liquidation, or that the Company is on

 track to emerge from bankruptcy? For example, if the Company’s DIP budget had been based

 on realistic projections that anticipated the Company’s declining holiday sales, then the presence

 of poor holiday sales would be consistent with projecting compliance with the financial

 covenants. Trade Vendors lacked the information that Defendants had and that the Trade

 Vendors needed: the data for recent sales, margin, and costs, and the Company’s projected sales,

 margin, and costs for 2018, which demonstrated that it was impossible for the Company to

 comply with its financial covenants.




 1130
        Ex. 255 (Shamie (Delta) depo.) 132:16-133:1.
                                                   388
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        Second, because the Trade Vendors lacked the data, for them to learn what “poor”

 holiday results meant, they could do nothing more than ask Defendants that question. And, as

 demonstrated above, when Trade Vendors asked Defendants about the holiday results and what

 that meant for the Company’s liquidity and plans for emergence, Defendants elected to “provide

 vendors additional comfort so they do not determine to stop shipping.” 1131

        Defendants knew that they could not “procure the funding for emergence and … emerge

 from chapter 11 and continue operating the current business plan” as they had been telling Trade
            1132
 Vendors.          As Defendant Macnow admitted, Defendants knew they were down to two

 options:

        5       Q. So as of January 28, 2018, Toys
         6   "R" Us and the board was aware that the
         7   two likely outcomes were, one, the total
         8   liquidation; or two, the shrink and
         9   rethink plan selling off a portion of Toys
        10    "R" Us; is that correct?
        12      A. Again, I think that's what these
        13    minutes state.

 Ex. 83 (Macnow depo.) 166:5-13.

        But even as liquidation planning was underway, Defendants assured vendors that

 management was totally focused on its plans for emergence.

        Those vendors that did hear word of Toys “R” Us’ poor holiday sales were “asking for

 and receiving assurances that things were all right,” notwithstanding the holiday sales results.
 1133




 1131
      Ex. 148 (2’12’18 minutes [DEFS_0059030]).
 1132
      Ex. 140 (1'28'18 minutes [DEFS_0059009]).
 1133
      Ex. 409 (McCallum (Step2) depo.) 110:2-16; see Ex. 330 (Woldenberg (Learning Resources)
 depo.) 134:3-13 (“The company itself denied that there was a problem”).
                                                 389
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        For example, Step2 was assured that the “sales trend was ok” and that it was “part of the

 plan,” and encouraged “not to worry about” holiday sales numbers because their “job is to

 ship.” 1134 At the New York Toy Fair, Brandon sat with McCallum, “literally knew to knee,”

 and looked McCallum “straight in the eye” and said “we’re coming out this fast,” “load the

 trucks, and get ready to ship because we're going to need goods.” 1135

        As another example, Barry assured Jada Toys that “[Toys “R” Us] came out of the

 holidays well positioned” and was “looking forward to brighter times ahead.” 1136 None of the

 Defendants told Trade Vendors the truth—that Toys “R” Us’ disastrous holiday season meant

 that it would breach financing covenants and lose access to the DIP financing.

                3.     Trade Vendors did not have, and could not obtain, any of the
                       concealed facts regarding the Company’s covenant breaches.

        Defendants assert that the Trust “cannot bring tort claims on behalf of vendors” who

 “knew the information that the Trust alleges was hidden from them and chose to ship goods to

 TRU anyway.” Mot. at 58. Defendants characterize that information as “TRU was in danger of

 breaching its covenants.” Id. Defendants mischaracterize the Trust’s assertions.

        No Trade Vendor knew any of the concealed facts that are discussed at length above.

 The Trust is not asserting that the information that Defendants concealed was the “danger of

 breaching [the DIP] covenants.” Instead, the Trust is alleging that Defendants concealed

 concrete factual information that demonstrated that the covenant breaches would occur by a date

 certain and that Toys “R” Us did not have any feasible way of addressing those covenant

 breaches. For example, Defendants did not disclose that Toys “R” Us’ projections were over




 1134
      Ex. 409 (McCallum (Step2) depo.) 113:8-114:18.
 1135
      Ex. 409 (Step 2 (McCallum) depo.) 149:16-150:5, 184:19-185:10.
 1136
      Ex. 301 (Simons (Jada Toys) depo.) 196:25-197:10.
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 $500 million below what was required by the DIP financing budget. 1137 No Defendant informed

 Trade Vendors of any of the concealed facts discussed above, and the Trade Vendors could not

 learn any of those facts from public sources.

        Moreover, the public information that was available provided no substantive information

 about covenant breaches, and Defendants denied any rumors of covenant breaches. The

 “publicly reported” danger of covenant breaches that Defendants refer to was a CNBC article

 that included the statement that “Toys “R” Us is at risk of breaching a covenant on one of its

 loans.” 1138 The article did not say what the covenant was, give any indication of the timeframe

 in which the covenant was at risk of being breached, or give any indication how high or low the

 risk was. Moreover, the Company’s spokesperson issued a denial that this article was
             1139
 accurate.          The spokesperson promptly let Brandon know what she was communicating, and

 Brandon did not direct her to correct the record, or do anything to discourage such denials. His

 only comment in response was to express his “thanks.” 1140

        Trade Vendors uniformly testified that they could not rely or act on industry rumors or

 speculation in making their business decisions. 1141 And Trade Vendors that read the article did

 not believe that covenant default was imminent, or likely. 1142



 1137
      Ex. 141 (1'31'18 2b. Project Sunrise - Forecast Model 2018-01-31 (Liquidity Bridge)
 [DEFS_0002878]).
 1138
      Ex. 194 (2’21’18 Theriot to von Walter [TRU-Trust0000374936]).
 1139
      See, e.g., Ex. 195 (2’22’18 Woldenberg to McCabe [LR_002754]) (“TRU denies this
 report”); Ex. 193 (2’21’18 von Walter to Verdon [TRU-Trust0000363153]) (“the story is full of
 speculation”).
 1140
      Ex. 192 (2’21’18 Brandon to von Walter [TRU-Trust0000313052]).
 1141
      See, e.g., Ex. 307 (Jakks (Cooney) depo.) 97:8-12 (“Nobody had real facts, but it was a lot of
 speculation”), 188:17-189:17 (“we couldn’t act on rumor”); Ex. 330 (Woldenberg (Learning
 Resources) depo.) 207:2-208:18 (“whatever grim stories were being told in the press … [t]hey
 just kept sending the orders, letting us ship stuff, talking about the future, asking for
 exclusives”).
 1142
      See, e.g., Ex. 372 (Elliott (MGA) depo.) 213:18-214:7.
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        No Trade Vendor had any of the concealed information that showed that Toys ‘R” Us

 was hundreds of millions of dollars away from being able to comply with its covenants. See

 Trust SOF ¶¶ 403, 409, 415, 421, 427, 433, 439, 445, 451, 457, 463, 469, 475, 480, 485, 490,

 495, 501, 507, 512, 518, 524, 530, 536, 541, 547, 552, 558, 564, 570, 575, 580, 585, 591, 596,

 602, 607. They could not learn those facts from news articles, or from any source other than

 Defendants.

        Moreover, even those Trade Vendors that received more detailed information from Toys

 “R” Us after signing non-disclosure agreements received false and misleading information from

 Defendants after the article was published. For example, the LEGO Group entered into a non-

 disclosure agreement with Toys “R” Us to obtain information about Toys “R” Us’ covenant
               1143
 compliance.          When Short sent the LEGO Group a financial covenant forecast deck on March

 1, 2018, that deck included no mention of covenant 6.16 or Toys “R” Us’ projected breach of

 that covenant just two days later. 1144 The slide deck asserted that Toys “R” Us had only “two

 financial covenants” and that Toys “R” Us would be “in compliance with both of these

 covenants” through March 3, 2018. 1145 In reality, Short knew that the Company was projected

 to breach both of those covenants. And Short knew about a third covenant, the January revised

 budget covenant, and also knew that the Company did not comply with the covenant’s January

 31 deadline, that the Company could not possibly comply with it, and that the Company had

 obtained a waiver that would expire on March 3, 2018. Those facts materially qualified Short’s

 statements, but Short concealed them.




 1143
      Ex. 335 (Lego (Kodak) depo.) 156:20-157:9.
 1144
      Ex. 343 (LEGO (Kodak depo. Ex. 113)), Ex. 335 (LEGO depo.) 340:18-342:7.
 1145
      Ex. 343 (LEGO (Kodak depo. Ex. 113)) at 3.
                                                 392
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        In sum, the publicly reported information did not contain any of the concealed facts. It

 did not warn Trade Vendors of the impending covenant breach that was just days away. And

 Trade Vendors uniformly testified that information in the popular press was not a reliable source

 of information that they could use to make decisions.

        K.        Defendants’ arguments based on the Trade Vendors’ 30(b)(6) testimony fail.

        Defendants present a series of tables with selectively excerpted vendor testimony that

 they purport constitutes “undisputed evidence” that “none of the trade vendors’ tort claims…can

 survive summary judgment.” Mot. at 58. Defendants’ tables present an incomplete and

 misleading view of the facts, and completely ignore the testimony supporting the Trust’s claims.

 To respond to Defendants’ table, the Trust presents testimony for each Trade Vendor in the

 Trust’s Appendix A in response to Defendants’ tables of vendor testimony, and that Appendix is

 being filed as a separate document. The Trust’s appendix addresses each vendor and each issue

 identified in the Defendants’ tables, and does so in the ordered presented by Defendants.

        L.        Defendants’ argument on the negligence claim fails.

        Defendants’ argument concerning the Trust’s negligence claim is addressed above in Part

 IX, Section B.

        M.        Defendants’ “received more than they lost” argument fails.

        Defendants assert that if Defendants had disclosed the concealed information, “the

 company would have needed to liquidate,” as of December 13, 2017, and that “the trade vendors

 would not have received any of the payments they received from this date forward during the

 Chapter 11 proceeding.” Mot. at 100. Based on those premises, Defendants claim that Trade

 Vendors “benefitted from TRU’s continuing to operate” because “payments from December 13,

 2017 onward” were in excess of “the invoiced amounts of the goods [Trade Vendors] shipped



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 after this time,” and because of that benefit many of the vendors did not suffer damages,

 precluding a fraud claim. Mot. at 101. Each part of this argument is wrong.

                  1.       Toys “R” Us would not have had to liquidate on December 13, 2017, if
                           Defendants had decided to not engage in fraud.

        Defendants claim that if Defendants had informed Trade Vendors of “liquidity issues” as

 of December 13, 2017, “the company would have needed to liquidate as of this date.” Mot. at

 100. This unsupported assertion is both wrong and beside the point.

        “Defendants were not forced to announce a liquidation on December 13, 2017.” 1146 On

 December 13, 2017, Toys “R” Us had not defaulted on its loan covenants or lost access to its
                  1147
 DIP financing.          This meant that the company “had approximately $258 million of

 unrestricted cash and $1,109 million of reported ABL availability.” 1148 Because at that time,

 “the entire vendor and tax accounts payable was $972 million,” Toys “R” Us could “have

 satisfied [those obligations] in full.” 1149 And Toys “R” Us then “could have continued in
                                                                  1150
 operation past December 23, without incurring any trade debt.”

        Indeed, even at the end of January, “the Company’s advisors confirmed that, so long as

 the Company had not actually defaulted,” it would be able to “continue to draw on its DIP

 loans.” 1151 “[U]ntil [Toys “R” Us] reached the covenant test date, [the] lenders could not stop

 [Toys “R” Us] from” using its credit lines to “pay [its] obligations.” 1152 There was no

 requirement to liquidate “before the DIP lenders declared a default and forced liquidation.” 1153



 1146
      Ex. 70 (Greenspan) ¶570.
 1147
      Ex. 70 (Greenspan) ¶568.
 1148
      Id.
 1149
      Id.
 1150
      Id.
 1151
      Ex. 70 (Greenspan) ¶570; Ex. 142 (1'31'18 minutes [DEFS_0059013]) at 3.
 1152
      Ex. 86 (Greenspan depo.) 170:11-171:14.
 1153
      Ex. 70 (Greenspan) ¶571.
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        Defendants simply assume that there would have been “a rushed liquidation in December

 2017 that results in the vendors not being paid on account of their outstanding accounts

 receivable.” 1154 But this assumption is false.

        Moreover, the premise of Defendants’ argument—that telling Trade Vendors about

 “liquidity issues” was the only way to avoid a fraud—is false. For Defendants to avoid engaging

 in fraud as of December 13 did not require that they inform Trade Vendors of liquidity issues.

 Instead, Defendants could have simply avoided engaging in fraudulent conduct from that point

 forward “by not ordering any goods after December 13” or ordering them on a “cash basis.” 1155

 Defendants’ assertion that they were required to continue their fraud for the benefit of Trade

 Vendors is simply false.

                2.      Trade Vendors would have received payments after December 13,
                        2017, if Defendants had not engaged in fraud.

        Defendants claim that if Defendants had told Trade Vendors the truth about Toys “R” Us’

 liquidity, “the trade vendors would not have received any of the payments they received from

 this date forward during the Chapter 11 proceeding.” Mot. at 100. Defendants are wrong.

        As discussed above, Toys “R” Us had sufficient available liquidity to pay all of the

 outstanding vendor balances as of December. Toys “R” Us could thus have paid for all of the

 goods that vendors shipped before December 13, 2017. Moreover, Defendants could have

 continued to operate Toys “R” Us after December 13, 2017, without engaging in fraud and while

 ensuring that vendors were paid in full. “Had the Defendants reduced orders or shortened terms”

 as of December 13, “there would have been no vendor accounts payable.” 1156 Trade Vendors

 would have continued shipping goods to the extent that the company paid for them. And Trade


 1154
      Ex. 70 (Greenspan) ¶567.
 1155
      Ex. 70 (Greenspan) ¶569.
 1156
      Ex. 70 (Greenspan) ¶571.
                                                   395
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 Vendors would not have shipped hundreds of millions of dollars of invoices that Toys “R” Us
                    1157
 did not pay for.

                3.          Defendants’ payment offset argument fails for multiple additional
                            reasons.

        Defendants assert that the Trust “cannot establish that the majority of Trade Vendors

 suffered damages as a result of the alleged fraud,” because Trade Vendors received payments in

 the period between January and March that were greater than the ultimate amount of unpaid

 invoices. Mot. at 101. This theory is counter to the law, and “makes no sense as a matter of
                           1158
 economics or logic.”

        First, this theory fails as a matter of law. As demonstrated above, as a result of

 Defendants’ misrepresentations and concealments, Trade Vendors suffered damages because

 they shipped millions of dollars of goods to Toys “R” Us on credit for which they were never

 paid. Those damages can be offset only where those misrepresentations and concealments are

 the cause of the benefit gained by the plaintiff. Restatement (Second) of Torts § 920. For a

 benefit gained “to justify a diminution of damages the benefit must result from the tortious

 conduct.” Id. at cmt. d.

        The payments that Trade Vendors received from Toys “R” Us between December and

 March were not were payments that resulted from Defendants’ misrepresentations and

 concealments. 1159 Rather, Toys “R” Us was contractually obligated to make payments to

 vendors because it had placed purchase orders to those vendors. As discussed above, Toys “R”




 1157
      Ex. 70 (Greenspan) ¶¶569-571.
 1158
      Ex. 70 (Greenspan) ¶556.
 1159
      Ex. 70 (Greenspan) ¶566.
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 Us could have fulfilled each of those obligations without the Defendants engaging in fraudulent
            1160
 conduct.          Thus, as a matter of law, those payments cannot serve as offsets to damages.

           Second, Defendants’ theory does not make economic or logical sense. The Trust’s expert

 illustrated why this theory is flawed using am example scenario:

           “On December 1, 2017, a vendor sends the Company shipment A, which is $500 in

 goods. On January 15, as the result of Defendants’ wrongful conduct, the vendor sends shipment

 B, which is also $500 in goods. On February 1, the Company pays $500 for shipment A. The

 Company never pays for shipment B.”

           “In this Scenario the vendor’s damages are $500. That is the amount of the vendor’s loss

 for shipment B and that loss was caused by Defendants’ wrongful conduct. But, according to Mr.

 Kost [Defendants’ expert], the vendor has no damages because the vendor received $500 for

 shipment A during a period in which wrongful conduct had begun, and that $500 must therefore

 be deducted from the $500 loss for shipment B. Mr. Kost’s reasoning makes no economic sense.

 The vendor was entitled to, and in fact received, payment for shipment A—that payment was due

 and owing. Because the vendor received a payment to which it was entitled does not lessen its

 damages on account of an entirely separate shipment for which it was not paid.”

           “Moreover, if one were going to include the $500 payment for shipment A in the

 accounting (i.e. as a subtraction from vendor losses), one would also have to include the order

 for shipment A in the accounting. In such an accounting, the result would be $1,000 in

 shipments, less $500 in payments, for a loss of $500. In either case, the damages equal the




 1160
        Ex. 70 (Greenspan) ¶¶565-566.
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 amount of goods for which the vendor was wrongly induced to ship and for which payment was

 not received.” 1161

           Defendants make no attempt to address the illogic of their theory. There is no basis for

 offsetting the losses caused by Defendants fraudulent conduct with payments that Toys “R” Us

 was contractually obligated to make.

 XI.       Conclusion.

           For the forgoing reasons, the Trust respectfully requests that the Court deny Defendants’

 motion for summary in its entirety.




 1161
        Ex. 70 (Greenspan) ¶¶557-564.
                                                  398
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 18th day of January 2022, I caused a copy of the foregoing
 pleading to be served by electronic means through the Court’s ECF system and emailed to
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